Case 4:23-cv-05448-YGR   Document 116-3   Filed 07/24/24   Page 1 of 439




      EXHIBIT A
     Case 4:23-cv-05448-YGR            Document 116-3         Filed 07/24/24   Page 2 of 439




 1
     [Counsel Listed on Signature Pages]
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 8
                                     UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10
                                             OAKLAND DIVISION
11

12

13   People of the State of California, et al.              MDL No. 3047

14         v.                                               Case No. 4:23-cv-05448-YGR

15   Meta Platforms, Inc., Instagram, LLC, Meta                     4:23-cv-05885-YGR
     Payments, Inc., Meta Platforms Technologies,
16   LLC                                                    Honorable Yvonne Gonzalez Rogers

17
                                                            META DEFENDANTS’ NOTICE OF
18   Office of the Attorney General, State of Florida       INTENT TO SERVE SUBPOENAS
     Department of Legal Affairs
19
           v.
20
     Meta Platforms, Inc., Instagram LLC
21

22
     IN RE: SOCIAL MEDIA ADOLESCENT
23   ADDICTION/PERSONAL INJURY
     PRODUCTS LIABILITY LITIGATION
24

25   THIS DOCUMENT RELATES TO:
     4:23-cv-05448
26

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     Case 4:23-cv-05448-YGR          Document 116-3        Filed 07/24/24       Page 3 of 439




            Pursuant to Federal Rule of Civil Procedure 45(a)(4), Defendants Meta Platforms,
 1

 2   Inc. f/k/a Facebook, Inc.; Facebook Holdings, LLC; Facebook Operations, LLC;

 3   Facebook Payments, Inc.; Facebook Technologies, LLC; Instagram, LLC; and Siculus,

 4   Inc. provide notice that they intend to serve the attached subpoenas to:
 5
       1. California Department of Child Support Services
 6     2. California Department of Education
 7     3. California Mental Health Services Oversight and Accountability Commission
       4. Colorado Behavioral Health Administration
 8
       5. Colorado Department of Education
 9
       6. Kentucky Department for Behavioral Health, Developmental and Intellectual Disabilities
10     7. Kentucky Department of Education
11     8. New Jersey Department of Education
12     9. New Jersey Department of Health
       10. New Jersey Governor’s Council on Mental Health Stigma
13

14

15   Dated: July 17, 2024                           Respectfully submitted,

16                                                 COVINGTON & BURLING LLP

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                                        Facebook Payments, Inc.; Facebook
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                                        Siculus, Inc.
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     Case 4:23-cv-05448-YGR          Document 116-3         Filed 07/24/24   Page 5 of 439




 1                                     CERTIFICATE OF SERVICE

 2          I hereby certify that on July 17, 2024, a true and correct copy of Notice of Intent to Serve

 3   Subpoena, were served upon the following by email:

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     Case 4:23-cv-05448-YGR            Document 116-3      Filed 07/24/24   Page 16 of 439



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   Case 4:23-cv-05448-YGR           Document 116-3        Filed 07/24/24        Page 18 of 439




DELIVERED VIA PROCESS SERVER                                       July 17, 2024

California Department of Child Support Services
11150 International Drive
Rancho Cordova, CA 95670


       Re: People of the State of California v. Meta Platforms, Inc.,
             4:23-cv-05448

Dear Sir/Madam:

Enclosed please find a subpoena being served upon you in connection with the above-captioned
litigation currently pending in the U.S. District Court for the Northern District of California. I
represent Defendants Meta Platforms, Inc.; Instagram, LLC, Meta Payments, Inc., Meta Platforms
Technologies, LC and Mark Zuckerberg (collectively, the “Meta Defendants”) in this matter.

The document subpoena requests the production of specific documents identified in the attached
subpoena (see Attachment A to the subpoena), which are requested to be produced by 10 am on
August 19, 2024. We are willing to work with you on the time, date, location, method and manner
of document production, as well as answer any questions or concerns you may have regarding
subpoena compliance. It is sufficient compliance with this subpoena if you electronically transmit
a copy of the requested documents to the undersigned. As such, please contact me at
kpatchen@cov.com and 415-591-6031, to discuss document production and subpoena
compliance, unless you are already represented by counsel in connection with this matter.

The Court is currently considering whether the California Attorney General’s Office has control
over California Department of Child Support Services information for the purposes of discovery
in this action. If the Court rules that the California Attorney General’s Office has control over
California Department of Child Support Services’ information, the California Attorney General
has pending discovery requests that seek this agency’s documents. By serving this subpoena,
Meta does not waive its position in the state agency dispute, nor does Meta in any way waive rights
to compel the California Attorney General to produce California Department of Child Support
Services’ information as part of discovery in this action. However, to avoid further delay in the
production of information from the California Department of Child Support Services, Meta is
serving the attached subpoena to request the timely production of this information.

Your anticipated time and assistance with this matter is greatly appreciated.
   Case 4:23-cv-05448-YGR            Document 116-3   Filed 07/24/24   Page 19 of 439




California Department of Child Support Services
July 17, 2024
Page 2




                                                             Best regards,

                                                             /s/ E. Kate Patchen

                                                             E. Kate Patchen




Enclosed: Subpoena, Attachment A, and Attachment B
              Case 4:23-cv-05448-YGR                        Document 116-3                  Filed 07/24/24              Page 20 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________  DistrictofofCalifornia
                                                                                __________
              People of the State of California, et al.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.          4:23­cv­05448
                  Meta Platforms, Inc., et al.                                )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: California Department of Child Support Services
        11150 International Drive, Rancho Cordova, CA 95670
                                                       (Name of person to whom this subpoena is directed)

     ✔
     ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A.



 Place: Shook, Hardy & Bacon, Attn: Jennifer Blues Kenyon                               Date and Time:
           555 Mission Street, Suite 2300
           San Francisco, CA 94105                                                                  10 a.m. on August 19, 2024

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2024

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Ashley Simonsen
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Meta Platforms, Inc. f/k/a Facebook, Inc.; Instagram, LLC, Meta Payments, Inc.,
Meta Platforms Technologies, LLC; and Mark Zuckerberg,                          who issues or requests this subpoena, are:
Ashley Simonsen, Covington & Burling LLP, 1999 Avenue of the Stars, Los Angeles, CA 90067, 424­332­4782, asimonsen@cov.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 4:23-cv-01615

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
               Case 4:23-cv-05448-YGR                          Document 116-3                  Filed 07/24/24                 Page 22 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                DEFINITIONS AND INSTRUCTIONS TO ATTACHMENT A

                                            DEFINITIONS

        1.      The term “communication” means the transmittal of information (in the form of

facts, ideas, inquiries or otherwise).

        2.      “Document” or “documents” shall have the broadest meaning ascribed to it by the

Federal Rules of Civil Procedure, and includes, without limitation electronically stored

information (“ESI”) (including, without limitation, electronic databases and the data therein, all

electronic messages or communications, electronic word processing documents, electronically

stored voicemail, webpages, and social media posts) in accordance with any order in this case

governing ESI at the time of production. Different versions of the same documents, including, but

not limited to, drafts or documents with handwritten notations or marks not found in the original

or on other copies are different documents.

        3. “You”, “you”, “Your” and “your” means the California Department of Child Support

             Services.

        4.      “Relating” or “related to” means and includes referring to, concerning, referencing,

mentioning, associated with, constituting, discussing, containing, embodying, recording,

reflecting, identifying, summarizing, incorporating, and/or dealing with or pertaining to in any

way.

        5.      “And” includes “or”, and vice versa.

        6.      The singular form of a word or term includes the plural, and vice versa.

        7.      The present tense of a verb includes the past tense, and vice versa.

        8.      The use of the article “the” shall not be construed as limiting the scope of any

request.



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       9.      “Including” means “including without limitation.”

       10.     “Any” includes “all”, and vice versa.

       11.     The capitalized version of a word or term includes the lower case version of a word

or term, and vice versa.

       12.     “Social Media Platforms” or “Platforms” means a digital service that facilitates

interactions between two or more distinct but interdependent sets of users, including but not limited

to Facebook, Instagram, Snapchat, TikTok, YouTube, Twitter (or “X”), Pinterest, LinkedIn,

BeReal, Lapse, Reddit, Threads, VSCO, Goodreads, Quora, Discord, Twitch, and Tumblr.

       13.     “Young Users” means users of Social Platforms who are under 18 years of age

when using the Platform(s).

       All words, terms, and phrases not specifically defined herein are to be given their normal

and customary meaning in the context in which they are used in these Requests.

                                        INSTRUCTIONS

       1.      These Requests are intended to cover any and all documents in your possession,

custody, or control, to the extent not privileged. Documents held by any office, department, board,

commission, or instrumentality of the California Department of Child Support Services are within

your possession, custody, or control.

       2.      In accordance with ESI Protocol attached hereto as Attachment B, if you object to

furnishing any of the documents or information requested by these Requests on the grounds of

attorney-client privilege, work product, other privilege, or otherwise then, with respect to each

such document:

               a. state the nature of the privilege claimed;
               b. state the date of each communication supporting the privilege claim;




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                c. identify all participants in the supporting communication;

                d. state the specific grounds on which the objection is based; and

                e. identify the specific request calling for such information;

        2.      If you object to any Request on the grounds that it is vague or ambiguous, state: (i)

the portions or terms of such Request that you claim to be vague or ambiguous; and (ii) the

interpretation of the Request pursuant to which you provide a response.

        3.      Each request shall be deemed continuing, so as to require supplemental or

mandatory responses should you obtain additional responsive information subsequent to your

initial responses.

        4.      If you cannot fully respond to a particular Request after exercising due diligence to

make inquiry and to secure the necessary information, provide a response to the extent possible,

specifying your inability to respond to the remainder and providing whatever information or

knowledge you have concerning the portion not responded to.

        5.      Each page of a produced document shall have a legible, unique page identifier

(“Bates Number”) and confidentiality legend (where applicable) on the face of the image at a

location that does not obliterate, conceal, or interfere with any information from the source

document. Redactions should be clearly marked or stamped on the page in such a way that it is

clear from review that a portion of the image has been redacted.

        6.      All responsive and non-privileged electronic documents shall be produced in the

format ordered by the Court in its ESI order.

        7.      All responsive electronic documents shall be produced in a format agreed upon by

the parties, to include at least native versions of Excel spreadsheets and presentation files, with a

Bates-stamped placeholder image.

        8.      Unless otherwise specified, the time period for these Requests is January 1, 2012

to the date of production of the Documents.




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                                    ATTACHMENT A

1. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
   mental, social, emotional, or behavioral health of persons ages 13 to 18.

2. Research, investigations, studies, surveys, reports, evaluations, or analyses related to Social
   Media Platforms, including the importance of Social Media Platforms and the use of Social
   Media Platforms by Young Users and the potential benefits and harms created by the use
   of Social Media Platforms.

3. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
   mental, social, emotional, or behavioral health of Young Users, including those related to
   the effects of:
       a. Social Media Platforms usage;
       b. Video games usage;
       c. Cell phone usage;
       d. Messaging usage;
       e. Usage of other electronics apart from usage of Social Media Platforms;
       f. COVID-19 and/or remote learning;
       g. Use of drugs or alcohol;
       h. The opioid and fentanyl epidemic;
       i. Poverty, homelessness, lack of health insurance, and/or food insecurity;
       j. Physical health including nutrition, exercise, weight management, sleeping habits,
           and sexual activity;
       k. Family trauma or deaths;
       l. Academic pressure;
       m. Violence, including school violence, domestic violence, gun violence, gun control
           and/or mass shootings;
       n. Bullying or verbal abuse apart from usage of Social Media Platforms;
       o. Political polarization;
       p. Natural disasters;
       q. Climate change;
       r. Discrimination and inequity;
       s. Global warfare and conflict; and
       t. Any other potential causes of harms to the mental, social, emotional, or behavioral
           health of Young Users.

4. Youth Risk Behavior Surveys conducted by the California Department of Child Support
   Services or on its behalf.

5. Research, investigations, studies, surveys, reports, evaluations, or analyses related to:
      a. Features of Social Media Platforms that are psychologically or physically harmful
          to Young Users;
      b. Features of Social Media Platforms that promote compulsive, prolonged, or
          unhealthy use by Young Users;
      c. The impact of features of Social Media Platforms, including:



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              (1) Algorithmic recommendation and sequencing;
              (2) Image filters;
              (3) Use of multiple user accounts;
              (4) Infinite scroll;
              (5) Ephemeral content features;
              (6) Autoplay;
              (7) Quantification and display of likes; or
              (8) Audiovisual and haptic alerts.

6. Programs, initiatives, efforts, or actions proposed or taken by the California Department of
   Child Support Services to address Young Users’ use of Social Media Platforms, including
   any program, initiative, effort, or action to prevent, limit, encourage, or promote the use of
   Social Media Platforms by Young Users.

7. Policies proposed, recommended, or enacted by the California Department of Child
   Support Services regarding screen time and acceptable use of cell phones, computers,
   tablets, or other electronic devices by Young Users.

8. Complaints to the California Department of Child Support Services by teachers or school
   districts regarding social media or cell phone use by Young Users and/or the need for
   acceptable use or other policies to address Young Users’ use of social media or cell
   phones.

9. Complaints to the California Department of Child Support Services by teachers or school
   districts regarding budget crises from inflation, underfunding, unfunded mandates, and
   other causes.

10. Documents related to state assessments in California, including reports and analyses
    regarding the history of K-12 state assessment or standardized testing scores,
    performance by schools and/or school districts, and any other measures of school
    performance.

11. Legislation or policies proposed by, proposed on behalf of, or testified on by the California
    Department of Child Support Services, regardless of whether such legislation or policies
    were enacted, regarding Young Users’ use of Social Media Platforms.

12. Mental, social, emotional, or behavioral health services provided by the California
    Department of Child Support Services to Young Users during the Relevant Period,
    including:
        a. Counseling or therapy;
        b. Psychiatric services;
        c. Crisis intervention;
        d. Inpatient short-term and long-term programs;
        e. Resource centers; and
        f. Services for Young Users dealing with substance abuse or addiction issues.




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13. Any and all California Department of Child Support Services grants to address Young
    Users’ mental health, including information about when, where, why, and how any
    disbursements were paid, any schedules or plans for future disbursements, policies
    governing evaluation or approval of such disbursements, records of how the disbursements
    were used, and all agendas, minutes, notes, or recordings from meetings related to such
    grant.

14. Public or non-public meetings held by the California Department of Child Support Services
    related to Social Media Platforms and use of Social Media Platforms by Young Users,
    including but not limited to, notices, meeting notes, PowerPoint presentations, internal
    memoranda, summaries, personal notes, or attendee lists.

15. Policies, procedures, and practices related to the California Department of Child Support
    Services’ use of Social Media Platforms, including communication of information or
    promotion of California Department of Child Support Services’ programs, initiatives,
    efforts, or actions on Social Media Platforms.

16. California Department of Child Support Services’ communications and/or collaboration
    with any Social Media Platform on any program, initiative or other action related to, or
    directed at, Young Users.

17. California Department of Child Support Services’ communications with any third party
    related to Young Users and/or Social Media Platforms.

18. Budgeted and actual expenditures by the California Department of Child Support Services
    during the Relevant Period related to Young Users’ use of Social Media Platforms.

19. Budgeted and actual expenditures by the California Department of Child Support Services
    during the Relevant Period related to treatment of teen mental, social, emotional, or
    behavioral health issues.

20. Policies, procedures, and practices applicable to the California Department of Child
    Support Services and California Department of Child Support Services employees
    regarding the use of Social Media Platforms, including any changes to these policies during
    the Relevant Period.

21. Studies, programs, initiatives, efforts, or actions proposed or taken by the California
    Department of Child Support Services that sought to provide or promote internet access
    or phones, computers, tablets, or other electronic devices to Young Users.

22. California Department of Child Support Services’ budget and actual expenditures during
    the Relevant Period, including expenditures on:
        a. Digital advertisements by the California Department of Child Support Services on
           Social Media Platforms;
        b. Digital advertisements by the California Department of Child Support Services
           purchased through Social Media Platforms.



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                           ATTACHMENT B
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 1

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 5

 6                             IN THE UNITED STATES DISTRICT COURT

 7                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8
         IN RE: Social Media Adolescent                       MDL No. 3047
 9       Addiction/Personal Injury Products Liability         Case No. 4:22-md-03047-YGR
         Litigation
10
                                                              Honorable Yvonne Gonzalez Rogers
11       This document relates to:                            Honorable Peter H. Kang
         ALL ACTIONS
12                                                            STIPULATION AND [PROPOSED]
                                                              ORDER GOVERNING THE
13                                                            PRODUCTION OF
14                                                            ELECTRONICALLY STORED
                                                              INFORMATION AND HARD COPY
15                                                            DOCUMENTS

16

17            1.      PURPOSE
18            This Order Governing the Production of Electronically Stored Information and Hard Copy

19     Documents (“ESI Order”) will govern discovery of electronically stored information and any hard

20     copy documents in this Litigation as a supplement to the Federal Rules of Civil Procedure, this

21     District’s Guidelines for the Discovery of Electronically Stored Information, and any other

22     applicable orders and rules. “This Litigation” includes all actions currently in MDL No. 3047, In

23     Re: Social Media Adolescent Addiction/Personal Injury Products Liability, or hereafter added or

24     transferred to MDL No. 3047, and all actions later remanded to their respective transferor courts.

25            2.      DEFINITIONS
26            a) “Document” is defined to be synonymous in meaning and equal in scope to the usage

27                 of this term in Rules 26 and 34 of the Federal Rules of Civil Procedure and shall

28                 include Hard-Copy Documents and ESI.

       STIP. & [PROPOSED] ORDER GOVERNING THE
       PRODUCTION OF ESI & HARD COPY DOCUMENTS          -1-              3:22-MD-03047-YGR; MDL NO. 3047
     Case
        Case
          4:23-cv-05448-YGR
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 1            b) “Electronically stored information” or “ESI,” as used herein has the same meaning as

 2                 in Federal Rules of Civil Procedure 26 and 34.

 3            c) “Hard-Copy Document” means Documents existing in paper form at the time of

 4                 collection.

 5            d) “Searchable Text” means the native text extracted from an Electronic Document and

 6                 any Optical Character Recognition text (“OCR text”) generated from a Hard-Copy

 7                 Document or electronic image.

 8            3.      COOPERATION
 9            The Parties are aware of the importance the Court places on cooperation and commit to

10     cooperate in good faith throughout this Litigation consistent with this Court’s Guidelines for the

11     Discovery of ESI and this Court’s Rules of Professional Conduct. The Parties will endeavor to

12     cooperate in good faith and be reasonably transparent in all aspects of the discovery process.

13            4.      LIAISON
14            The Parties will identify Discovery Liaisons to each other who are and will be

15     knowledgeable about and responsible for discussing their respective ESI. Any Party is free to

16     change their designated Discovery Liaison by providing written notice to the other Parties. Each

17     Party’s Discovery Liaison must: (a) be prepared to meet and confer on discovery-related matters

18     and to participate in discovery dispute resolution; (b) be knowledgeable about the Party’s

19     discovery efforts; (c) be, or have reasonable access to those who are, familiar with the Party’s

20     electronic systems and capabilities in order to explain those systems and answer relevant

21     questions; and (d) be, or have reasonable access to those who are knowledgeable about the

22     technical aspects of discovery, including electronic document storage, organization, and format

23     issues, and relevant information retrieval technology, including search methodology.

24            5.      IDENTIFICATION OF CUSTODIANS AND DATA SOURCES
25            The parties will disclose information about custodians and custodial and non-custodial

26     data sources likely to possess relevant or responsive information in accordance with Fed. R. Civ.

27     P. 26 and this District’s ESI Guidelines. The Parties will participate in Rule 26(f) discussions

28     guided by this District’s Checklist for Rule 26(f) Meet and Confer Regarding Electronically

       STIP. & [PROPOSED] ORDER GOVERNING THE
       PRODUCTION OF ESI & HARD COPY DOCUMENTS         -2-               3:22-MD-03047-YGR; MDL NO. 3047
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 1     Stored Information. After responses to Requests for Production under Fed. R. Civ. P. 34 have

 2     been served, the parties will meet and confer regarding those custodians and custodial and non-

 3     custodial data sources from which Documents and ESI will be collected for search and review for

 4     potential production in this litigation. The custodian and data source exchanges will include brief

 5     explanations of the rationale for their selections; for example, for custodians, their current job

 6     titles and descriptions of their work, and for data sources, location information and description.

 7            6.      INACCESSIBLE OR UNUSABLE ESI
 8            If a Producing Party asserts that certain requested ESI is inaccessible or not “reasonably

 9     accessible,” otherwise unnecessary, or if the Receiving Party asserts that, following production,

10     certain ESI is not reasonably useable, the parties shall meet and confer to discuss resolving such

11     assertions. The parties will exchange sufficient information to enable the parties to confer in good

12     faith. If the parties cannot resolve any such disputes after such a meet and confer has taken place,

13     the issue shall be presented to the Court for resolution.

14            7.      KNOWN RESPONSIVE DOCUMENTS
15            Documents or ESI identified in a custodial or non-custodial file, or in a discrete folder or

16     collection, that are known to a Producing Party through reasonable investigation to be responsive

17     to a discovery request shall be collected for review without regard to whether the responsive

18     content was located via any search methodology developed in accordance with this Order, and

19     nothing about such review shall prevent the Producing Party from redacting or withholding and

20     logging such documents for applicable privileges.

21            8.      SEARCH METHODOLOGIES
22            The Parties shall adopt reasonable and proportionate methodologies to identify, search,

23     collect, cull, review, and produce ESI as required under applicable legal standards. The Parties

24     recognize and agree that each Party may use one or more methodologies to identify, search,

25     collect, cull, review, and produce responsive and non-privileged ESI, including the use of

26     keyword search terms and/or the use of technology assisted review (“TAR”) as discussed further

27     herein. The Parties further recognize that different data sets may implicate different

28     methodologies to identify, search, collect, cull, review, and produce responsive and non-

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 1     privileged ESI. The Parties therefore agree to meet and confer in good faith regarding any

 2     potential disputes over their respective ESI productions.

 3            9.      HIT REPORTS AND SEARCH TERMS
 4            If a Producing Party uses search terms to identify, search, or cull potentially responsive

 5     ESI, the Producing Party shall disclose the search terms to the Requesting Party. The Parties shall

 6     meet and confer regarding any disputes over the disclosed search terms. In the event that a

 7     Producing Party claims burden with respect to modified and/or additional search terms proposed

 8     by a Requesting Party, the Producing Party shall provide a hit report for the terms at issue using

 9     industry-standard processing tools, such as NUIX or other similar tools. The Producing Party

10     shall provide a hit report for the document collection where the terms were applied, including the

11     following with respect to each proposed or modified search term in the collection:

12            a) The number of documents with hits for that term; and

13            b) The number of unique documents, i.e., documents which do not have hits for any other

14                 term.

15            If, after reviewing a hit report from a Producing Party, a Requesting Party so chooses, it

16     may reasonably request a further hit report which includes:

17            c) The number of family members, including the documents with hits, of the documents

18                 with hits for that term; and

19            d) The number of unique family members of the documents with hits for that term.

20            If the ESI tool for the Producing Party is capable without undue burden of providing the

21     number of family members and unique family members, then the Producing Party shall provide

22     such further hit report. The Parties (including the person most knowledgeable about the

23     capabilities of the Producing Party’s ESI tool and the Requesting Party’s person most

24     knowledgeable about technical issues from its ESI service provider) shall meet and confer

25     regarding any disputes over whether the Producing Party’s ESI tool has the capability or not to

26     provider either number of family members or number of unique family members.

27            The Parties shall meet and confer to resolve disagreements over the search terms or their

28     application. To the extent the Parties are unable to reach agreement on the application of, or

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 1     procedures for, any search or filtering processes, the Parties shall fully comply with the

 2     provisions of this Court’s Discovery Standing Order regarding the procedure for raising discovery

 3     disputes with the Court, including the meet and confer and certification requirements therein.

 4            10.       TECHNOLOGY ASSISTED REVIEW (TAR)
 5            A Producing Party may use TAR (technology-assisted review) during the culling and

 6     review process of ESI, which may be applied in addition to search terms. If a Producing Party

 7     uses TAR to cull, filter out, or exclude documents from that Party’s production, that Producing

 8     Party shall do the following:

 9                     If a Producing Party chooses to apply both search terms and TAR to a review set,

10                      the Producing Party will disclose the search terms to all other Party/Parties.

11                     Disclose the name of the TAR tool or service used to all other Party/Parties.

12            11.       VALIDATION
13            Each Producing Party shall take reasonable steps to validate its review process (i.e., using

14     quality control measures to determine whether its production is missing relevant ESI or contains

15     substantial amounts of irrelevant ESI) and make any necessary adjustments or corrections to its

16     process. If, after reviewing a Producing Party’s production, a Requesting Party reasonably

17     requests additional information regarding the validation method(s) used by the Producing Party,

18     the Producing Party will disclose the level of end-to-end recall (the percentage of responsive

19     Documents in the collection which were identified as responsive by that Producing Party’s

20     methodology). If there remain disputes between the Parties regarding validation, the Parties shall

21     meet and confer to resolve such disputes in good faith, including a reasonable discussion

22     regarding the tool used and the parameters used to obtain or calculate the level of recall.

23            12.       UNSEARCHABLE DOCUMENTS
24            The Producing Party shall use reasonable efforts to identify and review potentially

25     responsive documents for which text-based search technologies are fundamentally ineffective.

26            13.       SYSTEM FILES
27            Each Party will use its best efforts to filter out common system files and application

28     executable files using the national software reference library (“NSRL”) NIST hash set list. The

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 1     Parties also may filter out stand-alone files identified as zero bytes in size. Additional culling of

 2     file types based on file header information may be applied to the following, provided these files

 3     are not known to be otherwise attached, embedded in, or included with an otherwise responsive

 4     document, or are not themselves reasonably known to contain information responsive or contain

 5     responsive data or are used to interface with users or interact with or access individual or

 6     aggregated user data: Application Package File, Backup Files, Batch Files, Binary Disc Image,

 7     C++ File Formats, Cascading Style Sheet, Configuration File, Database File, Dictionary Files,

 8     Dynamic Link Library, Event Log Files, Executable Files, Hypertext Cascading Stylesheet, Java

 9     Archive Files, JavaScript Files, JavaScript Source Code and Class Files, Macintosh Resource

10     Fork Files, Package Manager Files, Program Files, Program Installers, Python Script Files, Shell

11     Script Files, System or Temporary Files, Thumbnail Cache Files, Troff Files, Truetype Font Files,

12     Windows Cabinet File, Windows Command Files, Windows File Shortcut, Windows Help Files,

13     Windows Metafiles and Enhanced Metafiles, Windows Spool Files, Windows System File.

14            14.     DEDUPLICATION
15            Each Producing Party shall make reasonable efforts to globally deduplicate exact

16     duplicate Documents within that Producing Party’s ESI data set across all custodial and non-

17     custodial sources at the family level using either MD5 hash values or SHA hash values or any

18     other agreed-upon (and disclosed) industry-standard deduplication technology. The Parties shall

19     reach agreement on such other deduplication technology and shall reach agreement on how their

20     deduplication tools shall identify exact duplicates of documents in a manner that is consistent

21     with the disclosed tools and technologies a Producing Party is using. The Parties shall reach

22     agreement on how to identify exact duplicates of emails using industry-standard commercially

23     available software tools or services, which may for example calculate hash values of emails based

24     on concatenated values of agreed-upon email fields and/or hash values of attachments, or which

25     may use any other method the Parties agree upon. Having further met and conferred in keeping

26     with the previous sentence, the Parties shall calculate deduplication hash values for emails on the

27     concatenated values set forth in and in accordance with the documentation specifications of the

28     disclosed deduplication tools to be used in this Litigation (i.e., RelativityOne, Relativity Server,

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 1     and Nuix); however, if Nuix is used, the Producing Party shall select the optional field “Include

 2     Bcc” as an additional field to add to the default ones.

 3            The Parties shall not withhold from production near-duplicates without meeting and

 4     conferring on this issue.

 5            The names of all custodians who were either identified as custodians for purposes of

 6     collection for this matter (or otherwise known by the Producing Party to have been in possession

 7     or custody of a document prior to deduplication) will be populated in the ALL CUSTODIANS

 8     metadata field for the produced version of a document that has duplicates removed from

 9     production. The original file paths (if any exist) of a document prior to deduplication will be

10     populated in the ALL FILE PATHS metadata field of the produced document.

11            15.     EMAIL THREADING
12            The Parties may use analytics technology to identify email threads and shall produce the

13     unique most inclusive copy and related family members. Where multiple email messages are part

14     of a single chain or “thread,” a Party is only required to produce the most inclusive copy of an

15     email message(s) (“Last In Time Email(s)”) and need not produce earlier, lesser inclusive email

16     messages or “thread members,” provided that the tool or software service being used to perform

17     threading is disclosed. A Producing Party may exclude from production lesser inclusive copies of

18     the most inclusive email message in the thread, where the entire body of each of those lesser

19     inclusive copies is included within the Last in Time Email. The Producing Party will honor

20     reasonable requests to produce lesser inclusive copies of a Last In Time Email or other earlier

21     chains of emails otherwise excluded by email thread suppression.

22            The Parties shall treat new or different email chains or threads pursuant to further

23     agreement on safeguards or guidelines for defining emails threads which reasonably take into

24     account the capabilities of the email threading/dethreading/hyperthreading tools used by each

25     Defendant (which shall be disclosed to Plaintiffs).

26            16.     SOURCE CODE
27            The Parties will meet and confer to address the production and/or inspection of source

28     code and entering into a separate order governing the same if needed.

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 1            17.      PRODUCTION FORMATS

 2            The Parties agree to produce documents and data in the formats described in Appendix 1

 3     to this ESI Order. If particular documents or categories of documents identified in response to

 4     document requests warrant a different format, the Parties will cooperate to arrange for the

 5     mutually acceptable production of such documents. The Parties further agree not to degrade the

 6     searchability of documents as part of the document production process.

 7            In addition, the Parties agree that the production and production format of social media

 8     and/or user account information is not covered by this agreement and to meet and confer on the

 9     production and production format, including metadata, for social media and/or user account

10     information.

11            18.      PHASING

12            Once the Parties begin propounding discovery requests pursuant to Fed. R. Civ. P. 34, the

13     Parties agree to meet and confer regarding appropriate phasing for the production of ESI.

14            19.      MISCELLANEOUS PROVISIONS

15            a) Production of Plaintiffs ESI and Case-Specific Materials. Subject to any further

16                  agreement among the Parties or Order of the Court, the Parties shall produce case-

17                  specific documents (i.e., documents specific to the claim of a given Plaintiff, produced

18                  by Plaintiffs or Defendants) for any Plaintiff in discovery pools or other selections

19                  designed to inform bellwether selection, including those selected for a bellwether trial,

20                  in accordance with the production format specified herein, provided, however, that the

21                  Producing Party may elect to produce such materials in their native format. To the

22                  extent production of case-specific documents for any Plaintiff selected for a bellwether

23                  trial presents an issue for any Party, the Parties shall reasonably confer, and may

24                  present any disputes to the Court or its designee. The Parties shall further agree to

25                  confer concerning the production format and associated matters (e.g., hosting

26                  platform) for case-specific documents produced in the cases of other Plaintiffs.

27                  Nothing herein shall limit Defendant’s right to seek discovery from any Plaintiff.

28            b) Translations Of Produced Materials. The Producing Party has no obligation to

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 1               create a translation of the Documents or any portion thereof. For any foreign-language

 2               documents responsive to document requests that a Party reasonably knows as the

 3               result of a reasonable investigation have been translated into the English language

 4               using human translators or through machine translation for its own purposes, except to

 5               the extent such translation is protected by attorney-client or work-product privileges,

 6               the Producing Party shall produce the translation of the original document with the

 7               original. The parties will meet and confer as necessary concerning procedures for

 8               using translations at depositions and at trial. In the event the Parties cannot reach

 9               agreement, the matter may be submitted to the Court for determination.

10            c) Third-Party Documents. A Party that issues a Non-Party subpoena (“Issuing Party”)

11               shall include a copy of this Order with the subpoena and state that (1) the subpoenaed

12               Non-Party should produce Documents in response to the subpoena to all Parties; and

13               (2) the Parties to this Litigation have requested that Third Parties produce Documents

14               in accordance with the specifications set forth herein. If the subpoenaed Non-Party

15               produces Documents to the Issuing Party but does not produce those Documents to

16               other Parties, the Issuing Party shall produce such Documents to those other Parties

17               within 14 days of receiving the Documents, except where the Documents are to be

18               used in a deposition, in which case the Issuing Party shall produce such Documents to

19               all other Parties no later than three (3) days prior to the deposition, or as soon as

20               reasonably practicable if such production occurs thereafter. Nothing in this Order is

21               intended or may be interpreted to narrow, expand, or otherwise affect the rights of the

22               Parties or Third Parties to object to a subpoena. If the Non-Party production is not

23               Bates-stamped, the Parties will meet and confer to agree upon a format for designating

24               the documents with a unique Bates Number prefix.

25            d) Documents Produced by Parties – Presumption of Authenticity. In order to reduce

26               the number of requests for admission, this Order establishes a rebuttable presumption

27               that documents produced by the Parties are authentic, if said documents were either

28               created or authored by the producing Party, or any of its employees, agents, or

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 1               contractors, so long as the employees’, agents’, or contractors’ work was performed in

 2               connection with a project or assignment sponsored by the producing Party. No further

 3               evidence to establish authenticity need be provided. Nothing in this paragraph shall be

 4               deemed to waive any other evidentiary objection a party may have, including but not

 5               limited to hearsay, foundation/personal knowledge, or relevance.

 6            e) Re-productions. Notwithstanding any provisions to the contrary, re-production of

 7               discrete sets of documents from another litigation, arbitration, government inquiry, or

 8               other matter may be re-produced in the same manner and form as originally produced

 9               in the other matter, provided however that a party will re-produce documents in a

10               different format for good cause shown. This provision does not waive the right of a

11               party to object to any requests for reproduction of production files from another

12               litigation, arbitration, government inquiry, or other matter.

13            f) Modification. This ESI Order may be modified by a Stipulated Order of the Parties

14               or by the Court for good cause shown.

15            g) Good Faith. The Parties will act in good faith as required by law and use these

16               procedures to identify and reduce the potential for disputes.

17            h) Continuing Obligations. The Parties recognize that discovery shall be an iterative

18               and cooperative process. The Parties will continue to meet and confer regarding any

19               issues as reasonably necessary and appropriate. This Order does not address or resolve

20               any objections to the Parties’ respective discovery requests.

21            i) Reservation of Rights. The Parties agree that any topic not addressed herein is

22               neither a waiver nor acknowledgement of agreement by either Party.

23            IT IS SO STIPULATED, through Counsel of Record.

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 1     DATED: March 15, 2024                     Respectfully submitted,

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13                                                 Google LLC
14              IT IS ORDERED that the foregoing Agreement is approved.
15

16
       Dated:         March 18, 2024
17                                               MAGISTRATE JUDGE PETER H. KANG
18

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 1                                APPENDIX 1: PRODUCTION FORMAT

 2        1) Production Components. Except as otherwise provided below, ESI must be produced

 3            in accordance with the following specifications:

 4                 a) an ASCII delimited data file (.DAT) using standard delimiters;

 5                 b) an image load file (.OPT) that can be loaded into commercially acceptable

 6                    production software (e.g. Concordance);

 7                 c) single page black-and-white TIFF images, or JPEG images when color is

 8                    specified herein, or native files with single page placeholder TIFF images

 9                    depending on the applicable production format for each type of file;

10                 d) and document level .TXT files for all documents containing extracted full text or

11                    OCR text.

12                 e) Family relationships between emails and their attachments, embedded files and

13                    their source document, and connected hardcopy documents will be maintained in

14                    production. Attachments should be consecutively produced with their parent.

15                 f) If a particular document warrants a different production format, the Parties will

16                    cooperate in good faith to arrange for a mutually acceptable production format.

17            2)      Production Media and Access Controls. Productions must be encrypted and

18     produced through secure electronic means, such as secure file sharing methods (e.g. FTP), or on

19     CD, DVD, flash drive or external hard drive (“Production Media”). Each piece of Production

20     Media must identify a production number corresponding to the production volume (e.g.

21     “VOL001”). Each piece of Production Media must also identify: (a) the case caption; (b) the

22     following label: “This media contains material subject to Court Ordered security measures”; (c)

23     the Producing Party’s name; (d) the production date; (e) the Bates Number range of the

24     materials contained on the Production Media.

25            Nothing in this ESI Order will preclude or impair any and all protections provided the

26     Parties by any Protective Order(s) agreed and entered into by the Parties. Parties will use best

27     efforts to avoid the unnecessary copying or transmittal of produced documents. If questions arise,

28     the Parties will meet and confer to ensure security concerns are addressed prior to the exchange of

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 1
       any documents.
 2
              3)      Data Load Files/Image Load Files. Each TIFF in a production must be
 3
       referenced in the corresponding image load file. The total number of documents referenced in a
 4
       production’s data load file should match the total number of designated document breaks in the
 5
       image load file(s) in the production. The total number of pages referenced in a production’s
 6
       image load file should match the total number of TIFF files in the production. All images must
 7
       be assigned a unique Bates number that is sequential within a given document and across the
 8
       production sets. The Bates Numbers in the image load file must match the corresponding
 9
       documents’ beginning Bates numbers in the data load file. The total number of documents in a
10
       production should match the total number of records in the data load file. Load files must not
11
       vary in format or structure within a production, or from one production to another except by
12
       agreement of the Parties.
13
              4)      Metadata Fields. Each of the metadata and coding fields set forth below that can
14
       be extracted should be produced for each document, except that if the field contains privileged
15
       information, that privileged information may be redacted. However, to the extent that metadata
16
       does not exist, is not available for any documents produced, this provision shall not be read to
17
       require any Party to extract, capture, collect, manually populate, or produce such metadata, with
18
       the exception of the following: (a) BEGBATES, (b) ENDBATES, (c) BEGATTACH, (d)
19
       ENDATTACH, (e) PRODVOL, (f) ALL CUSTODIANS, (g) CONFIDENTIALITY, (h)
20
       REDACTIONS, (i) REDACTION TYPE, (j) HASHVALUE, (k) NATIVEFILEPATH, and (l)
21
       TEXTFILEPATH, which should be populated by the Party or the Party’s vendor. The Parties
22
       will make reasonable efforts to ensure that metadata fields automatically extracted from the
23
       documents correspond directly to the information that exists in the original documents.
24

25       Field Name                                        Field Description

26                                                         Beginning Bates number for a particular
         BEGBATES                                          document as stamped on the first production
27                                                         image for that document

28       ENDBATES                                          Ending Bates number as stamped on the last

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 1
         Field Name                                Field Description
 2
                                                   production image for a particular document
 3
                                                   First production Bates number of the first
         BEGATTACH
 4                                                 document in a family

 5                                                 Last production Bates number of the last
         ENDATTACH
                                                   document in a family
 6
                                                   Number of attachments to an e-mail or
 7                                                 embedded parent, as generated by
         ATTACHCOUNT
                                                   commercially available discovery processing
 8
                                                   tools.
 9
                                                   Names of each individual Attachment,
         ATTACHNAMES
10                                                 separated by semicolons.

11       PRODVOL                                   Production volume

12                                                 List of all custodians associated with
         ALLCUSTODIANS                             Document, i.e. “Custodian” + “Other
13                                                 Custodian” values delimited by semicolon.

14                                                 All original path(s) to the individual source
                                                   file(s) when available in the ordinary course
15                                                 of business to and processable by the parties
         ALLFILEPATHS
                                                   and their ESI vendors of choice. Includes path
16                                                 up to and including internal path of
17                                                 containers.

18                                                 Confidentiality designation assigned to the
         CONFIDENTIALITY                           document consistent with the Stipulated
19                                                 Protective Order governing this Litigation
20       NATIVEFILEPATH                            Native File Link (Native Files only)
21                                                 Path to extracted text/OCR file for the
         TEXTFILEPATH
                                                   document
22
         HASHVALUE                                 MD5 hash value of the document
23
                                                   Descriptor for the type of document: “E-
24
                                                   document” for electronic documents not
25                                                 attached to e-mails; “E-mail” for all e-mails;
         DOCUMENT TYPE                             “E-attachment” for files that were attachments
26                                                 to e-mails; and “Physical” for hard copy
                                                   physical documents that have been scanned
27                                                 and converted to an electronic image.
28       AUTHOR                                    Any value populated in the Author field of the
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 1
         Field Name                                Field Description
 2
                                                   document properties
 3
                                                   Date the document was created according to
 4       DOCDATE                                   filesystem information (format:
                                                   MM/DD/YYYY)
 5
                                                   Date when document was last modified
 6       DATELASTMODIFIED                          according to filesystem information (format:
                                                   MM/DD/YYYY)
 7
                                                   Last person who modified (saved) a
 8
         LAST MODIFIED BY                          document, as generated by commercially
 9                                                 available discovery processing tools.

10                                                 Y if a document with track changes value,
         TRACK CHANGES                             otherwise N or empty, if available separately
11                                                 from the HASHIDDENDATA flag

12                                                 Y if a document with comments, otherwise N
         COMMENTS                                  or empty, if available separately from the
13                                                 HASHIDDENDATA flag
                                                   Y if a document with hidden content value,
14       HASHIDDENDATA                             otherwise N or empty
15
         FILENAME                                  Filename of an electronic document
16
                                                   Any value populated in the Title field of the
         TITLE
17                                                 document properties

18                                                 File extension of document pulled from the
         DOCEXT
                                                   document properties
19
         FROM                                      The sender of the email
20
                                                   All recipients that were included on the “To”
21       TO
                                                   line of the email
22                                                 All recipients that were included on the “CC”
         CC
                                                   line of the email
23
                                                   All recipients that were included on the
24       BCC
                                                   “BCC” line of the email
25
                                                   Date and time email was received (format:
         DATETIMERECEIVED
26                                                 MM/DD/YYYY HH:MM)

27                                                 Date and time email was sent (format:
         DATETIMESENT
                                                   MM/DD/YYYY HH:MM)
28

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 1
           Field Name                                                 Field Description
 2
           TIMEZONE                                                   The timezone used to process the document
 3
                                                                      Subject line of email pulled from the
           EMAILSUBJECT
 4                                                                    document properties

 5                                                                    If a threading tool is used for emails, the
           THREADID
                                                                      thread id generated by the threading tool.
 6
                                                                      General category of redaction reason as
 7                                                                    agreed to by the parties. For example, PII,
           REDACTION TYPE1
                                                                      SCA, CODE, and/or PRIV. If more than one,
 8
                                                                      separate reasons by semicolons.
 9
                                                                      Y if a document is redacted, otherwise N or
           REDACTIONS
10                                                                    empty

11              5)       TIFFs. Unless excepted below, single page, black and white, Group IV TIFFs
12     should be provided, at least 300 dots per inch (dpi) for all documents. Each TIFF image must be
13     named according to a unique corresponding Bates number associated with the document. Each
14     image must be branded according to the Bates number and the agreed upon confidentiality
15     designation. Original document orientation should be maintained (i.e., portrait to portrait and
16     landscape to landscape). Where the TIFF image is unreadable or has materially degraded the
17     quality of the original, the Producing Party shall provide a higher quality TIFF image or the
18     native or original file. In addition, the Parties shall take reasonable efforts to process word
19     processing documents (e.g., MS Word) with track changes and/or comments unhidden on the
20     TIFF image.
21              6)       Color. Word processing documents containing tracked changes shall be
22     produced in color, as single-page, 300 dpi JPG images with JPG compression and a high quality
23     setting as to not degrade the original image. The Producing Party shall comply with good faith
24     by the Requesting Party to provide replacement color images for documents originally produced
25     in black and white. A Party making such a request shall make the request by individual Bates
26
       1
         The Parties will provide specific information on any privilege(s) asserted in their privilege logs, in an overlay, or the
27     redaction boxes. The “Redaction Reason” field is informational only for redaction type and shall not in any way limit
       a party’s right to assert attorney-client privilege, attorney-work product privilege, and/or any other applicable privilege
28     or protection.

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 1
       number(s) and shall limit requests made pursuant to this paragraph to a reasonable number of
 2
       documents.
 3
              7)      Text Files. A single multi-page text file must be provided for each document,
 4
       and the filename should match its respective TIFF filename for the first page of that document.
 5
       Extracted text shall be generated with commercially acceptable technology set to include all
 6
       comments, revisions, tracked changes, speaker’s notes and text from documents with comments
 7
       or tracked changes, and hidden and very hidden worksheets, slides, columns and rows. When
 8
       possible, the text of native files should be extracted directly from the native file. Parties will
 9
       perform optical character recognition (“OCR”) on foreign language documents using the
10
       appropriate settings for languages reasonably anticipated to be in the production following a
11
       meet and confer with the Requesting Party to identify those languages. Text files will not
12
       contain the redacted portions of the documents. A commercially acceptable technology for OCR
13
       should be used for all scanned, hard copy documents and for documents with redactions other
14
       than Excel files and other spreadsheets which shall be redacted in native format. Text extracted
15
       from emails should include the following header information where available: (1) the
16
       individuals to whom the communication was directed (“To”), (2) the author of the email
17
       communication (“From”), (3) who was copied and blind copied on such email (“CC” and
18
       “BCC”), (4) the subject line of the email (“RE” or “Subject”), and (5) the date and time of the
19
       email. To the extent the text extraction technology the Parties are using can be configured to
20
       include the text of any URLs or links, the Parties shall utilize that setting.
21
              8)      Native files. Spreadsheets (e.g. MS Excel), and un-redacted presentations (e.g.
22
       Microsoft PowerPoint,) will be produced in native format to the extent that they are produced in
23
       this Litigation, audio, video, and multi-media files will be produced in native format. The
24
       Parties will meet and confer on the production of other file types, such as proprietary files, etc.
25
       Native files will be produced with a link in the NATIVEFILEPATH field, along with extracted
26
       text (where extracted text is available) and applicable metadata fields set forth in paragraph 4
27
       above. A Bates numbered TIFF placeholder indicating that the document was provided in native
28
       format must accompany every native file. Where redaction makes production of native-format
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 1
       files other than spreadsheets or presentations infeasible, the Parties will confer to determine a
 2
       reasonably usable form for the production, but spreadsheets shall presumptively be redacted in
 3
       native, and presentations presumptively redacted in image form, in these cases without the need
 4
       for further conferring.
 5
              9)      Production Format for Hard Copy Documents. Documents that exist in
 6
       hardcopy will be scanned to *.tiff image format and produced in accordance with the
 7
       specifications set forth herein. Hard copy documents that are not text-searchable shall be made
 8
       searchable by OCR prior to production. In scanning paper documents, distinct documents
 9
       should not be merged into a single record, and single documents should not be split into
10
       multiple records (i.e., paper documents should be logically unitized). In the case of an organized
11
       compilation of separate documents (for example, a binder containing several separate
12
       documents behind numbered tabs), the document behind each tab should be scanned separately,
13
       but the relationship among the documents in the compilation should be reflected in the proper
14
       coding of the beginning and ending document and attachment fields. The Parties will make their
15
       best efforts to unitize the documents correctly. If relevant documents are maintained in a file,
16
       folder, envelope, binder, notebook or similar container used to store documents, all contents
17
       therein shall be reviewed for production and privilege. Document pages which have affixed
18
       notes, such as Post-it notes, should be imaged with and without the note attached.
19
              10)     Confidentiality Designation. All images will be stamped with the appropriate
20
       confidentiality designations in accordance with the Stipulated Protective Order entered in this
21
       Litigation. Each document produced in native format will have its confidentiality designation
22
       identified in the filename of the native file and indicated on its corresponding TIFF placeholder.
23
              11)     Bates Numbering. Bates numbering should be a consistent length across the
24
       production, contain no special characters, and be numerically sequential within a given
25
       document. If a Bates number or set of Bates numbers is skipped, the skipped number or set of
26
       numbers should be noted with a placeholder. Attachments to documents will be assigned Bates
27
       numbers that directly follow the Bates numbers on the documents to which they were attached.
28

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 1
       In addition, wherever possible, each image will have its assigned Bates number electronically
 2
       “burned” onto the image.
 3
              12)     Databases and Other Structured Data. To the extent that responsive
 4
       information is stored in a database, or database management system, or proprietary system or
 5
       application which has is directed to data storage as one of its primary functions, the Producing
 6
       Party will identify the database and platform to the Requesting Party. The Producing Party shall
 7
       produce exports and reports about such responsive information stored in such database, where
 8
       such exports and reports shall be in a reasonably usable form, and information may be produced
 9
       in CSV format, tab-delimited text format, Microsoft Excel format, or Microsoft Access format.
10
       If there are future disputes over the production of information from a database, the Parties shall
11
       meet and confer in good faith in an attempt to reach any further agreements (if needed) on the
12
       data to be produced and the format and scope of the production. The Producing Party will
13
       provide reasonable amounts of information about the databases to facilitate that discussion.
14
              13)     Hyperlinks. Document(s) and/or folder(s) of documents that are hyperlinked
15
       inside a responsive document (including hyperlinked inside emails) within a Producing Party’s
16
       custody, possession, or control, do not need to be produced in the first instance as part of the
17
       same family group as the Document residing at the location to which that hyperlink points. If
18
       there are particular hyperlinks identified by the Requesting Party in produced documents, the
19
       Requesting Party may submit a list of hyperlinks to a particular Producing Party for potentially
20
       relevant documents by identifying the Bates number and URL or link text for each requested
21
       link to the Producing Party, and the Producing Party will engage in reasonable efforts to locate
22
       the hyperlinked document at that location and either identify it by Bates number or provide any
23
       responsive, non-produced, and non-privileged documents. The number of hyperlinks a
24
       Requesting Party may identify to a Producing Party shall not be excessive and shall be
25
       reasonable, proportional to the needs of the case, and not unduly burdensome.
26
              14)     Embedded Objects. The Parties agree non-substantive embedded objects,
27
       including, but not limited to, logos, icons, emoticons, and footers, may be culled from a
28
       document set (but not a document) and need not be produced as separate documents by a
       STIP. & [PROPOSED] ORDER GOVERNING THE
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 1
       Producing Party (i.e., such embedded objects will be produced within the document itself, rather
 2
       than as separate documents). Embedded files, except for images (including but not limited to,
 3
       logos, icons, emoticons), are to be produced as family groups. Embedded files should be
 4
       assigned Bates numbers that directly follow the Bates numbers on the documents within which
 5
       they are embedded.
 6
              15)     Production of Family Groups and Relationships. If any member of a family
 7
       group is produced, all members of that group must also be produced or else logged as
 8
       privileged, and no such member shall be withheld from production as a duplicate.
 9
              16)     Dynamic Fields. Documents with dynamic fields for file names, dates, and
10
       times will be imaged to show the field code (e.g., “[FILENAME]”) where possible, rather than
11
       the values for such fields existing at the time the file is processed.
12
              17)     Time Zone. The time zone used to process a document, including its metadata,
13
       shall be disclosed in the TIMEZONE metadata field consistent with Appendix 1, and shall be
14
       standardized for each Defendant across productions.
15
              18)     Redactions.
16
              a)      A Producing Party may redact (i) information subject to the attorney client
17
       privilege or the work product protection (PRIV); (ii) information that cannot be disclosed
18
       pursuant to the Stored Communications Act (SCA); (iii) source code subject to separate
19
       agreement applicable to production of source code (CODE); (iv) personal identifying
20
       information (PII) including phone numbers, personal addresses, personal email addresses, the
21
       month and day of birth, driver’s license numbers, and other PII agreed to by the Parties (for
22
       example, the Parties shall complete their meet and confer on whether or not to redact users’ ages
23
       and years of birth). In any event, there shall be no redaction of illnesses, injuries, and medical
24
       diagnoses. To the extent a document or pleading contains PII, the Parties shall designate such
25
       documents at the appropriate Confidentiality level under the Protective Order and shall comply
26
       with Fed. R. Civ. P. 5.2 with regard to filings with the Court.
27
              b)      No redactions for relevance may be made within a produced document or ESI
28
       item. If, during the course of discovery, the Parties identify other kinds of information that any
       STIP. & [PROPOSED] ORDER GOVERNING THE
       PRODUCTION OF ESI & HARD COPY DOCUMENTS           -9-                3:22-MD-03047-YGR; MDL NO. 3047
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 1
       Party has a reasonable basis for redacting, the Parties will meet and confer on a case-by-case
 2
       basis regarding that information before such redactions are made. If the Parties cannot agree,
 3
       they may seek resolution from the Court.
 4
              c)      The Producing Party will indicate, on the face of the redaction, the asserted
 5
       reason(s) for the redaction (PII, SCA, CODE, and/or PRIV) and the REDACTION TYPE
 6
       metadata field shall indicate that the document contains redactions and the reason(s) for the
 7
       redaction.
 8
              d)      Notwithstanding the foregoing, this provision shall not be read to prohibit
 9
       redactions permitted under any applicable U.S. law or Protective Order.
10
              e)      Where a responsive document contains both redacted and non-redacted content,
11
       the Parties shall produce the non-redacted portions of the document and the OCR text
12
       corresponding to the non-redacted portions.
13
              f)      Native Redactions. Spreadsheet files requiring redaction, including without
14
       limitation Microsoft Excel files, shall be redacted and produced natively (unless the Parties
15
       agree to production in some other format). In addition, a Producing Party may natively redact
16
       other files that cannot be properly imaged for redaction.
17
              g)      All images of redacted files shall be processed to show all comments, revision
18
       marks, speaker notes, marks made in track changes, or other user-entered data which are visible
19
       in a normal view of the document in its native application, unless such material is redacted and
20
       marked as redacted in accordance with this section. Where possible, any occurrences of
21
       date/time auto‐field items, including in headers and footers, will be removed and replaced with
22
       the term AUTODATE to prevent the current date from being printed. Email header information
23
       (e.g., date and/or subject line) shall not be redacted unless it is independently privileged. The
24
       Parties shall honor reasonable requests for the production of particular redacted documents in
25
       other formats where the image is not reasonably usable.
26
              h)      Color. Redacted versions of documents that would have been produced in color
27
       in their un-redacted form shall be produced in color as detailed herein.
28

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 1
              19)     Exception Files. The Parties will use reasonable efforts to address processing
 2
       exceptions.
 3
              20)     Mobile and Handheld Device Documents and Data. If responsive and unique
 4
       data that can reasonably be extracted and produced in the formats described herein is identified
 5
       on a mobile or handheld device, that data shall be produced in accordance with the generic
 6
       provisions of this protocol. To the extent that responsive data identified on a mobile or handheld
 7
       device is not susceptible to normal production protocols, the Parties will meet and confer to
 8
       address the identification, production, and production format of any responsive documents and
 9
       data contained on any mobile or handheld device.
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       STIP. & [PROPOSED] ORDER GOVERNING THE
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DELIVERED VIA PROCESS SERVER                                      July 17, 2024

California Department of Education
1430 N Street
Sacramento, CA 95814


       Re: People of the State of California v. Meta Platforms, Inc.,
             4:23-cv-05448

Dear Sir/Madam:

Enclosed please find a subpoena being served upon you in connection with the above-captioned
litigation currently pending in the U.S. District Court for the Northern District of California. I
represent Defendants Meta Platforms, Inc.; Instagram, LLC, Meta Payments, Inc., Meta Platforms
Technologies, LC and Mark Zuckerberg (collectively, the “Meta Defendants”) in this matter.

The document subpoena requests the production of specific documents identified in the attached
subpoena (see Attachment A to the subpoena), which are requested to be produced by 10 am on
August 19, 2024. We are willing to work with you on the time, date, location, method and manner
of document production, as well as answer any questions or concerns you may have regarding
subpoena compliance. It is sufficient compliance with this subpoena if you electronically transmit
a copy of the requested documents to the undersigned. As such, please contact me at
kpatchen@cov.com and 415-591-6031, to discuss document production and subpoena
compliance, unless you are already represented by counsel in connection with this matter.

The Court is currently considering whether California Attorney General’s Office has control over
the California Department of Education’s information for the purposes of discovery in this
action. If the Court rules that the California Attorney General’s Office has control over the
California Department of Education’s information, California Attorney General has pending
discovery requests that seek this agency’s documents. By serving this subpoena, Meta does not
waive its position in the state agency dispute, nor does Meta in any way waive rights to compel
the California Attorney General to produce California Department of Education information as
part of discovery in this action. However, to avoid further delay in the production of information
from the California Department of Education, Meta is serving the attached subpoena to request
the timely production of this information.

Your anticipated time and assistance with this matter is greatly appreciated.
   Case 4:23-cv-05448-YGR            Document 116-3   Filed 07/24/24   Page 61 of 439




California Department of Education
July 17, 2024
Page 2


                                                             Best regards,

                                                             /s/ E. Kate Patchen

                                                             E. Kate Patchen



Enclosed: Subpoena, Attachment A, and Attachment B
              Case 4:23-cv-05448-YGR                        Document 116-3                  Filed 07/24/24              Page 62 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________  DistrictofofCalifornia
                                                                                __________
              People of the State of California, et al.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.          4:23­cv­05448
                  Meta Platforms, Inc., et al.                                )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: California Department of Education
        1430 N Street, Sacramento, CA 95814
                                                       (Name of person to whom this subpoena is directed)

     ✔
     ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A.



 Place: Shook, Hardy & Bacon, Attn: Jennifer Blues Kenyon                               Date and Time:
           555 Mission Street, Suite 2300
           San Francisco, CA 94105                                                                  10 a.m. on August 19, 2024

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2024

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Ashley Simonsen
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Meta Platforms, Inc. f/k/a Facebook, Inc.; Instagram, LLC, Meta Payments, Inc.,
Meta Platforms Technologies, LLC; and Mark Zuckerberg,                          who issues or requests this subpoena, are:
Ashley Simonsen, Covington & Burling LLP, 1999 Avenue of the Stars, Los Angeles, CA 90067, 424­332­4782, asimonsen@cov.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 4:23-cv-05448-YGR                      Document 116-3                  Filed 07/24/24              Page 63 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 4:23-cv-01615

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
               Case 4:23-cv-05448-YGR                          Document 116-3                  Filed 07/24/24                 Page 64 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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               DEFINITIONS AND INSTRUCTIONS TO ATTACHMENT A

                                            DEFINITIONS

        1.      The term “communication” means the transmittal of information (in the form of

facts, ideas, inquiries or otherwise).

        2.      “Document” or “documents” shall have the broadest meaning ascribed to it by the

Federal Rules of Civil Procedure, and includes, without limitation electronically stored

information (“ESI”) (including, without limitation, electronic databases and the data therein, all

electronic messages or communications, electronic word processing documents, electronically

stored voicemail, webpages, and social media posts) in accordance with any order in this case

governing ESI at the time of production. Different versions of the same documents, including, but

not limited to, drafts or documents with handwritten notations or marks not found in the original

or on other copies are different documents.

        3. “You”, “you”, “Your” and “your” means the California Department of Education.

        4.      “Relating” or “related to” means and includes referring to, concerning, referencing,

mentioning, associated with, constituting, discussing, containing, embodying, recording,

reflecting, identifying, summarizing, incorporating, and/or dealing with or pertaining to in any

way.

        5.      “And” includes “or”, and vice versa.

        6.      The singular form of a word or term includes the plural, and vice versa.

        7.      The present tense of a verb includes the past tense, and vice versa.

        8.      The use of the article “the” shall not be construed as limiting the scope of any

request.

        9.      “Including” means “including without limitation.”



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       10.     “Any” includes “all”, and vice versa.

       11.     The capitalized version of a word or term includes the lower case version of a word

or term, and vice versa.

       12.     “Social Media Platforms” or “Platforms” means a digital service that facilitates

interactions between two or more distinct but interdependent sets of users, including but not limited

to Facebook, Instagram, Snapchat, TikTok, YouTube, Twitter (or “X”), Pinterest, LinkedIn,

BeReal, Lapse, Reddit, Threads, VSCO, Goodreads, Quora, Discord, Twitch, and Tumblr.

       13.     “Young Users” means users of Social Platforms who are under 18 years of age

when using the Platform(s).

       All words, terms, and phrases not specifically defined herein are to be given their normal

and customary meaning in the context in which they are used in these Requests.

                                        INSTRUCTIONS

       1.      These Requests are intended to cover any and all documents in your possession,

custody, or control, to the extent not privileged. Documents held by any office, department, board,

commission, or instrumentality of the California Department of Education are within your

possession, custody, or control.

       2.      In accordance with ESI Protocol attached hereto as Attachment B, if you object to

furnishing any of the documents or information requested by these Requests on the grounds of

attorney-client privilege, work product, other privilege, or otherwise then, with respect to each

such document:

               a. state the nature of the privilege claimed;
               b. state the date of each communication supporting the privilege claim;

               c. identify all participants in the supporting communication;

               d. state the specific grounds on which the objection is based; and


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                e. identify the specific request calling for such information;

        2.      If you object to any Request on the grounds that it is vague or ambiguous, state: (i)

the portions or terms of such Request that you claim to be vague or ambiguous; and (ii) the

interpretation of the Request pursuant to which you provide a response.

        3.      Each request shall be deemed continuing, so as to require supplemental or

mandatory responses should you obtain additional responsive information subsequent to your

initial responses.

        4.      If you cannot fully respond to a particular Request after exercising due diligence to

make inquiry and to secure the necessary information, provide a response to the extent possible,

specifying your inability to respond to the remainder and providing whatever information or

knowledge you have concerning the portion not responded to.

        5.      Each page of a produced document shall have a legible, unique page identifier

(“Bates Number”) and confidentiality legend (where applicable) on the face of the image at a

location that does not obliterate, conceal, or interfere with any information from the source

document. Redactions should be clearly marked or stamped on the page in such a way that it is

clear from review that a portion of the image has been redacted.

        6.      All responsive and non-privileged electronic documents shall be produced in the
format ordered by the Court in its ESI order.

        7.      All responsive electronic documents shall be produced in a format agreed upon by

the parties, to include at least native versions of Excel spreadsheets and presentation files, with a

Bates-stamped placeholder image.

        8.      Unless otherwise specified, the time period for these Requests is January 1, 2012

to the date of production of the Documents.




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                                   ATTACHMENT A

1. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
   mental, social, emotional, or behavioral health of persons ages 13 to 18.

2. Programs, initiatives, efforts, or actions proposed or taken by the California Department of
   Education to encourage or promote the use of Social Media Platforms.

3. Programs, initiatives, efforts, or actions proposed or taken by the California Department of
   Education to address Young Users’ use of Social Media Platforms, including any program,
   initiative, effort, or action to prevent, limit, encourage, or promote the use of Social Media
   Platforms by Young Users.

4. Studies, programs, initiatives, efforts, or actions proposed or taken by the California
   Department of Education that sought to provide or promote internet access or phones,
   computers, tablets, or other electronic devices to Young Users.

5. Policies proposed, recommended, or enacted by the California Department of Education
   regarding screen time and acceptable use of cell phones, computers, tablets, or other
   electronic devices by Young Users.

6. Complaints to the California Department of Education by teachers regarding social media
   or cell phone use by Young Users and/or the need for acceptable use or other policies to
   address Young Users’ use of social media or cell phones.

7. Complaints to the California Department of Education by teachers or school districts
   regarding budget crises from inflation, underfunding, unfunded mandates, and other
   causes.

8. Documents related to state assessment in California, including reports and analyses
   regarding the history of K-12 state assessment or standardized testing scores,
   performance by schools and/or school districts, and any other measures of school
   performance.

9. California Department of Education’s communications and/or collaboration with any
   Social Media Platform on any program, initiative or other action related to, or directed at,
   Young Users.

10. California Department of Education’s communications with any third party related to
    Young Users and/or Social Media Platforms.

11. Policies, procedures, and practices applicable to California Department of Education and
    California Department of Education employees regarding the use of Social Media
    Platforms, including any changes to these policies during the Relevant Period.




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12. Legislation or policies proposed by, proposed on behalf of, or testified on by the California
    Department of Education, regardless of whether such legislation or policies were enacted,
    regarding Young Users’ use of Social Media Platforms.

13. Research, investigations, studies, surveys, reports, evaluations, or analyses related to Social
    Media Platforms, including the importance of Social Media Platforms and the use of Social
    Media Platforms by Young Users and the potential benefits and harms created by the use
    of Social Media Platforms.

14. Research, investigations, studies, surveys, reports, evaluations, or analyses related to Social
    Media Platforms regarding the impact of social media on the mental, social, emotional, or
    behavioral health of Young Users.

15. Research, investigations, studies, surveys, reports, evaluations, or analyses related to:
       a. Features of Social Media Platforms that are psychologically or physically harmful
           to Young Users;
       b. Features of Social Media Platforms that promote compulsive, prolonged, or
           unhealthy use by Young Users;
       c. The impact of features of Social Media Platforms, including:
              (1) Algorithmic recommendation and sequencing;
              (2) Image filters;
              (3) Use of multiple user accounts;
              (4) Infinite scroll;
              (5) Ephemeral content features;
              (6) Autoplay;
              (7) Quantification and display of likes; or
              (8) Audiovisual and haptic alerts.

16. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
    mental, social, emotional, or behavioral health of Young Users, including those related to
    the effects of:
        a. Social Media Platforms usage;
        b. Video games usage;
        c. Cell phone usage;
        d. Messaging usage;
        e. Usage of other electronics apart from usage of Social Media Platforms;
        f. COVID-19 and/or remote learning;
        g. Use of drugs or alcohol;
        h. The opioid and fentanyl epidemic;
        i. Poverty, homelessness, lack of health insurance, and/or food insecurity;
        j. Physical health including nutrition, exercise, weight management, sleeping habits,
            and sexual activity;
        k. Family trauma or deaths;
        l. Academic pressure;
        m. Violence, including school violence, domestic violence, gun violence, gun control
            and/or mass shootings;



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       n.   Bullying or verbal abuse apart from usage of Social Media Platforms;
       o.   Political polarization;
       p.   Natural disasters;
       q.   Climate change;
       r.   Discrimination and inequity;
       s.   Global warfare and conflict; and
       t.   Any other potential causes of harms to the mental, social, emotional, or behavioral
            health of Young Users.

17. Youth Risk Behavior Surveys conducted by the California Department of Education or on
    its behalf.

18. Public or non-public meetings held by the California Department of Education related to
    Social Media Platforms and use of Social Media Platforms by Young Users, including
    notices, meeting notes, PowerPoint presentations, internal memoranda, summaries,
    personal notes, or attendee lists.

19. Mental, social, emotional, or behavioral health services provided by the California
    Department of Education to Young Users during the Relevant Period.

20. Budgeted and actual expenditures by the California Department of Education during the
    Relevant Period related to Young Users’ use of Social Media Platforms.

21. Policies, procedures, and practices related to the California Department of Education’s use
    of Social Media Platforms, including communication of information or promotion of
    California Department of Education programs, initiatives, efforts, or actions on Social
    Media Platforms.

22. California Department of Education’s budget and actual expenditures during the Relevant
    Period, including expenditures on:
        a. Digital advertisements by the California Department of Education on Social Media
            Platforms
        b. Digital advertisements by the California Department of Education purchased
            through Social Media Platforms.




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 6                             IN THE UNITED STATES DISTRICT COURT

 7                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8
         IN RE: Social Media Adolescent                       MDL No. 3047
 9       Addiction/Personal Injury Products Liability         Case No. 4:22-md-03047-YGR
         Litigation
10
                                                              Honorable Yvonne Gonzalez Rogers
11       This document relates to:                            Honorable Peter H. Kang
         ALL ACTIONS
12                                                            STIPULATION AND [PROPOSED]
                                                              ORDER GOVERNING THE
13                                                            PRODUCTION OF
14                                                            ELECTRONICALLY STORED
                                                              INFORMATION AND HARD COPY
15                                                            DOCUMENTS

16

17            1.      PURPOSE
18            This Order Governing the Production of Electronically Stored Information and Hard Copy

19     Documents (“ESI Order”) will govern discovery of electronically stored information and any hard

20     copy documents in this Litigation as a supplement to the Federal Rules of Civil Procedure, this

21     District’s Guidelines for the Discovery of Electronically Stored Information, and any other

22     applicable orders and rules. “This Litigation” includes all actions currently in MDL No. 3047, In

23     Re: Social Media Adolescent Addiction/Personal Injury Products Liability, or hereafter added or

24     transferred to MDL No. 3047, and all actions later remanded to their respective transferor courts.

25            2.      DEFINITIONS
26            a) “Document” is defined to be synonymous in meaning and equal in scope to the usage

27                 of this term in Rules 26 and 34 of the Federal Rules of Civil Procedure and shall

28                 include Hard-Copy Documents and ESI.

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 1            b) “Electronically stored information” or “ESI,” as used herein has the same meaning as

 2                 in Federal Rules of Civil Procedure 26 and 34.

 3            c) “Hard-Copy Document” means Documents existing in paper form at the time of

 4                 collection.

 5            d) “Searchable Text” means the native text extracted from an Electronic Document and

 6                 any Optical Character Recognition text (“OCR text”) generated from a Hard-Copy

 7                 Document or electronic image.

 8            3.      COOPERATION
 9            The Parties are aware of the importance the Court places on cooperation and commit to

10     cooperate in good faith throughout this Litigation consistent with this Court’s Guidelines for the

11     Discovery of ESI and this Court’s Rules of Professional Conduct. The Parties will endeavor to

12     cooperate in good faith and be reasonably transparent in all aspects of the discovery process.

13            4.      LIAISON
14            The Parties will identify Discovery Liaisons to each other who are and will be

15     knowledgeable about and responsible for discussing their respective ESI. Any Party is free to

16     change their designated Discovery Liaison by providing written notice to the other Parties. Each

17     Party’s Discovery Liaison must: (a) be prepared to meet and confer on discovery-related matters

18     and to participate in discovery dispute resolution; (b) be knowledgeable about the Party’s

19     discovery efforts; (c) be, or have reasonable access to those who are, familiar with the Party’s

20     electronic systems and capabilities in order to explain those systems and answer relevant

21     questions; and (d) be, or have reasonable access to those who are knowledgeable about the

22     technical aspects of discovery, including electronic document storage, organization, and format

23     issues, and relevant information retrieval technology, including search methodology.

24            5.      IDENTIFICATION OF CUSTODIANS AND DATA SOURCES
25            The parties will disclose information about custodians and custodial and non-custodial

26     data sources likely to possess relevant or responsive information in accordance with Fed. R. Civ.

27     P. 26 and this District’s ESI Guidelines. The Parties will participate in Rule 26(f) discussions

28     guided by this District’s Checklist for Rule 26(f) Meet and Confer Regarding Electronically

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 1     Stored Information. After responses to Requests for Production under Fed. R. Civ. P. 34 have

 2     been served, the parties will meet and confer regarding those custodians and custodial and non-

 3     custodial data sources from which Documents and ESI will be collected for search and review for

 4     potential production in this litigation. The custodian and data source exchanges will include brief

 5     explanations of the rationale for their selections; for example, for custodians, their current job

 6     titles and descriptions of their work, and for data sources, location information and description.

 7            6.      INACCESSIBLE OR UNUSABLE ESI
 8            If a Producing Party asserts that certain requested ESI is inaccessible or not “reasonably

 9     accessible,” otherwise unnecessary, or if the Receiving Party asserts that, following production,

10     certain ESI is not reasonably useable, the parties shall meet and confer to discuss resolving such

11     assertions. The parties will exchange sufficient information to enable the parties to confer in good

12     faith. If the parties cannot resolve any such disputes after such a meet and confer has taken place,

13     the issue shall be presented to the Court for resolution.

14            7.      KNOWN RESPONSIVE DOCUMENTS
15            Documents or ESI identified in a custodial or non-custodial file, or in a discrete folder or

16     collection, that are known to a Producing Party through reasonable investigation to be responsive

17     to a discovery request shall be collected for review without regard to whether the responsive

18     content was located via any search methodology developed in accordance with this Order, and

19     nothing about such review shall prevent the Producing Party from redacting or withholding and

20     logging such documents for applicable privileges.

21            8.      SEARCH METHODOLOGIES
22            The Parties shall adopt reasonable and proportionate methodologies to identify, search,

23     collect, cull, review, and produce ESI as required under applicable legal standards. The Parties

24     recognize and agree that each Party may use one or more methodologies to identify, search,

25     collect, cull, review, and produce responsive and non-privileged ESI, including the use of

26     keyword search terms and/or the use of technology assisted review (“TAR”) as discussed further

27     herein. The Parties further recognize that different data sets may implicate different

28     methodologies to identify, search, collect, cull, review, and produce responsive and non-

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 1     privileged ESI. The Parties therefore agree to meet and confer in good faith regarding any

 2     potential disputes over their respective ESI productions.

 3            9.      HIT REPORTS AND SEARCH TERMS
 4            If a Producing Party uses search terms to identify, search, or cull potentially responsive

 5     ESI, the Producing Party shall disclose the search terms to the Requesting Party. The Parties shall

 6     meet and confer regarding any disputes over the disclosed search terms. In the event that a

 7     Producing Party claims burden with respect to modified and/or additional search terms proposed

 8     by a Requesting Party, the Producing Party shall provide a hit report for the terms at issue using

 9     industry-standard processing tools, such as NUIX or other similar tools. The Producing Party

10     shall provide a hit report for the document collection where the terms were applied, including the

11     following with respect to each proposed or modified search term in the collection:

12            a) The number of documents with hits for that term; and

13            b) The number of unique documents, i.e., documents which do not have hits for any other

14                 term.

15            If, after reviewing a hit report from a Producing Party, a Requesting Party so chooses, it

16     may reasonably request a further hit report which includes:

17            c) The number of family members, including the documents with hits, of the documents

18                 with hits for that term; and

19            d) The number of unique family members of the documents with hits for that term.

20            If the ESI tool for the Producing Party is capable without undue burden of providing the

21     number of family members and unique family members, then the Producing Party shall provide

22     such further hit report. The Parties (including the person most knowledgeable about the

23     capabilities of the Producing Party’s ESI tool and the Requesting Party’s person most

24     knowledgeable about technical issues from its ESI service provider) shall meet and confer

25     regarding any disputes over whether the Producing Party’s ESI tool has the capability or not to

26     provider either number of family members or number of unique family members.

27            The Parties shall meet and confer to resolve disagreements over the search terms or their

28     application. To the extent the Parties are unable to reach agreement on the application of, or

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 1     procedures for, any search or filtering processes, the Parties shall fully comply with the

 2     provisions of this Court’s Discovery Standing Order regarding the procedure for raising discovery

 3     disputes with the Court, including the meet and confer and certification requirements therein.

 4            10.       TECHNOLOGY ASSISTED REVIEW (TAR)
 5            A Producing Party may use TAR (technology-assisted review) during the culling and

 6     review process of ESI, which may be applied in addition to search terms. If a Producing Party

 7     uses TAR to cull, filter out, or exclude documents from that Party’s production, that Producing

 8     Party shall do the following:

 9                     If a Producing Party chooses to apply both search terms and TAR to a review set,

10                      the Producing Party will disclose the search terms to all other Party/Parties.

11                     Disclose the name of the TAR tool or service used to all other Party/Parties.

12            11.       VALIDATION
13            Each Producing Party shall take reasonable steps to validate its review process (i.e., using

14     quality control measures to determine whether its production is missing relevant ESI or contains

15     substantial amounts of irrelevant ESI) and make any necessary adjustments or corrections to its

16     process. If, after reviewing a Producing Party’s production, a Requesting Party reasonably

17     requests additional information regarding the validation method(s) used by the Producing Party,

18     the Producing Party will disclose the level of end-to-end recall (the percentage of responsive

19     Documents in the collection which were identified as responsive by that Producing Party’s

20     methodology). If there remain disputes between the Parties regarding validation, the Parties shall

21     meet and confer to resolve such disputes in good faith, including a reasonable discussion

22     regarding the tool used and the parameters used to obtain or calculate the level of recall.

23            12.       UNSEARCHABLE DOCUMENTS
24            The Producing Party shall use reasonable efforts to identify and review potentially

25     responsive documents for which text-based search technologies are fundamentally ineffective.

26            13.       SYSTEM FILES
27            Each Party will use its best efforts to filter out common system files and application

28     executable files using the national software reference library (“NSRL”) NIST hash set list. The

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 1     Parties also may filter out stand-alone files identified as zero bytes in size. Additional culling of

 2     file types based on file header information may be applied to the following, provided these files

 3     are not known to be otherwise attached, embedded in, or included with an otherwise responsive

 4     document, or are not themselves reasonably known to contain information responsive or contain

 5     responsive data or are used to interface with users or interact with or access individual or

 6     aggregated user data: Application Package File, Backup Files, Batch Files, Binary Disc Image,

 7     C++ File Formats, Cascading Style Sheet, Configuration File, Database File, Dictionary Files,

 8     Dynamic Link Library, Event Log Files, Executable Files, Hypertext Cascading Stylesheet, Java

 9     Archive Files, JavaScript Files, JavaScript Source Code and Class Files, Macintosh Resource

10     Fork Files, Package Manager Files, Program Files, Program Installers, Python Script Files, Shell

11     Script Files, System or Temporary Files, Thumbnail Cache Files, Troff Files, Truetype Font Files,

12     Windows Cabinet File, Windows Command Files, Windows File Shortcut, Windows Help Files,

13     Windows Metafiles and Enhanced Metafiles, Windows Spool Files, Windows System File.

14            14.     DEDUPLICATION
15            Each Producing Party shall make reasonable efforts to globally deduplicate exact

16     duplicate Documents within that Producing Party’s ESI data set across all custodial and non-

17     custodial sources at the family level using either MD5 hash values or SHA hash values or any

18     other agreed-upon (and disclosed) industry-standard deduplication technology. The Parties shall

19     reach agreement on such other deduplication technology and shall reach agreement on how their

20     deduplication tools shall identify exact duplicates of documents in a manner that is consistent

21     with the disclosed tools and technologies a Producing Party is using. The Parties shall reach

22     agreement on how to identify exact duplicates of emails using industry-standard commercially

23     available software tools or services, which may for example calculate hash values of emails based

24     on concatenated values of agreed-upon email fields and/or hash values of attachments, or which

25     may use any other method the Parties agree upon. Having further met and conferred in keeping

26     with the previous sentence, the Parties shall calculate deduplication hash values for emails on the

27     concatenated values set forth in and in accordance with the documentation specifications of the

28     disclosed deduplication tools to be used in this Litigation (i.e., RelativityOne, Relativity Server,

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 1     and Nuix); however, if Nuix is used, the Producing Party shall select the optional field “Include

 2     Bcc” as an additional field to add to the default ones.

 3            The Parties shall not withhold from production near-duplicates without meeting and

 4     conferring on this issue.

 5            The names of all custodians who were either identified as custodians for purposes of

 6     collection for this matter (or otherwise known by the Producing Party to have been in possession

 7     or custody of a document prior to deduplication) will be populated in the ALL CUSTODIANS

 8     metadata field for the produced version of a document that has duplicates removed from

 9     production. The original file paths (if any exist) of a document prior to deduplication will be

10     populated in the ALL FILE PATHS metadata field of the produced document.

11            15.     EMAIL THREADING
12            The Parties may use analytics technology to identify email threads and shall produce the

13     unique most inclusive copy and related family members. Where multiple email messages are part

14     of a single chain or “thread,” a Party is only required to produce the most inclusive copy of an

15     email message(s) (“Last In Time Email(s)”) and need not produce earlier, lesser inclusive email

16     messages or “thread members,” provided that the tool or software service being used to perform

17     threading is disclosed. A Producing Party may exclude from production lesser inclusive copies of

18     the most inclusive email message in the thread, where the entire body of each of those lesser

19     inclusive copies is included within the Last in Time Email. The Producing Party will honor

20     reasonable requests to produce lesser inclusive copies of a Last In Time Email or other earlier

21     chains of emails otherwise excluded by email thread suppression.

22            The Parties shall treat new or different email chains or threads pursuant to further

23     agreement on safeguards or guidelines for defining emails threads which reasonably take into

24     account the capabilities of the email threading/dethreading/hyperthreading tools used by each

25     Defendant (which shall be disclosed to Plaintiffs).

26            16.     SOURCE CODE
27            The Parties will meet and confer to address the production and/or inspection of source

28     code and entering into a separate order governing the same if needed.

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 1            17.      PRODUCTION FORMATS

 2            The Parties agree to produce documents and data in the formats described in Appendix 1

 3     to this ESI Order. If particular documents or categories of documents identified in response to

 4     document requests warrant a different format, the Parties will cooperate to arrange for the

 5     mutually acceptable production of such documents. The Parties further agree not to degrade the

 6     searchability of documents as part of the document production process.

 7            In addition, the Parties agree that the production and production format of social media

 8     and/or user account information is not covered by this agreement and to meet and confer on the

 9     production and production format, including metadata, for social media and/or user account

10     information.

11            18.      PHASING

12            Once the Parties begin propounding discovery requests pursuant to Fed. R. Civ. P. 34, the

13     Parties agree to meet and confer regarding appropriate phasing for the production of ESI.

14            19.      MISCELLANEOUS PROVISIONS

15            a) Production of Plaintiffs ESI and Case-Specific Materials. Subject to any further

16                  agreement among the Parties or Order of the Court, the Parties shall produce case-

17                  specific documents (i.e., documents specific to the claim of a given Plaintiff, produced

18                  by Plaintiffs or Defendants) for any Plaintiff in discovery pools or other selections

19                  designed to inform bellwether selection, including those selected for a bellwether trial,

20                  in accordance with the production format specified herein, provided, however, that the

21                  Producing Party may elect to produce such materials in their native format. To the

22                  extent production of case-specific documents for any Plaintiff selected for a bellwether

23                  trial presents an issue for any Party, the Parties shall reasonably confer, and may

24                  present any disputes to the Court or its designee. The Parties shall further agree to

25                  confer concerning the production format and associated matters (e.g., hosting

26                  platform) for case-specific documents produced in the cases of other Plaintiffs.

27                  Nothing herein shall limit Defendant’s right to seek discovery from any Plaintiff.

28            b) Translations Of Produced Materials. The Producing Party has no obligation to

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 1               create a translation of the Documents or any portion thereof. For any foreign-language

 2               documents responsive to document requests that a Party reasonably knows as the

 3               result of a reasonable investigation have been translated into the English language

 4               using human translators or through machine translation for its own purposes, except to

 5               the extent such translation is protected by attorney-client or work-product privileges,

 6               the Producing Party shall produce the translation of the original document with the

 7               original. The parties will meet and confer as necessary concerning procedures for

 8               using translations at depositions and at trial. In the event the Parties cannot reach

 9               agreement, the matter may be submitted to the Court for determination.

10            c) Third-Party Documents. A Party that issues a Non-Party subpoena (“Issuing Party”)

11               shall include a copy of this Order with the subpoena and state that (1) the subpoenaed

12               Non-Party should produce Documents in response to the subpoena to all Parties; and

13               (2) the Parties to this Litigation have requested that Third Parties produce Documents

14               in accordance with the specifications set forth herein. If the subpoenaed Non-Party

15               produces Documents to the Issuing Party but does not produce those Documents to

16               other Parties, the Issuing Party shall produce such Documents to those other Parties

17               within 14 days of receiving the Documents, except where the Documents are to be

18               used in a deposition, in which case the Issuing Party shall produce such Documents to

19               all other Parties no later than three (3) days prior to the deposition, or as soon as

20               reasonably practicable if such production occurs thereafter. Nothing in this Order is

21               intended or may be interpreted to narrow, expand, or otherwise affect the rights of the

22               Parties or Third Parties to object to a subpoena. If the Non-Party production is not

23               Bates-stamped, the Parties will meet and confer to agree upon a format for designating

24               the documents with a unique Bates Number prefix.

25            d) Documents Produced by Parties – Presumption of Authenticity. In order to reduce

26               the number of requests for admission, this Order establishes a rebuttable presumption

27               that documents produced by the Parties are authentic, if said documents were either

28               created or authored by the producing Party, or any of its employees, agents, or

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 1               contractors, so long as the employees’, agents’, or contractors’ work was performed in

 2               connection with a project or assignment sponsored by the producing Party. No further

 3               evidence to establish authenticity need be provided. Nothing in this paragraph shall be

 4               deemed to waive any other evidentiary objection a party may have, including but not

 5               limited to hearsay, foundation/personal knowledge, or relevance.

 6            e) Re-productions. Notwithstanding any provisions to the contrary, re-production of

 7               discrete sets of documents from another litigation, arbitration, government inquiry, or

 8               other matter may be re-produced in the same manner and form as originally produced

 9               in the other matter, provided however that a party will re-produce documents in a

10               different format for good cause shown. This provision does not waive the right of a

11               party to object to any requests for reproduction of production files from another

12               litigation, arbitration, government inquiry, or other matter.

13            f) Modification. This ESI Order may be modified by a Stipulated Order of the Parties

14               or by the Court for good cause shown.

15            g) Good Faith. The Parties will act in good faith as required by law and use these

16               procedures to identify and reduce the potential for disputes.

17            h) Continuing Obligations. The Parties recognize that discovery shall be an iterative

18               and cooperative process. The Parties will continue to meet and confer regarding any

19               issues as reasonably necessary and appropriate. This Order does not address or resolve

20               any objections to the Parties’ respective discovery requests.

21            i) Reservation of Rights. The Parties agree that any topic not addressed herein is

22               neither a waiver nor acknowledgement of agreement by either Party.

23            IT IS SO STIPULATED, through Counsel of Record.

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 1     DATED: March 15, 2024                     Respectfully submitted,

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14              IT IS ORDERED that the foregoing Agreement is approved.
15

16
       Dated:         March 18, 2024
17                                               MAGISTRATE JUDGE PETER H. KANG
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 1                                APPENDIX 1: PRODUCTION FORMAT

 2        1) Production Components. Except as otherwise provided below, ESI must be produced

 3            in accordance with the following specifications:

 4                 a) an ASCII delimited data file (.DAT) using standard delimiters;

 5                 b) an image load file (.OPT) that can be loaded into commercially acceptable

 6                    production software (e.g. Concordance);

 7                 c) single page black-and-white TIFF images, or JPEG images when color is

 8                    specified herein, or native files with single page placeholder TIFF images

 9                    depending on the applicable production format for each type of file;

10                 d) and document level .TXT files for all documents containing extracted full text or

11                    OCR text.

12                 e) Family relationships between emails and their attachments, embedded files and

13                    their source document, and connected hardcopy documents will be maintained in

14                    production. Attachments should be consecutively produced with their parent.

15                 f) If a particular document warrants a different production format, the Parties will

16                    cooperate in good faith to arrange for a mutually acceptable production format.

17            2)      Production Media and Access Controls. Productions must be encrypted and

18     produced through secure electronic means, such as secure file sharing methods (e.g. FTP), or on

19     CD, DVD, flash drive or external hard drive (“Production Media”). Each piece of Production

20     Media must identify a production number corresponding to the production volume (e.g.

21     “VOL001”). Each piece of Production Media must also identify: (a) the case caption; (b) the

22     following label: “This media contains material subject to Court Ordered security measures”; (c)

23     the Producing Party’s name; (d) the production date; (e) the Bates Number range of the

24     materials contained on the Production Media.

25            Nothing in this ESI Order will preclude or impair any and all protections provided the

26     Parties by any Protective Order(s) agreed and entered into by the Parties. Parties will use best

27     efforts to avoid the unnecessary copying or transmittal of produced documents. If questions arise,

28     the Parties will meet and confer to ensure security concerns are addressed prior to the exchange of

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 1
       any documents.
 2
              3)      Data Load Files/Image Load Files. Each TIFF in a production must be
 3
       referenced in the corresponding image load file. The total number of documents referenced in a
 4
       production’s data load file should match the total number of designated document breaks in the
 5
       image load file(s) in the production. The total number of pages referenced in a production’s
 6
       image load file should match the total number of TIFF files in the production. All images must
 7
       be assigned a unique Bates number that is sequential within a given document and across the
 8
       production sets. The Bates Numbers in the image load file must match the corresponding
 9
       documents’ beginning Bates numbers in the data load file. The total number of documents in a
10
       production should match the total number of records in the data load file. Load files must not
11
       vary in format or structure within a production, or from one production to another except by
12
       agreement of the Parties.
13
              4)      Metadata Fields. Each of the metadata and coding fields set forth below that can
14
       be extracted should be produced for each document, except that if the field contains privileged
15
       information, that privileged information may be redacted. However, to the extent that metadata
16
       does not exist, is not available for any documents produced, this provision shall not be read to
17
       require any Party to extract, capture, collect, manually populate, or produce such metadata, with
18
       the exception of the following: (a) BEGBATES, (b) ENDBATES, (c) BEGATTACH, (d)
19
       ENDATTACH, (e) PRODVOL, (f) ALL CUSTODIANS, (g) CONFIDENTIALITY, (h)
20
       REDACTIONS, (i) REDACTION TYPE, (j) HASHVALUE, (k) NATIVEFILEPATH, and (l)
21
       TEXTFILEPATH, which should be populated by the Party or the Party’s vendor. The Parties
22
       will make reasonable efforts to ensure that metadata fields automatically extracted from the
23
       documents correspond directly to the information that exists in the original documents.
24

25       Field Name                                        Field Description

26                                                         Beginning Bates number for a particular
         BEGBATES                                          document as stamped on the first production
27                                                         image for that document

28       ENDBATES                                          Ending Bates number as stamped on the last

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         Field Name                                Field Description
 2
                                                   production image for a particular document
 3
                                                   First production Bates number of the first
         BEGATTACH
 4                                                 document in a family

 5                                                 Last production Bates number of the last
         ENDATTACH
                                                   document in a family
 6
                                                   Number of attachments to an e-mail or
 7                                                 embedded parent, as generated by
         ATTACHCOUNT
                                                   commercially available discovery processing
 8
                                                   tools.
 9
                                                   Names of each individual Attachment,
         ATTACHNAMES
10                                                 separated by semicolons.

11       PRODVOL                                   Production volume

12                                                 List of all custodians associated with
         ALLCUSTODIANS                             Document, i.e. “Custodian” + “Other
13                                                 Custodian” values delimited by semicolon.

14                                                 All original path(s) to the individual source
                                                   file(s) when available in the ordinary course
15                                                 of business to and processable by the parties
         ALLFILEPATHS
                                                   and their ESI vendors of choice. Includes path
16                                                 up to and including internal path of
17                                                 containers.

18                                                 Confidentiality designation assigned to the
         CONFIDENTIALITY                           document consistent with the Stipulated
19                                                 Protective Order governing this Litigation
20       NATIVEFILEPATH                            Native File Link (Native Files only)
21                                                 Path to extracted text/OCR file for the
         TEXTFILEPATH
                                                   document
22
         HASHVALUE                                 MD5 hash value of the document
23
                                                   Descriptor for the type of document: “E-
24
                                                   document” for electronic documents not
25                                                 attached to e-mails; “E-mail” for all e-mails;
         DOCUMENT TYPE                             “E-attachment” for files that were attachments
26                                                 to e-mails; and “Physical” for hard copy
                                                   physical documents that have been scanned
27                                                 and converted to an electronic image.
28       AUTHOR                                    Any value populated in the Author field of the
       STIP. & [PROPOSED] ORDER GOVERNING THE
       PRODUCTION OF ESI & HARD COPY DOCUMENTS   -3-             3:22-MD-03047-YGR; MDL NO. 3047
     Case
       Case
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 1
         Field Name                                Field Description
 2
                                                   document properties
 3
                                                   Date the document was created according to
 4       DOCDATE                                   filesystem information (format:
                                                   MM/DD/YYYY)
 5
                                                   Date when document was last modified
 6       DATELASTMODIFIED                          according to filesystem information (format:
                                                   MM/DD/YYYY)
 7
                                                   Last person who modified (saved) a
 8
         LAST MODIFIED BY                          document, as generated by commercially
 9                                                 available discovery processing tools.

10                                                 Y if a document with track changes value,
         TRACK CHANGES                             otherwise N or empty, if available separately
11                                                 from the HASHIDDENDATA flag

12                                                 Y if a document with comments, otherwise N
         COMMENTS                                  or empty, if available separately from the
13                                                 HASHIDDENDATA flag
                                                   Y if a document with hidden content value,
14       HASHIDDENDATA                             otherwise N or empty
15
         FILENAME                                  Filename of an electronic document
16
                                                   Any value populated in the Title field of the
         TITLE
17                                                 document properties

18                                                 File extension of document pulled from the
         DOCEXT
                                                   document properties
19
         FROM                                      The sender of the email
20
                                                   All recipients that were included on the “To”
21       TO
                                                   line of the email
22                                                 All recipients that were included on the “CC”
         CC
                                                   line of the email
23
                                                   All recipients that were included on the
24       BCC
                                                   “BCC” line of the email
25
                                                   Date and time email was received (format:
         DATETIMERECEIVED
26                                                 MM/DD/YYYY HH:MM)

27                                                 Date and time email was sent (format:
         DATETIMESENT
                                                   MM/DD/YYYY HH:MM)
28

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       PRODUCTION OF ESI & HARD COPY DOCUMENTS   -4-             3:22-MD-03047-YGR; MDL NO. 3047
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 1
           Field Name                                                 Field Description
 2
           TIMEZONE                                                   The timezone used to process the document
 3
                                                                      Subject line of email pulled from the
           EMAILSUBJECT
 4                                                                    document properties

 5                                                                    If a threading tool is used for emails, the
           THREADID
                                                                      thread id generated by the threading tool.
 6
                                                                      General category of redaction reason as
 7                                                                    agreed to by the parties. For example, PII,
           REDACTION TYPE1
                                                                      SCA, CODE, and/or PRIV. If more than one,
 8
                                                                      separate reasons by semicolons.
 9
                                                                      Y if a document is redacted, otherwise N or
           REDACTIONS
10                                                                    empty

11              5)       TIFFs. Unless excepted below, single page, black and white, Group IV TIFFs
12     should be provided, at least 300 dots per inch (dpi) for all documents. Each TIFF image must be
13     named according to a unique corresponding Bates number associated with the document. Each
14     image must be branded according to the Bates number and the agreed upon confidentiality
15     designation. Original document orientation should be maintained (i.e., portrait to portrait and
16     landscape to landscape). Where the TIFF image is unreadable or has materially degraded the
17     quality of the original, the Producing Party shall provide a higher quality TIFF image or the
18     native or original file. In addition, the Parties shall take reasonable efforts to process word
19     processing documents (e.g., MS Word) with track changes and/or comments unhidden on the
20     TIFF image.
21              6)       Color. Word processing documents containing tracked changes shall be
22     produced in color, as single-page, 300 dpi JPG images with JPG compression and a high quality
23     setting as to not degrade the original image. The Producing Party shall comply with good faith
24     by the Requesting Party to provide replacement color images for documents originally produced
25     in black and white. A Party making such a request shall make the request by individual Bates
26
       1
         The Parties will provide specific information on any privilege(s) asserted in their privilege logs, in an overlay, or the
27     redaction boxes. The “Redaction Reason” field is informational only for redaction type and shall not in any way limit
       a party’s right to assert attorney-client privilege, attorney-work product privilege, and/or any other applicable privilege
28     or protection.

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       PRODUCTION OF ESI & HARD COPY DOCUMENTS                   -5-                    3:22-MD-03047-YGR; MDL NO. 3047
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 1
       number(s) and shall limit requests made pursuant to this paragraph to a reasonable number of
 2
       documents.
 3
              7)      Text Files. A single multi-page text file must be provided for each document,
 4
       and the filename should match its respective TIFF filename for the first page of that document.
 5
       Extracted text shall be generated with commercially acceptable technology set to include all
 6
       comments, revisions, tracked changes, speaker’s notes and text from documents with comments
 7
       or tracked changes, and hidden and very hidden worksheets, slides, columns and rows. When
 8
       possible, the text of native files should be extracted directly from the native file. Parties will
 9
       perform optical character recognition (“OCR”) on foreign language documents using the
10
       appropriate settings for languages reasonably anticipated to be in the production following a
11
       meet and confer with the Requesting Party to identify those languages. Text files will not
12
       contain the redacted portions of the documents. A commercially acceptable technology for OCR
13
       should be used for all scanned, hard copy documents and for documents with redactions other
14
       than Excel files and other spreadsheets which shall be redacted in native format. Text extracted
15
       from emails should include the following header information where available: (1) the
16
       individuals to whom the communication was directed (“To”), (2) the author of the email
17
       communication (“From”), (3) who was copied and blind copied on such email (“CC” and
18
       “BCC”), (4) the subject line of the email (“RE” or “Subject”), and (5) the date and time of the
19
       email. To the extent the text extraction technology the Parties are using can be configured to
20
       include the text of any URLs or links, the Parties shall utilize that setting.
21
              8)      Native files. Spreadsheets (e.g. MS Excel), and un-redacted presentations (e.g.
22
       Microsoft PowerPoint,) will be produced in native format to the extent that they are produced in
23
       this Litigation, audio, video, and multi-media files will be produced in native format. The
24
       Parties will meet and confer on the production of other file types, such as proprietary files, etc.
25
       Native files will be produced with a link in the NATIVEFILEPATH field, along with extracted
26
       text (where extracted text is available) and applicable metadata fields set forth in paragraph 4
27
       above. A Bates numbered TIFF placeholder indicating that the document was provided in native
28
       format must accompany every native file. Where redaction makes production of native-format
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       PRODUCTION OF ESI & HARD COPY DOCUMENTS           -6-                3:22-MD-03047-YGR; MDL NO. 3047
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 1
       files other than spreadsheets or presentations infeasible, the Parties will confer to determine a
 2
       reasonably usable form for the production, but spreadsheets shall presumptively be redacted in
 3
       native, and presentations presumptively redacted in image form, in these cases without the need
 4
       for further conferring.
 5
              9)      Production Format for Hard Copy Documents. Documents that exist in
 6
       hardcopy will be scanned to *.tiff image format and produced in accordance with the
 7
       specifications set forth herein. Hard copy documents that are not text-searchable shall be made
 8
       searchable by OCR prior to production. In scanning paper documents, distinct documents
 9
       should not be merged into a single record, and single documents should not be split into
10
       multiple records (i.e., paper documents should be logically unitized). In the case of an organized
11
       compilation of separate documents (for example, a binder containing several separate
12
       documents behind numbered tabs), the document behind each tab should be scanned separately,
13
       but the relationship among the documents in the compilation should be reflected in the proper
14
       coding of the beginning and ending document and attachment fields. The Parties will make their
15
       best efforts to unitize the documents correctly. If relevant documents are maintained in a file,
16
       folder, envelope, binder, notebook or similar container used to store documents, all contents
17
       therein shall be reviewed for production and privilege. Document pages which have affixed
18
       notes, such as Post-it notes, should be imaged with and without the note attached.
19
              10)     Confidentiality Designation. All images will be stamped with the appropriate
20
       confidentiality designations in accordance with the Stipulated Protective Order entered in this
21
       Litigation. Each document produced in native format will have its confidentiality designation
22
       identified in the filename of the native file and indicated on its corresponding TIFF placeholder.
23
              11)     Bates Numbering. Bates numbering should be a consistent length across the
24
       production, contain no special characters, and be numerically sequential within a given
25
       document. If a Bates number or set of Bates numbers is skipped, the skipped number or set of
26
       numbers should be noted with a placeholder. Attachments to documents will be assigned Bates
27
       numbers that directly follow the Bates numbers on the documents to which they were attached.
28

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 1
       In addition, wherever possible, each image will have its assigned Bates number electronically
 2
       “burned” onto the image.
 3
              12)     Databases and Other Structured Data. To the extent that responsive
 4
       information is stored in a database, or database management system, or proprietary system or
 5
       application which has is directed to data storage as one of its primary functions, the Producing
 6
       Party will identify the database and platform to the Requesting Party. The Producing Party shall
 7
       produce exports and reports about such responsive information stored in such database, where
 8
       such exports and reports shall be in a reasonably usable form, and information may be produced
 9
       in CSV format, tab-delimited text format, Microsoft Excel format, or Microsoft Access format.
10
       If there are future disputes over the production of information from a database, the Parties shall
11
       meet and confer in good faith in an attempt to reach any further agreements (if needed) on the
12
       data to be produced and the format and scope of the production. The Producing Party will
13
       provide reasonable amounts of information about the databases to facilitate that discussion.
14
              13)     Hyperlinks. Document(s) and/or folder(s) of documents that are hyperlinked
15
       inside a responsive document (including hyperlinked inside emails) within a Producing Party’s
16
       custody, possession, or control, do not need to be produced in the first instance as part of the
17
       same family group as the Document residing at the location to which that hyperlink points. If
18
       there are particular hyperlinks identified by the Requesting Party in produced documents, the
19
       Requesting Party may submit a list of hyperlinks to a particular Producing Party for potentially
20
       relevant documents by identifying the Bates number and URL or link text for each requested
21
       link to the Producing Party, and the Producing Party will engage in reasonable efforts to locate
22
       the hyperlinked document at that location and either identify it by Bates number or provide any
23
       responsive, non-produced, and non-privileged documents. The number of hyperlinks a
24
       Requesting Party may identify to a Producing Party shall not be excessive and shall be
25
       reasonable, proportional to the needs of the case, and not unduly burdensome.
26
              14)     Embedded Objects. The Parties agree non-substantive embedded objects,
27
       including, but not limited to, logos, icons, emoticons, and footers, may be culled from a
28
       document set (but not a document) and need not be produced as separate documents by a
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 1
       Producing Party (i.e., such embedded objects will be produced within the document itself, rather
 2
       than as separate documents). Embedded files, except for images (including but not limited to,
 3
       logos, icons, emoticons), are to be produced as family groups. Embedded files should be
 4
       assigned Bates numbers that directly follow the Bates numbers on the documents within which
 5
       they are embedded.
 6
              15)     Production of Family Groups and Relationships. If any member of a family
 7
       group is produced, all members of that group must also be produced or else logged as
 8
       privileged, and no such member shall be withheld from production as a duplicate.
 9
              16)     Dynamic Fields. Documents with dynamic fields for file names, dates, and
10
       times will be imaged to show the field code (e.g., “[FILENAME]”) where possible, rather than
11
       the values for such fields existing at the time the file is processed.
12
              17)     Time Zone. The time zone used to process a document, including its metadata,
13
       shall be disclosed in the TIMEZONE metadata field consistent with Appendix 1, and shall be
14
       standardized for each Defendant across productions.
15
              18)     Redactions.
16
              a)      A Producing Party may redact (i) information subject to the attorney client
17
       privilege or the work product protection (PRIV); (ii) information that cannot be disclosed
18
       pursuant to the Stored Communications Act (SCA); (iii) source code subject to separate
19
       agreement applicable to production of source code (CODE); (iv) personal identifying
20
       information (PII) including phone numbers, personal addresses, personal email addresses, the
21
       month and day of birth, driver’s license numbers, and other PII agreed to by the Parties (for
22
       example, the Parties shall complete their meet and confer on whether or not to redact users’ ages
23
       and years of birth). In any event, there shall be no redaction of illnesses, injuries, and medical
24
       diagnoses. To the extent a document or pleading contains PII, the Parties shall designate such
25
       documents at the appropriate Confidentiality level under the Protective Order and shall comply
26
       with Fed. R. Civ. P. 5.2 with regard to filings with the Court.
27
              b)      No redactions for relevance may be made within a produced document or ESI
28
       item. If, during the course of discovery, the Parties identify other kinds of information that any
       STIP. & [PROPOSED] ORDER GOVERNING THE
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 1
     Party has a reasonable basis for redacting, the Parties will meet and confer on a case-by-case
 2
     basis regarding that information before such redactions are made. If the Parties cannot agree,
 3
     they may seek resolution from the Court.
 4
            c)      The Producing Party will indicate, on the face of the redaction, the asserted
 5
     reason(s) for the redaction (PII, SCA, CODE, and/or PRIV) and the REDACTION TYPE
 6
     metadata field shall indicate that the document contains redactions and the reason(s) for the
 7
     redaction.
 8
            d)      Notwithstanding the foregoing, this provision shall not be read to prohibit
 9
     redactions permitted under any applicable U.S. law or Protective Order.
10
            e)      Where a responsive document contains both redacted and non-redacted content,
11
     the Parties shall produce the non-redacted portions of the document and the OCR text
12
     corresponding to the non-redacted portions.
13
            f)      Native Redactions. Spreadsheet files requiring redaction, including without
14
     limitation Microsoft Excel files, shall be redacted and produced natively (unless the Parties
15
     agree to production in some other format). In addition, a Producing Party may natively redact
16
     other files that cannot be properly imaged for redaction.
17
            g)      All images of redacted files shall be processed to show all comments, revision
18
     marks, speaker notes, marks made in track changes, or other user-entered data which are visible
19
     in a normal view of the document in its native application, unless such material is redacted and
20
     marked as redacted in accordance with this section. Where possible, any occurrences of
21
     date/time auto‐field items, including in headers and footers, will be removed and replaced with
22
     the term AUTODATE to prevent the current date from being printed. Email header information
23
     (e.g., date and/or subject line) shall not be redacted unless it is independently privileged. The
24
     Parties shall honor reasonable requests for the production of particular redacted documents in
25
     other formats where the image is not reasonably usable.
26
            h)      Color. Redacted versions of documents that would have been produced in color
27
     in their un-redacted form shall be produced in color as detailed herein.
28

     STIP. & [PROPOSED] ORDER GOVERNING THE
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 1
            19)     Exception Files. The Parties will use reasonable efforts to address processing
 2
     exceptions.
 3
            20)     Mobile and Handheld Device Documents and Data. If responsive and unique
 4
     data that can reasonably be extracted and produced in the formats described herein is identified
 5
     on a mobile or handheld device, that data shall be produced in accordance with the generic
 6
     provisions of this protocol. To the extent that responsive data identified on a mobile or handheld
 7
     device is not susceptible to normal production protocols, the Parties will meet and confer to
 8
     address the identification, production, and production format of any responsive documents and
 9
     data contained on any mobile or handheld device.
10

11

12

13

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28

     STIP. & [PROPOSED] ORDER GOVERNING THE
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DELIVERED VIA PROCESS SERVER                                      July 17, 2024

California Mental Health Services Oversight and Accountability Commission
1812 9th Street
Sacramento, CA 95811


       Re: People of the State of California v. Meta Platforms, Inc.,
             4:23-cv-05448

Dear Sir/Madam:

Enclosed please find a subpoena being served upon you in connection with the above-captioned
litigation currently pending in the U.S. District Court for the Northern District of California. I
represent Defendants Meta Platforms, Inc.; Instagram, LLC, Meta Payments, Inc., Meta Platforms
Technologies, LC and Mark Zuckerberg (collectively, the “Meta Defendants”) in this matter.

The document subpoena requests the production of specific documents identified in the attached
subpoena (see Attachment A to the subpoena), which are requested to be produced by 10 am on
August 19, 2024. We are willing to work with you on the time, date, location, method and manner
of document production, as well as answer any questions or concerns you may have regarding
subpoena compliance. It is sufficient compliance with this subpoena if you electronically transmit
a copy of the requested documents to the undersigned. As such, please contact me at
kpatchen@cov.com and 415-591-6031, to discuss document production and subpoena
compliance, unless you are already represented by counsel in connection with this matter.

The Court is currently considering whether the California Attorney General’s Office has control
over California Mental Health Services Oversight and Accountability Commission’s information
for the purposes of discovery in this action. If the Court rules that the California Attorney
General’s Office has control over California Mental Health Services Oversight and Accountability
Commission’s information, the California Attorney General has pending discovery requests that
seek this agency’s documents. By serving this subpoena, Meta does not waive its position in the
state agency dispute, nor does Meta in any way waive rights to compel the California Attorney
General to produce California Mental Health Services Oversight and Accountability Commission
information as part of discovery in this action. However, to avoid further delay in the production
of information from California Mental Health Services Oversight and Accountability Commission,
Meta is serving the attached subpoena to request the timely production of this information.

Your anticipated time and assistance with this matter is greatly appreciated.
  Case 4:23-cv-05448-YGR            Document 116-3         Filed 07/24/24     Page 103 of 439




California Mental Health Services Oversight and Accountability Commission
July 17, 2024
Page 2


                                                                     Best regards,

                                                                     /s/ E. Kate Patchen

                                                                     E. Kate Patchen



Enclosed: Subpoena, Attachment A, and Attachment B
              Case 4:23-cv-05448-YGR                        Document 116-3                  Filed 07/24/24              Page 104 of 439
 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Northern District
                                                        __________  DistrictofofCalifornia
                                                                                 __________
               People of the State of California, et al.
                                                                               )
                                Plaintiff                                      )
                                   v.                                          )        Civil Action No.          4:23­cv­05448
                   Meta Platforms, Inc., et al.                                )
                                                                               )
                               Defendant                                       )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

  To: California Mental Health Services Oversight and Accountability Commission
         1812 9th Street, Sacramento, CA 95811
                                                        (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material: See Attachment A.



   Place: Shook, Hardy & Bacon, Attn: Jennifer Blues Kenyon                              Date and Time:
            555 Mission Street, Suite 2300
            San Francisco, CA 94105                                                                  10 a.m. on August 19, 2024

      ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

   Place:                                                                               Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        07/17/2024

                                   CLERK OF COURT
                                                                                             OR
                                                                                                                      /s/ Ashley Simonsen
                                            Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Meta Platforms, Inc. f/k/a Facebook, Inc.; Instagram, LLC, Meta Payments, Inc.,
Meta Platforms Technologies, LLC; and Mark Zuckerberg,                          who issues or requests this subpoena, are:
Ashley Simonsen, Covington & Burling LLP, 1999 Avenue of the Stars, Los Angeles, CA 90067, 424­332­4782, asimonsen@cov.com

                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 4:23-cv-05448-YGR                     Document 116-3                  Filed 07/24/24              Page 105 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 4:23-cv-01615

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                DEFINITIONS AND INSTRUCTIONS TO ATTACHMENT A

                                          DEFINITIONS

        1.      The term “communication” means the transmittal of information (in the form of

facts, ideas, inquiries or otherwise).

        2.      “Document” or “documents” shall have the broadest meaning ascribed to it by the

Federal Rules of Civil Procedure, and includes, without limitation electronically stored

information (“ESI”) (including, without limitation, electronic databases and the data therein, all

electronic messages or communications, electronic word processing documents, electronically

stored voicemail, webpages, and social media posts) in accordance with any order in this case

governing ESI at the time of production. Different versions of the same documents, including, but

not limited to, drafts or documents with handwritten notations or marks not found in the original

or on other copies are different documents.

        3. “You”, “you”, “Your” and “your” means the California Mental Health Services

             Oversight and Accountability Commission.

        4.      “Relating” or “related to” means and includes referring to, concerning, referencing,

mentioning, associated with, constituting, discussing, containing, embodying, recording,

reflecting, identifying, summarizing, incorporating, and/or dealing with or pertaining to in any

way.

        5.      “And” includes “or”, and vice versa.

        6.      The singular form of a word or term includes the plural, and vice versa.

        7.      The present tense of a verb includes the past tense, and vice versa.

        8.      The use of the article “the” shall not be construed as limiting the scope of any

request.



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       9.      “Including” means “including without limitation.”

       10.     “Any” includes “all”, and vice versa.

       11.     The capitalized version of a word or term includes the lower case version of a word

or term, and vice versa.

       12.     “Social Media Platforms” or “Platforms” means a digital service that facilitates

interactions between two or more distinct but interdependent sets of users, including but not limited

to Facebook, Instagram, Snapchat, TikTok, YouTube, Twitter (or “X”), Pinterest, LinkedIn,

BeReal, Lapse, Reddit, Threads, VSCO, Goodreads, Quora, Discord, Twitch, and Tumblr.

       13.     “Young Users” means users of Social Platforms who are under 18 years of age

when using the Platform(s).

       All words, terms, and phrases not specifically defined herein are to be given their normal

and customary meaning in the context in which they are used in these Requests.

                                        INSTRUCTIONS

       1.      These Requests are intended to cover any and all documents in your possession,

custody, or control, to the extent not privileged. Documents held by any office, department, board,

commission, or instrumentality of the California Mental Health Services Oversight and

Accountability Commission are within your possession, custody, or control.

       2.      In accordance with ESI Protocol attached hereto as Attachment B, if you object to

furnishing any of the documents or information requested by these Requests on the grounds of

attorney-client privilege, work product, other privilege, or otherwise then, with respect to each

such document:

               a. state the nature of the privilege claimed;
               b. state the date of each communication supporting the privilege claim;




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                c. identify all participants in the supporting communication;

                d. state the specific grounds on which the objection is based; and

                e. identify the specific request calling for such information;

        2.      If you object to any Request on the grounds that it is vague or ambiguous, state: (i)

the portions or terms of such Request that you claim to be vague or ambiguous; and (ii) the

interpretation of the Request pursuant to which you provide a response.

        3.      Each request shall be deemed continuing, so as to require supplemental or

mandatory responses should you obtain additional responsive information subsequent to your

initial responses.

        4.      If you cannot fully respond to a particular Request after exercising due diligence to

make inquiry and to secure the necessary information, provide a response to the extent possible,

specifying your inability to respond to the remainder and providing whatever information or

knowledge you have concerning the portion not responded to.

        5.      Each page of a produced document shall have a legible, unique page identifier

(“Bates Number”) and confidentiality legend (where applicable) on the face of the image at a

location that does not obliterate, conceal, or interfere with any information from the source

document. Redactions should be clearly marked or stamped on the page in such a way that it is

clear from review that a portion of the image has been redacted.

        6.      All responsive and non-privileged electronic documents shall be produced in the

format ordered by the Court in its ESI order.

        7.      All responsive electronic documents shall be produced in a format agreed upon by

the parties, to include at least native versions of Excel spreadsheets and presentation files, with a

Bates-stamped placeholder image.

        8.      Unless otherwise specified, the time period for these Requests is January 1, 2012

to the date of production of the Documents.




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                                    ATTACHMENT A

1. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
   mental, social, emotional, or behavioral health of persons ages 13 to 18.

2. Research, investigations, studies, surveys, reports, evaluations, or analyses related to Social
   Media Platforms, including the importance of Social Media Platforms and the use of Social
   Media Platforms by Young Users and the potential benefits and harms created by the use
   of Social Media Platforms.

3. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
   mental, social, emotional, or behavioral health of Young Users, including those related to
   the effects of:
       a. Social Media Platforms usage;
       b. Video games usage;
       c. Cell phone usage;
       d. Messaging usage;
       e. Usage of other electronics apart from usage of Social Media Platforms;
       f. COVID-19 and/or remote learning;
       g. Use of drugs or alcohol;
       h. The opioid and fentanyl epidemic;
       i. Poverty, homelessness, lack of health insurance, and/or food insecurity;
       j. Physical health including nutrition, exercise, weight management, sleeping habits,
           and sexual activity;
       k. Family trauma or deaths;
       l. Academic pressure;
       m. Violence, including school violence, domestic violence, gun violence, gun control
           and/or mass shootings;
       n. Bullying or verbal abuse apart from usage of Social Media Platforms;
       o. Political polarization;
       p. Natural disasters;
       q. Climate change;
       r. Discrimination and inequity;
       s. Global warfare and conflict; and
       t. Any other potential causes of harms to the mental, social, emotional, or behavioral
           health of Young Users.

4. Youth Risk Behavior Surveys conducted by the California Mental Health Services
   Oversight and Accountability Commission or on its behalf.

5. Research, investigations, studies, surveys, reports, evaluations, or analyses related to:
      a. Features of Social Media Platforms that are psychologically or physically harmful
          to Young Users;
      b. Features of Social Media Platforms that promote compulsive, prolonged, or
          unhealthy use by Young Users;
      c. The impact of features of Social Media Platforms, including:



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              (1) Algorithmic recommendation and sequencing;
              (2) Image filters;
              (3) Use of multiple user accounts;
              (4) Infinite scroll;
              (5) Ephemeral content features;
              (6) Autoplay;
              (7) Quantification and display of likes; or
              (8) Audiovisual and haptic alerts.

6. Programs, initiatives, efforts, or actions proposed or taken by the California Mental Health
   Services Oversight and Accountability Commission to address Young Users’ use of Social
   Media Platforms, including any program, initiative, effort, or action to prevent, limit,
   encourage, or promote the use of Social Media Platforms by Young Users.

7. Policies proposed, recommended, or enacted by the California Mental Health Services
   Oversight and Accountability Commission regarding screen time and acceptable use of
   cell phones, computers, tablets, or other electronic devices by Young Users.

8. Complaints to the California Mental Health Services Oversight and Accountability
   Commission by teachers or school districts regarding social media or cell phone use by
   Young Users and/or the need for acceptable use or other policies to address Young Users’
   use of social media or cell phones.

9. Complaints to the California Mental Health Services Oversight and Accountability
   Commission by teachers or school districts regarding budget crises from inflation,
   underfunding, unfunded mandates, and other causes.

10. Documents related to state assessments in California, including reports and analyses
    regarding the history of K-12 state assessment or standardized testing scores,
    performance by schools and/or school districts, and any other measures of school
    performance.

11. Legislation or policies proposed by, proposed on behalf of, or testified on by the California
    Mental Health Services Oversight and Accountability Commission, regardless of whether
    such legislation or policies were enacted, regarding Young Users’ use of Social Media
    Platforms.

12. Mental, social, emotional, or behavioral health services provided by the California Mental
    Health Services Oversight and Accountability Commission to Young Users during the
    Relevant Period, including:
       a. Counseling or therapy;
       b. Psychiatric services;
       c. Crisis intervention;
       d. Inpatient short-term and long-term programs;
       e. Resource centers; and
       f. Services for Young Users dealing with substance abuse or addiction issues.



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13. Any and all California Mental Health Services Oversight and Accountability Commission
    grants to address Young Users’ mental health, including information about when, where,
    why, and how any disbursements were paid, any schedules or plans for future
    disbursements, policies governing evaluation or approval of such disbursements, records
    of how the disbursements were used, and all agendas, minutes, notes, or recordings from
    meetings related to such grant.

14. Public or non-public meetings held by the California Mental Health Services Oversight
    and Accountability Commission related to Social Media Platforms and use of Social Media
    Platforms by Young Users, including but not limited to, notices, meeting notes, PowerPoint
    presentations, internal memoranda, summaries, personal notes, or attendee lists.

15. Policies, procedures, and practices related to the California Mental Health Services
    Oversight and Accountability Commission’s use of Social Media Platforms, including
    communication of information or promotion of California Mental Health Services
    Oversight and Accountability Commission’s programs, initiatives, efforts, or actions on
    Social Media Platforms.

16. California Mental Health Services Oversight and Accountability Commission’s
    communications and/or collaboration with any Social Media Platform on any program,
    initiative or other action related to, or directed at, Young Users.

17. California Mental Health Services Oversight and Accountability Commission’s
    communications with any third party related to Young Users and/or Social Media
    Platforms.

18. Budgeted and actual expenditures by the California Mental Health Services Oversight and
    Accountability Commission during the Relevant Period related to Young Users’ use of
    Social Media Platforms.

19. Budgeted and actual expenditures by the California Mental Health Services Oversight and
    Accountability Commission during the Relevant Period related to treatment of teen mental,
    social, emotional, or behavioral health issues.

20. Policies, procedures, and practices applicable to the California Mental Health Services
    Oversight and Accountability Commission and California Mental Health Services
    Oversight and Accountability Commission employees regarding the use of Social Media
    Platforms, including any changes to these policies during the Relevant Period.

21. Studies, programs, initiatives, efforts, or actions proposed or taken by the California
    Mental Health Services Oversight and Accountability Commission that sought to provide
    or promote internet access or phones, computers, tablets, or other electronic devices to
    Young Users.




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22. California Mental Health Services Oversight and Accountability Commission’s budget and
    actual expenditures during the Relevant Period, including expenditures on:
        a. Digital advertisements by the California Mental Health Services Oversight and
            Accountability Commission on Social Media Platforms;
        b. Digital advertisements by the California Mental Health Services Oversight and
            Accountability Commission purchased through Social Media Platforms.




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                           ATTACHMENT B
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 5

 6                           IN THE UNITED STATES DISTRICT COURT

 7                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8
       IN RE: Social Media Adolescent                       MDL No. 3047
 9     Addiction/Personal Injury Products Liability         Case No. 4:22-md-03047-YGR
       Litigation
10
                                                            Honorable Yvonne Gonzalez Rogers
11     This document relates to:                            Honorable Peter H. Kang
       ALL ACTIONS
12                                                          STIPULATION AND [PROPOSED]
                                                            ORDER GOVERNING THE
13                                                          PRODUCTION OF
14                                                          ELECTRONICALLY STORED
                                                            INFORMATION AND HARD COPY
15                                                          DOCUMENTS

16

17          1.      PURPOSE
18          This Order Governing the Production of Electronically Stored Information and Hard Copy

19   Documents (“ESI Order”) will govern discovery of electronically stored information and any hard

20   copy documents in this Litigation as a supplement to the Federal Rules of Civil Procedure, this

21   District’s Guidelines for the Discovery of Electronically Stored Information, and any other

22   applicable orders and rules. “This Litigation” includes all actions currently in MDL No. 3047, In

23   Re: Social Media Adolescent Addiction/Personal Injury Products Liability, or hereafter added or

24   transferred to MDL No. 3047, and all actions later remanded to their respective transferor courts.

25          2.      DEFINITIONS
26          a) “Document” is defined to be synonymous in meaning and equal in scope to the usage

27               of this term in Rules 26 and 34 of the Federal Rules of Civil Procedure and shall

28               include Hard-Copy Documents and ESI.

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     PRODUCTION OF ESI & HARD COPY DOCUMENTS          -1-              3:22-MD-03047-YGR; MDL NO. 3047
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 1          b) “Electronically stored information” or “ESI,” as used herein has the same meaning as

 2               in Federal Rules of Civil Procedure 26 and 34.

 3          c) “Hard-Copy Document” means Documents existing in paper form at the time of

 4               collection.

 5          d) “Searchable Text” means the native text extracted from an Electronic Document and

 6               any Optical Character Recognition text (“OCR text”) generated from a Hard-Copy

 7               Document or electronic image.

 8          3.      COOPERATION
 9          The Parties are aware of the importance the Court places on cooperation and commit to

10   cooperate in good faith throughout this Litigation consistent with this Court’s Guidelines for the

11   Discovery of ESI and this Court’s Rules of Professional Conduct. The Parties will endeavor to

12   cooperate in good faith and be reasonably transparent in all aspects of the discovery process.

13          4.      LIAISON
14          The Parties will identify Discovery Liaisons to each other who are and will be

15   knowledgeable about and responsible for discussing their respective ESI. Any Party is free to

16   change their designated Discovery Liaison by providing written notice to the other Parties. Each

17   Party’s Discovery Liaison must: (a) be prepared to meet and confer on discovery-related matters

18   and to participate in discovery dispute resolution; (b) be knowledgeable about the Party’s

19   discovery efforts; (c) be, or have reasonable access to those who are, familiar with the Party’s

20   electronic systems and capabilities in order to explain those systems and answer relevant

21   questions; and (d) be, or have reasonable access to those who are knowledgeable about the

22   technical aspects of discovery, including electronic document storage, organization, and format

23   issues, and relevant information retrieval technology, including search methodology.

24          5.      IDENTIFICATION OF CUSTODIANS AND DATA SOURCES
25          The parties will disclose information about custodians and custodial and non-custodial

26   data sources likely to possess relevant or responsive information in accordance with Fed. R. Civ.

27   P. 26 and this District’s ESI Guidelines. The Parties will participate in Rule 26(f) discussions

28   guided by this District’s Checklist for Rule 26(f) Meet and Confer Regarding Electronically

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 1   Stored Information. After responses to Requests for Production under Fed. R. Civ. P. 34 have

 2   been served, the parties will meet and confer regarding those custodians and custodial and non-

 3   custodial data sources from which Documents and ESI will be collected for search and review for

 4   potential production in this litigation. The custodian and data source exchanges will include brief

 5   explanations of the rationale for their selections; for example, for custodians, their current job

 6   titles and descriptions of their work, and for data sources, location information and description.

 7          6.      INACCESSIBLE OR UNUSABLE ESI
 8          If a Producing Party asserts that certain requested ESI is inaccessible or not “reasonably

 9   accessible,” otherwise unnecessary, or if the Receiving Party asserts that, following production,

10   certain ESI is not reasonably useable, the parties shall meet and confer to discuss resolving such

11   assertions. The parties will exchange sufficient information to enable the parties to confer in good

12   faith. If the parties cannot resolve any such disputes after such a meet and confer has taken place,

13   the issue shall be presented to the Court for resolution.

14          7.      KNOWN RESPONSIVE DOCUMENTS
15          Documents or ESI identified in a custodial or non-custodial file, or in a discrete folder or

16   collection, that are known to a Producing Party through reasonable investigation to be responsive

17   to a discovery request shall be collected for review without regard to whether the responsive

18   content was located via any search methodology developed in accordance with this Order, and

19   nothing about such review shall prevent the Producing Party from redacting or withholding and

20   logging such documents for applicable privileges.

21          8.      SEARCH METHODOLOGIES
22          The Parties shall adopt reasonable and proportionate methodologies to identify, search,

23   collect, cull, review, and produce ESI as required under applicable legal standards. The Parties

24   recognize and agree that each Party may use one or more methodologies to identify, search,

25   collect, cull, review, and produce responsive and non-privileged ESI, including the use of

26   keyword search terms and/or the use of technology assisted review (“TAR”) as discussed further

27   herein. The Parties further recognize that different data sets may implicate different

28   methodologies to identify, search, collect, cull, review, and produce responsive and non-

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     PRODUCTION OF ESI & HARD COPY DOCUMENTS          -3-                3:22-MD-03047-YGR; MDL NO. 3047
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 1   privileged ESI. The Parties therefore agree to meet and confer in good faith regarding any

 2   potential disputes over their respective ESI productions.

 3          9.      HIT REPORTS AND SEARCH TERMS
 4          If a Producing Party uses search terms to identify, search, or cull potentially responsive

 5   ESI, the Producing Party shall disclose the search terms to the Requesting Party. The Parties shall

 6   meet and confer regarding any disputes over the disclosed search terms. In the event that a

 7   Producing Party claims burden with respect to modified and/or additional search terms proposed

 8   by a Requesting Party, the Producing Party shall provide a hit report for the terms at issue using

 9   industry-standard processing tools, such as NUIX or other similar tools. The Producing Party

10   shall provide a hit report for the document collection where the terms were applied, including the

11   following with respect to each proposed or modified search term in the collection:

12          a) The number of documents with hits for that term; and

13          b) The number of unique documents, i.e., documents which do not have hits for any other

14               term.

15          If, after reviewing a hit report from a Producing Party, a Requesting Party so chooses, it

16   may reasonably request a further hit report which includes:

17          c) The number of family members, including the documents with hits, of the documents

18               with hits for that term; and

19          d) The number of unique family members of the documents with hits for that term.

20          If the ESI tool for the Producing Party is capable without undue burden of providing the

21   number of family members and unique family members, then the Producing Party shall provide

22   such further hit report. The Parties (including the person most knowledgeable about the

23   capabilities of the Producing Party’s ESI tool and the Requesting Party’s person most

24   knowledgeable about technical issues from its ESI service provider) shall meet and confer

25   regarding any disputes over whether the Producing Party’s ESI tool has the capability or not to

26   provider either number of family members or number of unique family members.

27          The Parties shall meet and confer to resolve disagreements over the search terms or their

28   application. To the extent the Parties are unable to reach agreement on the application of, or

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 1   procedures for, any search or filtering processes, the Parties shall fully comply with the

 2   provisions of this Court’s Discovery Standing Order regarding the procedure for raising discovery

 3   disputes with the Court, including the meet and confer and certification requirements therein.

 4          10.       TECHNOLOGY ASSISTED REVIEW (TAR)
 5          A Producing Party may use TAR (technology-assisted review) during the culling and

 6   review process of ESI, which may be applied in addition to search terms. If a Producing Party

 7   uses TAR to cull, filter out, or exclude documents from that Party’s production, that Producing

 8   Party shall do the following:

 9                   If a Producing Party chooses to apply both search terms and TAR to a review set,

10                    the Producing Party will disclose the search terms to all other Party/Parties.

11                   Disclose the name of the TAR tool or service used to all other Party/Parties.

12          11.       VALIDATION
13          Each Producing Party shall take reasonable steps to validate its review process (i.e., using

14   quality control measures to determine whether its production is missing relevant ESI or contains

15   substantial amounts of irrelevant ESI) and make any necessary adjustments or corrections to its

16   process. If, after reviewing a Producing Party’s production, a Requesting Party reasonably

17   requests additional information regarding the validation method(s) used by the Producing Party,

18   the Producing Party will disclose the level of end-to-end recall (the percentage of responsive

19   Documents in the collection which were identified as responsive by that Producing Party’s

20   methodology). If there remain disputes between the Parties regarding validation, the Parties shall

21   meet and confer to resolve such disputes in good faith, including a reasonable discussion

22   regarding the tool used and the parameters used to obtain or calculate the level of recall.

23          12.       UNSEARCHABLE DOCUMENTS
24          The Producing Party shall use reasonable efforts to identify and review potentially

25   responsive documents for which text-based search technologies are fundamentally ineffective.

26          13.       SYSTEM FILES
27          Each Party will use its best efforts to filter out common system files and application

28   executable files using the national software reference library (“NSRL”) NIST hash set list. The

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 1   Parties also may filter out stand-alone files identified as zero bytes in size. Additional culling of

 2   file types based on file header information may be applied to the following, provided these files

 3   are not known to be otherwise attached, embedded in, or included with an otherwise responsive

 4   document, or are not themselves reasonably known to contain information responsive or contain

 5   responsive data or are used to interface with users or interact with or access individual or

 6   aggregated user data: Application Package File, Backup Files, Batch Files, Binary Disc Image,

 7   C++ File Formats, Cascading Style Sheet, Configuration File, Database File, Dictionary Files,

 8   Dynamic Link Library, Event Log Files, Executable Files, Hypertext Cascading Stylesheet, Java

 9   Archive Files, JavaScript Files, JavaScript Source Code and Class Files, Macintosh Resource

10   Fork Files, Package Manager Files, Program Files, Program Installers, Python Script Files, Shell

11   Script Files, System or Temporary Files, Thumbnail Cache Files, Troff Files, Truetype Font Files,

12   Windows Cabinet File, Windows Command Files, Windows File Shortcut, Windows Help Files,

13   Windows Metafiles and Enhanced Metafiles, Windows Spool Files, Windows System File.

14          14.     DEDUPLICATION
15          Each Producing Party shall make reasonable efforts to globally deduplicate exact

16   duplicate Documents within that Producing Party’s ESI data set across all custodial and non-

17   custodial sources at the family level using either MD5 hash values or SHA hash values or any

18   other agreed-upon (and disclosed) industry-standard deduplication technology. The Parties shall

19   reach agreement on such other deduplication technology and shall reach agreement on how their

20   deduplication tools shall identify exact duplicates of documents in a manner that is consistent

21   with the disclosed tools and technologies a Producing Party is using. The Parties shall reach

22   agreement on how to identify exact duplicates of emails using industry-standard commercially

23   available software tools or services, which may for example calculate hash values of emails based

24   on concatenated values of agreed-upon email fields and/or hash values of attachments, or which

25   may use any other method the Parties agree upon. Having further met and conferred in keeping

26   with the previous sentence, the Parties shall calculate deduplication hash values for emails on the

27   concatenated values set forth in and in accordance with the documentation specifications of the

28   disclosed deduplication tools to be used in this Litigation (i.e., RelativityOne, Relativity Server,

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 1   and Nuix); however, if Nuix is used, the Producing Party shall select the optional field “Include

 2   Bcc” as an additional field to add to the default ones.

 3          The Parties shall not withhold from production near-duplicates without meeting and

 4   conferring on this issue.

 5          The names of all custodians who were either identified as custodians for purposes of

 6   collection for this matter (or otherwise known by the Producing Party to have been in possession

 7   or custody of a document prior to deduplication) will be populated in the ALL CUSTODIANS

 8   metadata field for the produced version of a document that has duplicates removed from

 9   production. The original file paths (if any exist) of a document prior to deduplication will be

10   populated in the ALL FILE PATHS metadata field of the produced document.

11          15.     EMAIL THREADING
12          The Parties may use analytics technology to identify email threads and shall produce the

13   unique most inclusive copy and related family members. Where multiple email messages are part

14   of a single chain or “thread,” a Party is only required to produce the most inclusive copy of an

15   email message(s) (“Last In Time Email(s)”) and need not produce earlier, lesser inclusive email

16   messages or “thread members,” provided that the tool or software service being used to perform

17   threading is disclosed. A Producing Party may exclude from production lesser inclusive copies of

18   the most inclusive email message in the thread, where the entire body of each of those lesser

19   inclusive copies is included within the Last in Time Email. The Producing Party will honor

20   reasonable requests to produce lesser inclusive copies of a Last In Time Email or other earlier

21   chains of emails otherwise excluded by email thread suppression.

22          The Parties shall treat new or different email chains or threads pursuant to further

23   agreement on safeguards or guidelines for defining emails threads which reasonably take into

24   account the capabilities of the email threading/dethreading/hyperthreading tools used by each

25   Defendant (which shall be disclosed to Plaintiffs).

26          16.     SOURCE CODE
27          The Parties will meet and confer to address the production and/or inspection of source

28   code and entering into a separate order governing the same if needed.

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 1          17.      PRODUCTION FORMATS

 2          The Parties agree to produce documents and data in the formats described in Appendix 1

 3   to this ESI Order. If particular documents or categories of documents identified in response to

 4   document requests warrant a different format, the Parties will cooperate to arrange for the

 5   mutually acceptable production of such documents. The Parties further agree not to degrade the

 6   searchability of documents as part of the document production process.

 7          In addition, the Parties agree that the production and production format of social media

 8   and/or user account information is not covered by this agreement and to meet and confer on the

 9   production and production format, including metadata, for social media and/or user account

10   information.

11          18.      PHASING

12          Once the Parties begin propounding discovery requests pursuant to Fed. R. Civ. P. 34, the

13   Parties agree to meet and confer regarding appropriate phasing for the production of ESI.

14          19.      MISCELLANEOUS PROVISIONS

15          a) Production of Plaintiffs ESI and Case-Specific Materials. Subject to any further

16                agreement among the Parties or Order of the Court, the Parties shall produce case-

17                specific documents (i.e., documents specific to the claim of a given Plaintiff, produced

18                by Plaintiffs or Defendants) for any Plaintiff in discovery pools or other selections

19                designed to inform bellwether selection, including those selected for a bellwether trial,

20                in accordance with the production format specified herein, provided, however, that the

21                Producing Party may elect to produce such materials in their native format. To the

22                extent production of case-specific documents for any Plaintiff selected for a bellwether

23                trial presents an issue for any Party, the Parties shall reasonably confer, and may

24                present any disputes to the Court or its designee. The Parties shall further agree to

25                confer concerning the production format and associated matters (e.g., hosting

26                platform) for case-specific documents produced in the cases of other Plaintiffs.

27                Nothing herein shall limit Defendant’s right to seek discovery from any Plaintiff.

28          b) Translations Of Produced Materials. The Producing Party has no obligation to

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 1             create a translation of the Documents or any portion thereof. For any foreign-language

 2             documents responsive to document requests that a Party reasonably knows as the

 3             result of a reasonable investigation have been translated into the English language

 4             using human translators or through machine translation for its own purposes, except to

 5             the extent such translation is protected by attorney-client or work-product privileges,

 6             the Producing Party shall produce the translation of the original document with the

 7             original. The parties will meet and confer as necessary concerning procedures for

 8             using translations at depositions and at trial. In the event the Parties cannot reach

 9             agreement, the matter may be submitted to the Court for determination.

10          c) Third-Party Documents. A Party that issues a Non-Party subpoena (“Issuing Party”)

11             shall include a copy of this Order with the subpoena and state that (1) the subpoenaed

12             Non-Party should produce Documents in response to the subpoena to all Parties; and

13             (2) the Parties to this Litigation have requested that Third Parties produce Documents

14             in accordance with the specifications set forth herein. If the subpoenaed Non-Party

15             produces Documents to the Issuing Party but does not produce those Documents to

16             other Parties, the Issuing Party shall produce such Documents to those other Parties

17             within 14 days of receiving the Documents, except where the Documents are to be

18             used in a deposition, in which case the Issuing Party shall produce such Documents to

19             all other Parties no later than three (3) days prior to the deposition, or as soon as

20             reasonably practicable if such production occurs thereafter. Nothing in this Order is

21             intended or may be interpreted to narrow, expand, or otherwise affect the rights of the

22             Parties or Third Parties to object to a subpoena. If the Non-Party production is not

23             Bates-stamped, the Parties will meet and confer to agree upon a format for designating

24             the documents with a unique Bates Number prefix.

25          d) Documents Produced by Parties – Presumption of Authenticity. In order to reduce

26             the number of requests for admission, this Order establishes a rebuttable presumption

27             that documents produced by the Parties are authentic, if said documents were either

28             created or authored by the producing Party, or any of its employees, agents, or

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 1             contractors, so long as the employees’, agents’, or contractors’ work was performed in

 2             connection with a project or assignment sponsored by the producing Party. No further

 3             evidence to establish authenticity need be provided. Nothing in this paragraph shall be

 4             deemed to waive any other evidentiary objection a party may have, including but not

 5             limited to hearsay, foundation/personal knowledge, or relevance.

 6          e) Re-productions. Notwithstanding any provisions to the contrary, re-production of

 7             discrete sets of documents from another litigation, arbitration, government inquiry, or

 8             other matter may be re-produced in the same manner and form as originally produced

 9             in the other matter, provided however that a party will re-produce documents in a

10             different format for good cause shown. This provision does not waive the right of a

11             party to object to any requests for reproduction of production files from another

12             litigation, arbitration, government inquiry, or other matter.

13          f) Modification. This ESI Order may be modified by a Stipulated Order of the Parties

14             or by the Court for good cause shown.

15          g) Good Faith. The Parties will act in good faith as required by law and use these

16             procedures to identify and reduce the potential for disputes.

17          h) Continuing Obligations. The Parties recognize that discovery shall be an iterative

18             and cooperative process. The Parties will continue to meet and confer regarding any

19             issues as reasonably necessary and appropriate. This Order does not address or resolve

20             any objections to the Parties’ respective discovery requests.

21          i) Reservation of Rights. The Parties agree that any topic not addressed herein is

22             neither a waiver nor acknowledgement of agreement by either Party.

23          IT IS SO STIPULATED, through Counsel of Record.

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13                                               Google LLC
14            IT IS ORDERED that the foregoing Agreement is approved.
15

16
     Dated:         March 18, 2024
17                                             MAGISTRATE JUDGE PETER H. KANG
18

19

20

21

22

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 1                              APPENDIX 1: PRODUCTION FORMAT

 2      1) Production Components. Except as otherwise provided below, ESI must be produced

 3          in accordance with the following specifications:

 4               a) an ASCII delimited data file (.DAT) using standard delimiters;

 5               b) an image load file (.OPT) that can be loaded into commercially acceptable

 6                  production software (e.g. Concordance);

 7               c) single page black-and-white TIFF images, or JPEG images when color is

 8                  specified herein, or native files with single page placeholder TIFF images

 9                  depending on the applicable production format for each type of file;

10               d) and document level .TXT files for all documents containing extracted full text or

11                  OCR text.

12               e) Family relationships between emails and their attachments, embedded files and

13                  their source document, and connected hardcopy documents will be maintained in

14                  production. Attachments should be consecutively produced with their parent.

15               f) If a particular document warrants a different production format, the Parties will

16                  cooperate in good faith to arrange for a mutually acceptable production format.

17          2)      Production Media and Access Controls. Productions must be encrypted and

18   produced through secure electronic means, such as secure file sharing methods (e.g. FTP), or on

19   CD, DVD, flash drive or external hard drive (“Production Media”). Each piece of Production

20   Media must identify a production number corresponding to the production volume (e.g.

21   “VOL001”). Each piece of Production Media must also identify: (a) the case caption; (b) the

22   following label: “This media contains material subject to Court Ordered security measures”; (c)

23   the Producing Party’s name; (d) the production date; (e) the Bates Number range of the

24   materials contained on the Production Media.

25          Nothing in this ESI Order will preclude or impair any and all protections provided the

26   Parties by any Protective Order(s) agreed and entered into by the Parties. Parties will use best

27   efforts to avoid the unnecessary copying or transmittal of produced documents. If questions arise,

28   the Parties will meet and confer to ensure security concerns are addressed prior to the exchange of

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 1
     any documents.
 2
            3)      Data Load Files/Image Load Files. Each TIFF in a production must be
 3
     referenced in the corresponding image load file. The total number of documents referenced in a
 4
     production’s data load file should match the total number of designated document breaks in the
 5
     image load file(s) in the production. The total number of pages referenced in a production’s
 6
     image load file should match the total number of TIFF files in the production. All images must
 7
     be assigned a unique Bates number that is sequential within a given document and across the
 8
     production sets. The Bates Numbers in the image load file must match the corresponding
 9
     documents’ beginning Bates numbers in the data load file. The total number of documents in a
10
     production should match the total number of records in the data load file. Load files must not
11
     vary in format or structure within a production, or from one production to another except by
12
     agreement of the Parties.
13
            4)      Metadata Fields. Each of the metadata and coding fields set forth below that can
14
     be extracted should be produced for each document, except that if the field contains privileged
15
     information, that privileged information may be redacted. However, to the extent that metadata
16
     does not exist, is not available for any documents produced, this provision shall not be read to
17
     require any Party to extract, capture, collect, manually populate, or produce such metadata, with
18
     the exception of the following: (a) BEGBATES, (b) ENDBATES, (c) BEGATTACH, (d)
19
     ENDATTACH, (e) PRODVOL, (f) ALL CUSTODIANS, (g) CONFIDENTIALITY, (h)
20
     REDACTIONS, (i) REDACTION TYPE, (j) HASHVALUE, (k) NATIVEFILEPATH, and (l)
21
     TEXTFILEPATH, which should be populated by the Party or the Party’s vendor. The Parties
22
     will make reasonable efforts to ensure that metadata fields automatically extracted from the
23
     documents correspond directly to the information that exists in the original documents.
24

25     Field Name                                        Field Description

26                                                       Beginning Bates number for a particular
       BEGBATES                                          document as stamped on the first production
27                                                       image for that document

28     ENDBATES                                          Ending Bates number as stamped on the last

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 1
       Field Name                                Field Description
 2
                                                 production image for a particular document
 3
                                                 First production Bates number of the first
       BEGATTACH
 4                                               document in a family

 5                                               Last production Bates number of the last
       ENDATTACH
                                                 document in a family
 6
                                                 Number of attachments to an e-mail or
 7                                               embedded parent, as generated by
       ATTACHCOUNT
                                                 commercially available discovery processing
 8
                                                 tools.
 9
                                                 Names of each individual Attachment,
       ATTACHNAMES
10                                               separated by semicolons.

11     PRODVOL                                   Production volume

12                                               List of all custodians associated with
       ALLCUSTODIANS                             Document, i.e. “Custodian” + “Other
13                                               Custodian” values delimited by semicolon.

14                                               All original path(s) to the individual source
                                                 file(s) when available in the ordinary course
15                                               of business to and processable by the parties
       ALLFILEPATHS
                                                 and their ESI vendors of choice. Includes path
16                                               up to and including internal path of
17                                               containers.

18                                               Confidentiality designation assigned to the
       CONFIDENTIALITY                           document consistent with the Stipulated
19                                               Protective Order governing this Litigation
20     NATIVEFILEPATH                            Native File Link (Native Files only)
21                                               Path to extracted text/OCR file for the
       TEXTFILEPATH
                                                 document
22
       HASHVALUE                                 MD5 hash value of the document
23
                                                 Descriptor for the type of document: “E-
24
                                                 document” for electronic documents not
25                                               attached to e-mails; “E-mail” for all e-mails;
      DOCUMENT TYPE                              “E-attachment” for files that were attachments
26                                               to e-mails; and “Physical” for hard copy
                                                 physical documents that have been scanned
27                                               and converted to an electronic image.
28    AUTHOR                                     Any value populated in the Author field of the
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 1
       Field Name                                Field Description
 2
                                                 document properties
 3
                                                 Date the document was created according to
 4    DOCDATE                                    filesystem information (format:
                                                 MM/DD/YYYY)
 5
                                                 Date when document was last modified
 6    DATELASTMODIFIED                           according to filesystem information (format:
                                                 MM/DD/YYYY)
 7
                                                 Last person who modified (saved) a
 8
      LAST MODIFIED BY                           document, as generated by commercially
 9                                               available discovery processing tools.

10                                               Y if a document with track changes value,
      TRACK CHANGES                              otherwise N or empty, if available separately
11                                               from the HASHIDDENDATA flag

12                                               Y if a document with comments, otherwise N
      COMMENTS                                   or empty, if available separately from the
13                                               HASHIDDENDATA flag
                                                 Y if a document with hidden content value,
14    HASHIDDENDATA                              otherwise N or empty
15
      FILENAME                                   Filename of an electronic document
16
                                                 Any value populated in the Title field of the
      TITLE
17                                               document properties

18                                               File extension of document pulled from the
      DOCEXT
                                                 document properties
19
      FROM                                       The sender of the email
20
                                                 All recipients that were included on the “To”
21    TO
                                                 line of the email
22                                               All recipients that were included on the “CC”
      CC
                                                 line of the email
23
                                                 All recipients that were included on the
24    BCC
                                                 “BCC” line of the email
25
                                                 Date and time email was received (format:
      DATETIMERECEIVED
26                                               MM/DD/YYYY HH:MM)

27                                               Date and time email was sent (format:
      DATETIMESENT
                                                 MM/DD/YYYY HH:MM)
28

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 1
         Field Name                                                 Field Description
 2
         TIMEZONE                                                   The timezone used to process the document
 3
                                                                    Subject line of email pulled from the
         EMAILSUBJECT
 4                                                                  document properties

 5                                                                  If a threading tool is used for emails, the
         THREADID
                                                                    thread id generated by the threading tool.
 6
                                                                    General category of redaction reason as
 7                                                                  agreed to by the parties. For example, PII,
         REDACTION TYPE1
                                                                    SCA, CODE, and/or PRIV. If more than one,
 8
                                                                    separate reasons by semicolons.
 9
                                                                    Y if a document is redacted, otherwise N or
         REDACTIONS
10                                                                  empty

11            5)       TIFFs. Unless excepted below, single page, black and white, Group IV TIFFs
12   should be provided, at least 300 dots per inch (dpi) for all documents. Each TIFF image must be
13   named according to a unique corresponding Bates number associated with the document. Each
14   image must be branded according to the Bates number and the agreed upon confidentiality
15   designation. Original document orientation should be maintained (i.e., portrait to portrait and
16   landscape to landscape). Where the TIFF image is unreadable or has materially degraded the
17   quality of the original, the Producing Party shall provide a higher quality TIFF image or the
18   native or original file. In addition, the Parties shall take reasonable efforts to process word
19   processing documents (e.g., MS Word) with track changes and/or comments unhidden on the
20   TIFF image.
21            6)       Color. Word processing documents containing tracked changes shall be
22   produced in color, as single-page, 300 dpi JPG images with JPG compression and a high quality
23   setting as to not degrade the original image. The Producing Party shall comply with good faith
24   by the Requesting Party to provide replacement color images for documents originally produced
25   in black and white. A Party making such a request shall make the request by individual Bates
26
     1
       The Parties will provide specific information on any privilege(s) asserted in their privilege logs, in an overlay, or the
27   redaction boxes. The “Redaction Reason” field is informational only for redaction type and shall not in any way limit
     a party’s right to assert attorney-client privilege, attorney-work product privilege, and/or any other applicable privilege
28   or protection.

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 1
     number(s) and shall limit requests made pursuant to this paragraph to a reasonable number of
 2
     documents.
 3
            7)      Text Files. A single multi-page text file must be provided for each document,
 4
     and the filename should match its respective TIFF filename for the first page of that document.
 5
     Extracted text shall be generated with commercially acceptable technology set to include all
 6
     comments, revisions, tracked changes, speaker’s notes and text from documents with comments
 7
     or tracked changes, and hidden and very hidden worksheets, slides, columns and rows. When
 8
     possible, the text of native files should be extracted directly from the native file. Parties will
 9
     perform optical character recognition (“OCR”) on foreign language documents using the
10
     appropriate settings for languages reasonably anticipated to be in the production following a
11
     meet and confer with the Requesting Party to identify those languages. Text files will not
12
     contain the redacted portions of the documents. A commercially acceptable technology for OCR
13
     should be used for all scanned, hard copy documents and for documents with redactions other
14
     than Excel files and other spreadsheets which shall be redacted in native format. Text extracted
15
     from emails should include the following header information where available: (1) the
16
     individuals to whom the communication was directed (“To”), (2) the author of the email
17
     communication (“From”), (3) who was copied and blind copied on such email (“CC” and
18
     “BCC”), (4) the subject line of the email (“RE” or “Subject”), and (5) the date and time of the
19
     email. To the extent the text extraction technology the Parties are using can be configured to
20
     include the text of any URLs or links, the Parties shall utilize that setting.
21
            8)      Native files. Spreadsheets (e.g. MS Excel), and un-redacted presentations (e.g.
22
     Microsoft PowerPoint,) will be produced in native format to the extent that they are produced in
23
     this Litigation, audio, video, and multi-media files will be produced in native format. The
24
     Parties will meet and confer on the production of other file types, such as proprietary files, etc.
25
     Native files will be produced with a link in the NATIVEFILEPATH field, along with extracted
26
     text (where extracted text is available) and applicable metadata fields set forth in paragraph 4
27
     above. A Bates numbered TIFF placeholder indicating that the document was provided in native
28
     format must accompany every native file. Where redaction makes production of native-format
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 1
     files other than spreadsheets or presentations infeasible, the Parties will confer to determine a
 2
     reasonably usable form for the production, but spreadsheets shall presumptively be redacted in
 3
     native, and presentations presumptively redacted in image form, in these cases without the need
 4
     for further conferring.
 5
            9)      Production Format for Hard Copy Documents. Documents that exist in
 6
     hardcopy will be scanned to *.tiff image format and produced in accordance with the
 7
     specifications set forth herein. Hard copy documents that are not text-searchable shall be made
 8
     searchable by OCR prior to production. In scanning paper documents, distinct documents
 9
     should not be merged into a single record, and single documents should not be split into
10
     multiple records (i.e., paper documents should be logically unitized). In the case of an organized
11
     compilation of separate documents (for example, a binder containing several separate
12
     documents behind numbered tabs), the document behind each tab should be scanned separately,
13
     but the relationship among the documents in the compilation should be reflected in the proper
14
     coding of the beginning and ending document and attachment fields. The Parties will make their
15
     best efforts to unitize the documents correctly. If relevant documents are maintained in a file,
16
     folder, envelope, binder, notebook or similar container used to store documents, all contents
17
     therein shall be reviewed for production and privilege. Document pages which have affixed
18
     notes, such as Post-it notes, should be imaged with and without the note attached.
19
            10)     Confidentiality Designation. All images will be stamped with the appropriate
20
     confidentiality designations in accordance with the Stipulated Protective Order entered in this
21
     Litigation. Each document produced in native format will have its confidentiality designation
22
     identified in the filename of the native file and indicated on its corresponding TIFF placeholder.
23
            11)     Bates Numbering. Bates numbering should be a consistent length across the
24
     production, contain no special characters, and be numerically sequential within a given
25
     document. If a Bates number or set of Bates numbers is skipped, the skipped number or set of
26
     numbers should be noted with a placeholder. Attachments to documents will be assigned Bates
27
     numbers that directly follow the Bates numbers on the documents to which they were attached.
28

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 1
     In addition, wherever possible, each image will have its assigned Bates number electronically
 2
     “burned” onto the image.
 3
            12)     Databases and Other Structured Data. To the extent that responsive
 4
     information is stored in a database, or database management system, or proprietary system or
 5
     application which has is directed to data storage as one of its primary functions, the Producing
 6
     Party will identify the database and platform to the Requesting Party. The Producing Party shall
 7
     produce exports and reports about such responsive information stored in such database, where
 8
     such exports and reports shall be in a reasonably usable form, and information may be produced
 9
     in CSV format, tab-delimited text format, Microsoft Excel format, or Microsoft Access format.
10
     If there are future disputes over the production of information from a database, the Parties shall
11
     meet and confer in good faith in an attempt to reach any further agreements (if needed) on the
12
     data to be produced and the format and scope of the production. The Producing Party will
13
     provide reasonable amounts of information about the databases to facilitate that discussion.
14
            13)     Hyperlinks. Document(s) and/or folder(s) of documents that are hyperlinked
15
     inside a responsive document (including hyperlinked inside emails) within a Producing Party’s
16
     custody, possession, or control, do not need to be produced in the first instance as part of the
17
     same family group as the Document residing at the location to which that hyperlink points. If
18
     there are particular hyperlinks identified by the Requesting Party in produced documents, the
19
     Requesting Party may submit a list of hyperlinks to a particular Producing Party for potentially
20
     relevant documents by identifying the Bates number and URL or link text for each requested
21
     link to the Producing Party, and the Producing Party will engage in reasonable efforts to locate
22
     the hyperlinked document at that location and either identify it by Bates number or provide any
23
     responsive, non-produced, and non-privileged documents. The number of hyperlinks a
24
     Requesting Party may identify to a Producing Party shall not be excessive and shall be
25
     reasonable, proportional to the needs of the case, and not unduly burdensome.
26
            14)     Embedded Objects. The Parties agree non-substantive embedded objects,
27
     including, but not limited to, logos, icons, emoticons, and footers, may be culled from a
28
     document set (but not a document) and need not be produced as separate documents by a
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     PRODUCTION OF ESI & HARD COPY DOCUMENTS         -8-                3:22-MD-03047-YGR; MDL NO. 3047
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 1
     Producing Party (i.e., such embedded objects will be produced within the document itself, rather
 2
     than as separate documents). Embedded files, except for images (including but not limited to,
 3
     logos, icons, emoticons), are to be produced as family groups. Embedded files should be
 4
     assigned Bates numbers that directly follow the Bates numbers on the documents within which
 5
     they are embedded.
 6
            15)     Production of Family Groups and Relationships. If any member of a family
 7
     group is produced, all members of that group must also be produced or else logged as
 8
     privileged, and no such member shall be withheld from production as a duplicate.
 9
            16)     Dynamic Fields. Documents with dynamic fields for file names, dates, and
10
     times will be imaged to show the field code (e.g., “[FILENAME]”) where possible, rather than
11
     the values for such fields existing at the time the file is processed.
12
            17)     Time Zone. The time zone used to process a document, including its metadata,
13
     shall be disclosed in the TIMEZONE metadata field consistent with Appendix 1, and shall be
14
     standardized for each Defendant across productions.
15
            18)     Redactions.
16
            a)      A Producing Party may redact (i) information subject to the attorney client
17
     privilege or the work product protection (PRIV); (ii) information that cannot be disclosed
18
     pursuant to the Stored Communications Act (SCA); (iii) source code subject to separate
19
     agreement applicable to production of source code (CODE); (iv) personal identifying
20
     information (PII) including phone numbers, personal addresses, personal email addresses, the
21
     month and day of birth, driver’s license numbers, and other PII agreed to by the Parties (for
22
     example, the Parties shall complete their meet and confer on whether or not to redact users’ ages
23
     and years of birth). In any event, there shall be no redaction of illnesses, injuries, and medical
24
     diagnoses. To the extent a document or pleading contains PII, the Parties shall designate such
25
     documents at the appropriate Confidentiality level under the Protective Order and shall comply
26
     with Fed. R. Civ. P. 5.2 with regard to filings with the Court.
27
            b)      No redactions for relevance may be made within a produced document or ESI
28
     item. If, during the course of discovery, the Parties identify other kinds of information that any
     STIP. & [PROPOSED] ORDER GOVERNING THE
     PRODUCTION OF ESI & HARD COPY DOCUMENTS           -9-                3:22-MD-03047-YGR; MDL NO. 3047
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 1
     Party has a reasonable basis for redacting, the Parties will meet and confer on a case-by-case
 2
     basis regarding that information before such redactions are made. If the Parties cannot agree,
 3
     they may seek resolution from the Court.
 4
            c)      The Producing Party will indicate, on the face of the redaction, the asserted
 5
     reason(s) for the redaction (PII, SCA, CODE, and/or PRIV) and the REDACTION TYPE
 6
     metadata field shall indicate that the document contains redactions and the reason(s) for the
 7
     redaction.
 8
            d)      Notwithstanding the foregoing, this provision shall not be read to prohibit
 9
     redactions permitted under any applicable U.S. law or Protective Order.
10
            e)      Where a responsive document contains both redacted and non-redacted content,
11
     the Parties shall produce the non-redacted portions of the document and the OCR text
12
     corresponding to the non-redacted portions.
13
            f)      Native Redactions. Spreadsheet files requiring redaction, including without
14
     limitation Microsoft Excel files, shall be redacted and produced natively (unless the Parties
15
     agree to production in some other format). In addition, a Producing Party may natively redact
16
     other files that cannot be properly imaged for redaction.
17
            g)      All images of redacted files shall be processed to show all comments, revision
18
     marks, speaker notes, marks made in track changes, or other user-entered data which are visible
19
     in a normal view of the document in its native application, unless such material is redacted and
20
     marked as redacted in accordance with this section. Where possible, any occurrences of
21
     date/time auto‐field items, including in headers and footers, will be removed and replaced with
22
     the term AUTODATE to prevent the current date from being printed. Email header information
23
     (e.g., date and/or subject line) shall not be redacted unless it is independently privileged. The
24
     Parties shall honor reasonable requests for the production of particular redacted documents in
25
     other formats where the image is not reasonably usable.
26
            h)      Color. Redacted versions of documents that would have been produced in color
27
     in their un-redacted form shall be produced in color as detailed herein.
28

     STIP. & [PROPOSED] ORDER GOVERNING THE
     PRODUCTION OF ESI & HARD COPY DOCUMENTS         - 10 -             3:22-MD-03047-YGR; MDL NO. 3047
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 1
            19)     Exception Files. The Parties will use reasonable efforts to address processing
 2
     exceptions.
 3
            20)     Mobile and Handheld Device Documents and Data. If responsive and unique
 4
     data that can reasonably be extracted and produced in the formats described herein is identified
 5
     on a mobile or handheld device, that data shall be produced in accordance with the generic
 6
     provisions of this protocol. To the extent that responsive data identified on a mobile or handheld
 7
     device is not susceptible to normal production protocols, the Parties will meet and confer to
 8
     address the identification, production, and production format of any responsive documents and
 9
     data contained on any mobile or handheld device.
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     STIP. & [PROPOSED] ORDER GOVERNING THE
     PRODUCTION OF ESI & HARD COPY DOCUMENTS        - 11 -             3:22-MD-03047-YGR; MDL NO. 3047
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DELIVERED VIA PROCESS SERVER                                      July 17, 2024

Colorado Behavioral Health Administration
Cherry Creek Corporate Center
701 S. Ash Street C140
Denver, CO 80246


       Re: People of the State of California v. Meta Platforms, Inc.,
             4:23-cv-05448

Dear Sir/Madam:

Enclosed please find a subpoena being served upon you in connection with the above-captioned
litigation currently pending in the U.S. District Court for the Northern District of California. I
represent Defendants Meta Platforms, Inc.; Instagram, LLC, Meta Payments, Inc., Meta Platforms
Technologies, LC and Mark Zuckerberg (collectively, the “Meta Defendants”) in this matter.

The document subpoena requests the production of specific documents identified in the attached
subpoena (see Attachment A to the subpoena), which are requested to be produced by 10 am on
August 19, 2024. We are willing to work with you on the time, date, location, method and manner
of document production, as well as answer any questions or concerns you may have regarding
subpoena compliance. It is sufficient compliance with this subpoena if you electronically transmit
a copy of the requested documents to the undersigned. As such, please contact me at
kpatchen@cov.com and 415-591-6031, to discuss document production and subpoena
compliance, unless you are already represented by counsel in connection with this matter.

The Court is currently considering whether the Colorado Attorney General’s Office has control
over Colorado Behavioral Health Administration’s information for the purposes of discovery in
this action. If the Court rules that the Colorado Attorney General’s Office has control over the
Colorado Behavioral Health Administration’s information, the Colorado Attorney General has
pending discovery requests that seek this agency’s documents. By serving this subpoena, Meta
does not waive its position in the state agency dispute, nor does Meta in any way waive rights to
compel the Colorado Attorney General to produce Colorado Behavioral Health Administration
information as part of discovery in this action. However, to avoid further delay in the production
of information from the Colorado Behavioral Health Administration, Meta is serving the attached
subpoena to request the timely production of this information.

Your anticipated time and assistance with this matter is greatly appreciated.
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Colorado Behavioral Health Administration
July 17, 2024
Page 2


                                                             Best regards,

                                                             /s/ E. Kate Patchen

                                                             E. Kate Patchen



Enclosed: Subpoena, Attachment A, and Attachment B
             Case 4:23-cv-05448-YGR                        Document 116-3                  Filed 07/24/24              Page 147 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________  DistrictofofCalifornia
                                                                                __________
              People of the State of California, et al.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.          4:23­cv­05448
                  Meta Platforms, Inc., et al.                                )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To: Colorado Behavioral Health Administration
        Cherry Creek Corporate Center, 701 S. Ash Street C140, Denver, CO 80246
                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A.



  Place: Shook, Hardy & Bacon, Attn: Jennifer Blues Kenyon                              Date and Time:
           1660 17th Street, Suite 450
           Denver, CO 80202                                                                         10 a.m. on August 19, 2024

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2024

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Ashley Simonsen
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Meta Platforms, Inc. f/k/a Facebook, Inc.; Instagram, LLC, Meta Payments, Inc.,
Meta Platforms Technologies, LLC; and Mark Zuckerberg,                                         who issues or requests this subpoena, are:
Ashley Simonsen, Covington & Burling LLP, 1999 Avenue of the Stars, Los Angeles, CA 90067, 424­332­4782, asimonsen@cov.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 4:23-cv-05448-YGR                     Document 116-3                  Filed 07/24/24              Page 148 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 4:23-cv-01615

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
              Case 4:23-cv-05448-YGR                          Document 116-3                  Filed 07/24/24               Page 149 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                DEFINITIONS AND INSTRUCTIONS TO ATTACHMENT A

                                          DEFINITIONS

        1.      The term “communication” means the transmittal of information (in the form of

facts, ideas, inquiries or otherwise).

        2.      “Document” or “documents” shall have the broadest meaning ascribed to it by the

Federal Rules of Civil Procedure, and includes, without limitation electronically stored

information (“ESI”) (including, without limitation, electronic databases and the data therein, all

electronic messages or communications, electronic word processing documents, electronically

stored voicemail, webpages, and social media posts) in accordance with any order in this case

governing ESI at the time of production. Different versions of the same documents, including, but

not limited to, drafts or documents with handwritten notations or marks not found in the original

or on other copies are different documents.

        3. “You”, “you”, “Your” and “your” means the Colorado Behavioral Health

             Administration.

        4.      “Relating” or “related to” means and includes referring to, concerning, referencing,

mentioning, associated with, constituting, discussing, containing, embodying, recording,

reflecting, identifying, summarizing, incorporating, and/or dealing with or pertaining to in any

way.

        5.      “And” includes “or”, and vice versa.

        6.      The singular form of a word or term includes the plural, and vice versa.

        7.      The present tense of a verb includes the past tense, and vice versa.

        8.      The use of the article “the” shall not be construed as limiting the scope of any

request.



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       9.      “Including” means “including without limitation.”

       10.     “Any” includes “all”, and vice versa.

       11.     The capitalized version of a word or term includes the lower case version of a word

or term, and vice versa.

       12.     “Social Media Platforms” or “Platforms” means a digital service that facilitates

interactions between two or more distinct but interdependent sets of users, including but not limited

to Facebook, Instagram, Snapchat, TikTok, YouTube, Twitter (or “X”), Pinterest, LinkedIn,

BeReal, Lapse, Reddit, Threads, VSCO, Goodreads, Quora, Discord, Twitch, and Tumblr.

       13.     “Young Users” means users of Social Platforms who are under 18 years of age

when using the Platform(s).

       All words, terms, and phrases not specifically defined herein are to be given their normal

and customary meaning in the context in which they are used in these Requests.

                                        INSTRUCTIONS

       1.      These Requests are intended to cover any and all documents in your possession,

custody, or control, to the extent not privileged. Documents held by any office, department, board,

commission, or instrumentality of the Colorado Behavioral Health Administration are within your

possession, custody, or control.

       2.      In accordance with ESI Protocol attached hereto as Attachment B, if you object to

furnishing any of the documents or information requested by these Requests on the grounds of

attorney-client privilege, work product, other privilege, or otherwise then, with respect to each

such document:

               a. state the nature of the privilege claimed;
               b. state the date of each communication supporting the privilege claim;




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                c. identify all participants in the supporting communication;

                d. state the specific grounds on which the objection is based; and

                e. identify the specific request calling for such information;

        2.      If you object to any Request on the grounds that it is vague or ambiguous, state: (i)

the portions or terms of such Request that you claim to be vague or ambiguous; and (ii) the

interpretation of the Request pursuant to which you provide a response.

        3.      Each request shall be deemed continuing, so as to require supplemental or

mandatory responses should you obtain additional responsive information subsequent to your

initial responses.

        4.      If you cannot fully respond to a particular Request after exercising due diligence to

make inquiry and to secure the necessary information, provide a response to the extent possible,

specifying your inability to respond to the remainder and providing whatever information or

knowledge you have concerning the portion not responded to.

        5.      Each page of a produced document shall have a legible, unique page identifier

(“Bates Number”) and confidentiality legend (where applicable) on the face of the image at a

location that does not obliterate, conceal, or interfere with any information from the source

document. Redactions should be clearly marked or stamped on the page in such a way that it is

clear from review that a portion of the image has been redacted.

        6.      All responsive and non-privileged electronic documents shall be produced in the

format ordered by the Court in its ESI order.

        7.      All responsive electronic documents shall be produced in a format agreed upon by

the parties, to include at least native versions of Excel spreadsheets and presentation files, with a

Bates-stamped placeholder image.

        8.      Unless otherwise specified, the time period for these Requests is January 1, 2012

to the date of production of the Documents.




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                                    ATTACHMENT A

1. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
   mental, social, emotional, or behavioral health of persons ages 13 to 18.

2. Research, investigations, studies, surveys, reports, evaluations, or analyses related to Social
   Media Platforms, including the importance of Social Media Platforms and the use of Social
   Media Platforms by Young Users and the potential benefits and harms created by the use
   of Social Media Platforms.

3. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
   mental, social, emotional, or behavioral health of Young Users, including those related to
   the effects of:
       a. Social Media Platforms usage;
       b. Video games usage;
       c. Cell phone usage;
       d. Messaging usage;
       e. Usage of other electronics apart from usage of Social Media Platforms;
       f. COVID-19 and/or remote learning;
       g. Use of drugs or alcohol;
       h. The opioid and fentanyl epidemic;
       i. Poverty, homelessness, lack of health insurance, and/or food insecurity;
       j. Physical health including nutrition, exercise, weight management, sleeping habits,
           and sexual activity;
       k. Family trauma or deaths;
       l. Academic pressure;
       m. Violence, including school violence, domestic violence, gun violence, gun control
           and/or mass shootings;
       n. Bullying or verbal abuse apart from usage of Social Media Platforms;
       o. Political polarization;
       p. Natural disasters;
       q. Climate change;
       r. Discrimination and inequity;
       s. Global warfare and conflict; and
       t. Any other potential causes of harms to the mental, social, emotional, or behavioral
           health of Young Users.

4. Youth Risk Behavior Surveys conducted by the Colorado Behavioral Health
   Administration or on its behalf.

5. Research, investigations, studies, surveys, reports, evaluations, or analyses related to:
      a. Features of Social Media Platforms that are psychologically or physically harmful
          to Young Users;
      b. Features of Social Media Platforms that promote compulsive, prolonged, or
          unhealthy use by Young Users;
      c. The impact of features of Social Media Platforms, including:



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              (1) Algorithmic recommendation and sequencing;
              (2) Image filters;
              (3) Use of multiple user accounts;
              (4) Infinite scroll;
              (5) Ephemeral content features;
              (6) Autoplay;
              (7) Quantification and display of likes; or
              (8) Audiovisual and haptic alerts.

6. Programs, initiatives, efforts, or actions proposed or taken by the Colorado Behavioral
   Health Administration to address Young Users’ use of Social Media Platforms, including
   any program, initiative, effort, or action to prevent, limit, encourage, or promote the use of
   Social Media Platforms by Young Users.

7. Policies proposed, recommended, or enacted by the Colorado Behavioral Health
   Administration regarding screen time and acceptable use of cell phones, computers,
   tablets, or other electronic devices by Young Users.

8. Complaints to the Colorado Behavioral Health Administration by teachers or school
   districts regarding social media or cell phone use by Young Users and/or the need for
   acceptable use or other policies to address Young Users’ use of social media or cell
   phones.

9. Complaints to the Colorado Behavioral Health Administration by teachers or school
   districts regarding budget crises from inflation, underfunding, unfunded mandates, and
   other causes.

10. Documents related to state assessments in Colorado, including reports and analyses
    regarding the history of K-12 state assessment or standardized testing scores,
    performance by schools and/or school districts, and any other measures of school
    performance.

11. Legislation or policies proposed by, proposed on behalf of, or testified on by the Colorado
    Behavioral Health Administration, regardless of whether such legislation or policies were
    enacted, regarding Young Users’ use of Social Media Platforms.

12. Mental, social, emotional, or behavioral health services provided by the Colorado
    Behavioral Health Administration to Young Users during the Relevant Period, including:
       a. Counseling or therapy;
       b. Psychiatric services;
       c. Crisis intervention;
       d. Inpatient short-term and long-term programs;
       e. Resource centers; and
       f. Services for Young Users dealing with substance abuse or addiction issues.




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13. Any and all Colorado Behavioral Health Administration grants to address Young Users’
    mental health, including information about when, where, why, and how any disbursements
    were paid, any schedules or plans for future disbursements, policies governing evaluation
    or approval of such disbursements, records of how the disbursements were used, and all
    agendas, minutes, notes, or recordings from meetings related to such grant.

14. Public or non-public meetings held by the Colorado Behavioral Health Administration
    related to Social Media Platforms and use of Social Media Platforms by Young Users,
    including but not limited to, notices, meeting notes, PowerPoint presentations, internal
    memoranda, summaries, personal notes, or attendee lists.

15. Policies, procedures, and practices related to the Colorado Behavioral Health
    Administration’s use of Social Media Platforms, including communication of information
    or promotion of Colorado Behavioral Health Administration’s programs, initiatives,
    efforts, or actions on Social Media Platforms.

16. Colorado Behavioral Health Administration’s communications and/or collaboration with
    any Social Media Platform on any program, initiative or other action related to, or directed
    at, Young Users.

17. Colorado Behavioral Health Administration’s communications with any third party related
    to Young Users and/or Social Media Platforms.

18. Budgeted and actual expenditures by the Colorado Behavioral Health Administration
    during the Relevant Period related to Young Users’ use of Social Media Platforms.

19. Budgeted and actual expenditures by the Colorado Behavioral Health Administration
    during the Relevant Period related to treatment of teen mental, social, emotional, or
    behavioral health issues.

20. Policies, procedures, and practices applicable to the Colorado Behavioral Health
    Administration and Colorado Behavioral Health Administration employees regarding the
    use of Social Media Platforms, including any changes to these policies during the Relevant
    Period.

21. Studies, programs, initiatives, efforts, or actions proposed or taken by the Colorado
    Behavioral Health Administration that sought to provide or promote internet access or
    phones, computers, tablets, or other electronic devices to Young Users.

22. Colorado Behavioral Health Administration’s budget and actual expenditures during the
    Relevant Period, including expenditures on:
       a. Digital advertisements by the Colorado Behavioral Health Administration on
           Social Media Platforms;
       b. Digital advertisements by the Colorado Behavioral Health Administration
           purchased through Social Media Platforms.




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 6                           IN THE UNITED STATES DISTRICT COURT

 7                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8
       IN RE: Social Media Adolescent                       MDL No. 3047
 9     Addiction/Personal Injury Products Liability         Case No. 4:22-md-03047-YGR
       Litigation
10
                                                            Honorable Yvonne Gonzalez Rogers
11     This document relates to:                            Honorable Peter H. Kang
       ALL ACTIONS
12                                                          STIPULATION AND [PROPOSED]
                                                            ORDER GOVERNING THE
13                                                          PRODUCTION OF
14                                                          ELECTRONICALLY STORED
                                                            INFORMATION AND HARD COPY
15                                                          DOCUMENTS

16

17          1.      PURPOSE
18          This Order Governing the Production of Electronically Stored Information and Hard Copy

19   Documents (“ESI Order”) will govern discovery of electronically stored information and any hard

20   copy documents in this Litigation as a supplement to the Federal Rules of Civil Procedure, this

21   District’s Guidelines for the Discovery of Electronically Stored Information, and any other

22   applicable orders and rules. “This Litigation” includes all actions currently in MDL No. 3047, In

23   Re: Social Media Adolescent Addiction/Personal Injury Products Liability, or hereafter added or

24   transferred to MDL No. 3047, and all actions later remanded to their respective transferor courts.

25          2.      DEFINITIONS
26          a) “Document” is defined to be synonymous in meaning and equal in scope to the usage

27               of this term in Rules 26 and 34 of the Federal Rules of Civil Procedure and shall

28               include Hard-Copy Documents and ESI.

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 1          b) “Electronically stored information” or “ESI,” as used herein has the same meaning as

 2               in Federal Rules of Civil Procedure 26 and 34.

 3          c) “Hard-Copy Document” means Documents existing in paper form at the time of

 4               collection.

 5          d) “Searchable Text” means the native text extracted from an Electronic Document and

 6               any Optical Character Recognition text (“OCR text”) generated from a Hard-Copy

 7               Document or electronic image.

 8          3.      COOPERATION
 9          The Parties are aware of the importance the Court places on cooperation and commit to

10   cooperate in good faith throughout this Litigation consistent with this Court’s Guidelines for the

11   Discovery of ESI and this Court’s Rules of Professional Conduct. The Parties will endeavor to

12   cooperate in good faith and be reasonably transparent in all aspects of the discovery process.

13          4.      LIAISON
14          The Parties will identify Discovery Liaisons to each other who are and will be

15   knowledgeable about and responsible for discussing their respective ESI. Any Party is free to

16   change their designated Discovery Liaison by providing written notice to the other Parties. Each

17   Party’s Discovery Liaison must: (a) be prepared to meet and confer on discovery-related matters

18   and to participate in discovery dispute resolution; (b) be knowledgeable about the Party’s

19   discovery efforts; (c) be, or have reasonable access to those who are, familiar with the Party’s

20   electronic systems and capabilities in order to explain those systems and answer relevant

21   questions; and (d) be, or have reasonable access to those who are knowledgeable about the

22   technical aspects of discovery, including electronic document storage, organization, and format

23   issues, and relevant information retrieval technology, including search methodology.

24          5.      IDENTIFICATION OF CUSTODIANS AND DATA SOURCES
25          The parties will disclose information about custodians and custodial and non-custodial

26   data sources likely to possess relevant or responsive information in accordance with Fed. R. Civ.

27   P. 26 and this District’s ESI Guidelines. The Parties will participate in Rule 26(f) discussions

28   guided by this District’s Checklist for Rule 26(f) Meet and Confer Regarding Electronically

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 1   Stored Information. After responses to Requests for Production under Fed. R. Civ. P. 34 have

 2   been served, the parties will meet and confer regarding those custodians and custodial and non-

 3   custodial data sources from which Documents and ESI will be collected for search and review for

 4   potential production in this litigation. The custodian and data source exchanges will include brief

 5   explanations of the rationale for their selections; for example, for custodians, their current job

 6   titles and descriptions of their work, and for data sources, location information and description.

 7          6.      INACCESSIBLE OR UNUSABLE ESI
 8          If a Producing Party asserts that certain requested ESI is inaccessible or not “reasonably

 9   accessible,” otherwise unnecessary, or if the Receiving Party asserts that, following production,

10   certain ESI is not reasonably useable, the parties shall meet and confer to discuss resolving such

11   assertions. The parties will exchange sufficient information to enable the parties to confer in good

12   faith. If the parties cannot resolve any such disputes after such a meet and confer has taken place,

13   the issue shall be presented to the Court for resolution.

14          7.      KNOWN RESPONSIVE DOCUMENTS
15          Documents or ESI identified in a custodial or non-custodial file, or in a discrete folder or

16   collection, that are known to a Producing Party through reasonable investigation to be responsive

17   to a discovery request shall be collected for review without regard to whether the responsive

18   content was located via any search methodology developed in accordance with this Order, and

19   nothing about such review shall prevent the Producing Party from redacting or withholding and

20   logging such documents for applicable privileges.

21          8.      SEARCH METHODOLOGIES
22          The Parties shall adopt reasonable and proportionate methodologies to identify, search,

23   collect, cull, review, and produce ESI as required under applicable legal standards. The Parties

24   recognize and agree that each Party may use one or more methodologies to identify, search,

25   collect, cull, review, and produce responsive and non-privileged ESI, including the use of

26   keyword search terms and/or the use of technology assisted review (“TAR”) as discussed further

27   herein. The Parties further recognize that different data sets may implicate different

28   methodologies to identify, search, collect, cull, review, and produce responsive and non-

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 1   privileged ESI. The Parties therefore agree to meet and confer in good faith regarding any

 2   potential disputes over their respective ESI productions.

 3          9.      HIT REPORTS AND SEARCH TERMS
 4          If a Producing Party uses search terms to identify, search, or cull potentially responsive

 5   ESI, the Producing Party shall disclose the search terms to the Requesting Party. The Parties shall

 6   meet and confer regarding any disputes over the disclosed search terms. In the event that a

 7   Producing Party claims burden with respect to modified and/or additional search terms proposed

 8   by a Requesting Party, the Producing Party shall provide a hit report for the terms at issue using

 9   industry-standard processing tools, such as NUIX or other similar tools. The Producing Party

10   shall provide a hit report for the document collection where the terms were applied, including the

11   following with respect to each proposed or modified search term in the collection:

12          a) The number of documents with hits for that term; and

13          b) The number of unique documents, i.e., documents which do not have hits for any other

14               term.

15          If, after reviewing a hit report from a Producing Party, a Requesting Party so chooses, it

16   may reasonably request a further hit report which includes:

17          c) The number of family members, including the documents with hits, of the documents

18               with hits for that term; and

19          d) The number of unique family members of the documents with hits for that term.

20          If the ESI tool for the Producing Party is capable without undue burden of providing the

21   number of family members and unique family members, then the Producing Party shall provide

22   such further hit report. The Parties (including the person most knowledgeable about the

23   capabilities of the Producing Party’s ESI tool and the Requesting Party’s person most

24   knowledgeable about technical issues from its ESI service provider) shall meet and confer

25   regarding any disputes over whether the Producing Party’s ESI tool has the capability or not to

26   provider either number of family members or number of unique family members.

27          The Parties shall meet and confer to resolve disagreements over the search terms or their

28   application. To the extent the Parties are unable to reach agreement on the application of, or

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 1   procedures for, any search or filtering processes, the Parties shall fully comply with the

 2   provisions of this Court’s Discovery Standing Order regarding the procedure for raising discovery

 3   disputes with the Court, including the meet and confer and certification requirements therein.

 4          10.       TECHNOLOGY ASSISTED REVIEW (TAR)
 5          A Producing Party may use TAR (technology-assisted review) during the culling and

 6   review process of ESI, which may be applied in addition to search terms. If a Producing Party

 7   uses TAR to cull, filter out, or exclude documents from that Party’s production, that Producing

 8   Party shall do the following:

 9                   If a Producing Party chooses to apply both search terms and TAR to a review set,

10                    the Producing Party will disclose the search terms to all other Party/Parties.

11                   Disclose the name of the TAR tool or service used to all other Party/Parties.

12          11.       VALIDATION
13          Each Producing Party shall take reasonable steps to validate its review process (i.e., using

14   quality control measures to determine whether its production is missing relevant ESI or contains

15   substantial amounts of irrelevant ESI) and make any necessary adjustments or corrections to its

16   process. If, after reviewing a Producing Party’s production, a Requesting Party reasonably

17   requests additional information regarding the validation method(s) used by the Producing Party,

18   the Producing Party will disclose the level of end-to-end recall (the percentage of responsive

19   Documents in the collection which were identified as responsive by that Producing Party’s

20   methodology). If there remain disputes between the Parties regarding validation, the Parties shall

21   meet and confer to resolve such disputes in good faith, including a reasonable discussion

22   regarding the tool used and the parameters used to obtain or calculate the level of recall.

23          12.       UNSEARCHABLE DOCUMENTS
24          The Producing Party shall use reasonable efforts to identify and review potentially

25   responsive documents for which text-based search technologies are fundamentally ineffective.

26          13.       SYSTEM FILES
27          Each Party will use its best efforts to filter out common system files and application

28   executable files using the national software reference library (“NSRL”) NIST hash set list. The

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 1   Parties also may filter out stand-alone files identified as zero bytes in size. Additional culling of

 2   file types based on file header information may be applied to the following, provided these files

 3   are not known to be otherwise attached, embedded in, or included with an otherwise responsive

 4   document, or are not themselves reasonably known to contain information responsive or contain

 5   responsive data or are used to interface with users or interact with or access individual or

 6   aggregated user data: Application Package File, Backup Files, Batch Files, Binary Disc Image,

 7   C++ File Formats, Cascading Style Sheet, Configuration File, Database File, Dictionary Files,

 8   Dynamic Link Library, Event Log Files, Executable Files, Hypertext Cascading Stylesheet, Java

 9   Archive Files, JavaScript Files, JavaScript Source Code and Class Files, Macintosh Resource

10   Fork Files, Package Manager Files, Program Files, Program Installers, Python Script Files, Shell

11   Script Files, System or Temporary Files, Thumbnail Cache Files, Troff Files, Truetype Font Files,

12   Windows Cabinet File, Windows Command Files, Windows File Shortcut, Windows Help Files,

13   Windows Metafiles and Enhanced Metafiles, Windows Spool Files, Windows System File.

14          14.     DEDUPLICATION
15          Each Producing Party shall make reasonable efforts to globally deduplicate exact

16   duplicate Documents within that Producing Party’s ESI data set across all custodial and non-

17   custodial sources at the family level using either MD5 hash values or SHA hash values or any

18   other agreed-upon (and disclosed) industry-standard deduplication technology. The Parties shall

19   reach agreement on such other deduplication technology and shall reach agreement on how their

20   deduplication tools shall identify exact duplicates of documents in a manner that is consistent

21   with the disclosed tools and technologies a Producing Party is using. The Parties shall reach

22   agreement on how to identify exact duplicates of emails using industry-standard commercially

23   available software tools or services, which may for example calculate hash values of emails based

24   on concatenated values of agreed-upon email fields and/or hash values of attachments, or which

25   may use any other method the Parties agree upon. Having further met and conferred in keeping

26   with the previous sentence, the Parties shall calculate deduplication hash values for emails on the

27   concatenated values set forth in and in accordance with the documentation specifications of the

28   disclosed deduplication tools to be used in this Litigation (i.e., RelativityOne, Relativity Server,

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 1   and Nuix); however, if Nuix is used, the Producing Party shall select the optional field “Include

 2   Bcc” as an additional field to add to the default ones.

 3          The Parties shall not withhold from production near-duplicates without meeting and

 4   conferring on this issue.

 5          The names of all custodians who were either identified as custodians for purposes of

 6   collection for this matter (or otherwise known by the Producing Party to have been in possession

 7   or custody of a document prior to deduplication) will be populated in the ALL CUSTODIANS

 8   metadata field for the produced version of a document that has duplicates removed from

 9   production. The original file paths (if any exist) of a document prior to deduplication will be

10   populated in the ALL FILE PATHS metadata field of the produced document.

11          15.     EMAIL THREADING
12          The Parties may use analytics technology to identify email threads and shall produce the

13   unique most inclusive copy and related family members. Where multiple email messages are part

14   of a single chain or “thread,” a Party is only required to produce the most inclusive copy of an

15   email message(s) (“Last In Time Email(s)”) and need not produce earlier, lesser inclusive email

16   messages or “thread members,” provided that the tool or software service being used to perform

17   threading is disclosed. A Producing Party may exclude from production lesser inclusive copies of

18   the most inclusive email message in the thread, where the entire body of each of those lesser

19   inclusive copies is included within the Last in Time Email. The Producing Party will honor

20   reasonable requests to produce lesser inclusive copies of a Last In Time Email or other earlier

21   chains of emails otherwise excluded by email thread suppression.

22          The Parties shall treat new or different email chains or threads pursuant to further

23   agreement on safeguards or guidelines for defining emails threads which reasonably take into

24   account the capabilities of the email threading/dethreading/hyperthreading tools used by each

25   Defendant (which shall be disclosed to Plaintiffs).

26          16.     SOURCE CODE
27          The Parties will meet and confer to address the production and/or inspection of source

28   code and entering into a separate order governing the same if needed.

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 1          17.      PRODUCTION FORMATS

 2          The Parties agree to produce documents and data in the formats described in Appendix 1

 3   to this ESI Order. If particular documents or categories of documents identified in response to

 4   document requests warrant a different format, the Parties will cooperate to arrange for the

 5   mutually acceptable production of such documents. The Parties further agree not to degrade the

 6   searchability of documents as part of the document production process.

 7          In addition, the Parties agree that the production and production format of social media

 8   and/or user account information is not covered by this agreement and to meet and confer on the

 9   production and production format, including metadata, for social media and/or user account

10   information.

11          18.      PHASING

12          Once the Parties begin propounding discovery requests pursuant to Fed. R. Civ. P. 34, the

13   Parties agree to meet and confer regarding appropriate phasing for the production of ESI.

14          19.      MISCELLANEOUS PROVISIONS

15          a) Production of Plaintiffs ESI and Case-Specific Materials. Subject to any further

16                agreement among the Parties or Order of the Court, the Parties shall produce case-

17                specific documents (i.e., documents specific to the claim of a given Plaintiff, produced

18                by Plaintiffs or Defendants) for any Plaintiff in discovery pools or other selections

19                designed to inform bellwether selection, including those selected for a bellwether trial,

20                in accordance with the production format specified herein, provided, however, that the

21                Producing Party may elect to produce such materials in their native format. To the

22                extent production of case-specific documents for any Plaintiff selected for a bellwether

23                trial presents an issue for any Party, the Parties shall reasonably confer, and may

24                present any disputes to the Court or its designee. The Parties shall further agree to

25                confer concerning the production format and associated matters (e.g., hosting

26                platform) for case-specific documents produced in the cases of other Plaintiffs.

27                Nothing herein shall limit Defendant’s right to seek discovery from any Plaintiff.

28          b) Translations Of Produced Materials. The Producing Party has no obligation to

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 1             create a translation of the Documents or any portion thereof. For any foreign-language

 2             documents responsive to document requests that a Party reasonably knows as the

 3             result of a reasonable investigation have been translated into the English language

 4             using human translators or through machine translation for its own purposes, except to

 5             the extent such translation is protected by attorney-client or work-product privileges,

 6             the Producing Party shall produce the translation of the original document with the

 7             original. The parties will meet and confer as necessary concerning procedures for

 8             using translations at depositions and at trial. In the event the Parties cannot reach

 9             agreement, the matter may be submitted to the Court for determination.

10          c) Third-Party Documents. A Party that issues a Non-Party subpoena (“Issuing Party”)

11             shall include a copy of this Order with the subpoena and state that (1) the subpoenaed

12             Non-Party should produce Documents in response to the subpoena to all Parties; and

13             (2) the Parties to this Litigation have requested that Third Parties produce Documents

14             in accordance with the specifications set forth herein. If the subpoenaed Non-Party

15             produces Documents to the Issuing Party but does not produce those Documents to

16             other Parties, the Issuing Party shall produce such Documents to those other Parties

17             within 14 days of receiving the Documents, except where the Documents are to be

18             used in a deposition, in which case the Issuing Party shall produce such Documents to

19             all other Parties no later than three (3) days prior to the deposition, or as soon as

20             reasonably practicable if such production occurs thereafter. Nothing in this Order is

21             intended or may be interpreted to narrow, expand, or otherwise affect the rights of the

22             Parties or Third Parties to object to a subpoena. If the Non-Party production is not

23             Bates-stamped, the Parties will meet and confer to agree upon a format for designating

24             the documents with a unique Bates Number prefix.

25          d) Documents Produced by Parties – Presumption of Authenticity. In order to reduce

26             the number of requests for admission, this Order establishes a rebuttable presumption

27             that documents produced by the Parties are authentic, if said documents were either

28             created or authored by the producing Party, or any of its employees, agents, or

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 1             contractors, so long as the employees’, agents’, or contractors’ work was performed in

 2             connection with a project or assignment sponsored by the producing Party. No further

 3             evidence to establish authenticity need be provided. Nothing in this paragraph shall be

 4             deemed to waive any other evidentiary objection a party may have, including but not

 5             limited to hearsay, foundation/personal knowledge, or relevance.

 6          e) Re-productions. Notwithstanding any provisions to the contrary, re-production of

 7             discrete sets of documents from another litigation, arbitration, government inquiry, or

 8             other matter may be re-produced in the same manner and form as originally produced

 9             in the other matter, provided however that a party will re-produce documents in a

10             different format for good cause shown. This provision does not waive the right of a

11             party to object to any requests for reproduction of production files from another

12             litigation, arbitration, government inquiry, or other matter.

13          f) Modification. This ESI Order may be modified by a Stipulated Order of the Parties

14             or by the Court for good cause shown.

15          g) Good Faith. The Parties will act in good faith as required by law and use these

16             procedures to identify and reduce the potential for disputes.

17          h) Continuing Obligations. The Parties recognize that discovery shall be an iterative

18             and cooperative process. The Parties will continue to meet and confer regarding any

19             issues as reasonably necessary and appropriate. This Order does not address or resolve

20             any objections to the Parties’ respective discovery requests.

21          i) Reservation of Rights. The Parties agree that any topic not addressed herein is

22             neither a waiver nor acknowledgement of agreement by either Party.

23          IT IS SO STIPULATED, through Counsel of Record.

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 1   DATED: March 15, 2024                     Respectfully submitted,

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14            IT IS ORDERED that the foregoing Agreement is approved.
15

16
     Dated:         March 18, 2024
17                                             MAGISTRATE JUDGE PETER H. KANG
18

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 1                              APPENDIX 1: PRODUCTION FORMAT

 2      1) Production Components. Except as otherwise provided below, ESI must be produced

 3          in accordance with the following specifications:

 4               a) an ASCII delimited data file (.DAT) using standard delimiters;

 5               b) an image load file (.OPT) that can be loaded into commercially acceptable

 6                  production software (e.g. Concordance);

 7               c) single page black-and-white TIFF images, or JPEG images when color is

 8                  specified herein, or native files with single page placeholder TIFF images

 9                  depending on the applicable production format for each type of file;

10               d) and document level .TXT files for all documents containing extracted full text or

11                  OCR text.

12               e) Family relationships between emails and their attachments, embedded files and

13                  their source document, and connected hardcopy documents will be maintained in

14                  production. Attachments should be consecutively produced with their parent.

15               f) If a particular document warrants a different production format, the Parties will

16                  cooperate in good faith to arrange for a mutually acceptable production format.

17          2)      Production Media and Access Controls. Productions must be encrypted and

18   produced through secure electronic means, such as secure file sharing methods (e.g. FTP), or on

19   CD, DVD, flash drive or external hard drive (“Production Media”). Each piece of Production

20   Media must identify a production number corresponding to the production volume (e.g.

21   “VOL001”). Each piece of Production Media must also identify: (a) the case caption; (b) the

22   following label: “This media contains material subject to Court Ordered security measures”; (c)

23   the Producing Party’s name; (d) the production date; (e) the Bates Number range of the

24   materials contained on the Production Media.

25          Nothing in this ESI Order will preclude or impair any and all protections provided the

26   Parties by any Protective Order(s) agreed and entered into by the Parties. Parties will use best

27   efforts to avoid the unnecessary copying or transmittal of produced documents. If questions arise,

28   the Parties will meet and confer to ensure security concerns are addressed prior to the exchange of

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 1
     any documents.
 2
            3)      Data Load Files/Image Load Files. Each TIFF in a production must be
 3
     referenced in the corresponding image load file. The total number of documents referenced in a
 4
     production’s data load file should match the total number of designated document breaks in the
 5
     image load file(s) in the production. The total number of pages referenced in a production’s
 6
     image load file should match the total number of TIFF files in the production. All images must
 7
     be assigned a unique Bates number that is sequential within a given document and across the
 8
     production sets. The Bates Numbers in the image load file must match the corresponding
 9
     documents’ beginning Bates numbers in the data load file. The total number of documents in a
10
     production should match the total number of records in the data load file. Load files must not
11
     vary in format or structure within a production, or from one production to another except by
12
     agreement of the Parties.
13
            4)      Metadata Fields. Each of the metadata and coding fields set forth below that can
14
     be extracted should be produced for each document, except that if the field contains privileged
15
     information, that privileged information may be redacted. However, to the extent that metadata
16
     does not exist, is not available for any documents produced, this provision shall not be read to
17
     require any Party to extract, capture, collect, manually populate, or produce such metadata, with
18
     the exception of the following: (a) BEGBATES, (b) ENDBATES, (c) BEGATTACH, (d)
19
     ENDATTACH, (e) PRODVOL, (f) ALL CUSTODIANS, (g) CONFIDENTIALITY, (h)
20
     REDACTIONS, (i) REDACTION TYPE, (j) HASHVALUE, (k) NATIVEFILEPATH, and (l)
21
     TEXTFILEPATH, which should be populated by the Party or the Party’s vendor. The Parties
22
     will make reasonable efforts to ensure that metadata fields automatically extracted from the
23
     documents correspond directly to the information that exists in the original documents.
24

25     Field Name                                        Field Description

26                                                       Beginning Bates number for a particular
       BEGBATES                                          document as stamped on the first production
27                                                       image for that document

28     ENDBATES                                          Ending Bates number as stamped on the last

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 1
       Field Name                                Field Description
 2
                                                 production image for a particular document
 3
                                                 First production Bates number of the first
       BEGATTACH
 4                                               document in a family

 5                                               Last production Bates number of the last
       ENDATTACH
                                                 document in a family
 6
                                                 Number of attachments to an e-mail or
 7                                               embedded parent, as generated by
       ATTACHCOUNT
                                                 commercially available discovery processing
 8
                                                 tools.
 9
                                                 Names of each individual Attachment,
       ATTACHNAMES
10                                               separated by semicolons.

11     PRODVOL                                   Production volume

12                                               List of all custodians associated with
       ALLCUSTODIANS                             Document, i.e. “Custodian” + “Other
13                                               Custodian” values delimited by semicolon.

14                                               All original path(s) to the individual source
                                                 file(s) when available in the ordinary course
15                                               of business to and processable by the parties
       ALLFILEPATHS
                                                 and their ESI vendors of choice. Includes path
16                                               up to and including internal path of
17                                               containers.

18                                               Confidentiality designation assigned to the
       CONFIDENTIALITY                           document consistent with the Stipulated
19                                               Protective Order governing this Litigation
20     NATIVEFILEPATH                            Native File Link (Native Files only)
21                                               Path to extracted text/OCR file for the
       TEXTFILEPATH
                                                 document
22
       HASHVALUE                                 MD5 hash value of the document
23
                                                 Descriptor for the type of document: “E-
24
                                                 document” for electronic documents not
25                                               attached to e-mails; “E-mail” for all e-mails;
      DOCUMENT TYPE                              “E-attachment” for files that were attachments
26                                               to e-mails; and “Physical” for hard copy
                                                 physical documents that have been scanned
27                                               and converted to an electronic image.
28    AUTHOR                                     Any value populated in the Author field of the
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 1
       Field Name                                Field Description
 2
                                                 document properties
 3
                                                 Date the document was created according to
 4    DOCDATE                                    filesystem information (format:
                                                 MM/DD/YYYY)
 5
                                                 Date when document was last modified
 6    DATELASTMODIFIED                           according to filesystem information (format:
                                                 MM/DD/YYYY)
 7
                                                 Last person who modified (saved) a
 8
      LAST MODIFIED BY                           document, as generated by commercially
 9                                               available discovery processing tools.

10                                               Y if a document with track changes value,
      TRACK CHANGES                              otherwise N or empty, if available separately
11                                               from the HASHIDDENDATA flag

12                                               Y if a document with comments, otherwise N
      COMMENTS                                   or empty, if available separately from the
13                                               HASHIDDENDATA flag
                                                 Y if a document with hidden content value,
14    HASHIDDENDATA                              otherwise N or empty
15
      FILENAME                                   Filename of an electronic document
16
                                                 Any value populated in the Title field of the
      TITLE
17                                               document properties

18                                               File extension of document pulled from the
      DOCEXT
                                                 document properties
19
      FROM                                       The sender of the email
20
                                                 All recipients that were included on the “To”
21    TO
                                                 line of the email
22                                               All recipients that were included on the “CC”
      CC
                                                 line of the email
23
                                                 All recipients that were included on the
24    BCC
                                                 “BCC” line of the email
25
                                                 Date and time email was received (format:
      DATETIMERECEIVED
26                                               MM/DD/YYYY HH:MM)

27                                               Date and time email was sent (format:
      DATETIMESENT
                                                 MM/DD/YYYY HH:MM)
28

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 1
         Field Name                                                 Field Description
 2
         TIMEZONE                                                   The timezone used to process the document
 3
                                                                    Subject line of email pulled from the
         EMAILSUBJECT
 4                                                                  document properties

 5                                                                  If a threading tool is used for emails, the
         THREADID
                                                                    thread id generated by the threading tool.
 6
                                                                    General category of redaction reason as
 7                                                                  agreed to by the parties. For example, PII,
         REDACTION TYPE1
                                                                    SCA, CODE, and/or PRIV. If more than one,
 8
                                                                    separate reasons by semicolons.
 9
                                                                    Y if a document is redacted, otherwise N or
         REDACTIONS
10                                                                  empty

11            5)       TIFFs. Unless excepted below, single page, black and white, Group IV TIFFs
12   should be provided, at least 300 dots per inch (dpi) for all documents. Each TIFF image must be
13   named according to a unique corresponding Bates number associated with the document. Each
14   image must be branded according to the Bates number and the agreed upon confidentiality
15   designation. Original document orientation should be maintained (i.e., portrait to portrait and
16   landscape to landscape). Where the TIFF image is unreadable or has materially degraded the
17   quality of the original, the Producing Party shall provide a higher quality TIFF image or the
18   native or original file. In addition, the Parties shall take reasonable efforts to process word
19   processing documents (e.g., MS Word) with track changes and/or comments unhidden on the
20   TIFF image.
21            6)       Color. Word processing documents containing tracked changes shall be
22   produced in color, as single-page, 300 dpi JPG images with JPG compression and a high quality
23   setting as to not degrade the original image. The Producing Party shall comply with good faith
24   by the Requesting Party to provide replacement color images for documents originally produced
25   in black and white. A Party making such a request shall make the request by individual Bates
26
     1
       The Parties will provide specific information on any privilege(s) asserted in their privilege logs, in an overlay, or the
27   redaction boxes. The “Redaction Reason” field is informational only for redaction type and shall not in any way limit
     a party’s right to assert attorney-client privilege, attorney-work product privilege, and/or any other applicable privilege
28   or protection.

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     PRODUCTION OF ESI & HARD COPY DOCUMENTS                   -5-                    3:22-MD-03047-YGR; MDL NO. 3047
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 1
     number(s) and shall limit requests made pursuant to this paragraph to a reasonable number of
 2
     documents.
 3
            7)      Text Files. A single multi-page text file must be provided for each document,
 4
     and the filename should match its respective TIFF filename for the first page of that document.
 5
     Extracted text shall be generated with commercially acceptable technology set to include all
 6
     comments, revisions, tracked changes, speaker’s notes and text from documents with comments
 7
     or tracked changes, and hidden and very hidden worksheets, slides, columns and rows. When
 8
     possible, the text of native files should be extracted directly from the native file. Parties will
 9
     perform optical character recognition (“OCR”) on foreign language documents using the
10
     appropriate settings for languages reasonably anticipated to be in the production following a
11
     meet and confer with the Requesting Party to identify those languages. Text files will not
12
     contain the redacted portions of the documents. A commercially acceptable technology for OCR
13
     should be used for all scanned, hard copy documents and for documents with redactions other
14
     than Excel files and other spreadsheets which shall be redacted in native format. Text extracted
15
     from emails should include the following header information where available: (1) the
16
     individuals to whom the communication was directed (“To”), (2) the author of the email
17
     communication (“From”), (3) who was copied and blind copied on such email (“CC” and
18
     “BCC”), (4) the subject line of the email (“RE” or “Subject”), and (5) the date and time of the
19
     email. To the extent the text extraction technology the Parties are using can be configured to
20
     include the text of any URLs or links, the Parties shall utilize that setting.
21
            8)      Native files. Spreadsheets (e.g. MS Excel), and un-redacted presentations (e.g.
22
     Microsoft PowerPoint,) will be produced in native format to the extent that they are produced in
23
     this Litigation, audio, video, and multi-media files will be produced in native format. The
24
     Parties will meet and confer on the production of other file types, such as proprietary files, etc.
25
     Native files will be produced with a link in the NATIVEFILEPATH field, along with extracted
26
     text (where extracted text is available) and applicable metadata fields set forth in paragraph 4
27
     above. A Bates numbered TIFF placeholder indicating that the document was provided in native
28
     format must accompany every native file. Where redaction makes production of native-format
     STIP. & [PROPOSED] ORDER GOVERNING THE
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 1
     files other than spreadsheets or presentations infeasible, the Parties will confer to determine a
 2
     reasonably usable form for the production, but spreadsheets shall presumptively be redacted in
 3
     native, and presentations presumptively redacted in image form, in these cases without the need
 4
     for further conferring.
 5
            9)      Production Format for Hard Copy Documents. Documents that exist in
 6
     hardcopy will be scanned to *.tiff image format and produced in accordance with the
 7
     specifications set forth herein. Hard copy documents that are not text-searchable shall be made
 8
     searchable by OCR prior to production. In scanning paper documents, distinct documents
 9
     should not be merged into a single record, and single documents should not be split into
10
     multiple records (i.e., paper documents should be logically unitized). In the case of an organized
11
     compilation of separate documents (for example, a binder containing several separate
12
     documents behind numbered tabs), the document behind each tab should be scanned separately,
13
     but the relationship among the documents in the compilation should be reflected in the proper
14
     coding of the beginning and ending document and attachment fields. The Parties will make their
15
     best efforts to unitize the documents correctly. If relevant documents are maintained in a file,
16
     folder, envelope, binder, notebook or similar container used to store documents, all contents
17
     therein shall be reviewed for production and privilege. Document pages which have affixed
18
     notes, such as Post-it notes, should be imaged with and without the note attached.
19
            10)     Confidentiality Designation. All images will be stamped with the appropriate
20
     confidentiality designations in accordance with the Stipulated Protective Order entered in this
21
     Litigation. Each document produced in native format will have its confidentiality designation
22
     identified in the filename of the native file and indicated on its corresponding TIFF placeholder.
23
            11)     Bates Numbering. Bates numbering should be a consistent length across the
24
     production, contain no special characters, and be numerically sequential within a given
25
     document. If a Bates number or set of Bates numbers is skipped, the skipped number or set of
26
     numbers should be noted with a placeholder. Attachments to documents will be assigned Bates
27
     numbers that directly follow the Bates numbers on the documents to which they were attached.
28

     STIP. & [PROPOSED] ORDER GOVERNING THE
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 1
     In addition, wherever possible, each image will have its assigned Bates number electronically
 2
     “burned” onto the image.
 3
            12)     Databases and Other Structured Data. To the extent that responsive
 4
     information is stored in a database, or database management system, or proprietary system or
 5
     application which has is directed to data storage as one of its primary functions, the Producing
 6
     Party will identify the database and platform to the Requesting Party. The Producing Party shall
 7
     produce exports and reports about such responsive information stored in such database, where
 8
     such exports and reports shall be in a reasonably usable form, and information may be produced
 9
     in CSV format, tab-delimited text format, Microsoft Excel format, or Microsoft Access format.
10
     If there are future disputes over the production of information from a database, the Parties shall
11
     meet and confer in good faith in an attempt to reach any further agreements (if needed) on the
12
     data to be produced and the format and scope of the production. The Producing Party will
13
     provide reasonable amounts of information about the databases to facilitate that discussion.
14
            13)     Hyperlinks. Document(s) and/or folder(s) of documents that are hyperlinked
15
     inside a responsive document (including hyperlinked inside emails) within a Producing Party’s
16
     custody, possession, or control, do not need to be produced in the first instance as part of the
17
     same family group as the Document residing at the location to which that hyperlink points. If
18
     there are particular hyperlinks identified by the Requesting Party in produced documents, the
19
     Requesting Party may submit a list of hyperlinks to a particular Producing Party for potentially
20
     relevant documents by identifying the Bates number and URL or link text for each requested
21
     link to the Producing Party, and the Producing Party will engage in reasonable efforts to locate
22
     the hyperlinked document at that location and either identify it by Bates number or provide any
23
     responsive, non-produced, and non-privileged documents. The number of hyperlinks a
24
     Requesting Party may identify to a Producing Party shall not be excessive and shall be
25
     reasonable, proportional to the needs of the case, and not unduly burdensome.
26
            14)     Embedded Objects. The Parties agree non-substantive embedded objects,
27
     including, but not limited to, logos, icons, emoticons, and footers, may be culled from a
28
     document set (but not a document) and need not be produced as separate documents by a
     STIP. & [PROPOSED] ORDER GOVERNING THE
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 1
     Producing Party (i.e., such embedded objects will be produced within the document itself, rather
 2
     than as separate documents). Embedded files, except for images (including but not limited to,
 3
     logos, icons, emoticons), are to be produced as family groups. Embedded files should be
 4
     assigned Bates numbers that directly follow the Bates numbers on the documents within which
 5
     they are embedded.
 6
            15)     Production of Family Groups and Relationships. If any member of a family
 7
     group is produced, all members of that group must also be produced or else logged as
 8
     privileged, and no such member shall be withheld from production as a duplicate.
 9
            16)     Dynamic Fields. Documents with dynamic fields for file names, dates, and
10
     times will be imaged to show the field code (e.g., “[FILENAME]”) where possible, rather than
11
     the values for such fields existing at the time the file is processed.
12
            17)     Time Zone. The time zone used to process a document, including its metadata,
13
     shall be disclosed in the TIMEZONE metadata field consistent with Appendix 1, and shall be
14
     standardized for each Defendant across productions.
15
            18)     Redactions.
16
            a)      A Producing Party may redact (i) information subject to the attorney client
17
     privilege or the work product protection (PRIV); (ii) information that cannot be disclosed
18
     pursuant to the Stored Communications Act (SCA); (iii) source code subject to separate
19
     agreement applicable to production of source code (CODE); (iv) personal identifying
20
     information (PII) including phone numbers, personal addresses, personal email addresses, the
21
     month and day of birth, driver’s license numbers, and other PII agreed to by the Parties (for
22
     example, the Parties shall complete their meet and confer on whether or not to redact users’ ages
23
     and years of birth). In any event, there shall be no redaction of illnesses, injuries, and medical
24
     diagnoses. To the extent a document or pleading contains PII, the Parties shall designate such
25
     documents at the appropriate Confidentiality level under the Protective Order and shall comply
26
     with Fed. R. Civ. P. 5.2 with regard to filings with the Court.
27
            b)      No redactions for relevance may be made within a produced document or ESI
28
     item. If, during the course of discovery, the Parties identify other kinds of information that any
     STIP. & [PROPOSED] ORDER GOVERNING THE
     PRODUCTION OF ESI & HARD COPY DOCUMENTS           -9-                3:22-MD-03047-YGR; MDL NO. 3047
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 1
     Party has a reasonable basis for redacting, the Parties will meet and confer on a case-by-case
 2
     basis regarding that information before such redactions are made. If the Parties cannot agree,
 3
     they may seek resolution from the Court.
 4
            c)      The Producing Party will indicate, on the face of the redaction, the asserted
 5
     reason(s) for the redaction (PII, SCA, CODE, and/or PRIV) and the REDACTION TYPE
 6
     metadata field shall indicate that the document contains redactions and the reason(s) for the
 7
     redaction.
 8
            d)      Notwithstanding the foregoing, this provision shall not be read to prohibit
 9
     redactions permitted under any applicable U.S. law or Protective Order.
10
            e)      Where a responsive document contains both redacted and non-redacted content,
11
     the Parties shall produce the non-redacted portions of the document and the OCR text
12
     corresponding to the non-redacted portions.
13
            f)      Native Redactions. Spreadsheet files requiring redaction, including without
14
     limitation Microsoft Excel files, shall be redacted and produced natively (unless the Parties
15
     agree to production in some other format). In addition, a Producing Party may natively redact
16
     other files that cannot be properly imaged for redaction.
17
            g)      All images of redacted files shall be processed to show all comments, revision
18
     marks, speaker notes, marks made in track changes, or other user-entered data which are visible
19
     in a normal view of the document in its native application, unless such material is redacted and
20
     marked as redacted in accordance with this section. Where possible, any occurrences of
21
     date/time auto‐field items, including in headers and footers, will be removed and replaced with
22
     the term AUTODATE to prevent the current date from being printed. Email header information
23
     (e.g., date and/or subject line) shall not be redacted unless it is independently privileged. The
24
     Parties shall honor reasonable requests for the production of particular redacted documents in
25
     other formats where the image is not reasonably usable.
26
            h)      Color. Redacted versions of documents that would have been produced in color
27
     in their un-redacted form shall be produced in color as detailed herein.
28

     STIP. & [PROPOSED] ORDER GOVERNING THE
     PRODUCTION OF ESI & HARD COPY DOCUMENTS         - 10 -             3:22-MD-03047-YGR; MDL NO. 3047
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 1
            19)     Exception Files. The Parties will use reasonable efforts to address processing
 2
     exceptions.
 3
            20)     Mobile and Handheld Device Documents and Data. If responsive and unique
 4
     data that can reasonably be extracted and produced in the formats described herein is identified
 5
     on a mobile or handheld device, that data shall be produced in accordance with the generic
 6
     provisions of this protocol. To the extent that responsive data identified on a mobile or handheld
 7
     device is not susceptible to normal production protocols, the Parties will meet and confer to
 8
     address the identification, production, and production format of any responsive documents and
 9
     data contained on any mobile or handheld device.
10

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     STIP. & [PROPOSED] ORDER GOVERNING THE
     PRODUCTION OF ESI & HARD COPY DOCUMENTS        - 11 -             3:22-MD-03047-YGR; MDL NO. 3047
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DELIVERED VIA PROCESS SERVER                                      July 17, 2024

Colorado Department of Education
201 East Colfax Avenue
Room 500
Denver, CO 80203


       Re: People of the State of California v. Meta Platforms, Inc.,
             4:23-cv-05448

Dear Sir/Madam:

Enclosed please find a subpoena being served upon you in connection with the above-captioned
litigation currently pending in the U.S. District Court for the Northern District of California. I
represent Defendants Meta Platforms, Inc.; Instagram, LLC, Meta Payments, Inc., Meta Platforms
Technologies, LC and Mark Zuckerberg (collectively, the “Meta Defendants”) in this matter.

The document subpoena requests the production of specific documents identified in the attached
subpoena (see Attachment A to the subpoena), which are requested to be produced by 10 am on
August 19, 2024. We are willing to work with you on the time, date, location, method and manner
of document production, as well as answer any questions or concerns you may have regarding
subpoena compliance. It is sufficient compliance with this subpoena if you electronically transmit
a copy of the requested documents to the undersigned. As such, please contact me at
kpatchen@cov.com and 415-591-6031, to discuss document production and subpoena
compliance, unless you are already represented by counsel in connection with this matter.

The Court is currently considering whether the Colorado Attorney General’s Office has control
over Colorado Department of Education’s information for the purposes of discovery in this
action. If the Court rules that the Colorado Attorney General’s Office has control over the
Colorado Department of Education’s information, the Colorado Attorney General has pending
discovery requests that seek this agency’s documents. By serving this subpoena, Meta does not
waive its position in the state agency dispute, nor does Meta in any way waive rights to compel
the Colorado Attorney General to produce Colorado Department of Education information as part
of discovery in this action. However, to avoid further delay in the production of information from
the Colorado Department of Education, Meta is serving the attached subpoena to request the
timely production of this information.

Your anticipated time and assistance with this matter is greatly appreciated.
   Case 4:23-cv-05448-YGR      Document 116-3        Filed 07/24/24   Page 188 of 439




Colorado Department of Education
July 17, 2024
Page 2


                                                             Best regards,

                                                             /s/ E. Kate Patchen

                                                             E. Kate Patchen




Enclosed: Subpoena, Attachment A, and Attachment B
             Case 4:23-cv-05448-YGR                        Document 116-3                  Filed 07/24/24              Page 189 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________  DistrictofofCalifornia
                                                                                __________
              People of the State of California, et al.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.          4:23­cv­05448
                  Meta Platforms, Inc., et al.                                )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Colorado Department of Education
        201 East Colfax Avenue, Room 500, Denver, CO 80203
                                                       (Name of person to whom this subpoena is directed)

     ✔
     ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A.



 Place: Shook, Hardy & Bacon, Attn: Jennifer Blues Kenyon                               Date and Time:
           1660 17th Street, Suite 450
           Denver, CO 80202                                                                         10 a.m. on August 19, 2024

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2024

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Ashley Simonsen
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Meta Platforms, Inc. f/k/a Facebook, Inc.; Instagram, LLC, Meta Payments, Inc.,
Meta Platforms Technologies, LLC; and Mark Zuckerberg,                          who issues or requests this subpoena, are:
Ashley Simonsen, Covington & Burling LLP, 1999 Avenue of the Stars, Los Angeles, CA 90067, 424­332­4782, asimonsen@cov.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 4:23-cv-01615

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
              Case 4:23-cv-05448-YGR                          Document 116-3                  Filed 07/24/24               Page 191 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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               DEFINITIONS AND INSTRUCTIONS TO ATTACHMENT A

                                          DEFINITIONS

        1.      The term “communication” means the transmittal of information (in the form of

facts, ideas, inquiries or otherwise).

        2.      “Document” or “documents” shall have the broadest meaning ascribed to it by the

Federal Rules of Civil Procedure, and includes, without limitation electronically stored

information (“ESI”) (including, without limitation, electronic databases and the data therein, all

electronic messages or communications, electronic word processing documents, electronically

stored voicemail, webpages, and social media posts) in accordance with any order in this case

governing ESI at the time of production. Different versions of the same documents, including, but

not limited to, drafts or documents with handwritten notations or marks not found in the original

or on other copies are different documents.

        3. “You”, “you”, “Your” and “your” means the Colorado Department of Education.

        4.      “Relating” or “related to” means and includes referring to, concerning, referencing,

mentioning, associated with, constituting, discussing, containing, embodying, recording,

reflecting, identifying, summarizing, incorporating, and/or dealing with or pertaining to in any

way.

        5.      “And” includes “or”, and vice versa.

        6.      The singular form of a word or term includes the plural, and vice versa.

        7.      The present tense of a verb includes the past tense, and vice versa.

        8.      The use of the article “the” shall not be construed as limiting the scope of any

request.

        9.      “Including” means “including without limitation.”



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       10.     “Any” includes “all”, and vice versa.

       11.     The capitalized version of a word or term includes the lower case version of a word

or term, and vice versa.

       12.     “Social Media Platforms” or “Platforms” means a digital service that facilitates

interactions between two or more distinct but interdependent sets of users, including but not limited

to Facebook, Instagram, Snapchat, TikTok, YouTube, Twitter (or “X”), Pinterest, LinkedIn,

BeReal, Lapse, Reddit, Threads, VSCO, Goodreads, Quora, Discord, Twitch, and Tumblr.

       13.     “Young Users” means users of Social Platforms who are under 18 years of age

when using the Platform(s).

       All words, terms, and phrases not specifically defined herein are to be given their normal

and customary meaning in the context in which they are used in these Requests.

                                        INSTRUCTIONS

       1.      These Requests are intended to cover any and all documents in your possession,

custody, or control, to the extent not privileged. Documents held by any office, department, board,

commission, or instrumentality of the Colorado Department of Education are within your

possession, custody, or control.

       2.      In accordance with ESI Protocol attached hereto as Attachment B, if you object to

furnishing any of the documents or information requested by these Requests on the grounds of

attorney-client privilege, work product, other privilege, or otherwise then, with respect to each

such document:

               a. state the nature of the privilege claimed;
               b. state the date of each communication supporting the privilege claim;

               c. identify all participants in the supporting communication;

               d. state the specific grounds on which the objection is based; and


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                e. identify the specific request calling for such information;

        2.      If you object to any Request on the grounds that it is vague or ambiguous, state: (i)

the portions or terms of such Request that you claim to be vague or ambiguous; and (ii) the

interpretation of the Request pursuant to which you provide a response.

        3.      Each request shall be deemed continuing, so as to require supplemental or

mandatory responses should you obtain additional responsive information subsequent to your

initial responses.

        4.      If you cannot fully respond to a particular Request after exercising due diligence to

make inquiry and to secure the necessary information, provide a response to the extent possible,

specifying your inability to respond to the remainder and providing whatever information or

knowledge you have concerning the portion not responded to.

        5.      Each page of a produced document shall have a legible, unique page identifier

(“Bates Number”) and confidentiality legend (where applicable) on the face of the image at a

location that does not obliterate, conceal, or interfere with any information from the source

document. Redactions should be clearly marked or stamped on the page in such a way that it is

clear from review that a portion of the image has been redacted.

        6.      All responsive and non-privileged electronic documents shall be produced in the
format ordered by the Court in its ESI order.

        7.      All responsive electronic documents shall be produced in a format agreed upon by

the parties, to include at least native versions of Excel spreadsheets and presentation files, with a

Bates-stamped placeholder image.

        8.      Unless otherwise specified, the time period for these Requests is January 1, 2012

to the date of production of the Documents.




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                                   ATTACHMENT A

1. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
   mental, social, emotional, or behavioral health of persons ages 13 to 18.

2. Programs, initiatives, efforts, or actions proposed or taken by the Colorado Department of
   Education to encourage or promote the use of Social Media Platforms.

3. Programs, initiatives, efforts, or actions proposed or taken by the Colorado Department of
   Education to address Young Users’ use of Social Media Platforms, including any program,
   initiative, effort, or action to prevent, limit, encourage, or promote the use of Social Media
   Platforms by Young Users.

4. Studies, programs, initiatives, efforts, or actions proposed or taken by the Colorado
   Department of Education that sought to provide or promote internet access or phones,
   computers, tablets, or other electronic devices to Young Users.

5. Policies proposed, recommended, or enacted by the Colorado Department of Education
   regarding screen time and acceptable use of cell phones, computers, tablets, or other
   electronic devices by Young Users.

6. Complaints to the Colorado Department of Education by teachers regarding social media
   or cell phone use by Young Users and/or the need for acceptable use or other policies to
   address Young Users’ use of social media or cell phones.

7. Complaints to the Colorado Department of Education by teachers or school districts
   regarding budget crises from inflation, underfunding, unfunded mandates, and other
   causes.

8. Documents related to state assessment in Colorado, including reports and analyses
   regarding the history of K-12 state assessment or standardized testing scores,
   performance by schools and/or school districts, and any other measures of school
   performance.

9. Colorado Department of Education’s communications and/or collaboration with any Social
   Media Platform on any program, initiative or other action related to, or directed at, Young
   Users.

10. Colorado Department of Education’s communications with any third party related to
    Young Users and/or Social Media Platforms.

11. Policies, procedures, and practices applicable to Colorado Department of Education and
    Colorado Department of Education employees regarding the use of Social Media
    Platforms, including any changes to these policies during the Relevant Period.




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12. Legislation or policies proposed by, proposed on behalf of, or testified on by the Colorado
    Department of Education, regardless of whether such legislation or policies were enacted,
    regarding Young Users’ use of Social Media Platforms.

13. Research, investigations, studies, surveys, reports, evaluations, or analyses related to Social
    Media Platforms, including the importance of Social Media Platforms and the use of Social
    Media Platforms by Young Users and the potential benefits and harms created by the use
    of Social Media Platforms.

14. Research, investigations, studies, surveys, reports, evaluations, or analyses related to Social
    Media Platforms regarding the impact of social media on the mental, social, emotional, or
    behavioral health of Young Users.

15. Research, investigations, studies, surveys, reports, evaluations, or analyses related to:
       a. Features of Social Media Platforms that are psychologically or physically harmful
           to Young Users;
       b. Features of Social Media Platforms that promote compulsive, prolonged, or
           unhealthy use by Young Users;
       c. The impact of features of Social Media Platforms, including:
              (1) Algorithmic recommendation and sequencing;
              (2) Image filters;
              (3) Use of multiple user accounts;
              (4) Infinite scroll;
              (5) Ephemeral content features;
              (6) Autoplay;
              (7) Quantification and display of likes; or
              (8) Audiovisual and haptic alerts.

16. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
    mental, social, emotional, or behavioral health of Young Users, including those related to
    the effects of:
        a. Social Media Platforms usage;
        b. Video games usage;
        c. Cell phone usage;
        d. Messaging usage;
        e. Usage of other electronics apart from usage of Social Media Platforms;
        f. COVID-19 and/or remote learning;
        g. Use of drugs or alcohol;
        h. The opioid and fentanyl epidemic;
        i. Poverty, homelessness, lack of health insurance, and/or food insecurity;
        j. Physical health including nutrition, exercise, weight management, sleeping habits,
            and sexual activity;
        k. Family trauma or deaths;
        l. Academic pressure;
        m. Violence, including school violence, domestic violence, gun violence, gun control
            and/or mass shootings;



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       n.   Bullying or verbal abuse apart from usage of Social Media Platforms;
       o.   Political polarization;
       p.   Natural disasters;
       q.   Climate change;
       r.   Discrimination and inequity;
       s.   Global warfare and conflict; and
       t.   Any other potential causes of harms to the mental, social, emotional, or behavioral
            health of Young Users.

17. Youth Risk Behavior Surveys conducted by the Colorado Department of Education or on
    its behalf.

18. Public or non-public meetings held by the Colorado Department of Education related to
    Social Media Platforms and use of Social Media Platforms by Young Users, including
    notices, meeting notes, PowerPoint presentations, internal memoranda, summaries,
    personal notes, or attendee lists.

19. Mental, social, emotional, or behavioral health services provided by the Colorado
    Department of Education to Young Users during the Relevant Period.

20. Budgeted and actual expenditures by the Colorado Department of Education during the
    Relevant Period related to Young Users’ use of Social Media Platforms.

21. Policies, procedures, and practices related to the Colorado Department of Education’s use
    of Social Media Platforms, including communication of information or promotion of
    Colorado Department of Education programs, initiatives, efforts, or actions on Social
    Media Platforms.

22. Colorado Department of Education’s budget and actual expenditures during the Relevant
    Period, including expenditures on:
        a. Digital advertisements by the Colorado Department of Education on Social Media
            Platforms
        b. Digital advertisements by the Colorado Department of Education purchased
            through Social Media Platforms.




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                           ATTACHMENT B
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 6                           IN THE UNITED STATES DISTRICT COURT

 7                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8
       IN RE: Social Media Adolescent                       MDL No. 3047
 9     Addiction/Personal Injury Products Liability         Case No. 4:22-md-03047-YGR
       Litigation
10
                                                            Honorable Yvonne Gonzalez Rogers
11     This document relates to:                            Honorable Peter H. Kang
       ALL ACTIONS
12                                                          STIPULATION AND [PROPOSED]
                                                            ORDER GOVERNING THE
13                                                          PRODUCTION OF
14                                                          ELECTRONICALLY STORED
                                                            INFORMATION AND HARD COPY
15                                                          DOCUMENTS

16

17          1.      PURPOSE
18          This Order Governing the Production of Electronically Stored Information and Hard Copy

19   Documents (“ESI Order”) will govern discovery of electronically stored information and any hard

20   copy documents in this Litigation as a supplement to the Federal Rules of Civil Procedure, this

21   District’s Guidelines for the Discovery of Electronically Stored Information, and any other

22   applicable orders and rules. “This Litigation” includes all actions currently in MDL No. 3047, In

23   Re: Social Media Adolescent Addiction/Personal Injury Products Liability, or hereafter added or

24   transferred to MDL No. 3047, and all actions later remanded to their respective transferor courts.

25          2.      DEFINITIONS
26          a) “Document” is defined to be synonymous in meaning and equal in scope to the usage

27               of this term in Rules 26 and 34 of the Federal Rules of Civil Procedure and shall

28               include Hard-Copy Documents and ESI.

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 1          b) “Electronically stored information” or “ESI,” as used herein has the same meaning as

 2               in Federal Rules of Civil Procedure 26 and 34.

 3          c) “Hard-Copy Document” means Documents existing in paper form at the time of

 4               collection.

 5          d) “Searchable Text” means the native text extracted from an Electronic Document and

 6               any Optical Character Recognition text (“OCR text”) generated from a Hard-Copy

 7               Document or electronic image.

 8          3.      COOPERATION
 9          The Parties are aware of the importance the Court places on cooperation and commit to

10   cooperate in good faith throughout this Litigation consistent with this Court’s Guidelines for the

11   Discovery of ESI and this Court’s Rules of Professional Conduct. The Parties will endeavor to

12   cooperate in good faith and be reasonably transparent in all aspects of the discovery process.

13          4.      LIAISON
14          The Parties will identify Discovery Liaisons to each other who are and will be

15   knowledgeable about and responsible for discussing their respective ESI. Any Party is free to

16   change their designated Discovery Liaison by providing written notice to the other Parties. Each

17   Party’s Discovery Liaison must: (a) be prepared to meet and confer on discovery-related matters

18   and to participate in discovery dispute resolution; (b) be knowledgeable about the Party’s

19   discovery efforts; (c) be, or have reasonable access to those who are, familiar with the Party’s

20   electronic systems and capabilities in order to explain those systems and answer relevant

21   questions; and (d) be, or have reasonable access to those who are knowledgeable about the

22   technical aspects of discovery, including electronic document storage, organization, and format

23   issues, and relevant information retrieval technology, including search methodology.

24          5.      IDENTIFICATION OF CUSTODIANS AND DATA SOURCES
25          The parties will disclose information about custodians and custodial and non-custodial

26   data sources likely to possess relevant or responsive information in accordance with Fed. R. Civ.

27   P. 26 and this District’s ESI Guidelines. The Parties will participate in Rule 26(f) discussions

28   guided by this District’s Checklist for Rule 26(f) Meet and Confer Regarding Electronically

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 1   Stored Information. After responses to Requests for Production under Fed. R. Civ. P. 34 have

 2   been served, the parties will meet and confer regarding those custodians and custodial and non-

 3   custodial data sources from which Documents and ESI will be collected for search and review for

 4   potential production in this litigation. The custodian and data source exchanges will include brief

 5   explanations of the rationale for their selections; for example, for custodians, their current job

 6   titles and descriptions of their work, and for data sources, location information and description.

 7          6.      INACCESSIBLE OR UNUSABLE ESI
 8          If a Producing Party asserts that certain requested ESI is inaccessible or not “reasonably

 9   accessible,” otherwise unnecessary, or if the Receiving Party asserts that, following production,

10   certain ESI is not reasonably useable, the parties shall meet and confer to discuss resolving such

11   assertions. The parties will exchange sufficient information to enable the parties to confer in good

12   faith. If the parties cannot resolve any such disputes after such a meet and confer has taken place,

13   the issue shall be presented to the Court for resolution.

14          7.      KNOWN RESPONSIVE DOCUMENTS
15          Documents or ESI identified in a custodial or non-custodial file, or in a discrete folder or

16   collection, that are known to a Producing Party through reasonable investigation to be responsive

17   to a discovery request shall be collected for review without regard to whether the responsive

18   content was located via any search methodology developed in accordance with this Order, and

19   nothing about such review shall prevent the Producing Party from redacting or withholding and

20   logging such documents for applicable privileges.

21          8.      SEARCH METHODOLOGIES
22          The Parties shall adopt reasonable and proportionate methodologies to identify, search,

23   collect, cull, review, and produce ESI as required under applicable legal standards. The Parties

24   recognize and agree that each Party may use one or more methodologies to identify, search,

25   collect, cull, review, and produce responsive and non-privileged ESI, including the use of

26   keyword search terms and/or the use of technology assisted review (“TAR”) as discussed further

27   herein. The Parties further recognize that different data sets may implicate different

28   methodologies to identify, search, collect, cull, review, and produce responsive and non-

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 1   privileged ESI. The Parties therefore agree to meet and confer in good faith regarding any

 2   potential disputes over their respective ESI productions.

 3          9.      HIT REPORTS AND SEARCH TERMS
 4          If a Producing Party uses search terms to identify, search, or cull potentially responsive

 5   ESI, the Producing Party shall disclose the search terms to the Requesting Party. The Parties shall

 6   meet and confer regarding any disputes over the disclosed search terms. In the event that a

 7   Producing Party claims burden with respect to modified and/or additional search terms proposed

 8   by a Requesting Party, the Producing Party shall provide a hit report for the terms at issue using

 9   industry-standard processing tools, such as NUIX or other similar tools. The Producing Party

10   shall provide a hit report for the document collection where the terms were applied, including the

11   following with respect to each proposed or modified search term in the collection:

12          a) The number of documents with hits for that term; and

13          b) The number of unique documents, i.e., documents which do not have hits for any other

14               term.

15          If, after reviewing a hit report from a Producing Party, a Requesting Party so chooses, it

16   may reasonably request a further hit report which includes:

17          c) The number of family members, including the documents with hits, of the documents

18               with hits for that term; and

19          d) The number of unique family members of the documents with hits for that term.

20          If the ESI tool for the Producing Party is capable without undue burden of providing the

21   number of family members and unique family members, then the Producing Party shall provide

22   such further hit report. The Parties (including the person most knowledgeable about the

23   capabilities of the Producing Party’s ESI tool and the Requesting Party’s person most

24   knowledgeable about technical issues from its ESI service provider) shall meet and confer

25   regarding any disputes over whether the Producing Party’s ESI tool has the capability or not to

26   provider either number of family members or number of unique family members.

27          The Parties shall meet and confer to resolve disagreements over the search terms or their

28   application. To the extent the Parties are unable to reach agreement on the application of, or

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 1   procedures for, any search or filtering processes, the Parties shall fully comply with the

 2   provisions of this Court’s Discovery Standing Order regarding the procedure for raising discovery

 3   disputes with the Court, including the meet and confer and certification requirements therein.

 4          10.       TECHNOLOGY ASSISTED REVIEW (TAR)
 5          A Producing Party may use TAR (technology-assisted review) during the culling and

 6   review process of ESI, which may be applied in addition to search terms. If a Producing Party

 7   uses TAR to cull, filter out, or exclude documents from that Party’s production, that Producing

 8   Party shall do the following:

 9                   If a Producing Party chooses to apply both search terms and TAR to a review set,

10                    the Producing Party will disclose the search terms to all other Party/Parties.

11                   Disclose the name of the TAR tool or service used to all other Party/Parties.

12          11.       VALIDATION
13          Each Producing Party shall take reasonable steps to validate its review process (i.e., using

14   quality control measures to determine whether its production is missing relevant ESI or contains

15   substantial amounts of irrelevant ESI) and make any necessary adjustments or corrections to its

16   process. If, after reviewing a Producing Party’s production, a Requesting Party reasonably

17   requests additional information regarding the validation method(s) used by the Producing Party,

18   the Producing Party will disclose the level of end-to-end recall (the percentage of responsive

19   Documents in the collection which were identified as responsive by that Producing Party’s

20   methodology). If there remain disputes between the Parties regarding validation, the Parties shall

21   meet and confer to resolve such disputes in good faith, including a reasonable discussion

22   regarding the tool used and the parameters used to obtain or calculate the level of recall.

23          12.       UNSEARCHABLE DOCUMENTS
24          The Producing Party shall use reasonable efforts to identify and review potentially

25   responsive documents for which text-based search technologies are fundamentally ineffective.

26          13.       SYSTEM FILES
27          Each Party will use its best efforts to filter out common system files and application

28   executable files using the national software reference library (“NSRL”) NIST hash set list. The

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 1   Parties also may filter out stand-alone files identified as zero bytes in size. Additional culling of

 2   file types based on file header information may be applied to the following, provided these files

 3   are not known to be otherwise attached, embedded in, or included with an otherwise responsive

 4   document, or are not themselves reasonably known to contain information responsive or contain

 5   responsive data or are used to interface with users or interact with or access individual or

 6   aggregated user data: Application Package File, Backup Files, Batch Files, Binary Disc Image,

 7   C++ File Formats, Cascading Style Sheet, Configuration File, Database File, Dictionary Files,

 8   Dynamic Link Library, Event Log Files, Executable Files, Hypertext Cascading Stylesheet, Java

 9   Archive Files, JavaScript Files, JavaScript Source Code and Class Files, Macintosh Resource

10   Fork Files, Package Manager Files, Program Files, Program Installers, Python Script Files, Shell

11   Script Files, System or Temporary Files, Thumbnail Cache Files, Troff Files, Truetype Font Files,

12   Windows Cabinet File, Windows Command Files, Windows File Shortcut, Windows Help Files,

13   Windows Metafiles and Enhanced Metafiles, Windows Spool Files, Windows System File.

14          14.     DEDUPLICATION
15          Each Producing Party shall make reasonable efforts to globally deduplicate exact

16   duplicate Documents within that Producing Party’s ESI data set across all custodial and non-

17   custodial sources at the family level using either MD5 hash values or SHA hash values or any

18   other agreed-upon (and disclosed) industry-standard deduplication technology. The Parties shall

19   reach agreement on such other deduplication technology and shall reach agreement on how their

20   deduplication tools shall identify exact duplicates of documents in a manner that is consistent

21   with the disclosed tools and technologies a Producing Party is using. The Parties shall reach

22   agreement on how to identify exact duplicates of emails using industry-standard commercially

23   available software tools or services, which may for example calculate hash values of emails based

24   on concatenated values of agreed-upon email fields and/or hash values of attachments, or which

25   may use any other method the Parties agree upon. Having further met and conferred in keeping

26   with the previous sentence, the Parties shall calculate deduplication hash values for emails on the

27   concatenated values set forth in and in accordance with the documentation specifications of the

28   disclosed deduplication tools to be used in this Litigation (i.e., RelativityOne, Relativity Server,

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 1   and Nuix); however, if Nuix is used, the Producing Party shall select the optional field “Include

 2   Bcc” as an additional field to add to the default ones.

 3          The Parties shall not withhold from production near-duplicates without meeting and

 4   conferring on this issue.

 5          The names of all custodians who were either identified as custodians for purposes of

 6   collection for this matter (or otherwise known by the Producing Party to have been in possession

 7   or custody of a document prior to deduplication) will be populated in the ALL CUSTODIANS

 8   metadata field for the produced version of a document that has duplicates removed from

 9   production. The original file paths (if any exist) of a document prior to deduplication will be

10   populated in the ALL FILE PATHS metadata field of the produced document.

11          15.     EMAIL THREADING
12          The Parties may use analytics technology to identify email threads and shall produce the

13   unique most inclusive copy and related family members. Where multiple email messages are part

14   of a single chain or “thread,” a Party is only required to produce the most inclusive copy of an

15   email message(s) (“Last In Time Email(s)”) and need not produce earlier, lesser inclusive email

16   messages or “thread members,” provided that the tool or software service being used to perform

17   threading is disclosed. A Producing Party may exclude from production lesser inclusive copies of

18   the most inclusive email message in the thread, where the entire body of each of those lesser

19   inclusive copies is included within the Last in Time Email. The Producing Party will honor

20   reasonable requests to produce lesser inclusive copies of a Last In Time Email or other earlier

21   chains of emails otherwise excluded by email thread suppression.

22          The Parties shall treat new or different email chains or threads pursuant to further

23   agreement on safeguards or guidelines for defining emails threads which reasonably take into

24   account the capabilities of the email threading/dethreading/hyperthreading tools used by each

25   Defendant (which shall be disclosed to Plaintiffs).

26          16.     SOURCE CODE
27          The Parties will meet and confer to address the production and/or inspection of source

28   code and entering into a separate order governing the same if needed.

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 1          17.      PRODUCTION FORMATS

 2          The Parties agree to produce documents and data in the formats described in Appendix 1

 3   to this ESI Order. If particular documents or categories of documents identified in response to

 4   document requests warrant a different format, the Parties will cooperate to arrange for the

 5   mutually acceptable production of such documents. The Parties further agree not to degrade the

 6   searchability of documents as part of the document production process.

 7          In addition, the Parties agree that the production and production format of social media

 8   and/or user account information is not covered by this agreement and to meet and confer on the

 9   production and production format, including metadata, for social media and/or user account

10   information.

11          18.      PHASING

12          Once the Parties begin propounding discovery requests pursuant to Fed. R. Civ. P. 34, the

13   Parties agree to meet and confer regarding appropriate phasing for the production of ESI.

14          19.      MISCELLANEOUS PROVISIONS

15          a) Production of Plaintiffs ESI and Case-Specific Materials. Subject to any further

16                agreement among the Parties or Order of the Court, the Parties shall produce case-

17                specific documents (i.e., documents specific to the claim of a given Plaintiff, produced

18                by Plaintiffs or Defendants) for any Plaintiff in discovery pools or other selections

19                designed to inform bellwether selection, including those selected for a bellwether trial,

20                in accordance with the production format specified herein, provided, however, that the

21                Producing Party may elect to produce such materials in their native format. To the

22                extent production of case-specific documents for any Plaintiff selected for a bellwether

23                trial presents an issue for any Party, the Parties shall reasonably confer, and may

24                present any disputes to the Court or its designee. The Parties shall further agree to

25                confer concerning the production format and associated matters (e.g., hosting

26                platform) for case-specific documents produced in the cases of other Plaintiffs.

27                Nothing herein shall limit Defendant’s right to seek discovery from any Plaintiff.

28          b) Translations Of Produced Materials. The Producing Party has no obligation to

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 1             create a translation of the Documents or any portion thereof. For any foreign-language

 2             documents responsive to document requests that a Party reasonably knows as the

 3             result of a reasonable investigation have been translated into the English language

 4             using human translators or through machine translation for its own purposes, except to

 5             the extent such translation is protected by attorney-client or work-product privileges,

 6             the Producing Party shall produce the translation of the original document with the

 7             original. The parties will meet and confer as necessary concerning procedures for

 8             using translations at depositions and at trial. In the event the Parties cannot reach

 9             agreement, the matter may be submitted to the Court for determination.

10          c) Third-Party Documents. A Party that issues a Non-Party subpoena (“Issuing Party”)

11             shall include a copy of this Order with the subpoena and state that (1) the subpoenaed

12             Non-Party should produce Documents in response to the subpoena to all Parties; and

13             (2) the Parties to this Litigation have requested that Third Parties produce Documents

14             in accordance with the specifications set forth herein. If the subpoenaed Non-Party

15             produces Documents to the Issuing Party but does not produce those Documents to

16             other Parties, the Issuing Party shall produce such Documents to those other Parties

17             within 14 days of receiving the Documents, except where the Documents are to be

18             used in a deposition, in which case the Issuing Party shall produce such Documents to

19             all other Parties no later than three (3) days prior to the deposition, or as soon as

20             reasonably practicable if such production occurs thereafter. Nothing in this Order is

21             intended or may be interpreted to narrow, expand, or otherwise affect the rights of the

22             Parties or Third Parties to object to a subpoena. If the Non-Party production is not

23             Bates-stamped, the Parties will meet and confer to agree upon a format for designating

24             the documents with a unique Bates Number prefix.

25          d) Documents Produced by Parties – Presumption of Authenticity. In order to reduce

26             the number of requests for admission, this Order establishes a rebuttable presumption

27             that documents produced by the Parties are authentic, if said documents were either

28             created or authored by the producing Party, or any of its employees, agents, or

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 1             contractors, so long as the employees’, agents’, or contractors’ work was performed in

 2             connection with a project or assignment sponsored by the producing Party. No further

 3             evidence to establish authenticity need be provided. Nothing in this paragraph shall be

 4             deemed to waive any other evidentiary objection a party may have, including but not

 5             limited to hearsay, foundation/personal knowledge, or relevance.

 6          e) Re-productions. Notwithstanding any provisions to the contrary, re-production of

 7             discrete sets of documents from another litigation, arbitration, government inquiry, or

 8             other matter may be re-produced in the same manner and form as originally produced

 9             in the other matter, provided however that a party will re-produce documents in a

10             different format for good cause shown. This provision does not waive the right of a

11             party to object to any requests for reproduction of production files from another

12             litigation, arbitration, government inquiry, or other matter.

13          f) Modification. This ESI Order may be modified by a Stipulated Order of the Parties

14             or by the Court for good cause shown.

15          g) Good Faith. The Parties will act in good faith as required by law and use these

16             procedures to identify and reduce the potential for disputes.

17          h) Continuing Obligations. The Parties recognize that discovery shall be an iterative

18             and cooperative process. The Parties will continue to meet and confer regarding any

19             issues as reasonably necessary and appropriate. This Order does not address or resolve

20             any objections to the Parties’ respective discovery requests.

21          i) Reservation of Rights. The Parties agree that any topic not addressed herein is

22             neither a waiver nor acknowledgement of agreement by either Party.

23          IT IS SO STIPULATED, through Counsel of Record.

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13                                               Google LLC
14            IT IS ORDERED that the foregoing Agreement is approved.
15

16
     Dated:         March 18, 2024
17                                             MAGISTRATE JUDGE PETER H. KANG
18

19

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21

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 1                              APPENDIX 1: PRODUCTION FORMAT

 2      1) Production Components. Except as otherwise provided below, ESI must be produced

 3          in accordance with the following specifications:

 4               a) an ASCII delimited data file (.DAT) using standard delimiters;

 5               b) an image load file (.OPT) that can be loaded into commercially acceptable

 6                  production software (e.g. Concordance);

 7               c) single page black-and-white TIFF images, or JPEG images when color is

 8                  specified herein, or native files with single page placeholder TIFF images

 9                  depending on the applicable production format for each type of file;

10               d) and document level .TXT files for all documents containing extracted full text or

11                  OCR text.

12               e) Family relationships between emails and their attachments, embedded files and

13                  their source document, and connected hardcopy documents will be maintained in

14                  production. Attachments should be consecutively produced with their parent.

15               f) If a particular document warrants a different production format, the Parties will

16                  cooperate in good faith to arrange for a mutually acceptable production format.

17          2)      Production Media and Access Controls. Productions must be encrypted and

18   produced through secure electronic means, such as secure file sharing methods (e.g. FTP), or on

19   CD, DVD, flash drive or external hard drive (“Production Media”). Each piece of Production

20   Media must identify a production number corresponding to the production volume (e.g.

21   “VOL001”). Each piece of Production Media must also identify: (a) the case caption; (b) the

22   following label: “This media contains material subject to Court Ordered security measures”; (c)

23   the Producing Party’s name; (d) the production date; (e) the Bates Number range of the

24   materials contained on the Production Media.

25          Nothing in this ESI Order will preclude or impair any and all protections provided the

26   Parties by any Protective Order(s) agreed and entered into by the Parties. Parties will use best

27   efforts to avoid the unnecessary copying or transmittal of produced documents. If questions arise,

28   the Parties will meet and confer to ensure security concerns are addressed prior to the exchange of

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 1
     any documents.
 2
            3)      Data Load Files/Image Load Files. Each TIFF in a production must be
 3
     referenced in the corresponding image load file. The total number of documents referenced in a
 4
     production’s data load file should match the total number of designated document breaks in the
 5
     image load file(s) in the production. The total number of pages referenced in a production’s
 6
     image load file should match the total number of TIFF files in the production. All images must
 7
     be assigned a unique Bates number that is sequential within a given document and across the
 8
     production sets. The Bates Numbers in the image load file must match the corresponding
 9
     documents’ beginning Bates numbers in the data load file. The total number of documents in a
10
     production should match the total number of records in the data load file. Load files must not
11
     vary in format or structure within a production, or from one production to another except by
12
     agreement of the Parties.
13
            4)      Metadata Fields. Each of the metadata and coding fields set forth below that can
14
     be extracted should be produced for each document, except that if the field contains privileged
15
     information, that privileged information may be redacted. However, to the extent that metadata
16
     does not exist, is not available for any documents produced, this provision shall not be read to
17
     require any Party to extract, capture, collect, manually populate, or produce such metadata, with
18
     the exception of the following: (a) BEGBATES, (b) ENDBATES, (c) BEGATTACH, (d)
19
     ENDATTACH, (e) PRODVOL, (f) ALL CUSTODIANS, (g) CONFIDENTIALITY, (h)
20
     REDACTIONS, (i) REDACTION TYPE, (j) HASHVALUE, (k) NATIVEFILEPATH, and (l)
21
     TEXTFILEPATH, which should be populated by the Party or the Party’s vendor. The Parties
22
     will make reasonable efforts to ensure that metadata fields automatically extracted from the
23
     documents correspond directly to the information that exists in the original documents.
24

25     Field Name                                        Field Description

26                                                       Beginning Bates number for a particular
       BEGBATES                                          document as stamped on the first production
27                                                       image for that document

28     ENDBATES                                          Ending Bates number as stamped on the last

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 1
       Field Name                                Field Description
 2
                                                 production image for a particular document
 3
                                                 First production Bates number of the first
       BEGATTACH
 4                                               document in a family

 5                                               Last production Bates number of the last
       ENDATTACH
                                                 document in a family
 6
                                                 Number of attachments to an e-mail or
 7                                               embedded parent, as generated by
       ATTACHCOUNT
                                                 commercially available discovery processing
 8
                                                 tools.
 9
                                                 Names of each individual Attachment,
       ATTACHNAMES
10                                               separated by semicolons.

11     PRODVOL                                   Production volume

12                                               List of all custodians associated with
       ALLCUSTODIANS                             Document, i.e. “Custodian” + “Other
13                                               Custodian” values delimited by semicolon.

14                                               All original path(s) to the individual source
                                                 file(s) when available in the ordinary course
15                                               of business to and processable by the parties
       ALLFILEPATHS
                                                 and their ESI vendors of choice. Includes path
16                                               up to and including internal path of
17                                               containers.

18                                               Confidentiality designation assigned to the
       CONFIDENTIALITY                           document consistent with the Stipulated
19                                               Protective Order governing this Litigation
20     NATIVEFILEPATH                            Native File Link (Native Files only)
21                                               Path to extracted text/OCR file for the
       TEXTFILEPATH
                                                 document
22
       HASHVALUE                                 MD5 hash value of the document
23
                                                 Descriptor for the type of document: “E-
24
                                                 document” for electronic documents not
25                                               attached to e-mails; “E-mail” for all e-mails;
      DOCUMENT TYPE                              “E-attachment” for files that were attachments
26                                               to e-mails; and “Physical” for hard copy
                                                 physical documents that have been scanned
27                                               and converted to an electronic image.
28    AUTHOR                                     Any value populated in the Author field of the
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 1
       Field Name                                Field Description
 2
                                                 document properties
 3
                                                 Date the document was created according to
 4    DOCDATE                                    filesystem information (format:
                                                 MM/DD/YYYY)
 5
                                                 Date when document was last modified
 6    DATELASTMODIFIED                           according to filesystem information (format:
                                                 MM/DD/YYYY)
 7
                                                 Last person who modified (saved) a
 8
      LAST MODIFIED BY                           document, as generated by commercially
 9                                               available discovery processing tools.

10                                               Y if a document with track changes value,
      TRACK CHANGES                              otherwise N or empty, if available separately
11                                               from the HASHIDDENDATA flag

12                                               Y if a document with comments, otherwise N
      COMMENTS                                   or empty, if available separately from the
13                                               HASHIDDENDATA flag
                                                 Y if a document with hidden content value,
14    HASHIDDENDATA                              otherwise N or empty
15
      FILENAME                                   Filename of an electronic document
16
                                                 Any value populated in the Title field of the
      TITLE
17                                               document properties

18                                               File extension of document pulled from the
      DOCEXT
                                                 document properties
19
      FROM                                       The sender of the email
20
                                                 All recipients that were included on the “To”
21    TO
                                                 line of the email
22                                               All recipients that were included on the “CC”
      CC
                                                 line of the email
23
                                                 All recipients that were included on the
24    BCC
                                                 “BCC” line of the email
25
                                                 Date and time email was received (format:
      DATETIMERECEIVED
26                                               MM/DD/YYYY HH:MM)

27                                               Date and time email was sent (format:
      DATETIMESENT
                                                 MM/DD/YYYY HH:MM)
28

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 1
         Field Name                                                 Field Description
 2
         TIMEZONE                                                   The timezone used to process the document
 3
                                                                    Subject line of email pulled from the
         EMAILSUBJECT
 4                                                                  document properties

 5                                                                  If a threading tool is used for emails, the
         THREADID
                                                                    thread id generated by the threading tool.
 6
                                                                    General category of redaction reason as
 7                                                                  agreed to by the parties. For example, PII,
         REDACTION TYPE1
                                                                    SCA, CODE, and/or PRIV. If more than one,
 8
                                                                    separate reasons by semicolons.
 9
                                                                    Y if a document is redacted, otherwise N or
         REDACTIONS
10                                                                  empty

11            5)       TIFFs. Unless excepted below, single page, black and white, Group IV TIFFs
12   should be provided, at least 300 dots per inch (dpi) for all documents. Each TIFF image must be
13   named according to a unique corresponding Bates number associated with the document. Each
14   image must be branded according to the Bates number and the agreed upon confidentiality
15   designation. Original document orientation should be maintained (i.e., portrait to portrait and
16   landscape to landscape). Where the TIFF image is unreadable or has materially degraded the
17   quality of the original, the Producing Party shall provide a higher quality TIFF image or the
18   native or original file. In addition, the Parties shall take reasonable efforts to process word
19   processing documents (e.g., MS Word) with track changes and/or comments unhidden on the
20   TIFF image.
21            6)       Color. Word processing documents containing tracked changes shall be
22   produced in color, as single-page, 300 dpi JPG images with JPG compression and a high quality
23   setting as to not degrade the original image. The Producing Party shall comply with good faith
24   by the Requesting Party to provide replacement color images for documents originally produced
25   in black and white. A Party making such a request shall make the request by individual Bates
26
     1
       The Parties will provide specific information on any privilege(s) asserted in their privilege logs, in an overlay, or the
27   redaction boxes. The “Redaction Reason” field is informational only for redaction type and shall not in any way limit
     a party’s right to assert attorney-client privilege, attorney-work product privilege, and/or any other applicable privilege
28   or protection.

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 1
     number(s) and shall limit requests made pursuant to this paragraph to a reasonable number of
 2
     documents.
 3
            7)      Text Files. A single multi-page text file must be provided for each document,
 4
     and the filename should match its respective TIFF filename for the first page of that document.
 5
     Extracted text shall be generated with commercially acceptable technology set to include all
 6
     comments, revisions, tracked changes, speaker’s notes and text from documents with comments
 7
     or tracked changes, and hidden and very hidden worksheets, slides, columns and rows. When
 8
     possible, the text of native files should be extracted directly from the native file. Parties will
 9
     perform optical character recognition (“OCR”) on foreign language documents using the
10
     appropriate settings for languages reasonably anticipated to be in the production following a
11
     meet and confer with the Requesting Party to identify those languages. Text files will not
12
     contain the redacted portions of the documents. A commercially acceptable technology for OCR
13
     should be used for all scanned, hard copy documents and for documents with redactions other
14
     than Excel files and other spreadsheets which shall be redacted in native format. Text extracted
15
     from emails should include the following header information where available: (1) the
16
     individuals to whom the communication was directed (“To”), (2) the author of the email
17
     communication (“From”), (3) who was copied and blind copied on such email (“CC” and
18
     “BCC”), (4) the subject line of the email (“RE” or “Subject”), and (5) the date and time of the
19
     email. To the extent the text extraction technology the Parties are using can be configured to
20
     include the text of any URLs or links, the Parties shall utilize that setting.
21
            8)      Native files. Spreadsheets (e.g. MS Excel), and un-redacted presentations (e.g.
22
     Microsoft PowerPoint,) will be produced in native format to the extent that they are produced in
23
     this Litigation, audio, video, and multi-media files will be produced in native format. The
24
     Parties will meet and confer on the production of other file types, such as proprietary files, etc.
25
     Native files will be produced with a link in the NATIVEFILEPATH field, along with extracted
26
     text (where extracted text is available) and applicable metadata fields set forth in paragraph 4
27
     above. A Bates numbered TIFF placeholder indicating that the document was provided in native
28
     format must accompany every native file. Where redaction makes production of native-format
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 1
     files other than spreadsheets or presentations infeasible, the Parties will confer to determine a
 2
     reasonably usable form for the production, but spreadsheets shall presumptively be redacted in
 3
     native, and presentations presumptively redacted in image form, in these cases without the need
 4
     for further conferring.
 5
            9)      Production Format for Hard Copy Documents. Documents that exist in
 6
     hardcopy will be scanned to *.tiff image format and produced in accordance with the
 7
     specifications set forth herein. Hard copy documents that are not text-searchable shall be made
 8
     searchable by OCR prior to production. In scanning paper documents, distinct documents
 9
     should not be merged into a single record, and single documents should not be split into
10
     multiple records (i.e., paper documents should be logically unitized). In the case of an organized
11
     compilation of separate documents (for example, a binder containing several separate
12
     documents behind numbered tabs), the document behind each tab should be scanned separately,
13
     but the relationship among the documents in the compilation should be reflected in the proper
14
     coding of the beginning and ending document and attachment fields. The Parties will make their
15
     best efforts to unitize the documents correctly. If relevant documents are maintained in a file,
16
     folder, envelope, binder, notebook or similar container used to store documents, all contents
17
     therein shall be reviewed for production and privilege. Document pages which have affixed
18
     notes, such as Post-it notes, should be imaged with and without the note attached.
19
            10)     Confidentiality Designation. All images will be stamped with the appropriate
20
     confidentiality designations in accordance with the Stipulated Protective Order entered in this
21
     Litigation. Each document produced in native format will have its confidentiality designation
22
     identified in the filename of the native file and indicated on its corresponding TIFF placeholder.
23
            11)     Bates Numbering. Bates numbering should be a consistent length across the
24
     production, contain no special characters, and be numerically sequential within a given
25
     document. If a Bates number or set of Bates numbers is skipped, the skipped number or set of
26
     numbers should be noted with a placeholder. Attachments to documents will be assigned Bates
27
     numbers that directly follow the Bates numbers on the documents to which they were attached.
28

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 1
     In addition, wherever possible, each image will have its assigned Bates number electronically
 2
     “burned” onto the image.
 3
            12)     Databases and Other Structured Data. To the extent that responsive
 4
     information is stored in a database, or database management system, or proprietary system or
 5
     application which has is directed to data storage as one of its primary functions, the Producing
 6
     Party will identify the database and platform to the Requesting Party. The Producing Party shall
 7
     produce exports and reports about such responsive information stored in such database, where
 8
     such exports and reports shall be in a reasonably usable form, and information may be produced
 9
     in CSV format, tab-delimited text format, Microsoft Excel format, or Microsoft Access format.
10
     If there are future disputes over the production of information from a database, the Parties shall
11
     meet and confer in good faith in an attempt to reach any further agreements (if needed) on the
12
     data to be produced and the format and scope of the production. The Producing Party will
13
     provide reasonable amounts of information about the databases to facilitate that discussion.
14
            13)     Hyperlinks. Document(s) and/or folder(s) of documents that are hyperlinked
15
     inside a responsive document (including hyperlinked inside emails) within a Producing Party’s
16
     custody, possession, or control, do not need to be produced in the first instance as part of the
17
     same family group as the Document residing at the location to which that hyperlink points. If
18
     there are particular hyperlinks identified by the Requesting Party in produced documents, the
19
     Requesting Party may submit a list of hyperlinks to a particular Producing Party for potentially
20
     relevant documents by identifying the Bates number and URL or link text for each requested
21
     link to the Producing Party, and the Producing Party will engage in reasonable efforts to locate
22
     the hyperlinked document at that location and either identify it by Bates number or provide any
23
     responsive, non-produced, and non-privileged documents. The number of hyperlinks a
24
     Requesting Party may identify to a Producing Party shall not be excessive and shall be
25
     reasonable, proportional to the needs of the case, and not unduly burdensome.
26
            14)     Embedded Objects. The Parties agree non-substantive embedded objects,
27
     including, but not limited to, logos, icons, emoticons, and footers, may be culled from a
28
     document set (but not a document) and need not be produced as separate documents by a
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 1
     Producing Party (i.e., such embedded objects will be produced within the document itself, rather
 2
     than as separate documents). Embedded files, except for images (including but not limited to,
 3
     logos, icons, emoticons), are to be produced as family groups. Embedded files should be
 4
     assigned Bates numbers that directly follow the Bates numbers on the documents within which
 5
     they are embedded.
 6
            15)     Production of Family Groups and Relationships. If any member of a family
 7
     group is produced, all members of that group must also be produced or else logged as
 8
     privileged, and no such member shall be withheld from production as a duplicate.
 9
            16)     Dynamic Fields. Documents with dynamic fields for file names, dates, and
10
     times will be imaged to show the field code (e.g., “[FILENAME]”) where possible, rather than
11
     the values for such fields existing at the time the file is processed.
12
            17)     Time Zone. The time zone used to process a document, including its metadata,
13
     shall be disclosed in the TIMEZONE metadata field consistent with Appendix 1, and shall be
14
     standardized for each Defendant across productions.
15
            18)     Redactions.
16
            a)      A Producing Party may redact (i) information subject to the attorney client
17
     privilege or the work product protection (PRIV); (ii) information that cannot be disclosed
18
     pursuant to the Stored Communications Act (SCA); (iii) source code subject to separate
19
     agreement applicable to production of source code (CODE); (iv) personal identifying
20
     information (PII) including phone numbers, personal addresses, personal email addresses, the
21
     month and day of birth, driver’s license numbers, and other PII agreed to by the Parties (for
22
     example, the Parties shall complete their meet and confer on whether or not to redact users’ ages
23
     and years of birth). In any event, there shall be no redaction of illnesses, injuries, and medical
24
     diagnoses. To the extent a document or pleading contains PII, the Parties shall designate such
25
     documents at the appropriate Confidentiality level under the Protective Order and shall comply
26
     with Fed. R. Civ. P. 5.2 with regard to filings with the Court.
27
            b)      No redactions for relevance may be made within a produced document or ESI
28
     item. If, during the course of discovery, the Parties identify other kinds of information that any
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 1
     Party has a reasonable basis for redacting, the Parties will meet and confer on a case-by-case
 2
     basis regarding that information before such redactions are made. If the Parties cannot agree,
 3
     they may seek resolution from the Court.
 4
            c)      The Producing Party will indicate, on the face of the redaction, the asserted
 5
     reason(s) for the redaction (PII, SCA, CODE, and/or PRIV) and the REDACTION TYPE
 6
     metadata field shall indicate that the document contains redactions and the reason(s) for the
 7
     redaction.
 8
            d)      Notwithstanding the foregoing, this provision shall not be read to prohibit
 9
     redactions permitted under any applicable U.S. law or Protective Order.
10
            e)      Where a responsive document contains both redacted and non-redacted content,
11
     the Parties shall produce the non-redacted portions of the document and the OCR text
12
     corresponding to the non-redacted portions.
13
            f)      Native Redactions. Spreadsheet files requiring redaction, including without
14
     limitation Microsoft Excel files, shall be redacted and produced natively (unless the Parties
15
     agree to production in some other format). In addition, a Producing Party may natively redact
16
     other files that cannot be properly imaged for redaction.
17
            g)      All images of redacted files shall be processed to show all comments, revision
18
     marks, speaker notes, marks made in track changes, or other user-entered data which are visible
19
     in a normal view of the document in its native application, unless such material is redacted and
20
     marked as redacted in accordance with this section. Where possible, any occurrences of
21
     date/time auto‐field items, including in headers and footers, will be removed and replaced with
22
     the term AUTODATE to prevent the current date from being printed. Email header information
23
     (e.g., date and/or subject line) shall not be redacted unless it is independently privileged. The
24
     Parties shall honor reasonable requests for the production of particular redacted documents in
25
     other formats where the image is not reasonably usable.
26
            h)      Color. Redacted versions of documents that would have been produced in color
27
     in their un-redacted form shall be produced in color as detailed herein.
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     STIP. & [PROPOSED] ORDER GOVERNING THE
     PRODUCTION OF ESI & HARD COPY DOCUMENTS         - 10 -             3:22-MD-03047-YGR; MDL NO. 3047
 Case
    Case
      4:23-cv-05448-YGR
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 1
            19)     Exception Files. The Parties will use reasonable efforts to address processing
 2
     exceptions.
 3
            20)     Mobile and Handheld Device Documents and Data. If responsive and unique
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     data that can reasonably be extracted and produced in the formats described herein is identified
 5
     on a mobile or handheld device, that data shall be produced in accordance with the generic
 6
     provisions of this protocol. To the extent that responsive data identified on a mobile or handheld
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     device is not susceptible to normal production protocols, the Parties will meet and confer to
 8
     address the identification, production, and production format of any responsive documents and
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     data contained on any mobile or handheld device.
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     STIP. & [PROPOSED] ORDER GOVERNING THE
     PRODUCTION OF ESI & HARD COPY DOCUMENTS        - 11 -             3:22-MD-03047-YGR; MDL NO. 3047
  Case 4:23-cv-05448-YGR           Document 116-3        Filed 07/24/24     Page 229 of 439




DELIVERED VIA PROCESS SERVER                                      July 17, 2024

Kentucky Department for Behavioral Health,
Developmental and Intellectual Disabilities
275 E. Main Street #4
Frankfort, KY 40601


       Re: People of the State of California v. Meta Platforms, Inc.,
            4:23-cv-05448

Dear Sir/Madam:

Enclosed please find a subpoena being served upon you in connection with the above-captioned
litigation currently pending in the U.S. District Court for the Northern District of California. I
represent Defendants Meta Platforms, Inc.; Instagram, LLC, Meta Payments, Inc., Meta Platforms
Technologies, LC and Mark Zuckerberg (collectively, the “Meta Defendants”) in this matter.

The document subpoena requests the production of specific documents identified in the attached
subpoena (see Attachment A to the subpoena), which are requested to be produced by 10 am on
August 19, 2024. We are willing to work with you on the time, date, location, method and manner
of document production, as well as answer any questions or concerns you may have regarding
subpoena compliance. It is sufficient compliance with this subpoena if you electronically transmit
a copy of the requested documents to the undersigned. As such, please contact me at
cyeung@cov.com and 212-841-1262, to discuss document production and subpoena compliance,
unless you are already represented by counsel in connection with this matter.

The Court is currently considering whether the Kentucky Attorney General’s Office has control
over Kentucky Department for Behavioral Health, Developmental and Intellectual Disabilities’
information for the purposes of discovery in this action. If the Court rules that the Kentucky
Attorney General’s Office has control over the Kentucky Department for Behavioral Health,
Developmental and Intellectual Disabilities’ information, the Kentucky Attorney General has
pending discovery requests that seek this agency’s documents. By serving this subpoena, Meta
does not waive its position in the state agency dispute, nor does Meta in any way waive rights to
compel the Kentucky Attorney General to produce Kentucky Department for Behavioral Health,
Developmental and Intellectual Disabilities information as part of discovery in this
action. However, to avoid further delay in the production of information from the Kentucky
Department for Behavioral Health, Developmental and Intellectual Disabilities, Meta is serving
the attached subpoena to request the timely production of this information.

Your anticipated time and assistance with this matter is greatly appreciated.
  Case 4:23-cv-05448-YGR            Document 116-3   Filed 07/24/24   Page 230 of 439




Kentucky Department for Behavioral Health,
Developmental and Intellectual Disabilities
July 17, 2024
Page 2


                                                             Best regards,

                                                             /s/ Christopher Y. L. Yeung

                                                             Christopher Y. L. Yeung




Enclosed: Subpoena, Attachment A, and Attachment B
              Case 4:23-cv-05448-YGR                        Document 116-3                  Filed 07/24/24              Page 231 of 439
 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Northern District
                                                        __________  DistrictofofCalifornia
                                                                                 __________
               People of the State of California, et al.
                                                                               )
                                Plaintiff                                      )
                                   v.                                          )        Civil Action No.          4:23­cv­05448
                   Meta Platforms, Inc., et al.                                )
                                                                               )
                               Defendant                                       )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To: Kentucky Department for Behavioral Health, Developmental and Intellectual Disabilities
         275 E. Main Street #4, Frankfort, KY 40601
                                                        (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material: See Attachment A.



  Place: Kentucky Reporters                                                              Date and Time:
            730 W. Main Street, Suite 101                                                            10 a.m. on August 19, 2024
            Louisville, KY 40202
      ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        07/17/2024

                                   CLERK OF COURT
                                                                                             OR
                                                                                                                      /s/ Ashley Simonsen
                                            Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Meta Platforms, Inc. f/k/a Facebook, Inc.; Instagram, LLC, Meta Payments, Inc.,
Meta Platforms Technologies, LLC; and Mark Zuckerberg,                          who issues or requests this subpoena, are:
Ashley Simonsen, Covington & Burling LLP, 1999 Avenue of the Stars, Los Angeles, CA 90067, 424­332­4782, asimonsen@cov.com

                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 4:23-cv-05448-YGR                     Document 116-3                  Filed 07/24/24              Page 232 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 4:23-cv-01615

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
              Case 4:23-cv-05448-YGR                          Document 116-3                  Filed 07/24/24               Page 233 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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               DEFINITIONS AND INSTRUCTIONS TO ATTACHMENT A

                                          DEFINITIONS

        1.      The term “communication” means the transmittal of information (in the form of

facts, ideas, inquiries or otherwise).

        2.      “Document” or “documents” shall have the broadest meaning ascribed to it by the

Federal Rules of Civil Procedure, and includes, without limitation electronically stored

information (“ESI”) (including, without limitation, electronic databases and the data therein, all

electronic messages or communications, electronic word processing documents, electronically

stored voicemail, webpages, and social media posts) in accordance with any order in this case

governing ESI at the time of production. Different versions of the same documents, including, but

not limited to, drafts or documents with handwritten notations or marks not found in the original

or on other copies are different documents.

        3.      “You”, “you”, “Your” and “your” means the Kentucky Department for Behavioral

Health, Developmental and Intellectual Disabilities.

        4.      “Relating” or “related to” means and includes referring to, concerning, referencing,

mentioning, associated with, constituting, discussing, containing, embodying, recording,

reflecting, identifying, summarizing, incorporating, and/or dealing with or pertaining to in any

way.

        5.      “And” includes “or”, and vice versa.

        6.      The singular form of a word or term includes the plural, and vice versa.

        7.      The present tense of a verb includes the past tense, and vice versa.

        8.      The use of the article “the” shall not be construed as limiting the scope of any

request.



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       9.      “Including” means “including without limitation.”

       10.     “Any” includes “all”, and vice versa.

       11.     The capitalized version of a word or term includes the lower case version of a word

or term, and vice versa.

       12.     “Social Media Platforms” or “Platforms” means a digital service that facilitates

interactions between two or more distinct but interdependent sets of users, including but not limited

to Facebook, Instagram, Snapchat, TikTok, YouTube, Twitter (or “X”), Pinterest, LinkedIn,

BeReal, Lapse, Reddit, Threads, VSCO, Goodreads, Quora, Discord, Twitch, and Tumblr.

       13.     “Young Users” means users of Social Platforms who are under 18 years of age

when using the Platform(s).

       All words, terms, and phrases not specifically defined herein are to be given their normal

and customary meaning in the context in which they are used in these Requests.

                                        INSTRUCTIONS

       1.      These Requests are intended to cover any and all documents in your possession,

custody, or control, to the extent not privileged. Documents held by any office, department, board,

commission, or instrumentality of the Kentucky Department for Behavioral Health,

Developmental and Intellectual Disabilities are within your possession, custody, or control.

       2.      In accordance with ESI Protocol attached hereto as Attachment B, if you object to

furnishing any of the documents or information requested by these Requests on the grounds of

attorney-client privilege, work product, other privilege, or otherwise then, with respect to each

such document:

               a. state the nature of the privilege claimed;
               b. state the date of each communication supporting the privilege claim;




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                c. identify all participants in the supporting communication;

                d. state the specific grounds on which the objection is based; and

                e. identify the specific request calling for such information;

        2.      If you object to any Request on the grounds that it is vague or ambiguous, state: (i)

the portions or terms of such Request that you claim to be vague or ambiguous; and (ii) the

interpretation of the Request pursuant to which you provide a response.

        3.      Each request shall be deemed continuing, so as to require supplemental or

mandatory responses should you obtain additional responsive information subsequent to your

initial responses.

        4.      If you cannot fully respond to a particular Request after exercising due diligence to

make inquiry and to secure the necessary information, provide a response to the extent possible,

specifying your inability to respond to the remainder and providing whatever information or

knowledge you have concerning the portion not responded to.

        5.      Each page of a produced document shall have a legible, unique page identifier

(“Bates Number”) and confidentiality legend (where applicable) on the face of the image at a

location that does not obliterate, conceal, or interfere with any information from the source

document. Redactions should be clearly marked or stamped on the page in such a way that it is

clear from review that a portion of the image has been redacted.

        6.      All responsive and non-privileged electronic documents shall be produced in the

format ordered by the Court in its ESI order.

        7.      All responsive electronic documents shall be produced in a format agreed upon by

the parties, to include at least native versions of Excel spreadsheets and presentation files, with a

Bates-stamped placeholder image.

        8.      Unless otherwise specified, the time period for these Requests is January 1, 2012

to the date of production of the Documents.




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                                    ATTACHMENT A

1. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
   mental, social, emotional, or behavioral health of persons ages 13 to 18.

2. Research, investigations, studies, surveys, reports, evaluations, or analyses related to Social
   Media Platforms, including the importance of Social Media Platforms and the use of Social
   Media Platforms by Young Users and the potential benefits and harms created by the use
   of Social Media Platforms.

3. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
   mental, social, emotional, or behavioral health of Young Users, including those related to
   the effects of:
       a. Social Media Platforms usage;
       b. Video games usage;
       c. Cell phone usage;
       d. Messaging usage;
       e. Usage of other electronics apart from usage of Social Media Platforms;
       f. COVID-19 and/or remote learning;
       g. Use of drugs or alcohol;
       h. The opioid and fentanyl epidemic;
       i. Poverty, homelessness, lack of health insurance, and/or food insecurity;
       j. Physical health including nutrition, exercise, weight management, sleeping habits,
           and sexual activity;
       k. Family trauma or deaths;
       l. Academic pressure;
       m. Violence, including school violence, domestic violence, gun violence, gun control
           and/or mass shootings;
       n. Bullying or verbal abuse apart from usage of Social Media Platforms;
       o. Political polarization;
       p. Natural disasters;
       q. Climate change;
       r. Discrimination and inequity;
       s. Global warfare and conflict; and
       t. Any other potential causes of harms to the mental, social, emotional, or behavioral
           health of Young Users.

4. Youth Risk Behavior Surveys conducted by the Kentucky Department for Behavioral
   Health, Developmental and Intellectual Disabilities or on its behalf.

5. Research, investigations, studies, surveys, reports, evaluations, or analyses related to:
      a. Features of Social Media Platforms that are psychologically or physically harmful
          to Young Users;
      b. Features of Social Media Platforms that promote compulsive, prolonged, or
          unhealthy use by Young Users;
      c. The impact of features of Social Media Platforms, including:



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              (1) Algorithmic recommendation and sequencing;
              (2) Image filters;
              (3) Use of multiple user accounts;
              (4) Infinite scroll;
              (5) Ephemeral content features;
              (6) Autoplay;
              (7) Quantification and display of likes; or
              (8) Audiovisual and haptic alerts.

6. Programs, initiatives, efforts, or actions proposed or taken by the Kentucky Department for
   Behavioral Health, Developmental and Intellectual Disabilities to address Young Users’
   use of Social Media Platforms, including any program, initiative, effort, or action to
   prevent, limit, encourage, or promote the use of Social Media Platforms by Young Users.

7. Policies proposed, recommended, or enacted by the Kentucky Department for Behavioral
   Health, Developmental and Intellectual Disabilities regarding screen time and acceptable
   use of cell phones, computers, tablets, or other electronic devices by Young Users.

8. Complaints to the Kentucky Department for Behavioral Health, Developmental and
   Intellectual Disabilities by teachers or school districts regarding social media or cell
   phone use by Young Users and/or the need for acceptable use or other policies to address
   Young Users’ use of social media or cell phones.

9. Complaints to the Kentucky Department for Behavioral Health, Developmental and
   Intellectual Disabilities by teachers or school districts regarding budget crises from
   inflation, underfunding, unfunded mandates, and other causes.

10. Documents related to state assessments in Kentucky, including reports and analyses
    regarding the history of K-12 state assessment or standardized testing scores,
    performance by schools and/or school districts, and any other measures of school
    performance.

11. Legislation or policies proposed by, proposed on behalf of, or testified on by the Kentucky
    Department for Behavioral Health, Developmental and Intellectual Disabilities, regardless
    of whether such legislation or policies were enacted, regarding Young Users’ use of Social
    Media Platforms.

12. Mental, social, emotional, or behavioral health services provided by the Kentucky
    Department for Behavioral Health, Developmental and Intellectual Disabilities to Young
    Users during the Relevant Period, including:
       a. Counseling or therapy;
       b. Psychiatric services;
       c. Crisis intervention;
       d. Inpatient short-term and long-term programs;
       e. Resource centers; and
       f. Services for Young Users dealing with substance abuse or addiction issues.



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13. Any and all Kentucky Department for Behavioral Health, Developmental and Intellectual
    Disabilities grants to address Young Users’ mental health, including information about
    when, where, why, and how any disbursements were paid, any schedules or plans for future
    disbursements, policies governing evaluation or approval of such disbursements, records
    of how the disbursements were used, and all agendas, minutes, notes, or recordings from
    meetings related to such grant.

14. Public or non-public meetings held by the Kentucky Department for Behavioral Health,
    Developmental and Intellectual Disabilities related to Social Media Platforms and use of
    Social Media Platforms by Young Users, including but not limited to, notices, meeting
    notes, PowerPoint presentations, internal memoranda, summaries, personal notes, or
    attendee lists.

15. Policies, procedures, and practices related to the Kentucky Department for Behavioral
    Health, Developmental and Intellectual Disabilities’ use of Social Media Platforms,
    including communication of information or promotion of the Kentucky Department for
    Behavioral Health, Developmental and Intellectual Disabilities’ programs, initiatives,
    efforts, or actions on Social Media Platforms.

16. Kentucky Department for Behavioral Health, Developmental and Intellectual Disabilities’
    communications and/or collaboration with any Social Media Platform on any program,
    initiative or other action related to, or directed at, Young Users.

17. Kentucky Department for Behavioral Health, Developmental and Intellectual Disabilities’
    communications with any third party related to Young Users and/or Social Media
    Platforms.

18. Budgeted and actual expenditures by the Kentucky Department for Behavioral Health,
    Developmental and Intellectual Disabilities during the Relevant Period related to Young
    Users’ use of Social Media Platforms.

19. Budgeted and actual expenditures by the Kentucky Department for Behavioral Health,
    Developmental and Intellectual Disabilities during the Relevant Period related to treatment
    of teen mental, social, emotional, or behavioral health issues.

20. Policies, procedures, and practices applicable to the Kentucky Department for Behavioral
    Health, Developmental and Intellectual Disabilities and Kentucky Department for
    Behavioral Health, Developmental and Intellectual Disabilities employees regarding the
    use of Social Media Platforms, including any changes to these policies during the Relevant
    Period.

21. Studies, programs, initiatives, efforts, or actions proposed or taken by the Kentucky
    Department for Behavioral Health, Developmental and Intellectual Disabilities that
    sought to provide or promote internet access or phones, computers, tablets, or other
    electronic devices to Young Users.



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22. Kentucky Department for Behavioral Health, Developmental and Intellectual Disabilities’
    budget and actual expenditures during the Relevant Period, including expenditures on:
       a. Digital advertisements by the Kentucky Department for Behavioral Health,
           Developmental and Intellectual Disabilities on Social Media Platforms;
       b. Digital advertisements by the Kentucky Department for Behavioral Health,
           Developmental and Intellectual Disabilities purchased through Social Media
           Platforms.




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                           ATTACHMENT B
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                             Document
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 6                           IN THE UNITED STATES DISTRICT COURT

 7                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8
       IN RE: Social Media Adolescent                       MDL No. 3047
 9     Addiction/Personal Injury Products Liability         Case No. 4:22-md-03047-YGR
       Litigation
10
                                                            Honorable Yvonne Gonzalez Rogers
11     This document relates to:                            Honorable Peter H. Kang
       ALL ACTIONS
12                                                          STIPULATION AND [PROPOSED]
                                                            ORDER GOVERNING THE
13                                                          PRODUCTION OF
14                                                          ELECTRONICALLY STORED
                                                            INFORMATION AND HARD COPY
15                                                          DOCUMENTS

16

17          1.      PURPOSE
18          This Order Governing the Production of Electronically Stored Information and Hard Copy

19   Documents (“ESI Order”) will govern discovery of electronically stored information and any hard

20   copy documents in this Litigation as a supplement to the Federal Rules of Civil Procedure, this

21   District’s Guidelines for the Discovery of Electronically Stored Information, and any other

22   applicable orders and rules. “This Litigation” includes all actions currently in MDL No. 3047, In

23   Re: Social Media Adolescent Addiction/Personal Injury Products Liability, or hereafter added or

24   transferred to MDL No. 3047, and all actions later remanded to their respective transferor courts.

25          2.      DEFINITIONS
26          a) “Document” is defined to be synonymous in meaning and equal in scope to the usage

27               of this term in Rules 26 and 34 of the Federal Rules of Civil Procedure and shall

28               include Hard-Copy Documents and ESI.

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 1          b) “Electronically stored information” or “ESI,” as used herein has the same meaning as

 2               in Federal Rules of Civil Procedure 26 and 34.

 3          c) “Hard-Copy Document” means Documents existing in paper form at the time of

 4               collection.

 5          d) “Searchable Text” means the native text extracted from an Electronic Document and

 6               any Optical Character Recognition text (“OCR text”) generated from a Hard-Copy

 7               Document or electronic image.

 8          3.      COOPERATION
 9          The Parties are aware of the importance the Court places on cooperation and commit to

10   cooperate in good faith throughout this Litigation consistent with this Court’s Guidelines for the

11   Discovery of ESI and this Court’s Rules of Professional Conduct. The Parties will endeavor to

12   cooperate in good faith and be reasonably transparent in all aspects of the discovery process.

13          4.      LIAISON
14          The Parties will identify Discovery Liaisons to each other who are and will be

15   knowledgeable about and responsible for discussing their respective ESI. Any Party is free to

16   change their designated Discovery Liaison by providing written notice to the other Parties. Each

17   Party’s Discovery Liaison must: (a) be prepared to meet and confer on discovery-related matters

18   and to participate in discovery dispute resolution; (b) be knowledgeable about the Party’s

19   discovery efforts; (c) be, or have reasonable access to those who are, familiar with the Party’s

20   electronic systems and capabilities in order to explain those systems and answer relevant

21   questions; and (d) be, or have reasonable access to those who are knowledgeable about the

22   technical aspects of discovery, including electronic document storage, organization, and format

23   issues, and relevant information retrieval technology, including search methodology.

24          5.      IDENTIFICATION OF CUSTODIANS AND DATA SOURCES
25          The parties will disclose information about custodians and custodial and non-custodial

26   data sources likely to possess relevant or responsive information in accordance with Fed. R. Civ.

27   P. 26 and this District’s ESI Guidelines. The Parties will participate in Rule 26(f) discussions

28   guided by this District’s Checklist for Rule 26(f) Meet and Confer Regarding Electronically

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 1   Stored Information. After responses to Requests for Production under Fed. R. Civ. P. 34 have

 2   been served, the parties will meet and confer regarding those custodians and custodial and non-

 3   custodial data sources from which Documents and ESI will be collected for search and review for

 4   potential production in this litigation. The custodian and data source exchanges will include brief

 5   explanations of the rationale for their selections; for example, for custodians, their current job

 6   titles and descriptions of their work, and for data sources, location information and description.

 7          6.      INACCESSIBLE OR UNUSABLE ESI
 8          If a Producing Party asserts that certain requested ESI is inaccessible or not “reasonably

 9   accessible,” otherwise unnecessary, or if the Receiving Party asserts that, following production,

10   certain ESI is not reasonably useable, the parties shall meet and confer to discuss resolving such

11   assertions. The parties will exchange sufficient information to enable the parties to confer in good

12   faith. If the parties cannot resolve any such disputes after such a meet and confer has taken place,

13   the issue shall be presented to the Court for resolution.

14          7.      KNOWN RESPONSIVE DOCUMENTS
15          Documents or ESI identified in a custodial or non-custodial file, or in a discrete folder or

16   collection, that are known to a Producing Party through reasonable investigation to be responsive

17   to a discovery request shall be collected for review without regard to whether the responsive

18   content was located via any search methodology developed in accordance with this Order, and

19   nothing about such review shall prevent the Producing Party from redacting or withholding and

20   logging such documents for applicable privileges.

21          8.      SEARCH METHODOLOGIES
22          The Parties shall adopt reasonable and proportionate methodologies to identify, search,

23   collect, cull, review, and produce ESI as required under applicable legal standards. The Parties

24   recognize and agree that each Party may use one or more methodologies to identify, search,

25   collect, cull, review, and produce responsive and non-privileged ESI, including the use of

26   keyword search terms and/or the use of technology assisted review (“TAR”) as discussed further

27   herein. The Parties further recognize that different data sets may implicate different

28   methodologies to identify, search, collect, cull, review, and produce responsive and non-

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 1   privileged ESI. The Parties therefore agree to meet and confer in good faith regarding any

 2   potential disputes over their respective ESI productions.

 3          9.      HIT REPORTS AND SEARCH TERMS
 4          If a Producing Party uses search terms to identify, search, or cull potentially responsive

 5   ESI, the Producing Party shall disclose the search terms to the Requesting Party. The Parties shall

 6   meet and confer regarding any disputes over the disclosed search terms. In the event that a

 7   Producing Party claims burden with respect to modified and/or additional search terms proposed

 8   by a Requesting Party, the Producing Party shall provide a hit report for the terms at issue using

 9   industry-standard processing tools, such as NUIX or other similar tools. The Producing Party

10   shall provide a hit report for the document collection where the terms were applied, including the

11   following with respect to each proposed or modified search term in the collection:

12          a) The number of documents with hits for that term; and

13          b) The number of unique documents, i.e., documents which do not have hits for any other

14               term.

15          If, after reviewing a hit report from a Producing Party, a Requesting Party so chooses, it

16   may reasonably request a further hit report which includes:

17          c) The number of family members, including the documents with hits, of the documents

18               with hits for that term; and

19          d) The number of unique family members of the documents with hits for that term.

20          If the ESI tool for the Producing Party is capable without undue burden of providing the

21   number of family members and unique family members, then the Producing Party shall provide

22   such further hit report. The Parties (including the person most knowledgeable about the

23   capabilities of the Producing Party’s ESI tool and the Requesting Party’s person most

24   knowledgeable about technical issues from its ESI service provider) shall meet and confer

25   regarding any disputes over whether the Producing Party’s ESI tool has the capability or not to

26   provider either number of family members or number of unique family members.

27          The Parties shall meet and confer to resolve disagreements over the search terms or their

28   application. To the extent the Parties are unable to reach agreement on the application of, or

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 1   procedures for, any search or filtering processes, the Parties shall fully comply with the

 2   provisions of this Court’s Discovery Standing Order regarding the procedure for raising discovery

 3   disputes with the Court, including the meet and confer and certification requirements therein.

 4          10.       TECHNOLOGY ASSISTED REVIEW (TAR)
 5          A Producing Party may use TAR (technology-assisted review) during the culling and

 6   review process of ESI, which may be applied in addition to search terms. If a Producing Party

 7   uses TAR to cull, filter out, or exclude documents from that Party’s production, that Producing

 8   Party shall do the following:

 9                   If a Producing Party chooses to apply both search terms and TAR to a review set,

10                    the Producing Party will disclose the search terms to all other Party/Parties.

11                   Disclose the name of the TAR tool or service used to all other Party/Parties.

12          11.       VALIDATION
13          Each Producing Party shall take reasonable steps to validate its review process (i.e., using

14   quality control measures to determine whether its production is missing relevant ESI or contains

15   substantial amounts of irrelevant ESI) and make any necessary adjustments or corrections to its

16   process. If, after reviewing a Producing Party’s production, a Requesting Party reasonably

17   requests additional information regarding the validation method(s) used by the Producing Party,

18   the Producing Party will disclose the level of end-to-end recall (the percentage of responsive

19   Documents in the collection which were identified as responsive by that Producing Party’s

20   methodology). If there remain disputes between the Parties regarding validation, the Parties shall

21   meet and confer to resolve such disputes in good faith, including a reasonable discussion

22   regarding the tool used and the parameters used to obtain or calculate the level of recall.

23          12.       UNSEARCHABLE DOCUMENTS
24          The Producing Party shall use reasonable efforts to identify and review potentially

25   responsive documents for which text-based search technologies are fundamentally ineffective.

26          13.       SYSTEM FILES
27          Each Party will use its best efforts to filter out common system files and application

28   executable files using the national software reference library (“NSRL”) NIST hash set list. The

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 1   Parties also may filter out stand-alone files identified as zero bytes in size. Additional culling of

 2   file types based on file header information may be applied to the following, provided these files

 3   are not known to be otherwise attached, embedded in, or included with an otherwise responsive

 4   document, or are not themselves reasonably known to contain information responsive or contain

 5   responsive data or are used to interface with users or interact with or access individual or

 6   aggregated user data: Application Package File, Backup Files, Batch Files, Binary Disc Image,

 7   C++ File Formats, Cascading Style Sheet, Configuration File, Database File, Dictionary Files,

 8   Dynamic Link Library, Event Log Files, Executable Files, Hypertext Cascading Stylesheet, Java

 9   Archive Files, JavaScript Files, JavaScript Source Code and Class Files, Macintosh Resource

10   Fork Files, Package Manager Files, Program Files, Program Installers, Python Script Files, Shell

11   Script Files, System or Temporary Files, Thumbnail Cache Files, Troff Files, Truetype Font Files,

12   Windows Cabinet File, Windows Command Files, Windows File Shortcut, Windows Help Files,

13   Windows Metafiles and Enhanced Metafiles, Windows Spool Files, Windows System File.

14          14.     DEDUPLICATION
15          Each Producing Party shall make reasonable efforts to globally deduplicate exact

16   duplicate Documents within that Producing Party’s ESI data set across all custodial and non-

17   custodial sources at the family level using either MD5 hash values or SHA hash values or any

18   other agreed-upon (and disclosed) industry-standard deduplication technology. The Parties shall

19   reach agreement on such other deduplication technology and shall reach agreement on how their

20   deduplication tools shall identify exact duplicates of documents in a manner that is consistent

21   with the disclosed tools and technologies a Producing Party is using. The Parties shall reach

22   agreement on how to identify exact duplicates of emails using industry-standard commercially

23   available software tools or services, which may for example calculate hash values of emails based

24   on concatenated values of agreed-upon email fields and/or hash values of attachments, or which

25   may use any other method the Parties agree upon. Having further met and conferred in keeping

26   with the previous sentence, the Parties shall calculate deduplication hash values for emails on the

27   concatenated values set forth in and in accordance with the documentation specifications of the

28   disclosed deduplication tools to be used in this Litigation (i.e., RelativityOne, Relativity Server,

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 1   and Nuix); however, if Nuix is used, the Producing Party shall select the optional field “Include

 2   Bcc” as an additional field to add to the default ones.

 3          The Parties shall not withhold from production near-duplicates without meeting and

 4   conferring on this issue.

 5          The names of all custodians who were either identified as custodians for purposes of

 6   collection for this matter (or otherwise known by the Producing Party to have been in possession

 7   or custody of a document prior to deduplication) will be populated in the ALL CUSTODIANS

 8   metadata field for the produced version of a document that has duplicates removed from

 9   production. The original file paths (if any exist) of a document prior to deduplication will be

10   populated in the ALL FILE PATHS metadata field of the produced document.

11          15.     EMAIL THREADING
12          The Parties may use analytics technology to identify email threads and shall produce the

13   unique most inclusive copy and related family members. Where multiple email messages are part

14   of a single chain or “thread,” a Party is only required to produce the most inclusive copy of an

15   email message(s) (“Last In Time Email(s)”) and need not produce earlier, lesser inclusive email

16   messages or “thread members,” provided that the tool or software service being used to perform

17   threading is disclosed. A Producing Party may exclude from production lesser inclusive copies of

18   the most inclusive email message in the thread, where the entire body of each of those lesser

19   inclusive copies is included within the Last in Time Email. The Producing Party will honor

20   reasonable requests to produce lesser inclusive copies of a Last In Time Email or other earlier

21   chains of emails otherwise excluded by email thread suppression.

22          The Parties shall treat new or different email chains or threads pursuant to further

23   agreement on safeguards or guidelines for defining emails threads which reasonably take into

24   account the capabilities of the email threading/dethreading/hyperthreading tools used by each

25   Defendant (which shall be disclosed to Plaintiffs).

26          16.     SOURCE CODE
27          The Parties will meet and confer to address the production and/or inspection of source

28   code and entering into a separate order governing the same if needed.

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 1          17.      PRODUCTION FORMATS

 2          The Parties agree to produce documents and data in the formats described in Appendix 1

 3   to this ESI Order. If particular documents or categories of documents identified in response to

 4   document requests warrant a different format, the Parties will cooperate to arrange for the

 5   mutually acceptable production of such documents. The Parties further agree not to degrade the

 6   searchability of documents as part of the document production process.

 7          In addition, the Parties agree that the production and production format of social media

 8   and/or user account information is not covered by this agreement and to meet and confer on the

 9   production and production format, including metadata, for social media and/or user account

10   information.

11          18.      PHASING

12          Once the Parties begin propounding discovery requests pursuant to Fed. R. Civ. P. 34, the

13   Parties agree to meet and confer regarding appropriate phasing for the production of ESI.

14          19.      MISCELLANEOUS PROVISIONS

15          a) Production of Plaintiffs ESI and Case-Specific Materials. Subject to any further

16                agreement among the Parties or Order of the Court, the Parties shall produce case-

17                specific documents (i.e., documents specific to the claim of a given Plaintiff, produced

18                by Plaintiffs or Defendants) for any Plaintiff in discovery pools or other selections

19                designed to inform bellwether selection, including those selected for a bellwether trial,

20                in accordance with the production format specified herein, provided, however, that the

21                Producing Party may elect to produce such materials in their native format. To the

22                extent production of case-specific documents for any Plaintiff selected for a bellwether

23                trial presents an issue for any Party, the Parties shall reasonably confer, and may

24                present any disputes to the Court or its designee. The Parties shall further agree to

25                confer concerning the production format and associated matters (e.g., hosting

26                platform) for case-specific documents produced in the cases of other Plaintiffs.

27                Nothing herein shall limit Defendant’s right to seek discovery from any Plaintiff.

28          b) Translations Of Produced Materials. The Producing Party has no obligation to

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 1             create a translation of the Documents or any portion thereof. For any foreign-language

 2             documents responsive to document requests that a Party reasonably knows as the

 3             result of a reasonable investigation have been translated into the English language

 4             using human translators or through machine translation for its own purposes, except to

 5             the extent such translation is protected by attorney-client or work-product privileges,

 6             the Producing Party shall produce the translation of the original document with the

 7             original. The parties will meet and confer as necessary concerning procedures for

 8             using translations at depositions and at trial. In the event the Parties cannot reach

 9             agreement, the matter may be submitted to the Court for determination.

10          c) Third-Party Documents. A Party that issues a Non-Party subpoena (“Issuing Party”)

11             shall include a copy of this Order with the subpoena and state that (1) the subpoenaed

12             Non-Party should produce Documents in response to the subpoena to all Parties; and

13             (2) the Parties to this Litigation have requested that Third Parties produce Documents

14             in accordance with the specifications set forth herein. If the subpoenaed Non-Party

15             produces Documents to the Issuing Party but does not produce those Documents to

16             other Parties, the Issuing Party shall produce such Documents to those other Parties

17             within 14 days of receiving the Documents, except where the Documents are to be

18             used in a deposition, in which case the Issuing Party shall produce such Documents to

19             all other Parties no later than three (3) days prior to the deposition, or as soon as

20             reasonably practicable if such production occurs thereafter. Nothing in this Order is

21             intended or may be interpreted to narrow, expand, or otherwise affect the rights of the

22             Parties or Third Parties to object to a subpoena. If the Non-Party production is not

23             Bates-stamped, the Parties will meet and confer to agree upon a format for designating

24             the documents with a unique Bates Number prefix.

25          d) Documents Produced by Parties – Presumption of Authenticity. In order to reduce

26             the number of requests for admission, this Order establishes a rebuttable presumption

27             that documents produced by the Parties are authentic, if said documents were either

28             created or authored by the producing Party, or any of its employees, agents, or

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 1             contractors, so long as the employees’, agents’, or contractors’ work was performed in

 2             connection with a project or assignment sponsored by the producing Party. No further

 3             evidence to establish authenticity need be provided. Nothing in this paragraph shall be

 4             deemed to waive any other evidentiary objection a party may have, including but not

 5             limited to hearsay, foundation/personal knowledge, or relevance.

 6          e) Re-productions. Notwithstanding any provisions to the contrary, re-production of

 7             discrete sets of documents from another litigation, arbitration, government inquiry, or

 8             other matter may be re-produced in the same manner and form as originally produced

 9             in the other matter, provided however that a party will re-produce documents in a

10             different format for good cause shown. This provision does not waive the right of a

11             party to object to any requests for reproduction of production files from another

12             litigation, arbitration, government inquiry, or other matter.

13          f) Modification. This ESI Order may be modified by a Stipulated Order of the Parties

14             or by the Court for good cause shown.

15          g) Good Faith. The Parties will act in good faith as required by law and use these

16             procedures to identify and reduce the potential for disputes.

17          h) Continuing Obligations. The Parties recognize that discovery shall be an iterative

18             and cooperative process. The Parties will continue to meet and confer regarding any

19             issues as reasonably necessary and appropriate. This Order does not address or resolve

20             any objections to the Parties’ respective discovery requests.

21          i) Reservation of Rights. The Parties agree that any topic not addressed herein is

22             neither a waiver nor acknowledgement of agreement by either Party.

23          IT IS SO STIPULATED, through Counsel of Record.

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     STIP. & [PROPOSED] ORDER GOVERNING THE
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     STIP. & [PROPOSED] ORDER GOVERNING THE
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14            IT IS ORDERED that the foregoing Agreement is approved.
15

16
     Dated:         March 18, 2024
17                                             MAGISTRATE JUDGE PETER H. KANG
18

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 1                              APPENDIX 1: PRODUCTION FORMAT

 2      1) Production Components. Except as otherwise provided below, ESI must be produced

 3          in accordance with the following specifications:

 4               a) an ASCII delimited data file (.DAT) using standard delimiters;

 5               b) an image load file (.OPT) that can be loaded into commercially acceptable

 6                  production software (e.g. Concordance);

 7               c) single page black-and-white TIFF images, or JPEG images when color is

 8                  specified herein, or native files with single page placeholder TIFF images

 9                  depending on the applicable production format for each type of file;

10               d) and document level .TXT files for all documents containing extracted full text or

11                  OCR text.

12               e) Family relationships between emails and their attachments, embedded files and

13                  their source document, and connected hardcopy documents will be maintained in

14                  production. Attachments should be consecutively produced with their parent.

15               f) If a particular document warrants a different production format, the Parties will

16                  cooperate in good faith to arrange for a mutually acceptable production format.

17          2)      Production Media and Access Controls. Productions must be encrypted and

18   produced through secure electronic means, such as secure file sharing methods (e.g. FTP), or on

19   CD, DVD, flash drive or external hard drive (“Production Media”). Each piece of Production

20   Media must identify a production number corresponding to the production volume (e.g.

21   “VOL001”). Each piece of Production Media must also identify: (a) the case caption; (b) the

22   following label: “This media contains material subject to Court Ordered security measures”; (c)

23   the Producing Party’s name; (d) the production date; (e) the Bates Number range of the

24   materials contained on the Production Media.

25          Nothing in this ESI Order will preclude or impair any and all protections provided the

26   Parties by any Protective Order(s) agreed and entered into by the Parties. Parties will use best

27   efforts to avoid the unnecessary copying or transmittal of produced documents. If questions arise,

28   the Parties will meet and confer to ensure security concerns are addressed prior to the exchange of

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 1
     any documents.
 2
            3)      Data Load Files/Image Load Files. Each TIFF in a production must be
 3
     referenced in the corresponding image load file. The total number of documents referenced in a
 4
     production’s data load file should match the total number of designated document breaks in the
 5
     image load file(s) in the production. The total number of pages referenced in a production’s
 6
     image load file should match the total number of TIFF files in the production. All images must
 7
     be assigned a unique Bates number that is sequential within a given document and across the
 8
     production sets. The Bates Numbers in the image load file must match the corresponding
 9
     documents’ beginning Bates numbers in the data load file. The total number of documents in a
10
     production should match the total number of records in the data load file. Load files must not
11
     vary in format or structure within a production, or from one production to another except by
12
     agreement of the Parties.
13
            4)      Metadata Fields. Each of the metadata and coding fields set forth below that can
14
     be extracted should be produced for each document, except that if the field contains privileged
15
     information, that privileged information may be redacted. However, to the extent that metadata
16
     does not exist, is not available for any documents produced, this provision shall not be read to
17
     require any Party to extract, capture, collect, manually populate, or produce such metadata, with
18
     the exception of the following: (a) BEGBATES, (b) ENDBATES, (c) BEGATTACH, (d)
19
     ENDATTACH, (e) PRODVOL, (f) ALL CUSTODIANS, (g) CONFIDENTIALITY, (h)
20
     REDACTIONS, (i) REDACTION TYPE, (j) HASHVALUE, (k) NATIVEFILEPATH, and (l)
21
     TEXTFILEPATH, which should be populated by the Party or the Party’s vendor. The Parties
22
     will make reasonable efforts to ensure that metadata fields automatically extracted from the
23
     documents correspond directly to the information that exists in the original documents.
24

25     Field Name                                        Field Description

26                                                       Beginning Bates number for a particular
       BEGBATES                                          document as stamped on the first production
27                                                       image for that document

28     ENDBATES                                          Ending Bates number as stamped on the last

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 1
       Field Name                                Field Description
 2
                                                 production image for a particular document
 3
                                                 First production Bates number of the first
       BEGATTACH
 4                                               document in a family

 5                                               Last production Bates number of the last
       ENDATTACH
                                                 document in a family
 6
                                                 Number of attachments to an e-mail or
 7                                               embedded parent, as generated by
       ATTACHCOUNT
                                                 commercially available discovery processing
 8
                                                 tools.
 9
                                                 Names of each individual Attachment,
       ATTACHNAMES
10                                               separated by semicolons.

11     PRODVOL                                   Production volume

12                                               List of all custodians associated with
       ALLCUSTODIANS                             Document, i.e. “Custodian” + “Other
13                                               Custodian” values delimited by semicolon.

14                                               All original path(s) to the individual source
                                                 file(s) when available in the ordinary course
15                                               of business to and processable by the parties
       ALLFILEPATHS
                                                 and their ESI vendors of choice. Includes path
16                                               up to and including internal path of
17                                               containers.

18                                               Confidentiality designation assigned to the
       CONFIDENTIALITY                           document consistent with the Stipulated
19                                               Protective Order governing this Litigation
20     NATIVEFILEPATH                            Native File Link (Native Files only)
21                                               Path to extracted text/OCR file for the
       TEXTFILEPATH
                                                 document
22
       HASHVALUE                                 MD5 hash value of the document
23
                                                 Descriptor for the type of document: “E-
24
                                                 document” for electronic documents not
25                                               attached to e-mails; “E-mail” for all e-mails;
      DOCUMENT TYPE                              “E-attachment” for files that were attachments
26                                               to e-mails; and “Physical” for hard copy
                                                 physical documents that have been scanned
27                                               and converted to an electronic image.
28    AUTHOR                                     Any value populated in the Author field of the
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 1
       Field Name                                Field Description
 2
                                                 document properties
 3
                                                 Date the document was created according to
 4    DOCDATE                                    filesystem information (format:
                                                 MM/DD/YYYY)
 5
                                                 Date when document was last modified
 6    DATELASTMODIFIED                           according to filesystem information (format:
                                                 MM/DD/YYYY)
 7
                                                 Last person who modified (saved) a
 8
      LAST MODIFIED BY                           document, as generated by commercially
 9                                               available discovery processing tools.

10                                               Y if a document with track changes value,
      TRACK CHANGES                              otherwise N or empty, if available separately
11                                               from the HASHIDDENDATA flag

12                                               Y if a document with comments, otherwise N
      COMMENTS                                   or empty, if available separately from the
13                                               HASHIDDENDATA flag
                                                 Y if a document with hidden content value,
14    HASHIDDENDATA                              otherwise N or empty
15
      FILENAME                                   Filename of an electronic document
16
                                                 Any value populated in the Title field of the
      TITLE
17                                               document properties

18                                               File extension of document pulled from the
      DOCEXT
                                                 document properties
19
      FROM                                       The sender of the email
20
                                                 All recipients that were included on the “To”
21    TO
                                                 line of the email
22                                               All recipients that were included on the “CC”
      CC
                                                 line of the email
23
                                                 All recipients that were included on the
24    BCC
                                                 “BCC” line of the email
25
                                                 Date and time email was received (format:
      DATETIMERECEIVED
26                                               MM/DD/YYYY HH:MM)

27                                               Date and time email was sent (format:
      DATETIMESENT
                                                 MM/DD/YYYY HH:MM)
28

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 1
         Field Name                                                 Field Description
 2
         TIMEZONE                                                   The timezone used to process the document
 3
                                                                    Subject line of email pulled from the
         EMAILSUBJECT
 4                                                                  document properties

 5                                                                  If a threading tool is used for emails, the
         THREADID
                                                                    thread id generated by the threading tool.
 6
                                                                    General category of redaction reason as
 7                                                                  agreed to by the parties. For example, PII,
         REDACTION TYPE1
                                                                    SCA, CODE, and/or PRIV. If more than one,
 8
                                                                    separate reasons by semicolons.
 9
                                                                    Y if a document is redacted, otherwise N or
         REDACTIONS
10                                                                  empty

11            5)       TIFFs. Unless excepted below, single page, black and white, Group IV TIFFs
12   should be provided, at least 300 dots per inch (dpi) for all documents. Each TIFF image must be
13   named according to a unique corresponding Bates number associated with the document. Each
14   image must be branded according to the Bates number and the agreed upon confidentiality
15   designation. Original document orientation should be maintained (i.e., portrait to portrait and
16   landscape to landscape). Where the TIFF image is unreadable or has materially degraded the
17   quality of the original, the Producing Party shall provide a higher quality TIFF image or the
18   native or original file. In addition, the Parties shall take reasonable efforts to process word
19   processing documents (e.g., MS Word) with track changes and/or comments unhidden on the
20   TIFF image.
21            6)       Color. Word processing documents containing tracked changes shall be
22   produced in color, as single-page, 300 dpi JPG images with JPG compression and a high quality
23   setting as to not degrade the original image. The Producing Party shall comply with good faith
24   by the Requesting Party to provide replacement color images for documents originally produced
25   in black and white. A Party making such a request shall make the request by individual Bates
26
     1
       The Parties will provide specific information on any privilege(s) asserted in their privilege logs, in an overlay, or the
27   redaction boxes. The “Redaction Reason” field is informational only for redaction type and shall not in any way limit
     a party’s right to assert attorney-client privilege, attorney-work product privilege, and/or any other applicable privilege
28   or protection.

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     PRODUCTION OF ESI & HARD COPY DOCUMENTS                   -5-                    3:22-MD-03047-YGR; MDL NO. 3047
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 1
     number(s) and shall limit requests made pursuant to this paragraph to a reasonable number of
 2
     documents.
 3
            7)      Text Files. A single multi-page text file must be provided for each document,
 4
     and the filename should match its respective TIFF filename for the first page of that document.
 5
     Extracted text shall be generated with commercially acceptable technology set to include all
 6
     comments, revisions, tracked changes, speaker’s notes and text from documents with comments
 7
     or tracked changes, and hidden and very hidden worksheets, slides, columns and rows. When
 8
     possible, the text of native files should be extracted directly from the native file. Parties will
 9
     perform optical character recognition (“OCR”) on foreign language documents using the
10
     appropriate settings for languages reasonably anticipated to be in the production following a
11
     meet and confer with the Requesting Party to identify those languages. Text files will not
12
     contain the redacted portions of the documents. A commercially acceptable technology for OCR
13
     should be used for all scanned, hard copy documents and for documents with redactions other
14
     than Excel files and other spreadsheets which shall be redacted in native format. Text extracted
15
     from emails should include the following header information where available: (1) the
16
     individuals to whom the communication was directed (“To”), (2) the author of the email
17
     communication (“From”), (3) who was copied and blind copied on such email (“CC” and
18
     “BCC”), (4) the subject line of the email (“RE” or “Subject”), and (5) the date and time of the
19
     email. To the extent the text extraction technology the Parties are using can be configured to
20
     include the text of any URLs or links, the Parties shall utilize that setting.
21
            8)      Native files. Spreadsheets (e.g. MS Excel), and un-redacted presentations (e.g.
22
     Microsoft PowerPoint,) will be produced in native format to the extent that they are produced in
23
     this Litigation, audio, video, and multi-media files will be produced in native format. The
24
     Parties will meet and confer on the production of other file types, such as proprietary files, etc.
25
     Native files will be produced with a link in the NATIVEFILEPATH field, along with extracted
26
     text (where extracted text is available) and applicable metadata fields set forth in paragraph 4
27
     above. A Bates numbered TIFF placeholder indicating that the document was provided in native
28
     format must accompany every native file. Where redaction makes production of native-format
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 1
     files other than spreadsheets or presentations infeasible, the Parties will confer to determine a
 2
     reasonably usable form for the production, but spreadsheets shall presumptively be redacted in
 3
     native, and presentations presumptively redacted in image form, in these cases without the need
 4
     for further conferring.
 5
            9)      Production Format for Hard Copy Documents. Documents that exist in
 6
     hardcopy will be scanned to *.tiff image format and produced in accordance with the
 7
     specifications set forth herein. Hard copy documents that are not text-searchable shall be made
 8
     searchable by OCR prior to production. In scanning paper documents, distinct documents
 9
     should not be merged into a single record, and single documents should not be split into
10
     multiple records (i.e., paper documents should be logically unitized). In the case of an organized
11
     compilation of separate documents (for example, a binder containing several separate
12
     documents behind numbered tabs), the document behind each tab should be scanned separately,
13
     but the relationship among the documents in the compilation should be reflected in the proper
14
     coding of the beginning and ending document and attachment fields. The Parties will make their
15
     best efforts to unitize the documents correctly. If relevant documents are maintained in a file,
16
     folder, envelope, binder, notebook or similar container used to store documents, all contents
17
     therein shall be reviewed for production and privilege. Document pages which have affixed
18
     notes, such as Post-it notes, should be imaged with and without the note attached.
19
            10)     Confidentiality Designation. All images will be stamped with the appropriate
20
     confidentiality designations in accordance with the Stipulated Protective Order entered in this
21
     Litigation. Each document produced in native format will have its confidentiality designation
22
     identified in the filename of the native file and indicated on its corresponding TIFF placeholder.
23
            11)     Bates Numbering. Bates numbering should be a consistent length across the
24
     production, contain no special characters, and be numerically sequential within a given
25
     document. If a Bates number or set of Bates numbers is skipped, the skipped number or set of
26
     numbers should be noted with a placeholder. Attachments to documents will be assigned Bates
27
     numbers that directly follow the Bates numbers on the documents to which they were attached.
28

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 1
     In addition, wherever possible, each image will have its assigned Bates number electronically
 2
     “burned” onto the image.
 3
            12)     Databases and Other Structured Data. To the extent that responsive
 4
     information is stored in a database, or database management system, or proprietary system or
 5
     application which has is directed to data storage as one of its primary functions, the Producing
 6
     Party will identify the database and platform to the Requesting Party. The Producing Party shall
 7
     produce exports and reports about such responsive information stored in such database, where
 8
     such exports and reports shall be in a reasonably usable form, and information may be produced
 9
     in CSV format, tab-delimited text format, Microsoft Excel format, or Microsoft Access format.
10
     If there are future disputes over the production of information from a database, the Parties shall
11
     meet and confer in good faith in an attempt to reach any further agreements (if needed) on the
12
     data to be produced and the format and scope of the production. The Producing Party will
13
     provide reasonable amounts of information about the databases to facilitate that discussion.
14
            13)     Hyperlinks. Document(s) and/or folder(s) of documents that are hyperlinked
15
     inside a responsive document (including hyperlinked inside emails) within a Producing Party’s
16
     custody, possession, or control, do not need to be produced in the first instance as part of the
17
     same family group as the Document residing at the location to which that hyperlink points. If
18
     there are particular hyperlinks identified by the Requesting Party in produced documents, the
19
     Requesting Party may submit a list of hyperlinks to a particular Producing Party for potentially
20
     relevant documents by identifying the Bates number and URL or link text for each requested
21
     link to the Producing Party, and the Producing Party will engage in reasonable efforts to locate
22
     the hyperlinked document at that location and either identify it by Bates number or provide any
23
     responsive, non-produced, and non-privileged documents. The number of hyperlinks a
24
     Requesting Party may identify to a Producing Party shall not be excessive and shall be
25
     reasonable, proportional to the needs of the case, and not unduly burdensome.
26
            14)     Embedded Objects. The Parties agree non-substantive embedded objects,
27
     including, but not limited to, logos, icons, emoticons, and footers, may be culled from a
28
     document set (but not a document) and need not be produced as separate documents by a
     STIP. & [PROPOSED] ORDER GOVERNING THE
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 1
     Producing Party (i.e., such embedded objects will be produced within the document itself, rather
 2
     than as separate documents). Embedded files, except for images (including but not limited to,
 3
     logos, icons, emoticons), are to be produced as family groups. Embedded files should be
 4
     assigned Bates numbers that directly follow the Bates numbers on the documents within which
 5
     they are embedded.
 6
            15)     Production of Family Groups and Relationships. If any member of a family
 7
     group is produced, all members of that group must also be produced or else logged as
 8
     privileged, and no such member shall be withheld from production as a duplicate.
 9
            16)     Dynamic Fields. Documents with dynamic fields for file names, dates, and
10
     times will be imaged to show the field code (e.g., “[FILENAME]”) where possible, rather than
11
     the values for such fields existing at the time the file is processed.
12
            17)     Time Zone. The time zone used to process a document, including its metadata,
13
     shall be disclosed in the TIMEZONE metadata field consistent with Appendix 1, and shall be
14
     standardized for each Defendant across productions.
15
            18)     Redactions.
16
            a)      A Producing Party may redact (i) information subject to the attorney client
17
     privilege or the work product protection (PRIV); (ii) information that cannot be disclosed
18
     pursuant to the Stored Communications Act (SCA); (iii) source code subject to separate
19
     agreement applicable to production of source code (CODE); (iv) personal identifying
20
     information (PII) including phone numbers, personal addresses, personal email addresses, the
21
     month and day of birth, driver’s license numbers, and other PII agreed to by the Parties (for
22
     example, the Parties shall complete their meet and confer on whether or not to redact users’ ages
23
     and years of birth). In any event, there shall be no redaction of illnesses, injuries, and medical
24
     diagnoses. To the extent a document or pleading contains PII, the Parties shall designate such
25
     documents at the appropriate Confidentiality level under the Protective Order and shall comply
26
     with Fed. R. Civ. P. 5.2 with regard to filings with the Court.
27
            b)      No redactions for relevance may be made within a produced document or ESI
28
     item. If, during the course of discovery, the Parties identify other kinds of information that any
     STIP. & [PROPOSED] ORDER GOVERNING THE
     PRODUCTION OF ESI & HARD COPY DOCUMENTS           -9-                3:22-MD-03047-YGR; MDL NO. 3047
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 1
     Party has a reasonable basis for redacting, the Parties will meet and confer on a case-by-case
 2
     basis regarding that information before such redactions are made. If the Parties cannot agree,
 3
     they may seek resolution from the Court.
 4
            c)      The Producing Party will indicate, on the face of the redaction, the asserted
 5
     reason(s) for the redaction (PII, SCA, CODE, and/or PRIV) and the REDACTION TYPE
 6
     metadata field shall indicate that the document contains redactions and the reason(s) for the
 7
     redaction.
 8
            d)      Notwithstanding the foregoing, this provision shall not be read to prohibit
 9
     redactions permitted under any applicable U.S. law or Protective Order.
10
            e)      Where a responsive document contains both redacted and non-redacted content,
11
     the Parties shall produce the non-redacted portions of the document and the OCR text
12
     corresponding to the non-redacted portions.
13
            f)      Native Redactions. Spreadsheet files requiring redaction, including without
14
     limitation Microsoft Excel files, shall be redacted and produced natively (unless the Parties
15
     agree to production in some other format). In addition, a Producing Party may natively redact
16
     other files that cannot be properly imaged for redaction.
17
            g)      All images of redacted files shall be processed to show all comments, revision
18
     marks, speaker notes, marks made in track changes, or other user-entered data which are visible
19
     in a normal view of the document in its native application, unless such material is redacted and
20
     marked as redacted in accordance with this section. Where possible, any occurrences of
21
     date/time auto‐field items, including in headers and footers, will be removed and replaced with
22
     the term AUTODATE to prevent the current date from being printed. Email header information
23
     (e.g., date and/or subject line) shall not be redacted unless it is independently privileged. The
24
     Parties shall honor reasonable requests for the production of particular redacted documents in
25
     other formats where the image is not reasonably usable.
26
            h)      Color. Redacted versions of documents that would have been produced in color
27
     in their un-redacted form shall be produced in color as detailed herein.
28

     STIP. & [PROPOSED] ORDER GOVERNING THE
     PRODUCTION OF ESI & HARD COPY DOCUMENTS         - 10 -             3:22-MD-03047-YGR; MDL NO. 3047
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 1
            19)     Exception Files. The Parties will use reasonable efforts to address processing
 2
     exceptions.
 3
            20)     Mobile and Handheld Device Documents and Data. If responsive and unique
 4
     data that can reasonably be extracted and produced in the formats described herein is identified
 5
     on a mobile or handheld device, that data shall be produced in accordance with the generic
 6
     provisions of this protocol. To the extent that responsive data identified on a mobile or handheld
 7
     device is not susceptible to normal production protocols, the Parties will meet and confer to
 8
     address the identification, production, and production format of any responsive documents and
 9
     data contained on any mobile or handheld device.
10

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     STIP. & [PROPOSED] ORDER GOVERNING THE
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DELIVERED VIA PROCESS SERVER                                      July 17, 2024

Kentucky Department of Education
300 Sower Blvd.
5th Floor
Frankfort, KY 40601


       Re: People of the State of California v. Meta Platforms, Inc.,
             4:23-cv-05448

Dar Sir/Madam:

Enclosed please find a subpoena being served upon you in connection with the above-captioned
litigation currently pending in the U.S. District Court for the Northern District of California. I
represent Defendants Meta Platforms, Inc.; Instagram, LLC, Meta Payments, Inc., Meta Platforms
Technologies, LC and Mark Zuckerberg (collectively, the “Meta Defendants”) in this matter.

The document subpoena requests the production of specific documents identified in the attached
subpoena (see Attachment A to the subpoena), which are requested to be produced by 10 am on
August 19, 2024. We are willing to work with you on the time, date, location, method and manner
of document production, as well as answer any questions or concerns you may have regarding
subpoena compliance. It is sufficient compliance with this subpoena if you electronically transmit
a copy of the requested documents to the undersigned. As such, please contact me at
cyeung@cov.com and 212-841-1262, to discuss document production and subpoena compliance,
unless you are already represented by counsel in connection with this matter.

The Court is currently considering whether the Kentucky Attorney General’s Office has control
over Kentucky Department of Education’s information for the purposes of discovery in this
action. If the Court rules that the Kentucky Attorney General’s Office has control over the
Kentucky Department of Education’s information, the Kentucky Attorney General has pending
discovery requests that seek this agency’s documents. By serving this subpoena, Meta does not
waive its position in the state agency dispute, nor does Meta in any way waive rights to compel
the Kentucky Attorney General to produce Kentucky Department of Education information as
part of discovery in this action. However, to avoid further delay in the production of information
from the Kentucky Department of Education, Meta is serving the attached subpoena to request
the timely production of this information.

Your anticipated time and assistance with this matter is greatly appreciated.
  Case 4:23-cv-05448-YGR           Document 116-3    Filed 07/24/24   Page 273 of 439




Kentucky Department of Education
July 17, 2024
Page 2


                                                             Best regards,

                                                             /s/ Christopher Y. L. Yeung

                                                             Christopher Y. L. Yeung



Enclosed: Subpoena, Attachment A, and Attachment B
             Case 4:23-cv-05448-YGR                         Document 116-3                 Filed 07/24/24              Page 274 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Northern District
                                                        __________  DistrictofofCalifornia
                                                                                 __________
              People of the State of California, et al.
                                                                                  )
                               Plaintiff                                          )
                                   v.                                             )    Civil Action No.          4:23­cv­05448
                  Meta Platforms, Inc., et al.                                    )
                                                                                  )
                              Defendant                                           )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Kentucky Department of Education
        300 Sower Blvd., 5th Floor, Frankfort, KY 40601
                                                        (Name of person to whom this subpoena is directed)

     ✔
     ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A.



 Place: Kentucky Reporters                                                              Date and Time:
           730 W. Main Street, Suite 101                                                            10 a.m. on August 19, 2024
           Louisville, KY 40202
     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2024

                                   CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Ashley Simonsen
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Meta Platforms, Inc. f/k/a Facebook, Inc.; Instagram, LLC, Meta Payments, Inc.,
Meta Platforms Technologies, LLC; and Mark Zuckerberg,                                    who issues or requests this subpoena, are:
Ashley Simonsen, Covington & Burling LLP, 1999 Avenue of the Stars, Los Angeles, CA 90067, 424­332­4782, asimonsen@cov.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 4:23-cv-01615

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
              Case 4:23-cv-05448-YGR                          Document 116-3                  Filed 07/24/24               Page 276 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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               DEFINITIONS AND INSTRUCTIONS TO ATTACHMENT A

                                          DEFINITIONS

        1.      The term “communication” means the transmittal of information (in the form of

facts, ideas, inquiries or otherwise).

        2.      “Document” or “documents” shall have the broadest meaning ascribed to it by the

Federal Rules of Civil Procedure, and includes, without limitation electronically stored

information (“ESI”) (including, without limitation, electronic databases and the data therein, all

electronic messages or communications, electronic word processing documents, electronically

stored voicemail, webpages, and social media posts) in accordance with any order in this case

governing ESI at the time of production. Different versions of the same documents, including, but

not limited to, drafts or documents with handwritten notations or marks not found in the original

or on other copies are different documents.

        3.      “You”, “you”, “Your” and “your” means the Kentucky Department of Education.

        4.      “Relating” or “related to” means and includes referring to, concerning, referencing,

mentioning, associated with, constituting, discussing, containing, embodying, recording,

reflecting, identifying, summarizing, incorporating, and/or dealing with or pertaining to in any

way.

        5.      “And” includes “or”, and vice versa.

        6.      The singular form of a word or term includes the plural, and vice versa.

        7.      The present tense of a verb includes the past tense, and vice versa.

        8.      The use of the article “the” shall not be construed as limiting the scope of any

request.

        9.      “Including” means “including without limitation.”

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       10.     “Any” includes “all”, and vice versa.

       11.     The capitalized version of a word or term includes the lower case version of a word

or term, and vice versa.

       12.     “Social Media Platforms” or “Platforms” means a digital service that facilitates

interactions between two or more distinct but interdependent sets of users, including but not limited

to Facebook, Instagram, Snapchat, TikTok, YouTube, Twitter (or “X”), Pinterest, LinkedIn,

BeReal, Lapse, Reddit, Threads, VSCO, Goodreads, Quora, Discord, Twitch, and Tumblr.

       13.     “Young Users” means users of Social Platforms who are under 18 years of age

when using the Platform(s).

       All words, terms, and phrases not specifically defined herein are to be given their normal

and customary meaning in the context in which they are used in these Requests.

                                        INSTRUCTIONS

       1.      These Requests are intended to cover any and all documents in your possession,

custody, or control, to the extent not privileged. Documents held by any office, department, board,

commission, or instrumentality of the Kentucky Department of Education are within your

possession, custody, or control.

       2.      In accordance with ESI Protocol attached hereto as Attachment B, if you object to

furnishing any of the documents or information requested by these Requests on the grounds of

attorney-client privilege, work product, other privilege, or otherwise then, with respect to each

such document:

               a. state the nature of the privilege claimed;
               b. state the date of each communication supporting the privilege claim;

               c. identify all participants in the supporting communication;

               d. state the specific grounds on which the objection is based; and
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                e. identify the specific request calling for such information;

        2.      If you object to any Request on the grounds that it is vague or ambiguous, state: (i)

the portions or terms of such Request that you claim to be vague or ambiguous; and (ii) the

interpretation of the Request pursuant to which you provide a response.

        3.      Each request shall be deemed continuing, so as to require supplemental or

mandatory responses should you obtain additional responsive information subsequent to your

initial responses.

        4.      If you cannot fully respond to a particular Request after exercising due diligence to

make inquiry and to secure the necessary information, provide a response to the extent possible,

specifying your inability to respond to the remainder and providing whatever information or

knowledge you have concerning the portion not responded to.

        5.      Each page of a produced document shall have a legible, unique page identifier

(“Bates Number”) and confidentiality legend (where applicable) on the face of the image at a

location that does not obliterate, conceal, or interfere with any information from the source

document. Redactions should be clearly marked or stamped on the page in such a way that it is

clear from review that a portion of the image has been redacted.

        6.      All responsive and non-privileged electronic documents shall be produced in the

format ordered by the Court in its ESI order.

        7.      All responsive electronic documents shall be produced in a format agreed upon by

the parties, to include at least native versions of Excel spreadsheets and presentation files, with a

Bates-stamped placeholder image.

        8.      Unless otherwise specified, the time period for these Requests is January 1, 2012

to the date of production of the Documents.




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                                      ATTACHMENT A

   1. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
      mental, social, emotional, or behavioral health of persons ages 13 to 18.

   2. Programs, initiatives, efforts, or actions proposed or taken by the Kentucky Department of
      Education to encourage or promote the use of Social Media Platforms.

   3. Programs, initiatives, efforts, or actions proposed or taken by Kentucky Department of
      Education to address Young Users’ use of Social Media Platforms, including any program,
      initiative, effort, or action to prevent, limit, encourage, or promote the use of Social Media
      Platforms by Young Users.

   4. Studies, programs, initiatives, efforts, or actions proposed or taken by the Kentucky
      Department of Education that sought to provide or promote internet access or phones,
      computers, tablets, or other electronic devices to Young Users.

   5. Policies proposed, recommended, or enacted by the Kentucky Department of Education
      regarding screen time and acceptable use of cell phones, computers, tablets, or other
      electronic devices by Young Users.

   6. Complaints to the Kentucky Department of Education by teachers regarding social media
      or cell phone use by Young Users and/or the need for acceptable use or other policies to
      address Young Users’ use of social media or cell phones.

   7. Complaints to the Kentucky Department of Education by teachers or school districts
      regarding budget crises from inflation, underfunding, unfunded mandates, and other
      causes.

   8. Documents related to state assessment in Kentucky, including reports and analyses
      regarding the history of K-12 state assessment or standardized testing scores,
      performance by schools and/or school districts, and any other measures of school
      performance.

   9. Kentucky Department of Education’s communications and/or collaboration with any
      Social Media Platform on any program, initiative or other action related to, or directed at,
      Young Users.

   10. Kentucky Department of Education’s communications with any third party related to
       Young Users and/or Social Media Platforms.

   11. Policies, procedures, and practices applicable to Kentucky Department of Education and
       Kentucky Department of Education employees regarding the use of Social Media
       Platforms, including any changes to these policies during the Relevant Period.



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   12. Legislation or policies proposed by, proposed on behalf of, or testified on by the Kentucky
       Department of Education, regardless of whether such legislation or policies were enacted,
       regarding Young Users’ use of Social Media Platforms.

   13. Research, investigations, studies, surveys, reports, evaluations, or analyses related to Social
       Media Platforms, including the importance of Social Media Platforms and the use of Social
       Media Platforms by Young Users and the potential benefits and harms created by the use
       of Social Media Platforms.

   14. Research, investigations, studies, surveys, reports, evaluations, or analyses related to Social
       Media Platforms regarding the impact of social media on the mental, social, emotional, or
       behavioral health of Young Users.

   15. Research, investigations, studies, surveys, reports, evaluations, or analyses related to:
          a. Features of Social Media Platforms that are psychologically or physically harmful
              to Young Users;
          b. Features of Social Media Platforms that promote compulsive, prolonged, or
              unhealthy use by Young Users;
          c. The impact of features of Social Media Platforms, including:
                 (1) Algorithmic recommendation and sequencing;
                 (2) Image filters;
                 (3) Use of multiple user accounts;
                 (4) Infinite scroll;
                 (5) Ephemeral content features;
                 (6) Autoplay;
                 (7) Quantification and display of likes; or
                 (8) Audiovisual and haptic alerts.

   16. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
       mental, social, emotional, or behavioral health of Young Users, including those related to
       the effects of:
           a. Social Media Platforms usage;
           b. Video games usage;
           c. Cell phone usage;
           d. Messaging usage;
           e. Usage of other electronics apart from usage of Social Media Platforms;
           f. COVID-19 and/or remote learning;
           g. Use of drugs or alcohol;
           h. The opioid and fentanyl epidemic;
           i. Poverty, homelessness, lack of health insurance, and/or food insecurity;
           j. Physical health including nutrition, exercise, weight management, sleeping habits,
               and sexual activity;
           k. Family trauma or deaths;
           l. Academic pressure;
           m. Violence, including school violence, domestic violence, gun violence, gun control
               and/or mass shootings;

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           n.   Bullying or verbal abuse apart from usage of Social Media Platforms;
           o.   Political polarization;
           p.   Natural disasters;
           q.   Climate change;
           r.   Discrimination and inequity;
           s.   Global warfare and conflict; and
           t.   Any other potential causes of harms to the mental, social, emotional, or behavioral
                health of Young Users.

   17. Youth Risk Behavior Surveys conducted by the Kentucky Department of Education or on
       its behalf.

   18. Public or non-public meetings held by the Kentucky Department of Education related to
       Social Media Platforms and use of Social Media Platforms by Young Users, including
       notices, meeting notes, PowerPoint presentations, internal memoranda, summaries,
       personal notes, or attendee lists.

   19. Mental, social, emotional, or behavioral health services provided by the Kentucky
       Department of Education to Young Users during the Relevant Period.

   20. Budgeted and actual expenditures by the Kentucky Department of Education during the
       Relevant Period related to Young Users’ use of Social Media Platforms.

   21. Policies, procedures, and practices related to the Kentucky Department of Education’s use
       of Social Media Platforms, including communication of information or promotion of
       Kentucky Department of Education programs, initiatives, efforts, or actions on Social
       Media Platforms.

   22. Kentucky Department of Education’s budget and actual expenditures during the Relevant
       Period, including expenditures on:
           a. Digital advertisements by the Kentucky Department of Education on Social Media
               Platforms
           b. Digital advertisements by the Kentucky Department of Education purchased
               through Social Media Platforms.




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 6                           IN THE UNITED STATES DISTRICT COURT

 7                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8
       IN RE: Social Media Adolescent                       MDL No. 3047
 9     Addiction/Personal Injury Products Liability         Case No. 4:22-md-03047-YGR
       Litigation
10
                                                            Honorable Yvonne Gonzalez Rogers
11     This document relates to:                            Honorable Peter H. Kang
       ALL ACTIONS
12                                                          STIPULATION AND [PROPOSED]
                                                            ORDER GOVERNING THE
13                                                          PRODUCTION OF
14                                                          ELECTRONICALLY STORED
                                                            INFORMATION AND HARD COPY
15                                                          DOCUMENTS

16

17          1.      PURPOSE
18          This Order Governing the Production of Electronically Stored Information and Hard Copy

19   Documents (“ESI Order”) will govern discovery of electronically stored information and any hard

20   copy documents in this Litigation as a supplement to the Federal Rules of Civil Procedure, this

21   District’s Guidelines for the Discovery of Electronically Stored Information, and any other

22   applicable orders and rules. “This Litigation” includes all actions currently in MDL No. 3047, In

23   Re: Social Media Adolescent Addiction/Personal Injury Products Liability, or hereafter added or

24   transferred to MDL No. 3047, and all actions later remanded to their respective transferor courts.

25          2.      DEFINITIONS
26          a) “Document” is defined to be synonymous in meaning and equal in scope to the usage

27               of this term in Rules 26 and 34 of the Federal Rules of Civil Procedure and shall

28               include Hard-Copy Documents and ESI.

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 1          b) “Electronically stored information” or “ESI,” as used herein has the same meaning as

 2               in Federal Rules of Civil Procedure 26 and 34.

 3          c) “Hard-Copy Document” means Documents existing in paper form at the time of

 4               collection.

 5          d) “Searchable Text” means the native text extracted from an Electronic Document and

 6               any Optical Character Recognition text (“OCR text”) generated from a Hard-Copy

 7               Document or electronic image.

 8          3.      COOPERATION
 9          The Parties are aware of the importance the Court places on cooperation and commit to

10   cooperate in good faith throughout this Litigation consistent with this Court’s Guidelines for the

11   Discovery of ESI and this Court’s Rules of Professional Conduct. The Parties will endeavor to

12   cooperate in good faith and be reasonably transparent in all aspects of the discovery process.

13          4.      LIAISON
14          The Parties will identify Discovery Liaisons to each other who are and will be

15   knowledgeable about and responsible for discussing their respective ESI. Any Party is free to

16   change their designated Discovery Liaison by providing written notice to the other Parties. Each

17   Party’s Discovery Liaison must: (a) be prepared to meet and confer on discovery-related matters

18   and to participate in discovery dispute resolution; (b) be knowledgeable about the Party’s

19   discovery efforts; (c) be, or have reasonable access to those who are, familiar with the Party’s

20   electronic systems and capabilities in order to explain those systems and answer relevant

21   questions; and (d) be, or have reasonable access to those who are knowledgeable about the

22   technical aspects of discovery, including electronic document storage, organization, and format

23   issues, and relevant information retrieval technology, including search methodology.

24          5.      IDENTIFICATION OF CUSTODIANS AND DATA SOURCES
25          The parties will disclose information about custodians and custodial and non-custodial

26   data sources likely to possess relevant or responsive information in accordance with Fed. R. Civ.

27   P. 26 and this District’s ESI Guidelines. The Parties will participate in Rule 26(f) discussions

28   guided by this District’s Checklist for Rule 26(f) Meet and Confer Regarding Electronically

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 1   Stored Information. After responses to Requests for Production under Fed. R. Civ. P. 34 have

 2   been served, the parties will meet and confer regarding those custodians and custodial and non-

 3   custodial data sources from which Documents and ESI will be collected for search and review for

 4   potential production in this litigation. The custodian and data source exchanges will include brief

 5   explanations of the rationale for their selections; for example, for custodians, their current job

 6   titles and descriptions of their work, and for data sources, location information and description.

 7          6.      INACCESSIBLE OR UNUSABLE ESI
 8          If a Producing Party asserts that certain requested ESI is inaccessible or not “reasonably

 9   accessible,” otherwise unnecessary, or if the Receiving Party asserts that, following production,

10   certain ESI is not reasonably useable, the parties shall meet and confer to discuss resolving such

11   assertions. The parties will exchange sufficient information to enable the parties to confer in good

12   faith. If the parties cannot resolve any such disputes after such a meet and confer has taken place,

13   the issue shall be presented to the Court for resolution.

14          7.      KNOWN RESPONSIVE DOCUMENTS
15          Documents or ESI identified in a custodial or non-custodial file, or in a discrete folder or

16   collection, that are known to a Producing Party through reasonable investigation to be responsive

17   to a discovery request shall be collected for review without regard to whether the responsive

18   content was located via any search methodology developed in accordance with this Order, and

19   nothing about such review shall prevent the Producing Party from redacting or withholding and

20   logging such documents for applicable privileges.

21          8.      SEARCH METHODOLOGIES
22          The Parties shall adopt reasonable and proportionate methodologies to identify, search,

23   collect, cull, review, and produce ESI as required under applicable legal standards. The Parties

24   recognize and agree that each Party may use one or more methodologies to identify, search,

25   collect, cull, review, and produce responsive and non-privileged ESI, including the use of

26   keyword search terms and/or the use of technology assisted review (“TAR”) as discussed further

27   herein. The Parties further recognize that different data sets may implicate different

28   methodologies to identify, search, collect, cull, review, and produce responsive and non-

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 1   privileged ESI. The Parties therefore agree to meet and confer in good faith regarding any

 2   potential disputes over their respective ESI productions.

 3          9.      HIT REPORTS AND SEARCH TERMS
 4          If a Producing Party uses search terms to identify, search, or cull potentially responsive

 5   ESI, the Producing Party shall disclose the search terms to the Requesting Party. The Parties shall

 6   meet and confer regarding any disputes over the disclosed search terms. In the event that a

 7   Producing Party claims burden with respect to modified and/or additional search terms proposed

 8   by a Requesting Party, the Producing Party shall provide a hit report for the terms at issue using

 9   industry-standard processing tools, such as NUIX or other similar tools. The Producing Party

10   shall provide a hit report for the document collection where the terms were applied, including the

11   following with respect to each proposed or modified search term in the collection:

12          a) The number of documents with hits for that term; and

13          b) The number of unique documents, i.e., documents which do not have hits for any other

14               term.

15          If, after reviewing a hit report from a Producing Party, a Requesting Party so chooses, it

16   may reasonably request a further hit report which includes:

17          c) The number of family members, including the documents with hits, of the documents

18               with hits for that term; and

19          d) The number of unique family members of the documents with hits for that term.

20          If the ESI tool for the Producing Party is capable without undue burden of providing the

21   number of family members and unique family members, then the Producing Party shall provide

22   such further hit report. The Parties (including the person most knowledgeable about the

23   capabilities of the Producing Party’s ESI tool and the Requesting Party’s person most

24   knowledgeable about technical issues from its ESI service provider) shall meet and confer

25   regarding any disputes over whether the Producing Party’s ESI tool has the capability or not to

26   provider either number of family members or number of unique family members.

27          The Parties shall meet and confer to resolve disagreements over the search terms or their

28   application. To the extent the Parties are unable to reach agreement on the application of, or

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 1   procedures for, any search or filtering processes, the Parties shall fully comply with the

 2   provisions of this Court’s Discovery Standing Order regarding the procedure for raising discovery

 3   disputes with the Court, including the meet and confer and certification requirements therein.

 4          10.       TECHNOLOGY ASSISTED REVIEW (TAR)
 5          A Producing Party may use TAR (technology-assisted review) during the culling and

 6   review process of ESI, which may be applied in addition to search terms. If a Producing Party

 7   uses TAR to cull, filter out, or exclude documents from that Party’s production, that Producing

 8   Party shall do the following:

 9                   If a Producing Party chooses to apply both search terms and TAR to a review set,

10                    the Producing Party will disclose the search terms to all other Party/Parties.

11                   Disclose the name of the TAR tool or service used to all other Party/Parties.

12          11.       VALIDATION
13          Each Producing Party shall take reasonable steps to validate its review process (i.e., using

14   quality control measures to determine whether its production is missing relevant ESI or contains

15   substantial amounts of irrelevant ESI) and make any necessary adjustments or corrections to its

16   process. If, after reviewing a Producing Party’s production, a Requesting Party reasonably

17   requests additional information regarding the validation method(s) used by the Producing Party,

18   the Producing Party will disclose the level of end-to-end recall (the percentage of responsive

19   Documents in the collection which were identified as responsive by that Producing Party’s

20   methodology). If there remain disputes between the Parties regarding validation, the Parties shall

21   meet and confer to resolve such disputes in good faith, including a reasonable discussion

22   regarding the tool used and the parameters used to obtain or calculate the level of recall.

23          12.       UNSEARCHABLE DOCUMENTS
24          The Producing Party shall use reasonable efforts to identify and review potentially

25   responsive documents for which text-based search technologies are fundamentally ineffective.

26          13.       SYSTEM FILES
27          Each Party will use its best efforts to filter out common system files and application

28   executable files using the national software reference library (“NSRL”) NIST hash set list. The

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 1   Parties also may filter out stand-alone files identified as zero bytes in size. Additional culling of

 2   file types based on file header information may be applied to the following, provided these files

 3   are not known to be otherwise attached, embedded in, or included with an otherwise responsive

 4   document, or are not themselves reasonably known to contain information responsive or contain

 5   responsive data or are used to interface with users or interact with or access individual or

 6   aggregated user data: Application Package File, Backup Files, Batch Files, Binary Disc Image,

 7   C++ File Formats, Cascading Style Sheet, Configuration File, Database File, Dictionary Files,

 8   Dynamic Link Library, Event Log Files, Executable Files, Hypertext Cascading Stylesheet, Java

 9   Archive Files, JavaScript Files, JavaScript Source Code and Class Files, Macintosh Resource

10   Fork Files, Package Manager Files, Program Files, Program Installers, Python Script Files, Shell

11   Script Files, System or Temporary Files, Thumbnail Cache Files, Troff Files, Truetype Font Files,

12   Windows Cabinet File, Windows Command Files, Windows File Shortcut, Windows Help Files,

13   Windows Metafiles and Enhanced Metafiles, Windows Spool Files, Windows System File.

14          14.     DEDUPLICATION
15          Each Producing Party shall make reasonable efforts to globally deduplicate exact

16   duplicate Documents within that Producing Party’s ESI data set across all custodial and non-

17   custodial sources at the family level using either MD5 hash values or SHA hash values or any

18   other agreed-upon (and disclosed) industry-standard deduplication technology. The Parties shall

19   reach agreement on such other deduplication technology and shall reach agreement on how their

20   deduplication tools shall identify exact duplicates of documents in a manner that is consistent

21   with the disclosed tools and technologies a Producing Party is using. The Parties shall reach

22   agreement on how to identify exact duplicates of emails using industry-standard commercially

23   available software tools or services, which may for example calculate hash values of emails based

24   on concatenated values of agreed-upon email fields and/or hash values of attachments, or which

25   may use any other method the Parties agree upon. Having further met and conferred in keeping

26   with the previous sentence, the Parties shall calculate deduplication hash values for emails on the

27   concatenated values set forth in and in accordance with the documentation specifications of the

28   disclosed deduplication tools to be used in this Litigation (i.e., RelativityOne, Relativity Server,

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 1   and Nuix); however, if Nuix is used, the Producing Party shall select the optional field “Include

 2   Bcc” as an additional field to add to the default ones.

 3          The Parties shall not withhold from production near-duplicates without meeting and

 4   conferring on this issue.

 5          The names of all custodians who were either identified as custodians for purposes of

 6   collection for this matter (or otherwise known by the Producing Party to have been in possession

 7   or custody of a document prior to deduplication) will be populated in the ALL CUSTODIANS

 8   metadata field for the produced version of a document that has duplicates removed from

 9   production. The original file paths (if any exist) of a document prior to deduplication will be

10   populated in the ALL FILE PATHS metadata field of the produced document.

11          15.     EMAIL THREADING
12          The Parties may use analytics technology to identify email threads and shall produce the

13   unique most inclusive copy and related family members. Where multiple email messages are part

14   of a single chain or “thread,” a Party is only required to produce the most inclusive copy of an

15   email message(s) (“Last In Time Email(s)”) and need not produce earlier, lesser inclusive email

16   messages or “thread members,” provided that the tool or software service being used to perform

17   threading is disclosed. A Producing Party may exclude from production lesser inclusive copies of

18   the most inclusive email message in the thread, where the entire body of each of those lesser

19   inclusive copies is included within the Last in Time Email. The Producing Party will honor

20   reasonable requests to produce lesser inclusive copies of a Last In Time Email or other earlier

21   chains of emails otherwise excluded by email thread suppression.

22          The Parties shall treat new or different email chains or threads pursuant to further

23   agreement on safeguards or guidelines for defining emails threads which reasonably take into

24   account the capabilities of the email threading/dethreading/hyperthreading tools used by each

25   Defendant (which shall be disclosed to Plaintiffs).

26          16.     SOURCE CODE
27          The Parties will meet and confer to address the production and/or inspection of source

28   code and entering into a separate order governing the same if needed.

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 1          17.      PRODUCTION FORMATS

 2          The Parties agree to produce documents and data in the formats described in Appendix 1

 3   to this ESI Order. If particular documents or categories of documents identified in response to

 4   document requests warrant a different format, the Parties will cooperate to arrange for the

 5   mutually acceptable production of such documents. The Parties further agree not to degrade the

 6   searchability of documents as part of the document production process.

 7          In addition, the Parties agree that the production and production format of social media

 8   and/or user account information is not covered by this agreement and to meet and confer on the

 9   production and production format, including metadata, for social media and/or user account

10   information.

11          18.      PHASING

12          Once the Parties begin propounding discovery requests pursuant to Fed. R. Civ. P. 34, the

13   Parties agree to meet and confer regarding appropriate phasing for the production of ESI.

14          19.      MISCELLANEOUS PROVISIONS

15          a) Production of Plaintiffs ESI and Case-Specific Materials. Subject to any further

16                agreement among the Parties or Order of the Court, the Parties shall produce case-

17                specific documents (i.e., documents specific to the claim of a given Plaintiff, produced

18                by Plaintiffs or Defendants) for any Plaintiff in discovery pools or other selections

19                designed to inform bellwether selection, including those selected for a bellwether trial,

20                in accordance with the production format specified herein, provided, however, that the

21                Producing Party may elect to produce such materials in their native format. To the

22                extent production of case-specific documents for any Plaintiff selected for a bellwether

23                trial presents an issue for any Party, the Parties shall reasonably confer, and may

24                present any disputes to the Court or its designee. The Parties shall further agree to

25                confer concerning the production format and associated matters (e.g., hosting

26                platform) for case-specific documents produced in the cases of other Plaintiffs.

27                Nothing herein shall limit Defendant’s right to seek discovery from any Plaintiff.

28          b) Translations Of Produced Materials. The Producing Party has no obligation to

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 1             create a translation of the Documents or any portion thereof. For any foreign-language

 2             documents responsive to document requests that a Party reasonably knows as the

 3             result of a reasonable investigation have been translated into the English language

 4             using human translators or through machine translation for its own purposes, except to

 5             the extent such translation is protected by attorney-client or work-product privileges,

 6             the Producing Party shall produce the translation of the original document with the

 7             original. The parties will meet and confer as necessary concerning procedures for

 8             using translations at depositions and at trial. In the event the Parties cannot reach

 9             agreement, the matter may be submitted to the Court for determination.

10          c) Third-Party Documents. A Party that issues a Non-Party subpoena (“Issuing Party”)

11             shall include a copy of this Order with the subpoena and state that (1) the subpoenaed

12             Non-Party should produce Documents in response to the subpoena to all Parties; and

13             (2) the Parties to this Litigation have requested that Third Parties produce Documents

14             in accordance with the specifications set forth herein. If the subpoenaed Non-Party

15             produces Documents to the Issuing Party but does not produce those Documents to

16             other Parties, the Issuing Party shall produce such Documents to those other Parties

17             within 14 days of receiving the Documents, except where the Documents are to be

18             used in a deposition, in which case the Issuing Party shall produce such Documents to

19             all other Parties no later than three (3) days prior to the deposition, or as soon as

20             reasonably practicable if such production occurs thereafter. Nothing in this Order is

21             intended or may be interpreted to narrow, expand, or otherwise affect the rights of the

22             Parties or Third Parties to object to a subpoena. If the Non-Party production is not

23             Bates-stamped, the Parties will meet and confer to agree upon a format for designating

24             the documents with a unique Bates Number prefix.

25          d) Documents Produced by Parties – Presumption of Authenticity. In order to reduce

26             the number of requests for admission, this Order establishes a rebuttable presumption

27             that documents produced by the Parties are authentic, if said documents were either

28             created or authored by the producing Party, or any of its employees, agents, or

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 1             contractors, so long as the employees’, agents’, or contractors’ work was performed in

 2             connection with a project or assignment sponsored by the producing Party. No further

 3             evidence to establish authenticity need be provided. Nothing in this paragraph shall be

 4             deemed to waive any other evidentiary objection a party may have, including but not

 5             limited to hearsay, foundation/personal knowledge, or relevance.

 6          e) Re-productions. Notwithstanding any provisions to the contrary, re-production of

 7             discrete sets of documents from another litigation, arbitration, government inquiry, or

 8             other matter may be re-produced in the same manner and form as originally produced

 9             in the other matter, provided however that a party will re-produce documents in a

10             different format for good cause shown. This provision does not waive the right of a

11             party to object to any requests for reproduction of production files from another

12             litigation, arbitration, government inquiry, or other matter.

13          f) Modification. This ESI Order may be modified by a Stipulated Order of the Parties

14             or by the Court for good cause shown.

15          g) Good Faith. The Parties will act in good faith as required by law and use these

16             procedures to identify and reduce the potential for disputes.

17          h) Continuing Obligations. The Parties recognize that discovery shall be an iterative

18             and cooperative process. The Parties will continue to meet and confer regarding any

19             issues as reasonably necessary and appropriate. This Order does not address or resolve

20             any objections to the Parties’ respective discovery requests.

21          i) Reservation of Rights. The Parties agree that any topic not addressed herein is

22             neither a waiver nor acknowledgement of agreement by either Party.

23          IT IS SO STIPULATED, through Counsel of Record.

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15

16
     Dated:         March 18, 2024
17                                             MAGISTRATE JUDGE PETER H. KANG
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 1                              APPENDIX 1: PRODUCTION FORMAT

 2      1) Production Components. Except as otherwise provided below, ESI must be produced

 3          in accordance with the following specifications:

 4               a) an ASCII delimited data file (.DAT) using standard delimiters;

 5               b) an image load file (.OPT) that can be loaded into commercially acceptable

 6                  production software (e.g. Concordance);

 7               c) single page black-and-white TIFF images, or JPEG images when color is

 8                  specified herein, or native files with single page placeholder TIFF images

 9                  depending on the applicable production format for each type of file;

10               d) and document level .TXT files for all documents containing extracted full text or

11                  OCR text.

12               e) Family relationships between emails and their attachments, embedded files and

13                  their source document, and connected hardcopy documents will be maintained in

14                  production. Attachments should be consecutively produced with their parent.

15               f) If a particular document warrants a different production format, the Parties will

16                  cooperate in good faith to arrange for a mutually acceptable production format.

17          2)      Production Media and Access Controls. Productions must be encrypted and

18   produced through secure electronic means, such as secure file sharing methods (e.g. FTP), or on

19   CD, DVD, flash drive or external hard drive (“Production Media”). Each piece of Production

20   Media must identify a production number corresponding to the production volume (e.g.

21   “VOL001”). Each piece of Production Media must also identify: (a) the case caption; (b) the

22   following label: “This media contains material subject to Court Ordered security measures”; (c)

23   the Producing Party’s name; (d) the production date; (e) the Bates Number range of the

24   materials contained on the Production Media.

25          Nothing in this ESI Order will preclude or impair any and all protections provided the

26   Parties by any Protective Order(s) agreed and entered into by the Parties. Parties will use best

27   efforts to avoid the unnecessary copying or transmittal of produced documents. If questions arise,

28   the Parties will meet and confer to ensure security concerns are addressed prior to the exchange of

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 1
     any documents.
 2
            3)      Data Load Files/Image Load Files. Each TIFF in a production must be
 3
     referenced in the corresponding image load file. The total number of documents referenced in a
 4
     production’s data load file should match the total number of designated document breaks in the
 5
     image load file(s) in the production. The total number of pages referenced in a production’s
 6
     image load file should match the total number of TIFF files in the production. All images must
 7
     be assigned a unique Bates number that is sequential within a given document and across the
 8
     production sets. The Bates Numbers in the image load file must match the corresponding
 9
     documents’ beginning Bates numbers in the data load file. The total number of documents in a
10
     production should match the total number of records in the data load file. Load files must not
11
     vary in format or structure within a production, or from one production to another except by
12
     agreement of the Parties.
13
            4)      Metadata Fields. Each of the metadata and coding fields set forth below that can
14
     be extracted should be produced for each document, except that if the field contains privileged
15
     information, that privileged information may be redacted. However, to the extent that metadata
16
     does not exist, is not available for any documents produced, this provision shall not be read to
17
     require any Party to extract, capture, collect, manually populate, or produce such metadata, with
18
     the exception of the following: (a) BEGBATES, (b) ENDBATES, (c) BEGATTACH, (d)
19
     ENDATTACH, (e) PRODVOL, (f) ALL CUSTODIANS, (g) CONFIDENTIALITY, (h)
20
     REDACTIONS, (i) REDACTION TYPE, (j) HASHVALUE, (k) NATIVEFILEPATH, and (l)
21
     TEXTFILEPATH, which should be populated by the Party or the Party’s vendor. The Parties
22
     will make reasonable efforts to ensure that metadata fields automatically extracted from the
23
     documents correspond directly to the information that exists in the original documents.
24

25     Field Name                                        Field Description

26                                                       Beginning Bates number for a particular
       BEGBATES                                          document as stamped on the first production
27                                                       image for that document

28     ENDBATES                                          Ending Bates number as stamped on the last

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 1
       Field Name                                Field Description
 2
                                                 production image for a particular document
 3
                                                 First production Bates number of the first
       BEGATTACH
 4                                               document in a family

 5                                               Last production Bates number of the last
       ENDATTACH
                                                 document in a family
 6
                                                 Number of attachments to an e-mail or
 7                                               embedded parent, as generated by
       ATTACHCOUNT
                                                 commercially available discovery processing
 8
                                                 tools.
 9
                                                 Names of each individual Attachment,
       ATTACHNAMES
10                                               separated by semicolons.

11     PRODVOL                                   Production volume

12                                               List of all custodians associated with
       ALLCUSTODIANS                             Document, i.e. “Custodian” + “Other
13                                               Custodian” values delimited by semicolon.

14                                               All original path(s) to the individual source
                                                 file(s) when available in the ordinary course
15                                               of business to and processable by the parties
       ALLFILEPATHS
                                                 and their ESI vendors of choice. Includes path
16                                               up to and including internal path of
17                                               containers.

18                                               Confidentiality designation assigned to the
       CONFIDENTIALITY                           document consistent with the Stipulated
19                                               Protective Order governing this Litigation
20     NATIVEFILEPATH                            Native File Link (Native Files only)
21                                               Path to extracted text/OCR file for the
       TEXTFILEPATH
                                                 document
22
       HASHVALUE                                 MD5 hash value of the document
23
                                                 Descriptor for the type of document: “E-
24
                                                 document” for electronic documents not
25                                               attached to e-mails; “E-mail” for all e-mails;
      DOCUMENT TYPE                              “E-attachment” for files that were attachments
26                                               to e-mails; and “Physical” for hard copy
                                                 physical documents that have been scanned
27                                               and converted to an electronic image.
28    AUTHOR                                     Any value populated in the Author field of the
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 1
       Field Name                                Field Description
 2
                                                 document properties
 3
                                                 Date the document was created according to
 4    DOCDATE                                    filesystem information (format:
                                                 MM/DD/YYYY)
 5
                                                 Date when document was last modified
 6    DATELASTMODIFIED                           according to filesystem information (format:
                                                 MM/DD/YYYY)
 7
                                                 Last person who modified (saved) a
 8
      LAST MODIFIED BY                           document, as generated by commercially
 9                                               available discovery processing tools.

10                                               Y if a document with track changes value,
      TRACK CHANGES                              otherwise N or empty, if available separately
11                                               from the HASHIDDENDATA flag

12                                               Y if a document with comments, otherwise N
      COMMENTS                                   or empty, if available separately from the
13                                               HASHIDDENDATA flag
                                                 Y if a document with hidden content value,
14    HASHIDDENDATA                              otherwise N or empty
15
      FILENAME                                   Filename of an electronic document
16
                                                 Any value populated in the Title field of the
      TITLE
17                                               document properties

18                                               File extension of document pulled from the
      DOCEXT
                                                 document properties
19
      FROM                                       The sender of the email
20
                                                 All recipients that were included on the “To”
21    TO
                                                 line of the email
22                                               All recipients that were included on the “CC”
      CC
                                                 line of the email
23
                                                 All recipients that were included on the
24    BCC
                                                 “BCC” line of the email
25
                                                 Date and time email was received (format:
      DATETIMERECEIVED
26                                               MM/DD/YYYY HH:MM)

27                                               Date and time email was sent (format:
      DATETIMESENT
                                                 MM/DD/YYYY HH:MM)
28

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 1
         Field Name                                                 Field Description
 2
         TIMEZONE                                                   The timezone used to process the document
 3
                                                                    Subject line of email pulled from the
         EMAILSUBJECT
 4                                                                  document properties

 5                                                                  If a threading tool is used for emails, the
         THREADID
                                                                    thread id generated by the threading tool.
 6
                                                                    General category of redaction reason as
 7                                                                  agreed to by the parties. For example, PII,
         REDACTION TYPE1
                                                                    SCA, CODE, and/or PRIV. If more than one,
 8
                                                                    separate reasons by semicolons.
 9
                                                                    Y if a document is redacted, otherwise N or
         REDACTIONS
10                                                                  empty

11            5)       TIFFs. Unless excepted below, single page, black and white, Group IV TIFFs
12   should be provided, at least 300 dots per inch (dpi) for all documents. Each TIFF image must be
13   named according to a unique corresponding Bates number associated with the document. Each
14   image must be branded according to the Bates number and the agreed upon confidentiality
15   designation. Original document orientation should be maintained (i.e., portrait to portrait and
16   landscape to landscape). Where the TIFF image is unreadable or has materially degraded the
17   quality of the original, the Producing Party shall provide a higher quality TIFF image or the
18   native or original file. In addition, the Parties shall take reasonable efforts to process word
19   processing documents (e.g., MS Word) with track changes and/or comments unhidden on the
20   TIFF image.
21            6)       Color. Word processing documents containing tracked changes shall be
22   produced in color, as single-page, 300 dpi JPG images with JPG compression and a high quality
23   setting as to not degrade the original image. The Producing Party shall comply with good faith
24   by the Requesting Party to provide replacement color images for documents originally produced
25   in black and white. A Party making such a request shall make the request by individual Bates
26
     1
       The Parties will provide specific information on any privilege(s) asserted in their privilege logs, in an overlay, or the
27   redaction boxes. The “Redaction Reason” field is informational only for redaction type and shall not in any way limit
     a party’s right to assert attorney-client privilege, attorney-work product privilege, and/or any other applicable privilege
28   or protection.

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 1
     number(s) and shall limit requests made pursuant to this paragraph to a reasonable number of
 2
     documents.
 3
            7)      Text Files. A single multi-page text file must be provided for each document,
 4
     and the filename should match its respective TIFF filename for the first page of that document.
 5
     Extracted text shall be generated with commercially acceptable technology set to include all
 6
     comments, revisions, tracked changes, speaker’s notes and text from documents with comments
 7
     or tracked changes, and hidden and very hidden worksheets, slides, columns and rows. When
 8
     possible, the text of native files should be extracted directly from the native file. Parties will
 9
     perform optical character recognition (“OCR”) on foreign language documents using the
10
     appropriate settings for languages reasonably anticipated to be in the production following a
11
     meet and confer with the Requesting Party to identify those languages. Text files will not
12
     contain the redacted portions of the documents. A commercially acceptable technology for OCR
13
     should be used for all scanned, hard copy documents and for documents with redactions other
14
     than Excel files and other spreadsheets which shall be redacted in native format. Text extracted
15
     from emails should include the following header information where available: (1) the
16
     individuals to whom the communication was directed (“To”), (2) the author of the email
17
     communication (“From”), (3) who was copied and blind copied on such email (“CC” and
18
     “BCC”), (4) the subject line of the email (“RE” or “Subject”), and (5) the date and time of the
19
     email. To the extent the text extraction technology the Parties are using can be configured to
20
     include the text of any URLs or links, the Parties shall utilize that setting.
21
            8)      Native files. Spreadsheets (e.g. MS Excel), and un-redacted presentations (e.g.
22
     Microsoft PowerPoint,) will be produced in native format to the extent that they are produced in
23
     this Litigation, audio, video, and multi-media files will be produced in native format. The
24
     Parties will meet and confer on the production of other file types, such as proprietary files, etc.
25
     Native files will be produced with a link in the NATIVEFILEPATH field, along with extracted
26
     text (where extracted text is available) and applicable metadata fields set forth in paragraph 4
27
     above. A Bates numbered TIFF placeholder indicating that the document was provided in native
28
     format must accompany every native file. Where redaction makes production of native-format
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 1
     files other than spreadsheets or presentations infeasible, the Parties will confer to determine a
 2
     reasonably usable form for the production, but spreadsheets shall presumptively be redacted in
 3
     native, and presentations presumptively redacted in image form, in these cases without the need
 4
     for further conferring.
 5
            9)      Production Format for Hard Copy Documents. Documents that exist in
 6
     hardcopy will be scanned to *.tiff image format and produced in accordance with the
 7
     specifications set forth herein. Hard copy documents that are not text-searchable shall be made
 8
     searchable by OCR prior to production. In scanning paper documents, distinct documents
 9
     should not be merged into a single record, and single documents should not be split into
10
     multiple records (i.e., paper documents should be logically unitized). In the case of an organized
11
     compilation of separate documents (for example, a binder containing several separate
12
     documents behind numbered tabs), the document behind each tab should be scanned separately,
13
     but the relationship among the documents in the compilation should be reflected in the proper
14
     coding of the beginning and ending document and attachment fields. The Parties will make their
15
     best efforts to unitize the documents correctly. If relevant documents are maintained in a file,
16
     folder, envelope, binder, notebook or similar container used to store documents, all contents
17
     therein shall be reviewed for production and privilege. Document pages which have affixed
18
     notes, such as Post-it notes, should be imaged with and without the note attached.
19
            10)     Confidentiality Designation. All images will be stamped with the appropriate
20
     confidentiality designations in accordance with the Stipulated Protective Order entered in this
21
     Litigation. Each document produced in native format will have its confidentiality designation
22
     identified in the filename of the native file and indicated on its corresponding TIFF placeholder.
23
            11)     Bates Numbering. Bates numbering should be a consistent length across the
24
     production, contain no special characters, and be numerically sequential within a given
25
     document. If a Bates number or set of Bates numbers is skipped, the skipped number or set of
26
     numbers should be noted with a placeholder. Attachments to documents will be assigned Bates
27
     numbers that directly follow the Bates numbers on the documents to which they were attached.
28

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 1
     In addition, wherever possible, each image will have its assigned Bates number electronically
 2
     “burned” onto the image.
 3
            12)     Databases and Other Structured Data. To the extent that responsive
 4
     information is stored in a database, or database management system, or proprietary system or
 5
     application which has is directed to data storage as one of its primary functions, the Producing
 6
     Party will identify the database and platform to the Requesting Party. The Producing Party shall
 7
     produce exports and reports about such responsive information stored in such database, where
 8
     such exports and reports shall be in a reasonably usable form, and information may be produced
 9
     in CSV format, tab-delimited text format, Microsoft Excel format, or Microsoft Access format.
10
     If there are future disputes over the production of information from a database, the Parties shall
11
     meet and confer in good faith in an attempt to reach any further agreements (if needed) on the
12
     data to be produced and the format and scope of the production. The Producing Party will
13
     provide reasonable amounts of information about the databases to facilitate that discussion.
14
            13)     Hyperlinks. Document(s) and/or folder(s) of documents that are hyperlinked
15
     inside a responsive document (including hyperlinked inside emails) within a Producing Party’s
16
     custody, possession, or control, do not need to be produced in the first instance as part of the
17
     same family group as the Document residing at the location to which that hyperlink points. If
18
     there are particular hyperlinks identified by the Requesting Party in produced documents, the
19
     Requesting Party may submit a list of hyperlinks to a particular Producing Party for potentially
20
     relevant documents by identifying the Bates number and URL or link text for each requested
21
     link to the Producing Party, and the Producing Party will engage in reasonable efforts to locate
22
     the hyperlinked document at that location and either identify it by Bates number or provide any
23
     responsive, non-produced, and non-privileged documents. The number of hyperlinks a
24
     Requesting Party may identify to a Producing Party shall not be excessive and shall be
25
     reasonable, proportional to the needs of the case, and not unduly burdensome.
26
            14)     Embedded Objects. The Parties agree non-substantive embedded objects,
27
     including, but not limited to, logos, icons, emoticons, and footers, may be culled from a
28
     document set (but not a document) and need not be produced as separate documents by a
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 1
     Producing Party (i.e., such embedded objects will be produced within the document itself, rather
 2
     than as separate documents). Embedded files, except for images (including but not limited to,
 3
     logos, icons, emoticons), are to be produced as family groups. Embedded files should be
 4
     assigned Bates numbers that directly follow the Bates numbers on the documents within which
 5
     they are embedded.
 6
            15)     Production of Family Groups and Relationships. If any member of a family
 7
     group is produced, all members of that group must also be produced or else logged as
 8
     privileged, and no such member shall be withheld from production as a duplicate.
 9
            16)     Dynamic Fields. Documents with dynamic fields for file names, dates, and
10
     times will be imaged to show the field code (e.g., “[FILENAME]”) where possible, rather than
11
     the values for such fields existing at the time the file is processed.
12
            17)     Time Zone. The time zone used to process a document, including its metadata,
13
     shall be disclosed in the TIMEZONE metadata field consistent with Appendix 1, and shall be
14
     standardized for each Defendant across productions.
15
            18)     Redactions.
16
            a)      A Producing Party may redact (i) information subject to the attorney client
17
     privilege or the work product protection (PRIV); (ii) information that cannot be disclosed
18
     pursuant to the Stored Communications Act (SCA); (iii) source code subject to separate
19
     agreement applicable to production of source code (CODE); (iv) personal identifying
20
     information (PII) including phone numbers, personal addresses, personal email addresses, the
21
     month and day of birth, driver’s license numbers, and other PII agreed to by the Parties (for
22
     example, the Parties shall complete their meet and confer on whether or not to redact users’ ages
23
     and years of birth). In any event, there shall be no redaction of illnesses, injuries, and medical
24
     diagnoses. To the extent a document or pleading contains PII, the Parties shall designate such
25
     documents at the appropriate Confidentiality level under the Protective Order and shall comply
26
     with Fed. R. Civ. P. 5.2 with regard to filings with the Court.
27
            b)      No redactions for relevance may be made within a produced document or ESI
28
     item. If, during the course of discovery, the Parties identify other kinds of information that any
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 1
     Party has a reasonable basis for redacting, the Parties will meet and confer on a case-by-case
 2
     basis regarding that information before such redactions are made. If the Parties cannot agree,
 3
     they may seek resolution from the Court.
 4
            c)      The Producing Party will indicate, on the face of the redaction, the asserted
 5
     reason(s) for the redaction (PII, SCA, CODE, and/or PRIV) and the REDACTION TYPE
 6
     metadata field shall indicate that the document contains redactions and the reason(s) for the
 7
     redaction.
 8
            d)      Notwithstanding the foregoing, this provision shall not be read to prohibit
 9
     redactions permitted under any applicable U.S. law or Protective Order.
10
            e)      Where a responsive document contains both redacted and non-redacted content,
11
     the Parties shall produce the non-redacted portions of the document and the OCR text
12
     corresponding to the non-redacted portions.
13
            f)      Native Redactions. Spreadsheet files requiring redaction, including without
14
     limitation Microsoft Excel files, shall be redacted and produced natively (unless the Parties
15
     agree to production in some other format). In addition, a Producing Party may natively redact
16
     other files that cannot be properly imaged for redaction.
17
            g)      All images of redacted files shall be processed to show all comments, revision
18
     marks, speaker notes, marks made in track changes, or other user-entered data which are visible
19
     in a normal view of the document in its native application, unless such material is redacted and
20
     marked as redacted in accordance with this section. Where possible, any occurrences of
21
     date/time auto‐field items, including in headers and footers, will be removed and replaced with
22
     the term AUTODATE to prevent the current date from being printed. Email header information
23
     (e.g., date and/or subject line) shall not be redacted unless it is independently privileged. The
24
     Parties shall honor reasonable requests for the production of particular redacted documents in
25
     other formats where the image is not reasonably usable.
26
            h)      Color. Redacted versions of documents that would have been produced in color
27
     in their un-redacted form shall be produced in color as detailed herein.
28

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 1
            19)     Exception Files. The Parties will use reasonable efforts to address processing
 2
     exceptions.
 3
            20)     Mobile and Handheld Device Documents and Data. If responsive and unique
 4
     data that can reasonably be extracted and produced in the formats described herein is identified
 5
     on a mobile or handheld device, that data shall be produced in accordance with the generic
 6
     provisions of this protocol. To the extent that responsive data identified on a mobile or handheld
 7
     device is not susceptible to normal production protocols, the Parties will meet and confer to
 8
     address the identification, production, and production format of any responsive documents and
 9
     data contained on any mobile or handheld device.
10

11

12

13

14

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16

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DELIVERED VIA PROCESS SERVER                                      July 17, 2024

New Jersey Department of Education
Judge Robert L. Carter Building
100 River View Plaza
Trenton, New Jersey 08625


       Re: People of the State of California v. Meta Platforms, Inc.,
            4:23-cv-05448

Dear Sir/Madam:

Enclosed please find a subpoena being served upon you in connection with the above-captioned
litigation currently pending in the U.S. District Court for the Northern District of California. I
represent Defendants Meta Platforms, Inc.; Instagram, LLC, Meta Payments, Inc., Meta Platforms
Technologies, LC and Mark Zuckerberg (collectively, the “Meta Defendants”) in this matter.

The document subpoena requests the production of specific documents identified in the attached
subpoena (see Attachment A to the subpoena), which are requested to be produced by 10 am on
August 19, 2024. We are willing to work with you on the time, date, location, method and manner
of document production, as well as answer any questions or concerns you may have regarding
subpoena compliance. It is sufficient compliance with this subpoena if you electronically transmit
a copy of the requested documents to the undersigned. As such, please contact me at (202) 662-
5801 or spetkis@cov.com, to discuss document production and subpoena compliance, unless you
are already represented by counsel in connection with this matter.

The Court is currently considering whether the New Jersey Attorney General’s Office has control
over New Jersey Department of Education’s information for the purposes of discovery in this
action. If the Court rules that the New Jersey Attorney General’s Office has control over the New
Jersey Department of Education’s information, the New Jersey Attorney General has pending
discovery requests that seek this agency’s documents. By serving this subpoena, Meta does not
waive its position in the state agency dispute, nor does Meta in any way waive rights to compel
the New Jersey Attorney General to produce New Jersey Department of Education information
as part of discovery in this action. However, to avoid further delay in the production of
information from the New Jersey Department of Education, Meta is serving the attached
subpoena to request the timely production of this information.

       Your anticipated time and assistance with this matter is greatly appreciated.
   Case 4:23-cv-05448-YGR      Document 116-3        Filed 07/24/24   Page 315 of 439




New Jersey Department of Education
July 17, 2024
Page 2


                                                             Best regards,

                                                             /s/ Stephen Petkis

                                                             Stephen Petkis



Enclosed: Subpoena, Attachment A, and Attachment B
              Case 4:23-cv-05448-YGR                        Document 116-3                  Filed 07/24/24              Page 316 of 439
 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Northern District
                                                        __________  DistrictofofCalifornia
                                                                                 __________
               People of the State of California, et al.
                                                                               )
                                Plaintiff                                      )
                                   v.                                          )        Civil Action No.          4:23­cv­05448
                   Meta Platforms, Inc., et al.                                )
                                                                               )
                               Defendant                                       )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To: New Jersey Department of Education,
         Judge Robert L. Carter Building 100 River View Plaza, Trenton, NJ 08625
                                                        (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material: See Attachment A.



  Place: Shook, Hardy & Bacon, Attn: Jennifer Blues Kenyon                               Date and Time:
            Two Commerce Square, 2001 Market Street, Suite 3000
            Philadelphia, PA 19103­7004                                                              10 a.m. on August 19, 2024

      ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

   Place:                                                                               Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        07/17/2024

                                   CLERK OF COURT
                                                                                             OR
                                                                                                                      /s/ Ashley Simonsen
                                            Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Meta Platforms, Inc. f/k/a Facebook, Inc.; Instagram, LLC, Meta Payments, Inc.,
Meta Platforms Technologies, LLC; and Mark Zuckerberg,                                              who issues or requests this subpoena, are:
Ashley Simonsen, Covington & Burling LLP, 1999 Avenue of the Stars, Los Angeles, CA 90067, 424­332­4782, asimonsen@cov.com

                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 4:23-cv-05448-YGR                     Document 116-3                  Filed 07/24/24              Page 317 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 4:23-cv-01615

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
              Case 4:23-cv-05448-YGR                          Document 116-3                  Filed 07/24/24               Page 318 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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               DEFINITIONS AND INSTRUCTIONS TO ATTACHMENT A

                                          DEFINITIONS

        1.      The term “communication” means the transmittal of information (in the form of

facts, ideas, inquiries or otherwise).

        2.      “Document” or “documents” shall have the broadest meaning ascribed to it by the

Federal Rules of Civil Procedure, and includes, without limitation electronically stored

information (“ESI”) (including, without limitation, electronic databases and the data therein, all

electronic messages or communications, electronic word processing documents, electronically

stored voicemail, webpages, and social media posts) in accordance with any order in this case

governing ESI at the time of production. Different versions of the same documents, including, but

not limited to, drafts or documents with handwritten notations or marks not found in the original

or on other copies are different documents.

        3.      “You”, “you”, “Your” and “your” means the New Jersey Department of Education.

        4.      “Relating” or “related to” means and includes referring to, concerning, referencing,

mentioning, associated with, constituting, discussing, containing, embodying, recording,

reflecting, identifying, summarizing, incorporating, and/or dealing with or pertaining to in any

way.

        5.      “And” includes “or”, and vice versa.

        6.      The singular form of a word or term includes the plural, and vice versa.

        7.      The present tense of a verb includes the past tense, and vice versa.

        8.      The use of the article “the” shall not be construed as limiting the scope of any

request.

        9.      “Including” means “including without limitation”.



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       10.     “Any” includes “all”, and vice versa.

       11.     The capitalized version of a word or term includes the lower case version of a word

or term, and vice versa.

       12.     “Social Media Platforms” or “Platforms” means a digital service that facilitates

interactions between two or more distinct but interdependent sets of users, including but not limited

to Facebook, Instagram, Snapchat, TikTok, YouTube, Twitter (or “X”), Pinterest, LinkedIn,

BeReal, Lapse, Reddit, Threads, VSCO, Goodreads, Quora, Discord, Twitch, and Tumblr.

       13.     “Young Users” means users of Social Platforms who are under 18 years of age

when using the Platform(s).

       All words, terms, and phrases not specifically defined herein are to be given their normal

and customary meaning in the context in which they are used in these Requests.

                                        INSTRUCTIONS

       1.      These Requests are intended to cover any and all documents in your possession,

custody, or control, to the extent not privileged. Documents held by any office, department, board,

commission, or instrumentality of the New Jersey Department of Education are within your

possession, custody, or control.

       2.      In accordance with ESI Protocol attached hereto as Attachment B, if you object to

furnishing any of the documents or information requested by these Requests on the grounds of

attorney-client privilege, work product, other privilege, or otherwise then, with respect to each

such document:

               a. state the nature of the privilege claimed;
               b. state the date of each communication supporting the privilege claim;

               c. identify all participants in the supporting communication;

               d. state the specific grounds on which the objection is based; and


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                e. identify the specific request calling for such information;

        2.      If you object to any Request on the grounds that it is vague or ambiguous, state: (i)

the portions or terms of such Request that you claim to be vague or ambiguous; and (ii) the

interpretation of the Request pursuant to which you provide a response.

        3.      Each request shall be deemed continuing, so as to require supplemental or

mandatory responses should you obtain additional responsive information subsequent to your

initial responses.

        4.      If you cannot fully respond to a particular Request after exercising due diligence to

make inquiry and to secure the necessary information, provide a response to the extent possible,

specifying your inability to respond to the remainder and providing whatever information or

knowledge you have concerning the portion not responded to.

        5.      Each page of a produced document shall have a legible, unique page identifier

(“Bates Number”) and confidentiality legend (where applicable) on the face of the image at a

location that does not obliterate, conceal, or interfere with any information from the source

document. Redactions should be clearly marked or stamped on the page in such a way that it is

clear from review that a portion of the image has been redacted.

        6.      All responsive and non-privileged electronic documents shall be produced in the
format ordered by the Court in its ESI order.

        7.      All responsive electronic documents shall be produced in a format agreed upon by

the parties, to include at least native versions of Excel spreadsheets and presentation files, with a

Bates-stamped placeholder image.

        8.      Unless otherwise specified, the time period for these Requests is January 1, 2012

to the date of production of the Documents.




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                                   ATTACHMENT A

1. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
   mental, social, emotional, or behavioral health of persons ages 13 to 18.

2. Programs, initiatives, efforts, or actions proposed or taken by the New Jersey Department
   of Education to encourage or promote the use of Social Media Platforms.

3. Programs, initiatives, efforts, or actions proposed or taken by the New Jersey Department
   of Education to address Young Users’ use of Social Media Platforms, including any
   program, initiative, effort, or action to prevent, limit, encourage, or promote the use of
   Social Media Platforms by Young Users.

4. Studies, programs, initiatives, efforts, or actions proposed or taken by the New Jersey
   Department of Education that sought to provide or promote internet access or phones,
   computers, tablets, or other electronic devices to Young Users.

5. Policies proposed, recommended, or enacted by the New Jersey Department of Education
   regarding screen time and acceptable use of cell phones, computers, tablets, or other
   electronic devices by Young Users.

6. Complaints to the New Jersey Department of Education by teachers regarding social
   media or cell phone use by Young Users and/or the need for acceptable use or other
   policies to address Young Users’ use of social media or cell phones.

7. Complaints to the New Jersey Department of Education by teachers or school districts
   regarding budget crises from inflation, underfunding, unfunded mandates, and other
   causes.

8. Documents related to state assessment in New Jersey, including reports and analyses
   regarding the history of K-12 state assessment or standardized testing scores,
   performance by schools and/or school districts, and any other measures of school
   performance.

9. New Jersey Department of Education’s communications and/or collaboration with any
   Social Media Platform on any program, initiative or other action related to, or directed at,
   Young Users.

10. New Jersey Department of Education’s communications with any third party related to
    Young Users and/or Social Media Platforms.

11. Policies, procedures, and practices applicable to New Jersey Department of Education and
    New Jersey Department of Education employees regarding the use of Social Media
    Platforms, including any changes to these policies during the Relevant Period.




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12. Legislation or policies proposed by, proposed on behalf of, or testified on by the New
    Jersey Department of Education, regardless of whether such legislation or policies were
    enacted, regarding Young Users’ use of Social Media Platforms.

13. Research, investigations, studies, surveys, reports, evaluations, or analyses related to Social
    Media Platforms, including the importance of Social Media Platforms and the use of Social
    Media Platforms by Young Users and the potential benefits and harms created by the use
    of Social Media Platforms.

14. Research, investigations, studies, surveys, reports, evaluations, or analyses related to Social
    Media Platforms regarding the impact of social media on the mental, social, emotional, or
    behavioral health of Young Users.

15. Research, investigations, studies, surveys, reports, evaluations, or analyses related to:
       a. Features of Social Media Platforms that are psychologically or physically harmful
           to Young Users;
       b. Features of Social Media Platforms that promote compulsive, prolonged, or
           unhealthy use by Young Users;
       c. The impact of features of Social Media Platforms, including:
              (1) Algorithmic recommendation and sequencing;
              (2) Image filters;
              (3) Use of multiple user accounts;
              (4) Infinite scroll;
              (5) Ephemeral content features;
              (6) Autoplay;
              (7) Quantification and display of likes; or
              (8) Audiovisual and haptic alerts.

16. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
    mental, social, emotional, or behavioral health of Young Users, including those related to
    the effects of:
        a. Social Media Platforms usage;
        b. Video games usage;
        c. Cell phone usage;
        d. Messaging usage;
        e. Usage of other electronics apart from usage of Social Media Platforms;
        f. COVID-19 and/or remote learning;
        g. Use of drugs or alcohol;
        h. The opioid and fentanyl epidemic;
        i. Poverty, homelessness, lack of health insurance, and/or food insecurity;
        j. Physical health including nutrition, exercise, weight management, sleeping habits,
            and sexual activity;
        k. Family trauma or deaths;
        l. Academic pressure;
        m. Violence, including school violence, domestic violence, gun violence, gun control
            and/or mass shootings;



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       n.   Bullying or verbal abuse apart from usage of Social Media Platforms;
       o.   Political polarization;
       p.   Natural disasters;
       q.   Climate change;
       r.   Discrimination and inequity;
       s.   Global warfare and conflict; and
       t.   Any other potential causes of harms to the mental, social, emotional, or behavioral
            health of Young Users.

17. Youth Risk Behavior Surveys conducted by the New Jersey Department of Education or
    on its behalf.

18. Public or non-public meetings held by the New Jersey Department of Education related to
    Social Media Platforms and use of Social Media Platforms by Young Users, including
    notices, meeting notes, PowerPoint presentations, internal memoranda, summaries,
    personal notes, or attendee lists.

19. Mental, social, emotional, or behavioral health services provided by the New Jersey
    Department of Education to Young Users during the Relevant Period.

20. Budgeted and actual expenditures by the New Jersey Department of Education during the
    Relevant Period related to Young Users’ use of Social Media Platforms.

21. Policies, procedures, and practices related to the New Jersey Department of Education’s
    use of Social Media Platforms, including communication of information or promotion of
    New Jersey Department of Education programs, initiatives, efforts, or actions on Social
    Media Platforms.

22. New Jersey Department of Education’s budget and actual expenditures during the Relevant
    Period, including expenditures on:
        a. Digital advertisements by the New Jersey Department of Education on Social
            Media Platforms
        b. Digital advertisements by the New Jersey Department of Education purchased
            through Social Media Platforms.




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                           ATTACHMENT B
 CaseCase
      4:23-cv-05448-YGR
          4:22-md-03047-YGR
                          Document
                             Document
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 1

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 5

 6                           IN THE UNITED STATES DISTRICT COURT

 7                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8
       IN RE: Social Media Adolescent                       MDL No. 3047
 9     Addiction/Personal Injury Products Liability         Case No. 4:22-md-03047-YGR
       Litigation
10
                                                            Honorable Yvonne Gonzalez Rogers
11     This document relates to:                            Honorable Peter H. Kang
       ALL ACTIONS
12                                                          STIPULATION AND [PROPOSED]
                                                            ORDER GOVERNING THE
13                                                          PRODUCTION OF
14                                                          ELECTRONICALLY STORED
                                                            INFORMATION AND HARD COPY
15                                                          DOCUMENTS

16

17          1.      PURPOSE
18          This Order Governing the Production of Electronically Stored Information and Hard Copy

19   Documents (“ESI Order”) will govern discovery of electronically stored information and any hard

20   copy documents in this Litigation as a supplement to the Federal Rules of Civil Procedure, this

21   District’s Guidelines for the Discovery of Electronically Stored Information, and any other

22   applicable orders and rules. “This Litigation” includes all actions currently in MDL No. 3047, In

23   Re: Social Media Adolescent Addiction/Personal Injury Products Liability, or hereafter added or

24   transferred to MDL No. 3047, and all actions later remanded to their respective transferor courts.

25          2.      DEFINITIONS
26          a) “Document” is defined to be synonymous in meaning and equal in scope to the usage

27               of this term in Rules 26 and 34 of the Federal Rules of Civil Procedure and shall

28               include Hard-Copy Documents and ESI.

     STIP. & [PROPOSED] ORDER GOVERNING THE
     PRODUCTION OF ESI & HARD COPY DOCUMENTS          -1-              3:22-MD-03047-YGR; MDL NO. 3047
 CaseCase
      4:23-cv-05448-YGR
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 1          b) “Electronically stored information” or “ESI,” as used herein has the same meaning as

 2               in Federal Rules of Civil Procedure 26 and 34.

 3          c) “Hard-Copy Document” means Documents existing in paper form at the time of

 4               collection.

 5          d) “Searchable Text” means the native text extracted from an Electronic Document and

 6               any Optical Character Recognition text (“OCR text”) generated from a Hard-Copy

 7               Document or electronic image.

 8          3.      COOPERATION
 9          The Parties are aware of the importance the Court places on cooperation and commit to

10   cooperate in good faith throughout this Litigation consistent with this Court’s Guidelines for the

11   Discovery of ESI and this Court’s Rules of Professional Conduct. The Parties will endeavor to

12   cooperate in good faith and be reasonably transparent in all aspects of the discovery process.

13          4.      LIAISON
14          The Parties will identify Discovery Liaisons to each other who are and will be

15   knowledgeable about and responsible for discussing their respective ESI. Any Party is free to

16   change their designated Discovery Liaison by providing written notice to the other Parties. Each

17   Party’s Discovery Liaison must: (a) be prepared to meet and confer on discovery-related matters

18   and to participate in discovery dispute resolution; (b) be knowledgeable about the Party’s

19   discovery efforts; (c) be, or have reasonable access to those who are, familiar with the Party’s

20   electronic systems and capabilities in order to explain those systems and answer relevant

21   questions; and (d) be, or have reasonable access to those who are knowledgeable about the

22   technical aspects of discovery, including electronic document storage, organization, and format

23   issues, and relevant information retrieval technology, including search methodology.

24          5.      IDENTIFICATION OF CUSTODIANS AND DATA SOURCES
25          The parties will disclose information about custodians and custodial and non-custodial

26   data sources likely to possess relevant or responsive information in accordance with Fed. R. Civ.

27   P. 26 and this District’s ESI Guidelines. The Parties will participate in Rule 26(f) discussions

28   guided by this District’s Checklist for Rule 26(f) Meet and Confer Regarding Electronically

     STIP. & [PROPOSED] ORDER GOVERNING THE
     PRODUCTION OF ESI & HARD COPY DOCUMENTS         -2-               3:22-MD-03047-YGR; MDL NO. 3047
 CaseCase
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 1   Stored Information. After responses to Requests for Production under Fed. R. Civ. P. 34 have

 2   been served, the parties will meet and confer regarding those custodians and custodial and non-

 3   custodial data sources from which Documents and ESI will be collected for search and review for

 4   potential production in this litigation. The custodian and data source exchanges will include brief

 5   explanations of the rationale for their selections; for example, for custodians, their current job

 6   titles and descriptions of their work, and for data sources, location information and description.

 7          6.      INACCESSIBLE OR UNUSABLE ESI
 8          If a Producing Party asserts that certain requested ESI is inaccessible or not “reasonably

 9   accessible,” otherwise unnecessary, or if the Receiving Party asserts that, following production,

10   certain ESI is not reasonably useable, the parties shall meet and confer to discuss resolving such

11   assertions. The parties will exchange sufficient information to enable the parties to confer in good

12   faith. If the parties cannot resolve any such disputes after such a meet and confer has taken place,

13   the issue shall be presented to the Court for resolution.

14          7.      KNOWN RESPONSIVE DOCUMENTS
15          Documents or ESI identified in a custodial or non-custodial file, or in a discrete folder or

16   collection, that are known to a Producing Party through reasonable investigation to be responsive

17   to a discovery request shall be collected for review without regard to whether the responsive

18   content was located via any search methodology developed in accordance with this Order, and

19   nothing about such review shall prevent the Producing Party from redacting or withholding and

20   logging such documents for applicable privileges.

21          8.      SEARCH METHODOLOGIES
22          The Parties shall adopt reasonable and proportionate methodologies to identify, search,

23   collect, cull, review, and produce ESI as required under applicable legal standards. The Parties

24   recognize and agree that each Party may use one or more methodologies to identify, search,

25   collect, cull, review, and produce responsive and non-privileged ESI, including the use of

26   keyword search terms and/or the use of technology assisted review (“TAR”) as discussed further

27   herein. The Parties further recognize that different data sets may implicate different

28   methodologies to identify, search, collect, cull, review, and produce responsive and non-

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 1   privileged ESI. The Parties therefore agree to meet and confer in good faith regarding any

 2   potential disputes over their respective ESI productions.

 3          9.      HIT REPORTS AND SEARCH TERMS
 4          If a Producing Party uses search terms to identify, search, or cull potentially responsive

 5   ESI, the Producing Party shall disclose the search terms to the Requesting Party. The Parties shall

 6   meet and confer regarding any disputes over the disclosed search terms. In the event that a

 7   Producing Party claims burden with respect to modified and/or additional search terms proposed

 8   by a Requesting Party, the Producing Party shall provide a hit report for the terms at issue using

 9   industry-standard processing tools, such as NUIX or other similar tools. The Producing Party

10   shall provide a hit report for the document collection where the terms were applied, including the

11   following with respect to each proposed or modified search term in the collection:

12          a) The number of documents with hits for that term; and

13          b) The number of unique documents, i.e., documents which do not have hits for any other

14               term.

15          If, after reviewing a hit report from a Producing Party, a Requesting Party so chooses, it

16   may reasonably request a further hit report which includes:

17          c) The number of family members, including the documents with hits, of the documents

18               with hits for that term; and

19          d) The number of unique family members of the documents with hits for that term.

20          If the ESI tool for the Producing Party is capable without undue burden of providing the

21   number of family members and unique family members, then the Producing Party shall provide

22   such further hit report. The Parties (including the person most knowledgeable about the

23   capabilities of the Producing Party’s ESI tool and the Requesting Party’s person most

24   knowledgeable about technical issues from its ESI service provider) shall meet and confer

25   regarding any disputes over whether the Producing Party’s ESI tool has the capability or not to

26   provider either number of family members or number of unique family members.

27          The Parties shall meet and confer to resolve disagreements over the search terms or their

28   application. To the extent the Parties are unable to reach agreement on the application of, or

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 1   procedures for, any search or filtering processes, the Parties shall fully comply with the

 2   provisions of this Court’s Discovery Standing Order regarding the procedure for raising discovery

 3   disputes with the Court, including the meet and confer and certification requirements therein.

 4          10.       TECHNOLOGY ASSISTED REVIEW (TAR)
 5          A Producing Party may use TAR (technology-assisted review) during the culling and

 6   review process of ESI, which may be applied in addition to search terms. If a Producing Party

 7   uses TAR to cull, filter out, or exclude documents from that Party’s production, that Producing

 8   Party shall do the following:

 9                   If a Producing Party chooses to apply both search terms and TAR to a review set,

10                    the Producing Party will disclose the search terms to all other Party/Parties.

11                   Disclose the name of the TAR tool or service used to all other Party/Parties.

12          11.       VALIDATION
13          Each Producing Party shall take reasonable steps to validate its review process (i.e., using

14   quality control measures to determine whether its production is missing relevant ESI or contains

15   substantial amounts of irrelevant ESI) and make any necessary adjustments or corrections to its

16   process. If, after reviewing a Producing Party’s production, a Requesting Party reasonably

17   requests additional information regarding the validation method(s) used by the Producing Party,

18   the Producing Party will disclose the level of end-to-end recall (the percentage of responsive

19   Documents in the collection which were identified as responsive by that Producing Party’s

20   methodology). If there remain disputes between the Parties regarding validation, the Parties shall

21   meet and confer to resolve such disputes in good faith, including a reasonable discussion

22   regarding the tool used and the parameters used to obtain or calculate the level of recall.

23          12.       UNSEARCHABLE DOCUMENTS
24          The Producing Party shall use reasonable efforts to identify and review potentially

25   responsive documents for which text-based search technologies are fundamentally ineffective.

26          13.       SYSTEM FILES
27          Each Party will use its best efforts to filter out common system files and application

28   executable files using the national software reference library (“NSRL”) NIST hash set list. The

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 1   Parties also may filter out stand-alone files identified as zero bytes in size. Additional culling of

 2   file types based on file header information may be applied to the following, provided these files

 3   are not known to be otherwise attached, embedded in, or included with an otherwise responsive

 4   document, or are not themselves reasonably known to contain information responsive or contain

 5   responsive data or are used to interface with users or interact with or access individual or

 6   aggregated user data: Application Package File, Backup Files, Batch Files, Binary Disc Image,

 7   C++ File Formats, Cascading Style Sheet, Configuration File, Database File, Dictionary Files,

 8   Dynamic Link Library, Event Log Files, Executable Files, Hypertext Cascading Stylesheet, Java

 9   Archive Files, JavaScript Files, JavaScript Source Code and Class Files, Macintosh Resource

10   Fork Files, Package Manager Files, Program Files, Program Installers, Python Script Files, Shell

11   Script Files, System or Temporary Files, Thumbnail Cache Files, Troff Files, Truetype Font Files,

12   Windows Cabinet File, Windows Command Files, Windows File Shortcut, Windows Help Files,

13   Windows Metafiles and Enhanced Metafiles, Windows Spool Files, Windows System File.

14          14.     DEDUPLICATION
15          Each Producing Party shall make reasonable efforts to globally deduplicate exact

16   duplicate Documents within that Producing Party’s ESI data set across all custodial and non-

17   custodial sources at the family level using either MD5 hash values or SHA hash values or any

18   other agreed-upon (and disclosed) industry-standard deduplication technology. The Parties shall

19   reach agreement on such other deduplication technology and shall reach agreement on how their

20   deduplication tools shall identify exact duplicates of documents in a manner that is consistent

21   with the disclosed tools and technologies a Producing Party is using. The Parties shall reach

22   agreement on how to identify exact duplicates of emails using industry-standard commercially

23   available software tools or services, which may for example calculate hash values of emails based

24   on concatenated values of agreed-upon email fields and/or hash values of attachments, or which

25   may use any other method the Parties agree upon. Having further met and conferred in keeping

26   with the previous sentence, the Parties shall calculate deduplication hash values for emails on the

27   concatenated values set forth in and in accordance with the documentation specifications of the

28   disclosed deduplication tools to be used in this Litigation (i.e., RelativityOne, Relativity Server,

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 1   and Nuix); however, if Nuix is used, the Producing Party shall select the optional field “Include

 2   Bcc” as an additional field to add to the default ones.

 3          The Parties shall not withhold from production near-duplicates without meeting and

 4   conferring on this issue.

 5          The names of all custodians who were either identified as custodians for purposes of

 6   collection for this matter (or otherwise known by the Producing Party to have been in possession

 7   or custody of a document prior to deduplication) will be populated in the ALL CUSTODIANS

 8   metadata field for the produced version of a document that has duplicates removed from

 9   production. The original file paths (if any exist) of a document prior to deduplication will be

10   populated in the ALL FILE PATHS metadata field of the produced document.

11          15.     EMAIL THREADING
12          The Parties may use analytics technology to identify email threads and shall produce the

13   unique most inclusive copy and related family members. Where multiple email messages are part

14   of a single chain or “thread,” a Party is only required to produce the most inclusive copy of an

15   email message(s) (“Last In Time Email(s)”) and need not produce earlier, lesser inclusive email

16   messages or “thread members,” provided that the tool or software service being used to perform

17   threading is disclosed. A Producing Party may exclude from production lesser inclusive copies of

18   the most inclusive email message in the thread, where the entire body of each of those lesser

19   inclusive copies is included within the Last in Time Email. The Producing Party will honor

20   reasonable requests to produce lesser inclusive copies of a Last In Time Email or other earlier

21   chains of emails otherwise excluded by email thread suppression.

22          The Parties shall treat new or different email chains or threads pursuant to further

23   agreement on safeguards or guidelines for defining emails threads which reasonably take into

24   account the capabilities of the email threading/dethreading/hyperthreading tools used by each

25   Defendant (which shall be disclosed to Plaintiffs).

26          16.     SOURCE CODE
27          The Parties will meet and confer to address the production and/or inspection of source

28   code and entering into a separate order governing the same if needed.

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 1          17.      PRODUCTION FORMATS

 2          The Parties agree to produce documents and data in the formats described in Appendix 1

 3   to this ESI Order. If particular documents or categories of documents identified in response to

 4   document requests warrant a different format, the Parties will cooperate to arrange for the

 5   mutually acceptable production of such documents. The Parties further agree not to degrade the

 6   searchability of documents as part of the document production process.

 7          In addition, the Parties agree that the production and production format of social media

 8   and/or user account information is not covered by this agreement and to meet and confer on the

 9   production and production format, including metadata, for social media and/or user account

10   information.

11          18.      PHASING

12          Once the Parties begin propounding discovery requests pursuant to Fed. R. Civ. P. 34, the

13   Parties agree to meet and confer regarding appropriate phasing for the production of ESI.

14          19.      MISCELLANEOUS PROVISIONS

15          a) Production of Plaintiffs ESI and Case-Specific Materials. Subject to any further

16                agreement among the Parties or Order of the Court, the Parties shall produce case-

17                specific documents (i.e., documents specific to the claim of a given Plaintiff, produced

18                by Plaintiffs or Defendants) for any Plaintiff in discovery pools or other selections

19                designed to inform bellwether selection, including those selected for a bellwether trial,

20                in accordance with the production format specified herein, provided, however, that the

21                Producing Party may elect to produce such materials in their native format. To the

22                extent production of case-specific documents for any Plaintiff selected for a bellwether

23                trial presents an issue for any Party, the Parties shall reasonably confer, and may

24                present any disputes to the Court or its designee. The Parties shall further agree to

25                confer concerning the production format and associated matters (e.g., hosting

26                platform) for case-specific documents produced in the cases of other Plaintiffs.

27                Nothing herein shall limit Defendant’s right to seek discovery from any Plaintiff.

28          b) Translations Of Produced Materials. The Producing Party has no obligation to

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 1             create a translation of the Documents or any portion thereof. For any foreign-language

 2             documents responsive to document requests that a Party reasonably knows as the

 3             result of a reasonable investigation have been translated into the English language

 4             using human translators or through machine translation for its own purposes, except to

 5             the extent such translation is protected by attorney-client or work-product privileges,

 6             the Producing Party shall produce the translation of the original document with the

 7             original. The parties will meet and confer as necessary concerning procedures for

 8             using translations at depositions and at trial. In the event the Parties cannot reach

 9             agreement, the matter may be submitted to the Court for determination.

10          c) Third-Party Documents. A Party that issues a Non-Party subpoena (“Issuing Party”)

11             shall include a copy of this Order with the subpoena and state that (1) the subpoenaed

12             Non-Party should produce Documents in response to the subpoena to all Parties; and

13             (2) the Parties to this Litigation have requested that Third Parties produce Documents

14             in accordance with the specifications set forth herein. If the subpoenaed Non-Party

15             produces Documents to the Issuing Party but does not produce those Documents to

16             other Parties, the Issuing Party shall produce such Documents to those other Parties

17             within 14 days of receiving the Documents, except where the Documents are to be

18             used in a deposition, in which case the Issuing Party shall produce such Documents to

19             all other Parties no later than three (3) days prior to the deposition, or as soon as

20             reasonably practicable if such production occurs thereafter. Nothing in this Order is

21             intended or may be interpreted to narrow, expand, or otherwise affect the rights of the

22             Parties or Third Parties to object to a subpoena. If the Non-Party production is not

23             Bates-stamped, the Parties will meet and confer to agree upon a format for designating

24             the documents with a unique Bates Number prefix.

25          d) Documents Produced by Parties – Presumption of Authenticity. In order to reduce

26             the number of requests for admission, this Order establishes a rebuttable presumption

27             that documents produced by the Parties are authentic, if said documents were either

28             created or authored by the producing Party, or any of its employees, agents, or

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 1             contractors, so long as the employees’, agents’, or contractors’ work was performed in

 2             connection with a project or assignment sponsored by the producing Party. No further

 3             evidence to establish authenticity need be provided. Nothing in this paragraph shall be

 4             deemed to waive any other evidentiary objection a party may have, including but not

 5             limited to hearsay, foundation/personal knowledge, or relevance.

 6          e) Re-productions. Notwithstanding any provisions to the contrary, re-production of

 7             discrete sets of documents from another litigation, arbitration, government inquiry, or

 8             other matter may be re-produced in the same manner and form as originally produced

 9             in the other matter, provided however that a party will re-produce documents in a

10             different format for good cause shown. This provision does not waive the right of a

11             party to object to any requests for reproduction of production files from another

12             litigation, arbitration, government inquiry, or other matter.

13          f) Modification. This ESI Order may be modified by a Stipulated Order of the Parties

14             or by the Court for good cause shown.

15          g) Good Faith. The Parties will act in good faith as required by law and use these

16             procedures to identify and reduce the potential for disputes.

17          h) Continuing Obligations. The Parties recognize that discovery shall be an iterative

18             and cooperative process. The Parties will continue to meet and confer regarding any

19             issues as reasonably necessary and appropriate. This Order does not address or resolve

20             any objections to the Parties’ respective discovery requests.

21          i) Reservation of Rights. The Parties agree that any topic not addressed herein is

22             neither a waiver nor acknowledgement of agreement by either Party.

23          IT IS SO STIPULATED, through Counsel of Record.

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 1   DATED: March 15, 2024                     Respectfully submitted,

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                                                 Attorneys for Defendants YouTube, LLC and
13                                               Google LLC
14            IT IS ORDERED that the foregoing Agreement is approved.
15

16
     Dated:         March 18, 2024
17                                             MAGISTRATE JUDGE PETER H. KANG
18

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 1                              APPENDIX 1: PRODUCTION FORMAT

 2      1) Production Components. Except as otherwise provided below, ESI must be produced

 3          in accordance with the following specifications:

 4               a) an ASCII delimited data file (.DAT) using standard delimiters;

 5               b) an image load file (.OPT) that can be loaded into commercially acceptable

 6                  production software (e.g. Concordance);

 7               c) single page black-and-white TIFF images, or JPEG images when color is

 8                  specified herein, or native files with single page placeholder TIFF images

 9                  depending on the applicable production format for each type of file;

10               d) and document level .TXT files for all documents containing extracted full text or

11                  OCR text.

12               e) Family relationships between emails and their attachments, embedded files and

13                  their source document, and connected hardcopy documents will be maintained in

14                  production. Attachments should be consecutively produced with their parent.

15               f) If a particular document warrants a different production format, the Parties will

16                  cooperate in good faith to arrange for a mutually acceptable production format.

17          2)      Production Media and Access Controls. Productions must be encrypted and

18   produced through secure electronic means, such as secure file sharing methods (e.g. FTP), or on

19   CD, DVD, flash drive or external hard drive (“Production Media”). Each piece of Production

20   Media must identify a production number corresponding to the production volume (e.g.

21   “VOL001”). Each piece of Production Media must also identify: (a) the case caption; (b) the

22   following label: “This media contains material subject to Court Ordered security measures”; (c)

23   the Producing Party’s name; (d) the production date; (e) the Bates Number range of the

24   materials contained on the Production Media.

25          Nothing in this ESI Order will preclude or impair any and all protections provided the

26   Parties by any Protective Order(s) agreed and entered into by the Parties. Parties will use best

27   efforts to avoid the unnecessary copying or transmittal of produced documents. If questions arise,

28   the Parties will meet and confer to ensure security concerns are addressed prior to the exchange of

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 1
     any documents.
 2
            3)      Data Load Files/Image Load Files. Each TIFF in a production must be
 3
     referenced in the corresponding image load file. The total number of documents referenced in a
 4
     production’s data load file should match the total number of designated document breaks in the
 5
     image load file(s) in the production. The total number of pages referenced in a production’s
 6
     image load file should match the total number of TIFF files in the production. All images must
 7
     be assigned a unique Bates number that is sequential within a given document and across the
 8
     production sets. The Bates Numbers in the image load file must match the corresponding
 9
     documents’ beginning Bates numbers in the data load file. The total number of documents in a
10
     production should match the total number of records in the data load file. Load files must not
11
     vary in format or structure within a production, or from one production to another except by
12
     agreement of the Parties.
13
            4)      Metadata Fields. Each of the metadata and coding fields set forth below that can
14
     be extracted should be produced for each document, except that if the field contains privileged
15
     information, that privileged information may be redacted. However, to the extent that metadata
16
     does not exist, is not available for any documents produced, this provision shall not be read to
17
     require any Party to extract, capture, collect, manually populate, or produce such metadata, with
18
     the exception of the following: (a) BEGBATES, (b) ENDBATES, (c) BEGATTACH, (d)
19
     ENDATTACH, (e) PRODVOL, (f) ALL CUSTODIANS, (g) CONFIDENTIALITY, (h)
20
     REDACTIONS, (i) REDACTION TYPE, (j) HASHVALUE, (k) NATIVEFILEPATH, and (l)
21
     TEXTFILEPATH, which should be populated by the Party or the Party’s vendor. The Parties
22
     will make reasonable efforts to ensure that metadata fields automatically extracted from the
23
     documents correspond directly to the information that exists in the original documents.
24

25     Field Name                                        Field Description

26                                                       Beginning Bates number for a particular
       BEGBATES                                          document as stamped on the first production
27                                                       image for that document

28     ENDBATES                                          Ending Bates number as stamped on the last

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 1
       Field Name                                Field Description
 2
                                                 production image for a particular document
 3
                                                 First production Bates number of the first
       BEGATTACH
 4                                               document in a family

 5                                               Last production Bates number of the last
       ENDATTACH
                                                 document in a family
 6
                                                 Number of attachments to an e-mail or
 7                                               embedded parent, as generated by
       ATTACHCOUNT
                                                 commercially available discovery processing
 8
                                                 tools.
 9
                                                 Names of each individual Attachment,
       ATTACHNAMES
10                                               separated by semicolons.

11     PRODVOL                                   Production volume

12                                               List of all custodians associated with
       ALLCUSTODIANS                             Document, i.e. “Custodian” + “Other
13                                               Custodian” values delimited by semicolon.

14                                               All original path(s) to the individual source
                                                 file(s) when available in the ordinary course
15                                               of business to and processable by the parties
       ALLFILEPATHS
                                                 and their ESI vendors of choice. Includes path
16                                               up to and including internal path of
17                                               containers.

18                                               Confidentiality designation assigned to the
       CONFIDENTIALITY                           document consistent with the Stipulated
19                                               Protective Order governing this Litigation
20     NATIVEFILEPATH                            Native File Link (Native Files only)
21                                               Path to extracted text/OCR file for the
       TEXTFILEPATH
                                                 document
22
       HASHVALUE                                 MD5 hash value of the document
23
                                                 Descriptor for the type of document: “E-
24
                                                 document” for electronic documents not
25                                               attached to e-mails; “E-mail” for all e-mails;
      DOCUMENT TYPE                              “E-attachment” for files that were attachments
26                                               to e-mails; and “Physical” for hard copy
                                                 physical documents that have been scanned
27                                               and converted to an electronic image.
28    AUTHOR                                     Any value populated in the Author field of the
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 1
       Field Name                                Field Description
 2
                                                 document properties
 3
                                                 Date the document was created according to
 4    DOCDATE                                    filesystem information (format:
                                                 MM/DD/YYYY)
 5
                                                 Date when document was last modified
 6    DATELASTMODIFIED                           according to filesystem information (format:
                                                 MM/DD/YYYY)
 7
                                                 Last person who modified (saved) a
 8
      LAST MODIFIED BY                           document, as generated by commercially
 9                                               available discovery processing tools.

10                                               Y if a document with track changes value,
      TRACK CHANGES                              otherwise N or empty, if available separately
11                                               from the HASHIDDENDATA flag

12                                               Y if a document with comments, otherwise N
      COMMENTS                                   or empty, if available separately from the
13                                               HASHIDDENDATA flag
                                                 Y if a document with hidden content value,
14    HASHIDDENDATA                              otherwise N or empty
15
      FILENAME                                   Filename of an electronic document
16
                                                 Any value populated in the Title field of the
      TITLE
17                                               document properties

18                                               File extension of document pulled from the
      DOCEXT
                                                 document properties
19
      FROM                                       The sender of the email
20
                                                 All recipients that were included on the “To”
21    TO
                                                 line of the email
22                                               All recipients that were included on the “CC”
      CC
                                                 line of the email
23
                                                 All recipients that were included on the
24    BCC
                                                 “BCC” line of the email
25
                                                 Date and time email was received (format:
      DATETIMERECEIVED
26                                               MM/DD/YYYY HH:MM)

27                                               Date and time email was sent (format:
      DATETIMESENT
                                                 MM/DD/YYYY HH:MM)
28

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 1
         Field Name                                                 Field Description
 2
         TIMEZONE                                                   The timezone used to process the document
 3
                                                                    Subject line of email pulled from the
         EMAILSUBJECT
 4                                                                  document properties

 5                                                                  If a threading tool is used for emails, the
         THREADID
                                                                    thread id generated by the threading tool.
 6
                                                                    General category of redaction reason as
 7                                                                  agreed to by the parties. For example, PII,
         REDACTION TYPE1
                                                                    SCA, CODE, and/or PRIV. If more than one,
 8
                                                                    separate reasons by semicolons.
 9
                                                                    Y if a document is redacted, otherwise N or
         REDACTIONS
10                                                                  empty

11            5)       TIFFs. Unless excepted below, single page, black and white, Group IV TIFFs
12   should be provided, at least 300 dots per inch (dpi) for all documents. Each TIFF image must be
13   named according to a unique corresponding Bates number associated with the document. Each
14   image must be branded according to the Bates number and the agreed upon confidentiality
15   designation. Original document orientation should be maintained (i.e., portrait to portrait and
16   landscape to landscape). Where the TIFF image is unreadable or has materially degraded the
17   quality of the original, the Producing Party shall provide a higher quality TIFF image or the
18   native or original file. In addition, the Parties shall take reasonable efforts to process word
19   processing documents (e.g., MS Word) with track changes and/or comments unhidden on the
20   TIFF image.
21            6)       Color. Word processing documents containing tracked changes shall be
22   produced in color, as single-page, 300 dpi JPG images with JPG compression and a high quality
23   setting as to not degrade the original image. The Producing Party shall comply with good faith
24   by the Requesting Party to provide replacement color images for documents originally produced
25   in black and white. A Party making such a request shall make the request by individual Bates
26
     1
       The Parties will provide specific information on any privilege(s) asserted in their privilege logs, in an overlay, or the
27   redaction boxes. The “Redaction Reason” field is informational only for redaction type and shall not in any way limit
     a party’s right to assert attorney-client privilege, attorney-work product privilege, and/or any other applicable privilege
28   or protection.

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 1
     number(s) and shall limit requests made pursuant to this paragraph to a reasonable number of
 2
     documents.
 3
            7)      Text Files. A single multi-page text file must be provided for each document,
 4
     and the filename should match its respective TIFF filename for the first page of that document.
 5
     Extracted text shall be generated with commercially acceptable technology set to include all
 6
     comments, revisions, tracked changes, speaker’s notes and text from documents with comments
 7
     or tracked changes, and hidden and very hidden worksheets, slides, columns and rows. When
 8
     possible, the text of native files should be extracted directly from the native file. Parties will
 9
     perform optical character recognition (“OCR”) on foreign language documents using the
10
     appropriate settings for languages reasonably anticipated to be in the production following a
11
     meet and confer with the Requesting Party to identify those languages. Text files will not
12
     contain the redacted portions of the documents. A commercially acceptable technology for OCR
13
     should be used for all scanned, hard copy documents and for documents with redactions other
14
     than Excel files and other spreadsheets which shall be redacted in native format. Text extracted
15
     from emails should include the following header information where available: (1) the
16
     individuals to whom the communication was directed (“To”), (2) the author of the email
17
     communication (“From”), (3) who was copied and blind copied on such email (“CC” and
18
     “BCC”), (4) the subject line of the email (“RE” or “Subject”), and (5) the date and time of the
19
     email. To the extent the text extraction technology the Parties are using can be configured to
20
     include the text of any URLs or links, the Parties shall utilize that setting.
21
            8)      Native files. Spreadsheets (e.g. MS Excel), and un-redacted presentations (e.g.
22
     Microsoft PowerPoint,) will be produced in native format to the extent that they are produced in
23
     this Litigation, audio, video, and multi-media files will be produced in native format. The
24
     Parties will meet and confer on the production of other file types, such as proprietary files, etc.
25
     Native files will be produced with a link in the NATIVEFILEPATH field, along with extracted
26
     text (where extracted text is available) and applicable metadata fields set forth in paragraph 4
27
     above. A Bates numbered TIFF placeholder indicating that the document was provided in native
28
     format must accompany every native file. Where redaction makes production of native-format
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 1
     files other than spreadsheets or presentations infeasible, the Parties will confer to determine a
 2
     reasonably usable form for the production, but spreadsheets shall presumptively be redacted in
 3
     native, and presentations presumptively redacted in image form, in these cases without the need
 4
     for further conferring.
 5
            9)      Production Format for Hard Copy Documents. Documents that exist in
 6
     hardcopy will be scanned to *.tiff image format and produced in accordance with the
 7
     specifications set forth herein. Hard copy documents that are not text-searchable shall be made
 8
     searchable by OCR prior to production. In scanning paper documents, distinct documents
 9
     should not be merged into a single record, and single documents should not be split into
10
     multiple records (i.e., paper documents should be logically unitized). In the case of an organized
11
     compilation of separate documents (for example, a binder containing several separate
12
     documents behind numbered tabs), the document behind each tab should be scanned separately,
13
     but the relationship among the documents in the compilation should be reflected in the proper
14
     coding of the beginning and ending document and attachment fields. The Parties will make their
15
     best efforts to unitize the documents correctly. If relevant documents are maintained in a file,
16
     folder, envelope, binder, notebook or similar container used to store documents, all contents
17
     therein shall be reviewed for production and privilege. Document pages which have affixed
18
     notes, such as Post-it notes, should be imaged with and without the note attached.
19
            10)     Confidentiality Designation. All images will be stamped with the appropriate
20
     confidentiality designations in accordance with the Stipulated Protective Order entered in this
21
     Litigation. Each document produced in native format will have its confidentiality designation
22
     identified in the filename of the native file and indicated on its corresponding TIFF placeholder.
23
            11)     Bates Numbering. Bates numbering should be a consistent length across the
24
     production, contain no special characters, and be numerically sequential within a given
25
     document. If a Bates number or set of Bates numbers is skipped, the skipped number or set of
26
     numbers should be noted with a placeholder. Attachments to documents will be assigned Bates
27
     numbers that directly follow the Bates numbers on the documents to which they were attached.
28

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 1
     In addition, wherever possible, each image will have its assigned Bates number electronically
 2
     “burned” onto the image.
 3
            12)     Databases and Other Structured Data. To the extent that responsive
 4
     information is stored in a database, or database management system, or proprietary system or
 5
     application which has is directed to data storage as one of its primary functions, the Producing
 6
     Party will identify the database and platform to the Requesting Party. The Producing Party shall
 7
     produce exports and reports about such responsive information stored in such database, where
 8
     such exports and reports shall be in a reasonably usable form, and information may be produced
 9
     in CSV format, tab-delimited text format, Microsoft Excel format, or Microsoft Access format.
10
     If there are future disputes over the production of information from a database, the Parties shall
11
     meet and confer in good faith in an attempt to reach any further agreements (if needed) on the
12
     data to be produced and the format and scope of the production. The Producing Party will
13
     provide reasonable amounts of information about the databases to facilitate that discussion.
14
            13)     Hyperlinks. Document(s) and/or folder(s) of documents that are hyperlinked
15
     inside a responsive document (including hyperlinked inside emails) within a Producing Party’s
16
     custody, possession, or control, do not need to be produced in the first instance as part of the
17
     same family group as the Document residing at the location to which that hyperlink points. If
18
     there are particular hyperlinks identified by the Requesting Party in produced documents, the
19
     Requesting Party may submit a list of hyperlinks to a particular Producing Party for potentially
20
     relevant documents by identifying the Bates number and URL or link text for each requested
21
     link to the Producing Party, and the Producing Party will engage in reasonable efforts to locate
22
     the hyperlinked document at that location and either identify it by Bates number or provide any
23
     responsive, non-produced, and non-privileged documents. The number of hyperlinks a
24
     Requesting Party may identify to a Producing Party shall not be excessive and shall be
25
     reasonable, proportional to the needs of the case, and not unduly burdensome.
26
            14)     Embedded Objects. The Parties agree non-substantive embedded objects,
27
     including, but not limited to, logos, icons, emoticons, and footers, may be culled from a
28
     document set (but not a document) and need not be produced as separate documents by a
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 1
     Producing Party (i.e., such embedded objects will be produced within the document itself, rather
 2
     than as separate documents). Embedded files, except for images (including but not limited to,
 3
     logos, icons, emoticons), are to be produced as family groups. Embedded files should be
 4
     assigned Bates numbers that directly follow the Bates numbers on the documents within which
 5
     they are embedded.
 6
            15)     Production of Family Groups and Relationships. If any member of a family
 7
     group is produced, all members of that group must also be produced or else logged as
 8
     privileged, and no such member shall be withheld from production as a duplicate.
 9
            16)     Dynamic Fields. Documents with dynamic fields for file names, dates, and
10
     times will be imaged to show the field code (e.g., “[FILENAME]”) where possible, rather than
11
     the values for such fields existing at the time the file is processed.
12
            17)     Time Zone. The time zone used to process a document, including its metadata,
13
     shall be disclosed in the TIMEZONE metadata field consistent with Appendix 1, and shall be
14
     standardized for each Defendant across productions.
15
            18)     Redactions.
16
            a)      A Producing Party may redact (i) information subject to the attorney client
17
     privilege or the work product protection (PRIV); (ii) information that cannot be disclosed
18
     pursuant to the Stored Communications Act (SCA); (iii) source code subject to separate
19
     agreement applicable to production of source code (CODE); (iv) personal identifying
20
     information (PII) including phone numbers, personal addresses, personal email addresses, the
21
     month and day of birth, driver’s license numbers, and other PII agreed to by the Parties (for
22
     example, the Parties shall complete their meet and confer on whether or not to redact users’ ages
23
     and years of birth). In any event, there shall be no redaction of illnesses, injuries, and medical
24
     diagnoses. To the extent a document or pleading contains PII, the Parties shall designate such
25
     documents at the appropriate Confidentiality level under the Protective Order and shall comply
26
     with Fed. R. Civ. P. 5.2 with regard to filings with the Court.
27
            b)      No redactions for relevance may be made within a produced document or ESI
28
     item. If, during the course of discovery, the Parties identify other kinds of information that any
     STIP. & [PROPOSED] ORDER GOVERNING THE
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 1
     Party has a reasonable basis for redacting, the Parties will meet and confer on a case-by-case
 2
     basis regarding that information before such redactions are made. If the Parties cannot agree,
 3
     they may seek resolution from the Court.
 4
            c)      The Producing Party will indicate, on the face of the redaction, the asserted
 5
     reason(s) for the redaction (PII, SCA, CODE, and/or PRIV) and the REDACTION TYPE
 6
     metadata field shall indicate that the document contains redactions and the reason(s) for the
 7
     redaction.
 8
            d)      Notwithstanding the foregoing, this provision shall not be read to prohibit
 9
     redactions permitted under any applicable U.S. law or Protective Order.
10
            e)      Where a responsive document contains both redacted and non-redacted content,
11
     the Parties shall produce the non-redacted portions of the document and the OCR text
12
     corresponding to the non-redacted portions.
13
            f)      Native Redactions. Spreadsheet files requiring redaction, including without
14
     limitation Microsoft Excel files, shall be redacted and produced natively (unless the Parties
15
     agree to production in some other format). In addition, a Producing Party may natively redact
16
     other files that cannot be properly imaged for redaction.
17
            g)      All images of redacted files shall be processed to show all comments, revision
18
     marks, speaker notes, marks made in track changes, or other user-entered data which are visible
19
     in a normal view of the document in its native application, unless such material is redacted and
20
     marked as redacted in accordance with this section. Where possible, any occurrences of
21
     date/time auto‐field items, including in headers and footers, will be removed and replaced with
22
     the term AUTODATE to prevent the current date from being printed. Email header information
23
     (e.g., date and/or subject line) shall not be redacted unless it is independently privileged. The
24
     Parties shall honor reasonable requests for the production of particular redacted documents in
25
     other formats where the image is not reasonably usable.
26
            h)      Color. Redacted versions of documents that would have been produced in color
27
     in their un-redacted form shall be produced in color as detailed herein.
28

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 1
            19)     Exception Files. The Parties will use reasonable efforts to address processing
 2
     exceptions.
 3
            20)     Mobile and Handheld Device Documents and Data. If responsive and unique
 4
     data that can reasonably be extracted and produced in the formats described herein is identified
 5
     on a mobile or handheld device, that data shall be produced in accordance with the generic
 6
     provisions of this protocol. To the extent that responsive data identified on a mobile or handheld
 7
     device is not susceptible to normal production protocols, the Parties will meet and confer to
 8
     address the identification, production, and production format of any responsive documents and
 9
     data contained on any mobile or handheld device.
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DELIVERED VIA PROCESS SERVER                                      July 17, 2024

New Jersey Department of Health
14 E. Front Street
Trenton, New Jersey 08608


       Re: People of the State of California v. Meta Platforms, Inc.,
             4:23-cv-05448

Dear Sir/Madam:

Enclosed please find a subpoena being served upon you in connection with the above-captioned
litigation currently pending in the U.S. District Court for the Northern District of California. I
represent Defendants Meta Platforms, Inc.; Instagram, LLC, Meta Payments, Inc., Meta Platforms
Technologies, LC and Mark Zuckerberg (collectively, the “Meta Defendants”) in this matter.

The document subpoena requests the production of specific documents identified in the attached
subpoena (see Attachment A to the subpoena), which are requested to be produced by 10 am on
August 19, 2024. We are willing to work with you on the time, date, location, method and manner
of document production, as well as answer any questions or concerns you may have regarding
subpoena compliance. It is sufficient compliance with this subpoena if you electronically transmit
a copy of the requested documents to the undersigned. As such, please contact me at (202) 662-
5801 or spetkis@cov.com, to discuss document production and subpoena compliance, unless you
are already represented by counsel in connection with this matter.

The Court is currently considering whether the New Jersey Attorney General’s Office has control
over New Jersey Department of Health’s information for the purposes of discovery in this
action. If the Court rules that the New Jersey Attorney General’s Office has control over the New
Jersey Department of Health’s information, the New Jersey Attorney General has pending
discovery requests that seek this agency’s documents. By serving this subpoena, Meta does not
waive its position in the state agency dispute, nor does Meta in any way waive rights to compel
the New Jersey Attorney General to produce New Jersey Department of Health information as
part of discovery in this action. However, to avoid further delay in the production of information
from the New Jersey Department of Health, Meta is serving the attached subpoena to request the
timely production of this information.

Your anticipated time and assistance with this matter is greatly appreciated.
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New Jersey Department of Health
July 17, 2024
Page 2


                                                             Best regards,

                                                             /s/ Stephen Petkis

                                                             Stephen Petkis



Enclosed: Subpoena, Attachment A, and Attachment B
                Case 4:23-cv-05448-YGR                         Document 116-3                Filed 07/24/24              Page 358 of 439
  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                              for the
                                                            Northern District
                                                          __________  DistrictofofCalifornia
                                                                                   __________
                 People of the State of California, et al.
                                                                                  )
                                  Plaintiff                                       )
                                     v.                                           )      Civil Action No.          4:23­cv­05448
                    Meta Platforms, Inc., et al.                                  )
                                                                                  )
                                 Defendant                                        )

                          SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                            OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

  To: New Jersey Department of Health
          14 E. Front Street, Trenton, NJ 08608
                                                          (Name of person to whom this subpoena is directed)

        ✔
        ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: See Attachment A.



   Place: Shook, Hardy & Bacon, Attn: Jennifer Blues Kenyon                               Date and Time:
             Two Commerce Square, 2001 Market Street, Suite 3000
             Philadelphia, PA 19103­7004                                                              10 a.m. on August 19, 2024

       ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

    Place:                                                                               Date and Time:



         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
  Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
  respond to this subpoena and the potential consequences of not doing so.

  Date:         07/17/2024

                                     CLERK OF COURT
                                                                                              OR
                                                                                                                       /s/ Ashley Simonsen
                                              Signature of Clerk or Deputy Clerk                                        Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Meta Platforms, Inc. f/k/a Facebook, Inc.; Instagram, LLC, Meta Payments, Inc.,
Meta Platforms Technologies, LLC; and Mark Zuckerberg,                                            who issues or requests this subpoena, are:
Ashley Simonsen, Covington & Burling LLP, 1999 Avenue of the Stars, Los Angeles, CA 90067, 424­332­4782, asimonsen@cov.com

                                 Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things or the
  inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
  it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 4:23-cv-01615

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
              Case 4:23-cv-05448-YGR                          Document 116-3                  Filed 07/24/24               Page 360 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                    DEFINITIONS AND INSTRUCTIONS TO ATTACHMENT A

                                              DEFINITIONS

        1.          The term “communication” means the transmittal of information (in the form of

facts, ideas, inquiries or otherwise).

        2.          “Document” or “documents” shall have the broadest meaning ascribed to it by the

Federal Rules of Civil Procedure, and includes, without limitation electronically stored

information (“ESI”) (including, without limitation, electronic databases and the data therein, all

electronic messages or communications, electronic word processing documents, electronically

stored voicemail, webpages, and social media posts) in accordance with any order in this case

governing ESI at the time of production. Different versions of the same documents, including, but

not limited to, drafts or documents with handwritten notations or marks not found in the original

or on other copies are different documents.

        3.          “You”, “you”, “Your” and “your” means the New Jersey Department of Health.

        4.          “Relating” or “related to” means and includes referring to, concerning, referencing,

mentioning, associated with, constituting, discussing, containing, embodying, recording,

reflecting, identifying, summarizing, incorporating, and/or dealing with or pertaining to in any

way.

        5.          “And” includes “or”, and vice versa.

        6.          The singular form of a word or term includes the plural, and vice versa.

        7.          The present tense of a verb includes the past tense, and vice versa.

        8.          The use of the article “the” shall not be construed as limiting the scope of any

request.

        9.          “Including” means “including without limitation.”


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        10.         “Any” includes “all”, and vice versa.

        11.         The capitalized version of a word or term includes the lower case version of a word

or term, and vice versa.

        12.         “Social Media Platforms” or “Platforms” means a digital service that facilitates

interactions between two or more distinct but interdependent sets of users, including but not limited

to Facebook, Instagram, Snapchat, TikTok, YouTube, Twitter (or “X”), Pinterest, LinkedIn,

BeReal, Lapse, Reddit, Threads, VSCO, Goodreads, Quora, Discord, Twitch, and Tumblr.

        13.         “Young Users” means users of Social Platforms who are under 18 years of age

when using the Platform(s).

        All words, terms, and phrases not specifically defined herein are to be given their normal

and customary meaning in the context in which they are used in these Requests.

                                            INSTRUCTIONS

        1.          These Requests are intended to cover any and all documents in your possession,

custody, or control, to the extent not privileged. Documents held by any office, department, board,

commission, or instrumentality of the New Jersey Department of Health are within your

possession, custody, or control.

        2.          In accordance with ESI Protocol attached hereto as Attachment B, if you object to

furnishing any of the documents or information requested by these Requests on the grounds of

attorney-client privilege, work product, other privilege, or otherwise then, with respect to each

such document:

                    a. state the nature of the privilege claimed;
                    b. state the date of each communication supporting the privilege claim;

                    c. identify all participants in the supporting communication;

                    d. state the specific grounds on which the objection is based; and

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                    e. identify the specific request calling for such information;

        2.          If you object to any Request on the grounds that it is vague or ambiguous, state: (i)

the portions or terms of such Request that you claim to be vague or ambiguous; and (ii) the

interpretation of the Request pursuant to which you provide a response.

        3.          Each request shall be deemed continuing, so as to require supplemental or

mandatory responses should you obtain additional responsive information subsequent to your

initial responses.

        4.          If you cannot fully respond to a particular Request after exercising due diligence to

make inquiry and to secure the necessary information, provide a response to the extent possible,

specifying your inability to respond to the remainder and providing whatever information or

knowledge you have concerning the portion not responded to.

        5.          Each page of a produced document shall have a legible, unique page identifier

(“Bates Number”) and confidentiality legend (where applicable) on the face of the image at a

location that does not obliterate, conceal, or interfere with any information from the source

document. Redactions should be clearly marked or stamped on the page in such a way that it is

clear from review that a portion of the image has been redacted.

        6.          All responsive and non-privileged electronic documents shall be produced in the

format ordered by the Court in its ESI order.

        7.          All responsive electronic documents shall be produced in a format agreed upon by

the parties, to include at least native versions of Excel spreadsheets and presentation files, with a

Bates-stamped placeholder image.

        8.          Unless otherwise specified, the time period for these Requests is January 1, 2012

to the date of production of the Documents.




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                                        ATTACHMENT A

    1. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
       mental, social, emotional, or behavioral health of persons ages 13 to 18.

    2. Research, investigations, studies, surveys, reports, evaluations, or analyses related to Social
       Media Platforms, including the importance of Social Media Platforms and the use of Social
       Media Platforms by Young Users and the potential benefits and harms created by the use
       of Social Media Platforms.

    3. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
       mental, social, emotional, or behavioral health of Young Users, including those related to
       the effects of:
           a. Social Media Platforms usage;
           b. Video games usage;
           c. Cell phone usage;
           d. Messaging usage;
           e. Usage of other electronics apart from usage of Social Media Platforms;
           f. COVID-19 and/or remote learning;
           g. Use of drugs or alcohol;
           h. The opioid and fentanyl epidemic;
           i. Poverty, homelessness, lack of health insurance, and/or food insecurity;
           j. Physical health including nutrition, exercise, weight management, sleeping habits,
               and sexual activity;
           k. Family trauma or deaths;
           l. Academic pressure;
           m. Violence, including school violence, domestic violence, gun violence, gun control
               and/or mass shootings;
           n. Bullying or verbal abuse apart from usage of Social Media Platforms;
           o. Political polarization;
           p. Natural disasters;
           q. Climate change;
           r. Discrimination and inequity;
           s. Global warfare and conflict; and
           t. Any other potential causes of harms to the mental, social, emotional, or behavioral
               health of Young Users.

    4. Youth Risk Behavior Surveys conducted by the New Jersey Department of Health or on
       its behalf.

    5. Research, investigations, studies, surveys, reports, evaluations, or analyses related to:
          a. Features of Social Media Platforms that are psychologically or physically harmful
              to Young Users;
          b. Features of Social Media Platforms that promote compulsive, prolonged, or
              unhealthy use by Young Users;
          c. The impact of features of Social Media Platforms, including:


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                    (1) Algorithmic recommendation and sequencing;
                    (2) Image filters;
                    (3) Use of multiple user accounts;
                    (4) Infinite scroll;
                    (5) Ephemeral content features;
                    (6) Autoplay;
                    (7) Quantification and display of likes; or
                    (8) Audiovisual and haptic alerts.

    6. Programs, initiatives, efforts, or actions proposed or taken by the New Jersey Department
       of Health to address Young Users’ use of Social Media Platforms, including any program,
       initiative, effort, or action to prevent, limit, encourage, or promote the use of Social Media
       Platforms by Young Users.

    7. Policies proposed, recommended, or enacted by the New Jersey Department of Health
       regarding screen time and acceptable use of cell phones, computers, tablets, or other
       electronic devices by Young Users.

    8. Complaints to the New Jersey Department of Health by teachers or school districts
       regarding social media or cell phone use by Young Users and/or the need for acceptable
       use or other policies to address Young Users’ use of social media or cell phones.

    9. Complaints to the New Jersey Department of Health by teachers or school districts
       regarding budget crises from inflation, underfunding, unfunded mandates, and other
       causes.

    10. Documents related to state assessments in New Jersey, including reports and analyses
        regarding the history of K-12 state assessment or standardized testing scores,
        performance by schools and/or school districts, and any other measures of school
        performance.

    11. Legislation or policies proposed by, proposed on behalf of, or testified on by the New
        Jersey Department of Health, regardless of whether such legislation or policies were
        enacted, regarding Young Users’ use of Social Media Platforms.

    12. Mental, social, emotional, or behavioral health services provided by the New Jersey
        Department of Health to Young Users during the Relevant Period, including:
           a. Counseling or therapy;
           b. Psychiatric services;
           c. Crisis intervention;
           d. Inpatient short-term and long-term programs;
           e. Resource centers; and
           f. Services for Young Users dealing with substance abuse or addiction issues.

    13. Any and all New Jersey Department of Health grants to address Young Users’ mental
        health, including information about when, where, why, and how any disbursements were


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        paid, any schedules or plans for future disbursements, policies governing evaluation or
        approval of such disbursements, records of how the disbursements were used, and all
        agendas, minutes, notes, or recordings from meetings related to such grant.

    14. Public or non-public meetings held by the New Jersey Department of Health related to
        Social Media Platforms and use of Social Media Platforms by Young Users, including but
        not limited to, notices, meeting notes, PowerPoint presentations, internal memoranda,
        summaries, personal notes, or attendee lists.

    15. Policies, procedures, and practices related to the New Jersey Department of Health’s use
        of Social Media Platforms, including communication of information or promotion of New
        Jersey Department of Health’s programs, initiatives, efforts, or actions on Social Media
        Platforms.

    16. New Jersey Department of Health’s communications and/or collaboration with any Social
        Media Platform on any program, initiative or other action related to, or directed at, Young
        Users.

    17. New Jersey Department of Health’s communications with any third party related to Young
        Users and/or Social Media Platforms.

    18. Budgeted and actual expenditures by the New Jersey Department of Health during the
        Relevant Period related to Young Users’ use of Social Media Platforms.

    19. Budgeted and actual expenditures by the New Jersey Department of Health during the
        Relevant Period related to treatment of teen mental, social, emotional, or behavioral health
        issues.

    20. Policies, procedures, and practices applicable to the New Jersey Department of Health and
        New Jersey Department of Health employees regarding the use of Social Media Platforms,
        including any changes to these policies during the Relevant Period.

    21. Studies, programs, initiatives, efforts, or actions proposed or taken by the New Jersey
        Department of Health that sought to provide or promote internet access or phones,
        computers, tablets, or other electronic devices to Young Users.

    22. New Jersey Department of Health’s budget and actual expenditures during the Relevant
        Period, including expenditures on:
            a. Digital advertisements by the New Jersey Department of Health on Social Media
                Platforms;
            b. Digital advertisements by the New Jersey Department of Health purchased through
                Social Media Platforms.




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 6                           IN THE UNITED STATES DISTRICT COURT

 7                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8
       IN RE: Social Media Adolescent                       MDL No. 3047
 9     Addiction/Personal Injury Products Liability         Case No. 4:22-md-03047-YGR
       Litigation
10
                                                            Honorable Yvonne Gonzalez Rogers
11     This document relates to:                            Honorable Peter H. Kang
       ALL ACTIONS
12                                                          STIPULATION AND [PROPOSED]
                                                            ORDER GOVERNING THE
13                                                          PRODUCTION OF
14                                                          ELECTRONICALLY STORED
                                                            INFORMATION AND HARD COPY
15                                                          DOCUMENTS

16

17          1.      PURPOSE
18          This Order Governing the Production of Electronically Stored Information and Hard Copy

19   Documents (“ESI Order”) will govern discovery of electronically stored information and any hard

20   copy documents in this Litigation as a supplement to the Federal Rules of Civil Procedure, this

21   District’s Guidelines for the Discovery of Electronically Stored Information, and any other

22   applicable orders and rules. “This Litigation” includes all actions currently in MDL No. 3047, In

23   Re: Social Media Adolescent Addiction/Personal Injury Products Liability, or hereafter added or

24   transferred to MDL No. 3047, and all actions later remanded to their respective transferor courts.

25          2.      DEFINITIONS
26          a) “Document” is defined to be synonymous in meaning and equal in scope to the usage

27               of this term in Rules 26 and 34 of the Federal Rules of Civil Procedure and shall

28               include Hard-Copy Documents and ESI.

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 1          b) “Electronically stored information” or “ESI,” as used herein has the same meaning as

 2               in Federal Rules of Civil Procedure 26 and 34.

 3          c) “Hard-Copy Document” means Documents existing in paper form at the time of

 4               collection.

 5          d) “Searchable Text” means the native text extracted from an Electronic Document and

 6               any Optical Character Recognition text (“OCR text”) generated from a Hard-Copy

 7               Document or electronic image.

 8          3.      COOPERATION
 9          The Parties are aware of the importance the Court places on cooperation and commit to

10   cooperate in good faith throughout this Litigation consistent with this Court’s Guidelines for the

11   Discovery of ESI and this Court’s Rules of Professional Conduct. The Parties will endeavor to

12   cooperate in good faith and be reasonably transparent in all aspects of the discovery process.

13          4.      LIAISON
14          The Parties will identify Discovery Liaisons to each other who are and will be

15   knowledgeable about and responsible for discussing their respective ESI. Any Party is free to

16   change their designated Discovery Liaison by providing written notice to the other Parties. Each

17   Party’s Discovery Liaison must: (a) be prepared to meet and confer on discovery-related matters

18   and to participate in discovery dispute resolution; (b) be knowledgeable about the Party’s

19   discovery efforts; (c) be, or have reasonable access to those who are, familiar with the Party’s

20   electronic systems and capabilities in order to explain those systems and answer relevant

21   questions; and (d) be, or have reasonable access to those who are knowledgeable about the

22   technical aspects of discovery, including electronic document storage, organization, and format

23   issues, and relevant information retrieval technology, including search methodology.

24          5.      IDENTIFICATION OF CUSTODIANS AND DATA SOURCES
25          The parties will disclose information about custodians and custodial and non-custodial

26   data sources likely to possess relevant or responsive information in accordance with Fed. R. Civ.

27   P. 26 and this District’s ESI Guidelines. The Parties will participate in Rule 26(f) discussions

28   guided by this District’s Checklist for Rule 26(f) Meet and Confer Regarding Electronically

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 1   Stored Information. After responses to Requests for Production under Fed. R. Civ. P. 34 have

 2   been served, the parties will meet and confer regarding those custodians and custodial and non-

 3   custodial data sources from which Documents and ESI will be collected for search and review for

 4   potential production in this litigation. The custodian and data source exchanges will include brief

 5   explanations of the rationale for their selections; for example, for custodians, their current job

 6   titles and descriptions of their work, and for data sources, location information and description.

 7          6.      INACCESSIBLE OR UNUSABLE ESI
 8          If a Producing Party asserts that certain requested ESI is inaccessible or not “reasonably

 9   accessible,” otherwise unnecessary, or if the Receiving Party asserts that, following production,

10   certain ESI is not reasonably useable, the parties shall meet and confer to discuss resolving such

11   assertions. The parties will exchange sufficient information to enable the parties to confer in good

12   faith. If the parties cannot resolve any such disputes after such a meet and confer has taken place,

13   the issue shall be presented to the Court for resolution.

14          7.      KNOWN RESPONSIVE DOCUMENTS
15          Documents or ESI identified in a custodial or non-custodial file, or in a discrete folder or

16   collection, that are known to a Producing Party through reasonable investigation to be responsive

17   to a discovery request shall be collected for review without regard to whether the responsive

18   content was located via any search methodology developed in accordance with this Order, and

19   nothing about such review shall prevent the Producing Party from redacting or withholding and

20   logging such documents for applicable privileges.

21          8.      SEARCH METHODOLOGIES
22          The Parties shall adopt reasonable and proportionate methodologies to identify, search,

23   collect, cull, review, and produce ESI as required under applicable legal standards. The Parties

24   recognize and agree that each Party may use one or more methodologies to identify, search,

25   collect, cull, review, and produce responsive and non-privileged ESI, including the use of

26   keyword search terms and/or the use of technology assisted review (“TAR”) as discussed further

27   herein. The Parties further recognize that different data sets may implicate different

28   methodologies to identify, search, collect, cull, review, and produce responsive and non-

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 1   privileged ESI. The Parties therefore agree to meet and confer in good faith regarding any

 2   potential disputes over their respective ESI productions.

 3          9.      HIT REPORTS AND SEARCH TERMS
 4          If a Producing Party uses search terms to identify, search, or cull potentially responsive

 5   ESI, the Producing Party shall disclose the search terms to the Requesting Party. The Parties shall

 6   meet and confer regarding any disputes over the disclosed search terms. In the event that a

 7   Producing Party claims burden with respect to modified and/or additional search terms proposed

 8   by a Requesting Party, the Producing Party shall provide a hit report for the terms at issue using

 9   industry-standard processing tools, such as NUIX or other similar tools. The Producing Party

10   shall provide a hit report for the document collection where the terms were applied, including the

11   following with respect to each proposed or modified search term in the collection:

12          a) The number of documents with hits for that term; and

13          b) The number of unique documents, i.e., documents which do not have hits for any other

14               term.

15          If, after reviewing a hit report from a Producing Party, a Requesting Party so chooses, it

16   may reasonably request a further hit report which includes:

17          c) The number of family members, including the documents with hits, of the documents

18               with hits for that term; and

19          d) The number of unique family members of the documents with hits for that term.

20          If the ESI tool for the Producing Party is capable without undue burden of providing the

21   number of family members and unique family members, then the Producing Party shall provide

22   such further hit report. The Parties (including the person most knowledgeable about the

23   capabilities of the Producing Party’s ESI tool and the Requesting Party’s person most

24   knowledgeable about technical issues from its ESI service provider) shall meet and confer

25   regarding any disputes over whether the Producing Party’s ESI tool has the capability or not to

26   provider either number of family members or number of unique family members.

27          The Parties shall meet and confer to resolve disagreements over the search terms or their

28   application. To the extent the Parties are unable to reach agreement on the application of, or

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 1   procedures for, any search or filtering processes, the Parties shall fully comply with the

 2   provisions of this Court’s Discovery Standing Order regarding the procedure for raising discovery

 3   disputes with the Court, including the meet and confer and certification requirements therein.

 4          10.       TECHNOLOGY ASSISTED REVIEW (TAR)
 5          A Producing Party may use TAR (technology-assisted review) during the culling and

 6   review process of ESI, which may be applied in addition to search terms. If a Producing Party

 7   uses TAR to cull, filter out, or exclude documents from that Party’s production, that Producing

 8   Party shall do the following:

 9                   If a Producing Party chooses to apply both search terms and TAR to a review set,

10                    the Producing Party will disclose the search terms to all other Party/Parties.

11                   Disclose the name of the TAR tool or service used to all other Party/Parties.

12          11.       VALIDATION
13          Each Producing Party shall take reasonable steps to validate its review process (i.e., using

14   quality control measures to determine whether its production is missing relevant ESI or contains

15   substantial amounts of irrelevant ESI) and make any necessary adjustments or corrections to its

16   process. If, after reviewing a Producing Party’s production, a Requesting Party reasonably

17   requests additional information regarding the validation method(s) used by the Producing Party,

18   the Producing Party will disclose the level of end-to-end recall (the percentage of responsive

19   Documents in the collection which were identified as responsive by that Producing Party’s

20   methodology). If there remain disputes between the Parties regarding validation, the Parties shall

21   meet and confer to resolve such disputes in good faith, including a reasonable discussion

22   regarding the tool used and the parameters used to obtain or calculate the level of recall.

23          12.       UNSEARCHABLE DOCUMENTS
24          The Producing Party shall use reasonable efforts to identify and review potentially

25   responsive documents for which text-based search technologies are fundamentally ineffective.

26          13.       SYSTEM FILES
27          Each Party will use its best efforts to filter out common system files and application

28   executable files using the national software reference library (“NSRL”) NIST hash set list. The

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 1   Parties also may filter out stand-alone files identified as zero bytes in size. Additional culling of

 2   file types based on file header information may be applied to the following, provided these files

 3   are not known to be otherwise attached, embedded in, or included with an otherwise responsive

 4   document, or are not themselves reasonably known to contain information responsive or contain

 5   responsive data or are used to interface with users or interact with or access individual or

 6   aggregated user data: Application Package File, Backup Files, Batch Files, Binary Disc Image,

 7   C++ File Formats, Cascading Style Sheet, Configuration File, Database File, Dictionary Files,

 8   Dynamic Link Library, Event Log Files, Executable Files, Hypertext Cascading Stylesheet, Java

 9   Archive Files, JavaScript Files, JavaScript Source Code and Class Files, Macintosh Resource

10   Fork Files, Package Manager Files, Program Files, Program Installers, Python Script Files, Shell

11   Script Files, System or Temporary Files, Thumbnail Cache Files, Troff Files, Truetype Font Files,

12   Windows Cabinet File, Windows Command Files, Windows File Shortcut, Windows Help Files,

13   Windows Metafiles and Enhanced Metafiles, Windows Spool Files, Windows System File.

14          14.     DEDUPLICATION
15          Each Producing Party shall make reasonable efforts to globally deduplicate exact

16   duplicate Documents within that Producing Party’s ESI data set across all custodial and non-

17   custodial sources at the family level using either MD5 hash values or SHA hash values or any

18   other agreed-upon (and disclosed) industry-standard deduplication technology. The Parties shall

19   reach agreement on such other deduplication technology and shall reach agreement on how their

20   deduplication tools shall identify exact duplicates of documents in a manner that is consistent

21   with the disclosed tools and technologies a Producing Party is using. The Parties shall reach

22   agreement on how to identify exact duplicates of emails using industry-standard commercially

23   available software tools or services, which may for example calculate hash values of emails based

24   on concatenated values of agreed-upon email fields and/or hash values of attachments, or which

25   may use any other method the Parties agree upon. Having further met and conferred in keeping

26   with the previous sentence, the Parties shall calculate deduplication hash values for emails on the

27   concatenated values set forth in and in accordance with the documentation specifications of the

28   disclosed deduplication tools to be used in this Litigation (i.e., RelativityOne, Relativity Server,

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 1   and Nuix); however, if Nuix is used, the Producing Party shall select the optional field “Include

 2   Bcc” as an additional field to add to the default ones.

 3          The Parties shall not withhold from production near-duplicates without meeting and

 4   conferring on this issue.

 5          The names of all custodians who were either identified as custodians for purposes of

 6   collection for this matter (or otherwise known by the Producing Party to have been in possession

 7   or custody of a document prior to deduplication) will be populated in the ALL CUSTODIANS

 8   metadata field for the produced version of a document that has duplicates removed from

 9   production. The original file paths (if any exist) of a document prior to deduplication will be

10   populated in the ALL FILE PATHS metadata field of the produced document.

11          15.     EMAIL THREADING
12          The Parties may use analytics technology to identify email threads and shall produce the

13   unique most inclusive copy and related family members. Where multiple email messages are part

14   of a single chain or “thread,” a Party is only required to produce the most inclusive copy of an

15   email message(s) (“Last In Time Email(s)”) and need not produce earlier, lesser inclusive email

16   messages or “thread members,” provided that the tool or software service being used to perform

17   threading is disclosed. A Producing Party may exclude from production lesser inclusive copies of

18   the most inclusive email message in the thread, where the entire body of each of those lesser

19   inclusive copies is included within the Last in Time Email. The Producing Party will honor

20   reasonable requests to produce lesser inclusive copies of a Last In Time Email or other earlier

21   chains of emails otherwise excluded by email thread suppression.

22          The Parties shall treat new or different email chains or threads pursuant to further

23   agreement on safeguards or guidelines for defining emails threads which reasonably take into

24   account the capabilities of the email threading/dethreading/hyperthreading tools used by each

25   Defendant (which shall be disclosed to Plaintiffs).

26          16.     SOURCE CODE
27          The Parties will meet and confer to address the production and/or inspection of source

28   code and entering into a separate order governing the same if needed.

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 1          17.      PRODUCTION FORMATS

 2          The Parties agree to produce documents and data in the formats described in Appendix 1

 3   to this ESI Order. If particular documents or categories of documents identified in response to

 4   document requests warrant a different format, the Parties will cooperate to arrange for the

 5   mutually acceptable production of such documents. The Parties further agree not to degrade the

 6   searchability of documents as part of the document production process.

 7          In addition, the Parties agree that the production and production format of social media

 8   and/or user account information is not covered by this agreement and to meet and confer on the

 9   production and production format, including metadata, for social media and/or user account

10   information.

11          18.      PHASING

12          Once the Parties begin propounding discovery requests pursuant to Fed. R. Civ. P. 34, the

13   Parties agree to meet and confer regarding appropriate phasing for the production of ESI.

14          19.      MISCELLANEOUS PROVISIONS

15          a) Production of Plaintiffs ESI and Case-Specific Materials. Subject to any further

16                agreement among the Parties or Order of the Court, the Parties shall produce case-

17                specific documents (i.e., documents specific to the claim of a given Plaintiff, produced

18                by Plaintiffs or Defendants) for any Plaintiff in discovery pools or other selections

19                designed to inform bellwether selection, including those selected for a bellwether trial,

20                in accordance with the production format specified herein, provided, however, that the

21                Producing Party may elect to produce such materials in their native format. To the

22                extent production of case-specific documents for any Plaintiff selected for a bellwether

23                trial presents an issue for any Party, the Parties shall reasonably confer, and may

24                present any disputes to the Court or its designee. The Parties shall further agree to

25                confer concerning the production format and associated matters (e.g., hosting

26                platform) for case-specific documents produced in the cases of other Plaintiffs.

27                Nothing herein shall limit Defendant’s right to seek discovery from any Plaintiff.

28          b) Translations Of Produced Materials. The Producing Party has no obligation to

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 1             create a translation of the Documents or any portion thereof. For any foreign-language

 2             documents responsive to document requests that a Party reasonably knows as the

 3             result of a reasonable investigation have been translated into the English language

 4             using human translators or through machine translation for its own purposes, except to

 5             the extent such translation is protected by attorney-client or work-product privileges,

 6             the Producing Party shall produce the translation of the original document with the

 7             original. The parties will meet and confer as necessary concerning procedures for

 8             using translations at depositions and at trial. In the event the Parties cannot reach

 9             agreement, the matter may be submitted to the Court for determination.

10          c) Third-Party Documents. A Party that issues a Non-Party subpoena (“Issuing Party”)

11             shall include a copy of this Order with the subpoena and state that (1) the subpoenaed

12             Non-Party should produce Documents in response to the subpoena to all Parties; and

13             (2) the Parties to this Litigation have requested that Third Parties produce Documents

14             in accordance with the specifications set forth herein. If the subpoenaed Non-Party

15             produces Documents to the Issuing Party but does not produce those Documents to

16             other Parties, the Issuing Party shall produce such Documents to those other Parties

17             within 14 days of receiving the Documents, except where the Documents are to be

18             used in a deposition, in which case the Issuing Party shall produce such Documents to

19             all other Parties no later than three (3) days prior to the deposition, or as soon as

20             reasonably practicable if such production occurs thereafter. Nothing in this Order is

21             intended or may be interpreted to narrow, expand, or otherwise affect the rights of the

22             Parties or Third Parties to object to a subpoena. If the Non-Party production is not

23             Bates-stamped, the Parties will meet and confer to agree upon a format for designating

24             the documents with a unique Bates Number prefix.

25          d) Documents Produced by Parties – Presumption of Authenticity. In order to reduce

26             the number of requests for admission, this Order establishes a rebuttable presumption

27             that documents produced by the Parties are authentic, if said documents were either

28             created or authored by the producing Party, or any of its employees, agents, or

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 1             contractors, so long as the employees’, agents’, or contractors’ work was performed in

 2             connection with a project or assignment sponsored by the producing Party. No further

 3             evidence to establish authenticity need be provided. Nothing in this paragraph shall be

 4             deemed to waive any other evidentiary objection a party may have, including but not

 5             limited to hearsay, foundation/personal knowledge, or relevance.

 6          e) Re-productions. Notwithstanding any provisions to the contrary, re-production of

 7             discrete sets of documents from another litigation, arbitration, government inquiry, or

 8             other matter may be re-produced in the same manner and form as originally produced

 9             in the other matter, provided however that a party will re-produce documents in a

10             different format for good cause shown. This provision does not waive the right of a

11             party to object to any requests for reproduction of production files from another

12             litigation, arbitration, government inquiry, or other matter.

13          f) Modification. This ESI Order may be modified by a Stipulated Order of the Parties

14             or by the Court for good cause shown.

15          g) Good Faith. The Parties will act in good faith as required by law and use these

16             procedures to identify and reduce the potential for disputes.

17          h) Continuing Obligations. The Parties recognize that discovery shall be an iterative

18             and cooperative process. The Parties will continue to meet and confer regarding any

19             issues as reasonably necessary and appropriate. This Order does not address or resolve

20             any objections to the Parties’ respective discovery requests.

21          i) Reservation of Rights. The Parties agree that any topic not addressed herein is

22             neither a waiver nor acknowledgement of agreement by either Party.

23          IT IS SO STIPULATED, through Counsel of Record.

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14            IT IS ORDERED that the foregoing Agreement is approved.
15

16
     Dated:         March 18, 2024
17                                             MAGISTRATE JUDGE PETER H. KANG
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 1                              APPENDIX 1: PRODUCTION FORMAT

 2      1) Production Components. Except as otherwise provided below, ESI must be produced

 3          in accordance with the following specifications:

 4               a) an ASCII delimited data file (.DAT) using standard delimiters;

 5               b) an image load file (.OPT) that can be loaded into commercially acceptable

 6                  production software (e.g. Concordance);

 7               c) single page black-and-white TIFF images, or JPEG images when color is

 8                  specified herein, or native files with single page placeholder TIFF images

 9                  depending on the applicable production format for each type of file;

10               d) and document level .TXT files for all documents containing extracted full text or

11                  OCR text.

12               e) Family relationships between emails and their attachments, embedded files and

13                  their source document, and connected hardcopy documents will be maintained in

14                  production. Attachments should be consecutively produced with their parent.

15               f) If a particular document warrants a different production format, the Parties will

16                  cooperate in good faith to arrange for a mutually acceptable production format.

17          2)      Production Media and Access Controls. Productions must be encrypted and

18   produced through secure electronic means, such as secure file sharing methods (e.g. FTP), or on

19   CD, DVD, flash drive or external hard drive (“Production Media”). Each piece of Production

20   Media must identify a production number corresponding to the production volume (e.g.

21   “VOL001”). Each piece of Production Media must also identify: (a) the case caption; (b) the

22   following label: “This media contains material subject to Court Ordered security measures”; (c)

23   the Producing Party’s name; (d) the production date; (e) the Bates Number range of the

24   materials contained on the Production Media.

25          Nothing in this ESI Order will preclude or impair any and all protections provided the

26   Parties by any Protective Order(s) agreed and entered into by the Parties. Parties will use best

27   efforts to avoid the unnecessary copying or transmittal of produced documents. If questions arise,

28   the Parties will meet and confer to ensure security concerns are addressed prior to the exchange of

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 1
     any documents.
 2
            3)      Data Load Files/Image Load Files. Each TIFF in a production must be
 3
     referenced in the corresponding image load file. The total number of documents referenced in a
 4
     production’s data load file should match the total number of designated document breaks in the
 5
     image load file(s) in the production. The total number of pages referenced in a production’s
 6
     image load file should match the total number of TIFF files in the production. All images must
 7
     be assigned a unique Bates number that is sequential within a given document and across the
 8
     production sets. The Bates Numbers in the image load file must match the corresponding
 9
     documents’ beginning Bates numbers in the data load file. The total number of documents in a
10
     production should match the total number of records in the data load file. Load files must not
11
     vary in format or structure within a production, or from one production to another except by
12
     agreement of the Parties.
13
            4)      Metadata Fields. Each of the metadata and coding fields set forth below that can
14
     be extracted should be produced for each document, except that if the field contains privileged
15
     information, that privileged information may be redacted. However, to the extent that metadata
16
     does not exist, is not available for any documents produced, this provision shall not be read to
17
     require any Party to extract, capture, collect, manually populate, or produce such metadata, with
18
     the exception of the following: (a) BEGBATES, (b) ENDBATES, (c) BEGATTACH, (d)
19
     ENDATTACH, (e) PRODVOL, (f) ALL CUSTODIANS, (g) CONFIDENTIALITY, (h)
20
     REDACTIONS, (i) REDACTION TYPE, (j) HASHVALUE, (k) NATIVEFILEPATH, and (l)
21
     TEXTFILEPATH, which should be populated by the Party or the Party’s vendor. The Parties
22
     will make reasonable efforts to ensure that metadata fields automatically extracted from the
23
     documents correspond directly to the information that exists in the original documents.
24

25     Field Name                                        Field Description

26                                                       Beginning Bates number for a particular
       BEGBATES                                          document as stamped on the first production
27                                                       image for that document

28     ENDBATES                                          Ending Bates number as stamped on the last

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 1
       Field Name                                Field Description
 2
                                                 production image for a particular document
 3
                                                 First production Bates number of the first
       BEGATTACH
 4                                               document in a family

 5                                               Last production Bates number of the last
       ENDATTACH
                                                 document in a family
 6
                                                 Number of attachments to an e-mail or
 7                                               embedded parent, as generated by
       ATTACHCOUNT
                                                 commercially available discovery processing
 8
                                                 tools.
 9
                                                 Names of each individual Attachment,
       ATTACHNAMES
10                                               separated by semicolons.

11     PRODVOL                                   Production volume

12                                               List of all custodians associated with
       ALLCUSTODIANS                             Document, i.e. “Custodian” + “Other
13                                               Custodian” values delimited by semicolon.

14                                               All original path(s) to the individual source
                                                 file(s) when available in the ordinary course
15                                               of business to and processable by the parties
       ALLFILEPATHS
                                                 and their ESI vendors of choice. Includes path
16                                               up to and including internal path of
17                                               containers.

18                                               Confidentiality designation assigned to the
       CONFIDENTIALITY                           document consistent with the Stipulated
19                                               Protective Order governing this Litigation
20     NATIVEFILEPATH                            Native File Link (Native Files only)
21                                               Path to extracted text/OCR file for the
       TEXTFILEPATH
                                                 document
22
       HASHVALUE                                 MD5 hash value of the document
23
                                                 Descriptor for the type of document: “E-
24
                                                 document” for electronic documents not
25                                               attached to e-mails; “E-mail” for all e-mails;
      DOCUMENT TYPE                              “E-attachment” for files that were attachments
26                                               to e-mails; and “Physical” for hard copy
                                                 physical documents that have been scanned
27                                               and converted to an electronic image.
28    AUTHOR                                     Any value populated in the Author field of the
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 1
       Field Name                                Field Description
 2
                                                 document properties
 3
                                                 Date the document was created according to
 4    DOCDATE                                    filesystem information (format:
                                                 MM/DD/YYYY)
 5
                                                 Date when document was last modified
 6    DATELASTMODIFIED                           according to filesystem information (format:
                                                 MM/DD/YYYY)
 7
                                                 Last person who modified (saved) a
 8
      LAST MODIFIED BY                           document, as generated by commercially
 9                                               available discovery processing tools.

10                                               Y if a document with track changes value,
      TRACK CHANGES                              otherwise N or empty, if available separately
11                                               from the HASHIDDENDATA flag

12                                               Y if a document with comments, otherwise N
      COMMENTS                                   or empty, if available separately from the
13                                               HASHIDDENDATA flag
                                                 Y if a document with hidden content value,
14    HASHIDDENDATA                              otherwise N or empty
15
      FILENAME                                   Filename of an electronic document
16
                                                 Any value populated in the Title field of the
      TITLE
17                                               document properties

18                                               File extension of document pulled from the
      DOCEXT
                                                 document properties
19
      FROM                                       The sender of the email
20
                                                 All recipients that were included on the “To”
21    TO
                                                 line of the email
22                                               All recipients that were included on the “CC”
      CC
                                                 line of the email
23
                                                 All recipients that were included on the
24    BCC
                                                 “BCC” line of the email
25
                                                 Date and time email was received (format:
      DATETIMERECEIVED
26                                               MM/DD/YYYY HH:MM)

27                                               Date and time email was sent (format:
      DATETIMESENT
                                                 MM/DD/YYYY HH:MM)
28

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 1
         Field Name                                                 Field Description
 2
         TIMEZONE                                                   The timezone used to process the document
 3
                                                                    Subject line of email pulled from the
         EMAILSUBJECT
 4                                                                  document properties

 5                                                                  If a threading tool is used for emails, the
         THREADID
                                                                    thread id generated by the threading tool.
 6
                                                                    General category of redaction reason as
 7                                                                  agreed to by the parties. For example, PII,
         REDACTION TYPE1
                                                                    SCA, CODE, and/or PRIV. If more than one,
 8
                                                                    separate reasons by semicolons.
 9
                                                                    Y if a document is redacted, otherwise N or
         REDACTIONS
10                                                                  empty

11            5)       TIFFs. Unless excepted below, single page, black and white, Group IV TIFFs
12   should be provided, at least 300 dots per inch (dpi) for all documents. Each TIFF image must be
13   named according to a unique corresponding Bates number associated with the document. Each
14   image must be branded according to the Bates number and the agreed upon confidentiality
15   designation. Original document orientation should be maintained (i.e., portrait to portrait and
16   landscape to landscape). Where the TIFF image is unreadable or has materially degraded the
17   quality of the original, the Producing Party shall provide a higher quality TIFF image or the
18   native or original file. In addition, the Parties shall take reasonable efforts to process word
19   processing documents (e.g., MS Word) with track changes and/or comments unhidden on the
20   TIFF image.
21            6)       Color. Word processing documents containing tracked changes shall be
22   produced in color, as single-page, 300 dpi JPG images with JPG compression and a high quality
23   setting as to not degrade the original image. The Producing Party shall comply with good faith
24   by the Requesting Party to provide replacement color images for documents originally produced
25   in black and white. A Party making such a request shall make the request by individual Bates
26
     1
       The Parties will provide specific information on any privilege(s) asserted in their privilege logs, in an overlay, or the
27   redaction boxes. The “Redaction Reason” field is informational only for redaction type and shall not in any way limit
     a party’s right to assert attorney-client privilege, attorney-work product privilege, and/or any other applicable privilege
28   or protection.

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 1
     number(s) and shall limit requests made pursuant to this paragraph to a reasonable number of
 2
     documents.
 3
            7)      Text Files. A single multi-page text file must be provided for each document,
 4
     and the filename should match its respective TIFF filename for the first page of that document.
 5
     Extracted text shall be generated with commercially acceptable technology set to include all
 6
     comments, revisions, tracked changes, speaker’s notes and text from documents with comments
 7
     or tracked changes, and hidden and very hidden worksheets, slides, columns and rows. When
 8
     possible, the text of native files should be extracted directly from the native file. Parties will
 9
     perform optical character recognition (“OCR”) on foreign language documents using the
10
     appropriate settings for languages reasonably anticipated to be in the production following a
11
     meet and confer with the Requesting Party to identify those languages. Text files will not
12
     contain the redacted portions of the documents. A commercially acceptable technology for OCR
13
     should be used for all scanned, hard copy documents and for documents with redactions other
14
     than Excel files and other spreadsheets which shall be redacted in native format. Text extracted
15
     from emails should include the following header information where available: (1) the
16
     individuals to whom the communication was directed (“To”), (2) the author of the email
17
     communication (“From”), (3) who was copied and blind copied on such email (“CC” and
18
     “BCC”), (4) the subject line of the email (“RE” or “Subject”), and (5) the date and time of the
19
     email. To the extent the text extraction technology the Parties are using can be configured to
20
     include the text of any URLs or links, the Parties shall utilize that setting.
21
            8)      Native files. Spreadsheets (e.g. MS Excel), and un-redacted presentations (e.g.
22
     Microsoft PowerPoint,) will be produced in native format to the extent that they are produced in
23
     this Litigation, audio, video, and multi-media files will be produced in native format. The
24
     Parties will meet and confer on the production of other file types, such as proprietary files, etc.
25
     Native files will be produced with a link in the NATIVEFILEPATH field, along with extracted
26
     text (where extracted text is available) and applicable metadata fields set forth in paragraph 4
27
     above. A Bates numbered TIFF placeholder indicating that the document was provided in native
28
     format must accompany every native file. Where redaction makes production of native-format
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 1
     files other than spreadsheets or presentations infeasible, the Parties will confer to determine a
 2
     reasonably usable form for the production, but spreadsheets shall presumptively be redacted in
 3
     native, and presentations presumptively redacted in image form, in these cases without the need
 4
     for further conferring.
 5
            9)      Production Format for Hard Copy Documents. Documents that exist in
 6
     hardcopy will be scanned to *.tiff image format and produced in accordance with the
 7
     specifications set forth herein. Hard copy documents that are not text-searchable shall be made
 8
     searchable by OCR prior to production. In scanning paper documents, distinct documents
 9
     should not be merged into a single record, and single documents should not be split into
10
     multiple records (i.e., paper documents should be logically unitized). In the case of an organized
11
     compilation of separate documents (for example, a binder containing several separate
12
     documents behind numbered tabs), the document behind each tab should be scanned separately,
13
     but the relationship among the documents in the compilation should be reflected in the proper
14
     coding of the beginning and ending document and attachment fields. The Parties will make their
15
     best efforts to unitize the documents correctly. If relevant documents are maintained in a file,
16
     folder, envelope, binder, notebook or similar container used to store documents, all contents
17
     therein shall be reviewed for production and privilege. Document pages which have affixed
18
     notes, such as Post-it notes, should be imaged with and without the note attached.
19
            10)     Confidentiality Designation. All images will be stamped with the appropriate
20
     confidentiality designations in accordance with the Stipulated Protective Order entered in this
21
     Litigation. Each document produced in native format will have its confidentiality designation
22
     identified in the filename of the native file and indicated on its corresponding TIFF placeholder.
23
            11)     Bates Numbering. Bates numbering should be a consistent length across the
24
     production, contain no special characters, and be numerically sequential within a given
25
     document. If a Bates number or set of Bates numbers is skipped, the skipped number or set of
26
     numbers should be noted with a placeholder. Attachments to documents will be assigned Bates
27
     numbers that directly follow the Bates numbers on the documents to which they were attached.
28

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 1
     In addition, wherever possible, each image will have its assigned Bates number electronically
 2
     “burned” onto the image.
 3
            12)     Databases and Other Structured Data. To the extent that responsive
 4
     information is stored in a database, or database management system, or proprietary system or
 5
     application which has is directed to data storage as one of its primary functions, the Producing
 6
     Party will identify the database and platform to the Requesting Party. The Producing Party shall
 7
     produce exports and reports about such responsive information stored in such database, where
 8
     such exports and reports shall be in a reasonably usable form, and information may be produced
 9
     in CSV format, tab-delimited text format, Microsoft Excel format, or Microsoft Access format.
10
     If there are future disputes over the production of information from a database, the Parties shall
11
     meet and confer in good faith in an attempt to reach any further agreements (if needed) on the
12
     data to be produced and the format and scope of the production. The Producing Party will
13
     provide reasonable amounts of information about the databases to facilitate that discussion.
14
            13)     Hyperlinks. Document(s) and/or folder(s) of documents that are hyperlinked
15
     inside a responsive document (including hyperlinked inside emails) within a Producing Party’s
16
     custody, possession, or control, do not need to be produced in the first instance as part of the
17
     same family group as the Document residing at the location to which that hyperlink points. If
18
     there are particular hyperlinks identified by the Requesting Party in produced documents, the
19
     Requesting Party may submit a list of hyperlinks to a particular Producing Party for potentially
20
     relevant documents by identifying the Bates number and URL or link text for each requested
21
     link to the Producing Party, and the Producing Party will engage in reasonable efforts to locate
22
     the hyperlinked document at that location and either identify it by Bates number or provide any
23
     responsive, non-produced, and non-privileged documents. The number of hyperlinks a
24
     Requesting Party may identify to a Producing Party shall not be excessive and shall be
25
     reasonable, proportional to the needs of the case, and not unduly burdensome.
26
            14)     Embedded Objects. The Parties agree non-substantive embedded objects,
27
     including, but not limited to, logos, icons, emoticons, and footers, may be culled from a
28
     document set (but not a document) and need not be produced as separate documents by a
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 1
     Producing Party (i.e., such embedded objects will be produced within the document itself, rather
 2
     than as separate documents). Embedded files, except for images (including but not limited to,
 3
     logos, icons, emoticons), are to be produced as family groups. Embedded files should be
 4
     assigned Bates numbers that directly follow the Bates numbers on the documents within which
 5
     they are embedded.
 6
            15)     Production of Family Groups and Relationships. If any member of a family
 7
     group is produced, all members of that group must also be produced or else logged as
 8
     privileged, and no such member shall be withheld from production as a duplicate.
 9
            16)     Dynamic Fields. Documents with dynamic fields for file names, dates, and
10
     times will be imaged to show the field code (e.g., “[FILENAME]”) where possible, rather than
11
     the values for such fields existing at the time the file is processed.
12
            17)     Time Zone. The time zone used to process a document, including its metadata,
13
     shall be disclosed in the TIMEZONE metadata field consistent with Appendix 1, and shall be
14
     standardized for each Defendant across productions.
15
            18)     Redactions.
16
            a)      A Producing Party may redact (i) information subject to the attorney client
17
     privilege or the work product protection (PRIV); (ii) information that cannot be disclosed
18
     pursuant to the Stored Communications Act (SCA); (iii) source code subject to separate
19
     agreement applicable to production of source code (CODE); (iv) personal identifying
20
     information (PII) including phone numbers, personal addresses, personal email addresses, the
21
     month and day of birth, driver’s license numbers, and other PII agreed to by the Parties (for
22
     example, the Parties shall complete their meet and confer on whether or not to redact users’ ages
23
     and years of birth). In any event, there shall be no redaction of illnesses, injuries, and medical
24
     diagnoses. To the extent a document or pleading contains PII, the Parties shall designate such
25
     documents at the appropriate Confidentiality level under the Protective Order and shall comply
26
     with Fed. R. Civ. P. 5.2 with regard to filings with the Court.
27
            b)      No redactions for relevance may be made within a produced document or ESI
28
     item. If, during the course of discovery, the Parties identify other kinds of information that any
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 1
     Party has a reasonable basis for redacting, the Parties will meet and confer on a case-by-case
 2
     basis regarding that information before such redactions are made. If the Parties cannot agree,
 3
     they may seek resolution from the Court.
 4
            c)      The Producing Party will indicate, on the face of the redaction, the asserted
 5
     reason(s) for the redaction (PII, SCA, CODE, and/or PRIV) and the REDACTION TYPE
 6
     metadata field shall indicate that the document contains redactions and the reason(s) for the
 7
     redaction.
 8
            d)      Notwithstanding the foregoing, this provision shall not be read to prohibit
 9
     redactions permitted under any applicable U.S. law or Protective Order.
10
            e)      Where a responsive document contains both redacted and non-redacted content,
11
     the Parties shall produce the non-redacted portions of the document and the OCR text
12
     corresponding to the non-redacted portions.
13
            f)      Native Redactions. Spreadsheet files requiring redaction, including without
14
     limitation Microsoft Excel files, shall be redacted and produced natively (unless the Parties
15
     agree to production in some other format). In addition, a Producing Party may natively redact
16
     other files that cannot be properly imaged for redaction.
17
            g)      All images of redacted files shall be processed to show all comments, revision
18
     marks, speaker notes, marks made in track changes, or other user-entered data which are visible
19
     in a normal view of the document in its native application, unless such material is redacted and
20
     marked as redacted in accordance with this section. Where possible, any occurrences of
21
     date/time auto‐field items, including in headers and footers, will be removed and replaced with
22
     the term AUTODATE to prevent the current date from being printed. Email header information
23
     (e.g., date and/or subject line) shall not be redacted unless it is independently privileged. The
24
     Parties shall honor reasonable requests for the production of particular redacted documents in
25
     other formats where the image is not reasonably usable.
26
            h)      Color. Redacted versions of documents that would have been produced in color
27
     in their un-redacted form shall be produced in color as detailed herein.
28

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 1
            19)     Exception Files. The Parties will use reasonable efforts to address processing
 2
     exceptions.
 3
            20)     Mobile and Handheld Device Documents and Data. If responsive and unique
 4
     data that can reasonably be extracted and produced in the formats described herein is identified
 5
     on a mobile or handheld device, that data shall be produced in accordance with the generic
 6
     provisions of this protocol. To the extent that responsive data identified on a mobile or handheld
 7
     device is not susceptible to normal production protocols, the Parties will meet and confer to
 8
     address the identification, production, and production format of any responsive documents and
 9
     data contained on any mobile or handheld device.
10

11

12

13

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DELIVERED VIA PROCESS SERVER                                      July 17, 2024

New Jersey Governor’s Council on Mental Health Stigma
222 S. Warren Street
Trenton, New Jersey 08608


       Re: People of the State of California v. Meta Platforms, Inc.,
             4:23-cv-05448

Dear Sir/Madam

Enclosed please find a subpoena being served upon you in connection with the above-captioned
litigation currently pending in the U.S. District Court for the Northern District of California. I
represent Defendants Meta Platforms, Inc.; Instagram, LLC, Meta Payments, Inc., Meta Platforms
Technologies, LC and Mark Zuckerberg (collectively, the “Meta Defendants”) in this matter.

The document subpoena requests the production of specific documents identified in the attached
subpoena (see Attachment A to the subpoena), which are requested to be produced by 10 am on
August 19, 2024. We are willing to work with you on the time, date, location, method and manner
of document production, as well as answer any questions or concerns you may have regarding
subpoena compliance. It is sufficient compliance with this subpoena if you electronically transmit
a copy of the requested documents to the undersigned. As such, please contact me at (202) 662-
5801 or spetkis@cov.com, to discuss document production and subpoena compliance, unless you
are already represented by counsel in connection with this matter.

The Court is currently considering whether the New Jersey Attorney General’s Office has control
over New Jersey Governor’s Council on Mental Health Stigma’s information for the purposes of
discovery in this action. If the Court rules that the New Jersey Attorney General’s Office has
control over the New Jersey Governor’s Council on Mental Health Stigma’s information, the New
Jersey Attorney General has pending discovery requests that seek this agency’s documents. By
serving this subpoena, Meta does not waive its position in the state agency dispute, nor does Meta
in any way waive rights to compel the New Jersey Attorney General to produce New Jersey
Governor’s Council on Mental Health Stigma information as part of discovery in this
action. However, to avoid further delay in the production of information from the New Jersey
Governor’s Council on Mental Health Stigma, Meta is serving the attached subpoena to request
the timely production of this information.

Your anticipated time and assistance with this matter is greatly appreciated.
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New Jersey Governor’s Council on Mental Health Stigma
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                                                             Best regards,

                                                             /s/ Stephen Petkis

                                                             Stephen Petkis




Enclosed: Subpoena, Attachment A, and Attachment B
              Case 4:23-cv-05448-YGR                        Document 116-3                  Filed 07/24/24              Page 400 of 439
 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Northern District
                                                        __________  DistrictofofCalifornia
                                                                                 __________
               People of the State of California, et al.
                                                                               )
                                Plaintiff                                      )
                                   v.                                          )        Civil Action No.          4:23­cv­05448
                   Meta Platforms, Inc., et al.                                )
                                                                               )
                               Defendant                                       )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

  To: New Jersey Governor’s Council on Mental Health Stigma
         222 S. Warren Street, Trenton, NJ 08608
                                                        (Name of person to whom this subpoena is directed)

       ✔
       ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material: See Attachment A.



   Place: Shook, Hardy & Bacon, Attn: Jennifer Blues Kenyon                              Date and Time:
            Two Commerce Square, 2001 Market Street, Suite 3000
            Philadelphia, PA 19103­7004                                                              10 a.m. on August 19, 2024

      ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

   Place:                                                                               Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        07/17/2024

                                   CLERK OF COURT
                                                                                             OR
                                                                                                                      /s/ Ashley Simonsen
                                            Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Meta Platforms, Inc. f/k/a Facebook, Inc.; Instagram, LLC, Meta Payments, Inc.,
Meta Platforms Technologies, LLC; and Mark Zuckerberg,                                          who issues or requests this subpoena, are:
Ashley Simonsen, Covington & Burling LLP, 1999 Avenue of the Stars, Los Angeles, CA 90067, 424­332­4782, asimonsen@cov.com

                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 4:23-cv-05448-YGR                     Document 116-3                  Filed 07/24/24              Page 401 of 439
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 4:23-cv-01615

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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               DEFINITIONS AND INSTRUCTIONS TO ATTACHMENT A

                                          DEFINITIONS

        1.      The term “communication” means the transmittal of information (in the form of

facts, ideas, inquiries or otherwise).

        2.      “Document” or “documents” shall have the broadest meaning ascribed to it by the

Federal Rules of Civil Procedure, and includes, without limitation electronically stored

information (“ESI”) (including, without limitation, electronic databases and the data therein, all

electronic messages or communications, electronic word processing documents, electronically

stored voicemail, webpages, and social media posts) in accordance with any order in this case

governing ESI at the time of production. Different versions of the same documents, including, but

not limited to, drafts or documents with handwritten notations or marks not found in the original

or on other copies are different documents.

        3.      “You”, “you”, “Your” and “your” means the New Jersey Governor’s Council on

Mental Health Stigma.

        4.      “Relating” or “related to” means and includes referring to, concerning, referencing,

mentioning, associated with, constituting, discussing, containing, embodying, recording,

reflecting, identifying, summarizing, incorporating, and/or dealing with or pertaining to in any

way.

        5.      “And” includes “or”, and vice versa.

        6.      The singular form of a word or term includes the plural, and vice versa.

        7.      The present tense of a verb includes the past tense, and vice versa.

        8.      The use of the article “the” shall not be construed as limiting the scope of any

request.



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       9.      “Including” means “including without limitation.”

       10.     “Any” includes “all”, and vice versa.

       11.     The capitalized version of a word or term includes the lower case version of a word

or term, and vice versa.

       12.     “Social Media Platforms” or “Platforms” means a digital service that facilitates

interactions between two or more distinct but interdependent sets of users, including but not limited

to Facebook, Instagram, Snapchat, TikTok, YouTube, Twitter (or “X”), Pinterest, LinkedIn,

BeReal, Lapse, Reddit, Threads, VSCO, Goodreads, Quora, Discord, Twitch, and Tumblr.

       13.     “Young Users” means users of Social Platforms who are under 18 years of age

when using the Platform(s).

       All words, terms, and phrases not specifically defined herein are to be given their normal

and customary meaning in the context in which they are used in these Requests.

                                        INSTRUCTIONS

       1.      These Requests are intended to cover any and all documents in your possession,

custody, or control, to the extent not privileged. Documents held by any office, department, board,

commission, or instrumentality of the New Jersey Governor’s Council on Mental Health Stigma

are within your possession, custody, or control.

       2.      In accordance with ESI Protocol attached hereto as Attachment B, if you object to

furnishing any of the documents or information requested by these Requests on the grounds of

attorney-client privilege, work product, other privilege, or otherwise then, with respect to each

such document:

               a. state the nature of the privilege claimed;
               b. state the date of each communication supporting the privilege claim;




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                c. identify all participants in the supporting communication;

                d. state the specific grounds on which the objection is based; and

                e. identify the specific request calling for such information;

        2.      If you object to any Request on the grounds that it is vague or ambiguous, state: (i)

the portions or terms of such Request that you claim to be vague or ambiguous; and (ii) the

interpretation of the Request pursuant to which you provide a response.

        3.      Each request shall be deemed continuing, so as to require supplemental or

mandatory responses should you obtain additional responsive information subsequent to your

initial responses.

        4.      If you cannot fully respond to a particular Request after exercising due diligence to

make inquiry and to secure the necessary information, provide a response to the extent possible,

specifying your inability to respond to the remainder and providing whatever information or

knowledge you have concerning the portion not responded to.

        5.      Each page of a produced document shall have a legible, unique page identifier

(“Bates Number”) and confidentiality legend (where applicable) on the face of the image at a

location that does not obliterate, conceal, or interfere with any information from the source

document. Redactions should be clearly marked or stamped on the page in such a way that it is

clear from review that a portion of the image has been redacted.

        6.      All responsive and non-privileged electronic documents shall be produced in the

format ordered by the Court in its ESI order.

        7.      All responsive electronic documents shall be produced in a format agreed upon by

the parties, to include at least native versions of Excel spreadsheets and presentation files, with a

Bates-stamped placeholder image.

        8.      Unless otherwise specified, the time period for these Requests is January 1, 2012

to the date of production of the Documents.




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                                    ATTACHMENT A

1. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
   mental, social, emotional, or behavioral health of persons ages 13 to 18.

2. Research, investigations, studies, surveys, reports, evaluations, or analyses related to Social
   Media Platforms, including the importance of Social Media Platforms and the use of Social
   Media Platforms by Young Users and the potential benefits and harms created by the use
   of Social Media Platforms.

3. Research, investigations, studies, surveys, reports, evaluations, or analyses concerning the
   mental, social, emotional, or behavioral health of Young Users, including those related to
   the effects of:
       a. Social Media Platforms usage;
       b. Video games usage;
       c. Cell phone usage;
       d. Messaging usage;
       e. Usage of other electronics apart from usage of Social Media Platforms;
       f. COVID-19 and/or remote learning;
       g. Use of drugs or alcohol;
       h. The opioid and fentanyl epidemic;
       i. Poverty, homelessness, lack of health insurance, and/or food insecurity;
       j. Physical health including nutrition, exercise, weight management, sleeping habits,
           and sexual activity;
       k. Family trauma or deaths;
       l. Academic pressure;
       m. Violence, including school violence, domestic violence, gun violence, gun control
           and/or mass shootings;
       n. Bullying or verbal abuse apart from usage of Social Media Platforms;
       o. Political polarization;
       p. Natural disasters;
       q. Climate change;
       r. Discrimination and inequity;
       s. Global warfare and conflict; and
       t. Any other potential causes of harms to the mental, social, emotional, or behavioral
           health of Young Users.

4. Youth Risk Behavior Surveys conducted by the New Jersey Governor’s Council on Mental
   Health Stigma or on its behalf.

5. Research, investigations, studies, surveys, reports, evaluations, or analyses related to:
      a. Features of Social Media Platforms that are psychologically or physically harmful
          to Young Users;
      b. Features of Social Media Platforms that promote compulsive, prolonged, or
          unhealthy use by Young Users;
      c. The impact of features of Social Media Platforms, including:



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              (1) Algorithmic recommendation and sequencing;
              (2) Image filters;
              (3) Use of multiple user accounts;
              (4) Infinite scroll;
              (5) Ephemeral content features;
              (6) Autoplay;
              (7) Quantification and display of likes; or
              (8) Audiovisual and haptic alerts.

6. Programs, initiatives, efforts, or actions proposed or taken by the New Jersey Governor’s
   Council on Mental Health Stigma to address Young Users’ use of Social Media Platforms,
   including any program, initiative, effort, or action to prevent, limit, encourage, or promote
   the use of Social Media Platforms by Young Users.

7. Policies proposed, recommended, or enacted by the New Jersey Governor’s Council on
   Mental Health Stigma regarding screen time and acceptable use of cell phones,
   computers, tablets, or other electronic devices by Young Users.

8. Complaints to the New Jersey Governor’s Council on Mental Health Stigma by teachers
   or school districts regarding social media or cell phone use by Young Users and/or the
   need for acceptable use or other policies to address Young Users’ use of social media or
   cell phones.

9. Complaints to the New Jersey Governor’s Council on Mental Health Stigma by teachers
   or school districts regarding budget crises from inflation, underfunding, unfunded
   mandates, and other causes.

10. Documents related to state assessment in New Jersey, including reports and analyses
    regarding the history of K-12 state assessment or standardized testing scores,
    performance by schools and/or school districts, and any other measures of school
    performance.

11. Legislation or policies proposed by, proposed on behalf of, or testified on by the New
    Jersey Governor’s Council on Mental Health Stigma, regardless of whether such legislation
    or policies were enacted, regarding Young Users’ use of Social Media Platforms.

12. Mental, social, emotional, or behavioral health services provided by the New Jersey
    Governor’s Council on Mental Health Stigma to Young Users during the Relevant Period,
    including:
        a. Counseling or therapy;
        b. Psychiatric services;
        c. Crisis intervention;
        d. Inpatient short-term and long-term programs;
        e. Resource centers; and
        f. Services for Young Users dealing with substance abuse or addiction issues.




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13. Any and all New Jersey Governor’s Council on Mental Health Stigma grants to address
    Young Users’ mental health, including information about when, where, why, and how any
    disbursements were paid, any schedules or plans for future disbursements, policies
    governing evaluation or approval of such disbursements, records of how the disbursements
    were used, and all agendas, minutes, notes, or recordings from meetings related to such
    grant.

14. Public or non-public meetings held by the New Jersey Governor’s Council on Mental
    Health Stigma related to Social Media Platforms and use of Social Media Platforms by
    Young Users, including but not limited to, notices, meeting notes, PowerPoint
    presentations, internal memoranda, summaries, personal notes, or attendee lists.

15. Policies, procedures, and practices related to the New Jersey Governor’s Council on Mental
    Health Stigma use of Social Media Platforms, including communication of information or
    promotion of New Jersey Governor’s Council on Mental Health Stigma programs,
    initiatives, efforts, or actions on Social Media Platforms.

16. New Jersey Governor’s Council on Mental Health Stigma’s communications and/or
    collaboration with any Social Media Platform on any program, initiative or other action
    related to, or directed at, Young Users.

17. New Jersey Governor’s Council on Mental Health Stigma’s communications with any third
    party related to Young Users and/or Social Media Platforms.

18. Budgeted and actual expenditures by the New Jersey Governor’s Council on Mental Health
    Stigma during the Relevant Period related to Young Users’ use of Social Media Platforms.

19. Budgeted and actual expenditures by the New Jersey Governor’s Council on Mental Health
    Stigma during the Relevant Period related to treatment of teen mental, social, emotional,
    or behavioral health issues.

20. Policies, procedures, and practices applicable to the New Jersey Governor’s Council on
    Mental Health Stigma and New Jersey Governor’s Council on Mental Health Stigma
    employees regarding the use of Social Media Platforms, including any changes to these
    policies during the Relevant Period.

21. Studies, programs, initiatives, efforts, or actions proposed or taken by the New Jersey
    Governor’s Council on Mental Health Stigma that sought to provide or promote internet
    access or phones, computers, tablets, or other electronic devices to Young Users.

22. New Jersey Governor’s Council on Mental Health Stigma budget and actual expenditures
    during the Relevant Period, including expenditures on:
        a. Digital advertisements by the New Jersey Governor’s Council on Mental Health
            Stigma on Social Media Platforms;
        b. Digital advertisements by the New Jersey Governor’s Council on Mental Health
            Stigma purchased through Social Media Platforms.



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                           ATTACHMENT B
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 1

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 5

 6                           IN THE UNITED STATES DISTRICT COURT

 7                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8
       IN RE: Social Media Adolescent                       MDL No. 3047
 9     Addiction/Personal Injury Products Liability         Case No. 4:22-md-03047-YGR
       Litigation
10
                                                            Honorable Yvonne Gonzalez Rogers
11     This document relates to:                            Honorable Peter H. Kang
       ALL ACTIONS
12                                                          STIPULATION AND [PROPOSED]
                                                            ORDER GOVERNING THE
13                                                          PRODUCTION OF
14                                                          ELECTRONICALLY STORED
                                                            INFORMATION AND HARD COPY
15                                                          DOCUMENTS

16

17          1.      PURPOSE
18          This Order Governing the Production of Electronically Stored Information and Hard Copy

19   Documents (“ESI Order”) will govern discovery of electronically stored information and any hard

20   copy documents in this Litigation as a supplement to the Federal Rules of Civil Procedure, this

21   District’s Guidelines for the Discovery of Electronically Stored Information, and any other

22   applicable orders and rules. “This Litigation” includes all actions currently in MDL No. 3047, In

23   Re: Social Media Adolescent Addiction/Personal Injury Products Liability, or hereafter added or

24   transferred to MDL No. 3047, and all actions later remanded to their respective transferor courts.

25          2.      DEFINITIONS
26          a) “Document” is defined to be synonymous in meaning and equal in scope to the usage

27               of this term in Rules 26 and 34 of the Federal Rules of Civil Procedure and shall

28               include Hard-Copy Documents and ESI.

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     PRODUCTION OF ESI & HARD COPY DOCUMENTS          -1-              3:22-MD-03047-YGR; MDL NO. 3047
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 1          b) “Electronically stored information” or “ESI,” as used herein has the same meaning as

 2               in Federal Rules of Civil Procedure 26 and 34.

 3          c) “Hard-Copy Document” means Documents existing in paper form at the time of

 4               collection.

 5          d) “Searchable Text” means the native text extracted from an Electronic Document and

 6               any Optical Character Recognition text (“OCR text”) generated from a Hard-Copy

 7               Document or electronic image.

 8          3.      COOPERATION
 9          The Parties are aware of the importance the Court places on cooperation and commit to

10   cooperate in good faith throughout this Litigation consistent with this Court’s Guidelines for the

11   Discovery of ESI and this Court’s Rules of Professional Conduct. The Parties will endeavor to

12   cooperate in good faith and be reasonably transparent in all aspects of the discovery process.

13          4.      LIAISON
14          The Parties will identify Discovery Liaisons to each other who are and will be

15   knowledgeable about and responsible for discussing their respective ESI. Any Party is free to

16   change their designated Discovery Liaison by providing written notice to the other Parties. Each

17   Party’s Discovery Liaison must: (a) be prepared to meet and confer on discovery-related matters

18   and to participate in discovery dispute resolution; (b) be knowledgeable about the Party’s

19   discovery efforts; (c) be, or have reasonable access to those who are, familiar with the Party’s

20   electronic systems and capabilities in order to explain those systems and answer relevant

21   questions; and (d) be, or have reasonable access to those who are knowledgeable about the

22   technical aspects of discovery, including electronic document storage, organization, and format

23   issues, and relevant information retrieval technology, including search methodology.

24          5.      IDENTIFICATION OF CUSTODIANS AND DATA SOURCES
25          The parties will disclose information about custodians and custodial and non-custodial

26   data sources likely to possess relevant or responsive information in accordance with Fed. R. Civ.

27   P. 26 and this District’s ESI Guidelines. The Parties will participate in Rule 26(f) discussions

28   guided by this District’s Checklist for Rule 26(f) Meet and Confer Regarding Electronically

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     PRODUCTION OF ESI & HARD COPY DOCUMENTS         -2-               3:22-MD-03047-YGR; MDL NO. 3047
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 1   Stored Information. After responses to Requests for Production under Fed. R. Civ. P. 34 have

 2   been served, the parties will meet and confer regarding those custodians and custodial and non-

 3   custodial data sources from which Documents and ESI will be collected for search and review for

 4   potential production in this litigation. The custodian and data source exchanges will include brief

 5   explanations of the rationale for their selections; for example, for custodians, their current job

 6   titles and descriptions of their work, and for data sources, location information and description.

 7          6.      INACCESSIBLE OR UNUSABLE ESI
 8          If a Producing Party asserts that certain requested ESI is inaccessible or not “reasonably

 9   accessible,” otherwise unnecessary, or if the Receiving Party asserts that, following production,

10   certain ESI is not reasonably useable, the parties shall meet and confer to discuss resolving such

11   assertions. The parties will exchange sufficient information to enable the parties to confer in good

12   faith. If the parties cannot resolve any such disputes after such a meet and confer has taken place,

13   the issue shall be presented to the Court for resolution.

14          7.      KNOWN RESPONSIVE DOCUMENTS
15          Documents or ESI identified in a custodial or non-custodial file, or in a discrete folder or

16   collection, that are known to a Producing Party through reasonable investigation to be responsive

17   to a discovery request shall be collected for review without regard to whether the responsive

18   content was located via any search methodology developed in accordance with this Order, and

19   nothing about such review shall prevent the Producing Party from redacting or withholding and

20   logging such documents for applicable privileges.

21          8.      SEARCH METHODOLOGIES
22          The Parties shall adopt reasonable and proportionate methodologies to identify, search,

23   collect, cull, review, and produce ESI as required under applicable legal standards. The Parties

24   recognize and agree that each Party may use one or more methodologies to identify, search,

25   collect, cull, review, and produce responsive and non-privileged ESI, including the use of

26   keyword search terms and/or the use of technology assisted review (“TAR”) as discussed further

27   herein. The Parties further recognize that different data sets may implicate different

28   methodologies to identify, search, collect, cull, review, and produce responsive and non-

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     PRODUCTION OF ESI & HARD COPY DOCUMENTS          -3-                3:22-MD-03047-YGR; MDL NO. 3047
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 1   privileged ESI. The Parties therefore agree to meet and confer in good faith regarding any

 2   potential disputes over their respective ESI productions.

 3          9.      HIT REPORTS AND SEARCH TERMS
 4          If a Producing Party uses search terms to identify, search, or cull potentially responsive

 5   ESI, the Producing Party shall disclose the search terms to the Requesting Party. The Parties shall

 6   meet and confer regarding any disputes over the disclosed search terms. In the event that a

 7   Producing Party claims burden with respect to modified and/or additional search terms proposed

 8   by a Requesting Party, the Producing Party shall provide a hit report for the terms at issue using

 9   industry-standard processing tools, such as NUIX or other similar tools. The Producing Party

10   shall provide a hit report for the document collection where the terms were applied, including the

11   following with respect to each proposed or modified search term in the collection:

12          a) The number of documents with hits for that term; and

13          b) The number of unique documents, i.e., documents which do not have hits for any other

14               term.

15          If, after reviewing a hit report from a Producing Party, a Requesting Party so chooses, it

16   may reasonably request a further hit report which includes:

17          c) The number of family members, including the documents with hits, of the documents

18               with hits for that term; and

19          d) The number of unique family members of the documents with hits for that term.

20          If the ESI tool for the Producing Party is capable without undue burden of providing the

21   number of family members and unique family members, then the Producing Party shall provide

22   such further hit report. The Parties (including the person most knowledgeable about the

23   capabilities of the Producing Party’s ESI tool and the Requesting Party’s person most

24   knowledgeable about technical issues from its ESI service provider) shall meet and confer

25   regarding any disputes over whether the Producing Party’s ESI tool has the capability or not to

26   provider either number of family members or number of unique family members.

27          The Parties shall meet and confer to resolve disagreements over the search terms or their

28   application. To the extent the Parties are unable to reach agreement on the application of, or

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 1   procedures for, any search or filtering processes, the Parties shall fully comply with the

 2   provisions of this Court’s Discovery Standing Order regarding the procedure for raising discovery

 3   disputes with the Court, including the meet and confer and certification requirements therein.

 4          10.       TECHNOLOGY ASSISTED REVIEW (TAR)
 5          A Producing Party may use TAR (technology-assisted review) during the culling and

 6   review process of ESI, which may be applied in addition to search terms. If a Producing Party

 7   uses TAR to cull, filter out, or exclude documents from that Party’s production, that Producing

 8   Party shall do the following:

 9                   If a Producing Party chooses to apply both search terms and TAR to a review set,

10                    the Producing Party will disclose the search terms to all other Party/Parties.

11                   Disclose the name of the TAR tool or service used to all other Party/Parties.

12          11.       VALIDATION
13          Each Producing Party shall take reasonable steps to validate its review process (i.e., using

14   quality control measures to determine whether its production is missing relevant ESI or contains

15   substantial amounts of irrelevant ESI) and make any necessary adjustments or corrections to its

16   process. If, after reviewing a Producing Party’s production, a Requesting Party reasonably

17   requests additional information regarding the validation method(s) used by the Producing Party,

18   the Producing Party will disclose the level of end-to-end recall (the percentage of responsive

19   Documents in the collection which were identified as responsive by that Producing Party’s

20   methodology). If there remain disputes between the Parties regarding validation, the Parties shall

21   meet and confer to resolve such disputes in good faith, including a reasonable discussion

22   regarding the tool used and the parameters used to obtain or calculate the level of recall.

23          12.       UNSEARCHABLE DOCUMENTS
24          The Producing Party shall use reasonable efforts to identify and review potentially

25   responsive documents for which text-based search technologies are fundamentally ineffective.

26          13.       SYSTEM FILES
27          Each Party will use its best efforts to filter out common system files and application

28   executable files using the national software reference library (“NSRL”) NIST hash set list. The

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 1   Parties also may filter out stand-alone files identified as zero bytes in size. Additional culling of

 2   file types based on file header information may be applied to the following, provided these files

 3   are not known to be otherwise attached, embedded in, or included with an otherwise responsive

 4   document, or are not themselves reasonably known to contain information responsive or contain

 5   responsive data or are used to interface with users or interact with or access individual or

 6   aggregated user data: Application Package File, Backup Files, Batch Files, Binary Disc Image,

 7   C++ File Formats, Cascading Style Sheet, Configuration File, Database File, Dictionary Files,

 8   Dynamic Link Library, Event Log Files, Executable Files, Hypertext Cascading Stylesheet, Java

 9   Archive Files, JavaScript Files, JavaScript Source Code and Class Files, Macintosh Resource

10   Fork Files, Package Manager Files, Program Files, Program Installers, Python Script Files, Shell

11   Script Files, System or Temporary Files, Thumbnail Cache Files, Troff Files, Truetype Font Files,

12   Windows Cabinet File, Windows Command Files, Windows File Shortcut, Windows Help Files,

13   Windows Metafiles and Enhanced Metafiles, Windows Spool Files, Windows System File.

14          14.     DEDUPLICATION
15          Each Producing Party shall make reasonable efforts to globally deduplicate exact

16   duplicate Documents within that Producing Party’s ESI data set across all custodial and non-

17   custodial sources at the family level using either MD5 hash values or SHA hash values or any

18   other agreed-upon (and disclosed) industry-standard deduplication technology. The Parties shall

19   reach agreement on such other deduplication technology and shall reach agreement on how their

20   deduplication tools shall identify exact duplicates of documents in a manner that is consistent

21   with the disclosed tools and technologies a Producing Party is using. The Parties shall reach

22   agreement on how to identify exact duplicates of emails using industry-standard commercially

23   available software tools or services, which may for example calculate hash values of emails based

24   on concatenated values of agreed-upon email fields and/or hash values of attachments, or which

25   may use any other method the Parties agree upon. Having further met and conferred in keeping

26   with the previous sentence, the Parties shall calculate deduplication hash values for emails on the

27   concatenated values set forth in and in accordance with the documentation specifications of the

28   disclosed deduplication tools to be used in this Litigation (i.e., RelativityOne, Relativity Server,

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 1   and Nuix); however, if Nuix is used, the Producing Party shall select the optional field “Include

 2   Bcc” as an additional field to add to the default ones.

 3          The Parties shall not withhold from production near-duplicates without meeting and

 4   conferring on this issue.

 5          The names of all custodians who were either identified as custodians for purposes of

 6   collection for this matter (or otherwise known by the Producing Party to have been in possession

 7   or custody of a document prior to deduplication) will be populated in the ALL CUSTODIANS

 8   metadata field for the produced version of a document that has duplicates removed from

 9   production. The original file paths (if any exist) of a document prior to deduplication will be

10   populated in the ALL FILE PATHS metadata field of the produced document.

11          15.     EMAIL THREADING
12          The Parties may use analytics technology to identify email threads and shall produce the

13   unique most inclusive copy and related family members. Where multiple email messages are part

14   of a single chain or “thread,” a Party is only required to produce the most inclusive copy of an

15   email message(s) (“Last In Time Email(s)”) and need not produce earlier, lesser inclusive email

16   messages or “thread members,” provided that the tool or software service being used to perform

17   threading is disclosed. A Producing Party may exclude from production lesser inclusive copies of

18   the most inclusive email message in the thread, where the entire body of each of those lesser

19   inclusive copies is included within the Last in Time Email. The Producing Party will honor

20   reasonable requests to produce lesser inclusive copies of a Last In Time Email or other earlier

21   chains of emails otherwise excluded by email thread suppression.

22          The Parties shall treat new or different email chains or threads pursuant to further

23   agreement on safeguards or guidelines for defining emails threads which reasonably take into

24   account the capabilities of the email threading/dethreading/hyperthreading tools used by each

25   Defendant (which shall be disclosed to Plaintiffs).

26          16.     SOURCE CODE
27          The Parties will meet and confer to address the production and/or inspection of source

28   code and entering into a separate order governing the same if needed.

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 1          17.      PRODUCTION FORMATS

 2          The Parties agree to produce documents and data in the formats described in Appendix 1

 3   to this ESI Order. If particular documents or categories of documents identified in response to

 4   document requests warrant a different format, the Parties will cooperate to arrange for the

 5   mutually acceptable production of such documents. The Parties further agree not to degrade the

 6   searchability of documents as part of the document production process.

 7          In addition, the Parties agree that the production and production format of social media

 8   and/or user account information is not covered by this agreement and to meet and confer on the

 9   production and production format, including metadata, for social media and/or user account

10   information.

11          18.      PHASING

12          Once the Parties begin propounding discovery requests pursuant to Fed. R. Civ. P. 34, the

13   Parties agree to meet and confer regarding appropriate phasing for the production of ESI.

14          19.      MISCELLANEOUS PROVISIONS

15          a) Production of Plaintiffs ESI and Case-Specific Materials. Subject to any further

16                agreement among the Parties or Order of the Court, the Parties shall produce case-

17                specific documents (i.e., documents specific to the claim of a given Plaintiff, produced

18                by Plaintiffs or Defendants) for any Plaintiff in discovery pools or other selections

19                designed to inform bellwether selection, including those selected for a bellwether trial,

20                in accordance with the production format specified herein, provided, however, that the

21                Producing Party may elect to produce such materials in their native format. To the

22                extent production of case-specific documents for any Plaintiff selected for a bellwether

23                trial presents an issue for any Party, the Parties shall reasonably confer, and may

24                present any disputes to the Court or its designee. The Parties shall further agree to

25                confer concerning the production format and associated matters (e.g., hosting

26                platform) for case-specific documents produced in the cases of other Plaintiffs.

27                Nothing herein shall limit Defendant’s right to seek discovery from any Plaintiff.

28          b) Translations Of Produced Materials. The Producing Party has no obligation to

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 1             create a translation of the Documents or any portion thereof. For any foreign-language

 2             documents responsive to document requests that a Party reasonably knows as the

 3             result of a reasonable investigation have been translated into the English language

 4             using human translators or through machine translation for its own purposes, except to

 5             the extent such translation is protected by attorney-client or work-product privileges,

 6             the Producing Party shall produce the translation of the original document with the

 7             original. The parties will meet and confer as necessary concerning procedures for

 8             using translations at depositions and at trial. In the event the Parties cannot reach

 9             agreement, the matter may be submitted to the Court for determination.

10          c) Third-Party Documents. A Party that issues a Non-Party subpoena (“Issuing Party”)

11             shall include a copy of this Order with the subpoena and state that (1) the subpoenaed

12             Non-Party should produce Documents in response to the subpoena to all Parties; and

13             (2) the Parties to this Litigation have requested that Third Parties produce Documents

14             in accordance with the specifications set forth herein. If the subpoenaed Non-Party

15             produces Documents to the Issuing Party but does not produce those Documents to

16             other Parties, the Issuing Party shall produce such Documents to those other Parties

17             within 14 days of receiving the Documents, except where the Documents are to be

18             used in a deposition, in which case the Issuing Party shall produce such Documents to

19             all other Parties no later than three (3) days prior to the deposition, or as soon as

20             reasonably practicable if such production occurs thereafter. Nothing in this Order is

21             intended or may be interpreted to narrow, expand, or otherwise affect the rights of the

22             Parties or Third Parties to object to a subpoena. If the Non-Party production is not

23             Bates-stamped, the Parties will meet and confer to agree upon a format for designating

24             the documents with a unique Bates Number prefix.

25          d) Documents Produced by Parties – Presumption of Authenticity. In order to reduce

26             the number of requests for admission, this Order establishes a rebuttable presumption

27             that documents produced by the Parties are authentic, if said documents were either

28             created or authored by the producing Party, or any of its employees, agents, or

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 1             contractors, so long as the employees’, agents’, or contractors’ work was performed in

 2             connection with a project or assignment sponsored by the producing Party. No further

 3             evidence to establish authenticity need be provided. Nothing in this paragraph shall be

 4             deemed to waive any other evidentiary objection a party may have, including but not

 5             limited to hearsay, foundation/personal knowledge, or relevance.

 6          e) Re-productions. Notwithstanding any provisions to the contrary, re-production of

 7             discrete sets of documents from another litigation, arbitration, government inquiry, or

 8             other matter may be re-produced in the same manner and form as originally produced

 9             in the other matter, provided however that a party will re-produce documents in a

10             different format for good cause shown. This provision does not waive the right of a

11             party to object to any requests for reproduction of production files from another

12             litigation, arbitration, government inquiry, or other matter.

13          f) Modification. This ESI Order may be modified by a Stipulated Order of the Parties

14             or by the Court for good cause shown.

15          g) Good Faith. The Parties will act in good faith as required by law and use these

16             procedures to identify and reduce the potential for disputes.

17          h) Continuing Obligations. The Parties recognize that discovery shall be an iterative

18             and cooperative process. The Parties will continue to meet and confer regarding any

19             issues as reasonably necessary and appropriate. This Order does not address or resolve

20             any objections to the Parties’ respective discovery requests.

21          i) Reservation of Rights. The Parties agree that any topic not addressed herein is

22             neither a waiver nor acknowledgement of agreement by either Party.

23          IT IS SO STIPULATED, through Counsel of Record.

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13                                               Google LLC
14            IT IS ORDERED that the foregoing Agreement is approved.
15

16
     Dated:         March 18, 2024
17                                             MAGISTRATE JUDGE PETER H. KANG
18

19

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21

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 1                              APPENDIX 1: PRODUCTION FORMAT

 2      1) Production Components. Except as otherwise provided below, ESI must be produced

 3          in accordance with the following specifications:

 4               a) an ASCII delimited data file (.DAT) using standard delimiters;

 5               b) an image load file (.OPT) that can be loaded into commercially acceptable

 6                  production software (e.g. Concordance);

 7               c) single page black-and-white TIFF images, or JPEG images when color is

 8                  specified herein, or native files with single page placeholder TIFF images

 9                  depending on the applicable production format for each type of file;

10               d) and document level .TXT files for all documents containing extracted full text or

11                  OCR text.

12               e) Family relationships between emails and their attachments, embedded files and

13                  their source document, and connected hardcopy documents will be maintained in

14                  production. Attachments should be consecutively produced with their parent.

15               f) If a particular document warrants a different production format, the Parties will

16                  cooperate in good faith to arrange for a mutually acceptable production format.

17          2)      Production Media and Access Controls. Productions must be encrypted and

18   produced through secure electronic means, such as secure file sharing methods (e.g. FTP), or on

19   CD, DVD, flash drive or external hard drive (“Production Media”). Each piece of Production

20   Media must identify a production number corresponding to the production volume (e.g.

21   “VOL001”). Each piece of Production Media must also identify: (a) the case caption; (b) the

22   following label: “This media contains material subject to Court Ordered security measures”; (c)

23   the Producing Party’s name; (d) the production date; (e) the Bates Number range of the

24   materials contained on the Production Media.

25          Nothing in this ESI Order will preclude or impair any and all protections provided the

26   Parties by any Protective Order(s) agreed and entered into by the Parties. Parties will use best

27   efforts to avoid the unnecessary copying or transmittal of produced documents. If questions arise,

28   the Parties will meet and confer to ensure security concerns are addressed prior to the exchange of

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 1
     any documents.
 2
            3)      Data Load Files/Image Load Files. Each TIFF in a production must be
 3
     referenced in the corresponding image load file. The total number of documents referenced in a
 4
     production’s data load file should match the total number of designated document breaks in the
 5
     image load file(s) in the production. The total number of pages referenced in a production’s
 6
     image load file should match the total number of TIFF files in the production. All images must
 7
     be assigned a unique Bates number that is sequential within a given document and across the
 8
     production sets. The Bates Numbers in the image load file must match the corresponding
 9
     documents’ beginning Bates numbers in the data load file. The total number of documents in a
10
     production should match the total number of records in the data load file. Load files must not
11
     vary in format or structure within a production, or from one production to another except by
12
     agreement of the Parties.
13
            4)      Metadata Fields. Each of the metadata and coding fields set forth below that can
14
     be extracted should be produced for each document, except that if the field contains privileged
15
     information, that privileged information may be redacted. However, to the extent that metadata
16
     does not exist, is not available for any documents produced, this provision shall not be read to
17
     require any Party to extract, capture, collect, manually populate, or produce such metadata, with
18
     the exception of the following: (a) BEGBATES, (b) ENDBATES, (c) BEGATTACH, (d)
19
     ENDATTACH, (e) PRODVOL, (f) ALL CUSTODIANS, (g) CONFIDENTIALITY, (h)
20
     REDACTIONS, (i) REDACTION TYPE, (j) HASHVALUE, (k) NATIVEFILEPATH, and (l)
21
     TEXTFILEPATH, which should be populated by the Party or the Party’s vendor. The Parties
22
     will make reasonable efforts to ensure that metadata fields automatically extracted from the
23
     documents correspond directly to the information that exists in the original documents.
24

25     Field Name                                        Field Description

26                                                       Beginning Bates number for a particular
       BEGBATES                                          document as stamped on the first production
27                                                       image for that document

28     ENDBATES                                          Ending Bates number as stamped on the last

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 1
       Field Name                                Field Description
 2
                                                 production image for a particular document
 3
                                                 First production Bates number of the first
       BEGATTACH
 4                                               document in a family

 5                                               Last production Bates number of the last
       ENDATTACH
                                                 document in a family
 6
                                                 Number of attachments to an e-mail or
 7                                               embedded parent, as generated by
       ATTACHCOUNT
                                                 commercially available discovery processing
 8
                                                 tools.
 9
                                                 Names of each individual Attachment,
       ATTACHNAMES
10                                               separated by semicolons.

11     PRODVOL                                   Production volume

12                                               List of all custodians associated with
       ALLCUSTODIANS                             Document, i.e. “Custodian” + “Other
13                                               Custodian” values delimited by semicolon.

14                                               All original path(s) to the individual source
                                                 file(s) when available in the ordinary course
15                                               of business to and processable by the parties
       ALLFILEPATHS
                                                 and their ESI vendors of choice. Includes path
16                                               up to and including internal path of
17                                               containers.

18                                               Confidentiality designation assigned to the
       CONFIDENTIALITY                           document consistent with the Stipulated
19                                               Protective Order governing this Litigation
20     NATIVEFILEPATH                            Native File Link (Native Files only)
21                                               Path to extracted text/OCR file for the
       TEXTFILEPATH
                                                 document
22
       HASHVALUE                                 MD5 hash value of the document
23
                                                 Descriptor for the type of document: “E-
24
                                                 document” for electronic documents not
25                                               attached to e-mails; “E-mail” for all e-mails;
      DOCUMENT TYPE                              “E-attachment” for files that were attachments
26                                               to e-mails; and “Physical” for hard copy
                                                 physical documents that have been scanned
27                                               and converted to an electronic image.
28    AUTHOR                                     Any value populated in the Author field of the
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 1
       Field Name                                Field Description
 2
                                                 document properties
 3
                                                 Date the document was created according to
 4    DOCDATE                                    filesystem information (format:
                                                 MM/DD/YYYY)
 5
                                                 Date when document was last modified
 6    DATELASTMODIFIED                           according to filesystem information (format:
                                                 MM/DD/YYYY)
 7
                                                 Last person who modified (saved) a
 8
      LAST MODIFIED BY                           document, as generated by commercially
 9                                               available discovery processing tools.

10                                               Y if a document with track changes value,
      TRACK CHANGES                              otherwise N or empty, if available separately
11                                               from the HASHIDDENDATA flag

12                                               Y if a document with comments, otherwise N
      COMMENTS                                   or empty, if available separately from the
13                                               HASHIDDENDATA flag
                                                 Y if a document with hidden content value,
14    HASHIDDENDATA                              otherwise N or empty
15
      FILENAME                                   Filename of an electronic document
16
                                                 Any value populated in the Title field of the
      TITLE
17                                               document properties

18                                               File extension of document pulled from the
      DOCEXT
                                                 document properties
19
      FROM                                       The sender of the email
20
                                                 All recipients that were included on the “To”
21    TO
                                                 line of the email
22                                               All recipients that were included on the “CC”
      CC
                                                 line of the email
23
                                                 All recipients that were included on the
24    BCC
                                                 “BCC” line of the email
25
                                                 Date and time email was received (format:
      DATETIMERECEIVED
26                                               MM/DD/YYYY HH:MM)

27                                               Date and time email was sent (format:
      DATETIMESENT
                                                 MM/DD/YYYY HH:MM)
28

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 1
         Field Name                                                 Field Description
 2
         TIMEZONE                                                   The timezone used to process the document
 3
                                                                    Subject line of email pulled from the
         EMAILSUBJECT
 4                                                                  document properties

 5                                                                  If a threading tool is used for emails, the
         THREADID
                                                                    thread id generated by the threading tool.
 6
                                                                    General category of redaction reason as
 7                                                                  agreed to by the parties. For example, PII,
         REDACTION TYPE1
                                                                    SCA, CODE, and/or PRIV. If more than one,
 8
                                                                    separate reasons by semicolons.
 9
                                                                    Y if a document is redacted, otherwise N or
         REDACTIONS
10                                                                  empty

11            5)       TIFFs. Unless excepted below, single page, black and white, Group IV TIFFs
12   should be provided, at least 300 dots per inch (dpi) for all documents. Each TIFF image must be
13   named according to a unique corresponding Bates number associated with the document. Each
14   image must be branded according to the Bates number and the agreed upon confidentiality
15   designation. Original document orientation should be maintained (i.e., portrait to portrait and
16   landscape to landscape). Where the TIFF image is unreadable or has materially degraded the
17   quality of the original, the Producing Party shall provide a higher quality TIFF image or the
18   native or original file. In addition, the Parties shall take reasonable efforts to process word
19   processing documents (e.g., MS Word) with track changes and/or comments unhidden on the
20   TIFF image.
21            6)       Color. Word processing documents containing tracked changes shall be
22   produced in color, as single-page, 300 dpi JPG images with JPG compression and a high quality
23   setting as to not degrade the original image. The Producing Party shall comply with good faith
24   by the Requesting Party to provide replacement color images for documents originally produced
25   in black and white. A Party making such a request shall make the request by individual Bates
26
     1
       The Parties will provide specific information on any privilege(s) asserted in their privilege logs, in an overlay, or the
27   redaction boxes. The “Redaction Reason” field is informational only for redaction type and shall not in any way limit
     a party’s right to assert attorney-client privilege, attorney-work product privilege, and/or any other applicable privilege
28   or protection.

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 1
     number(s) and shall limit requests made pursuant to this paragraph to a reasonable number of
 2
     documents.
 3
            7)      Text Files. A single multi-page text file must be provided for each document,
 4
     and the filename should match its respective TIFF filename for the first page of that document.
 5
     Extracted text shall be generated with commercially acceptable technology set to include all
 6
     comments, revisions, tracked changes, speaker’s notes and text from documents with comments
 7
     or tracked changes, and hidden and very hidden worksheets, slides, columns and rows. When
 8
     possible, the text of native files should be extracted directly from the native file. Parties will
 9
     perform optical character recognition (“OCR”) on foreign language documents using the
10
     appropriate settings for languages reasonably anticipated to be in the production following a
11
     meet and confer with the Requesting Party to identify those languages. Text files will not
12
     contain the redacted portions of the documents. A commercially acceptable technology for OCR
13
     should be used for all scanned, hard copy documents and for documents with redactions other
14
     than Excel files and other spreadsheets which shall be redacted in native format. Text extracted
15
     from emails should include the following header information where available: (1) the
16
     individuals to whom the communication was directed (“To”), (2) the author of the email
17
     communication (“From”), (3) who was copied and blind copied on such email (“CC” and
18
     “BCC”), (4) the subject line of the email (“RE” or “Subject”), and (5) the date and time of the
19
     email. To the extent the text extraction technology the Parties are using can be configured to
20
     include the text of any URLs or links, the Parties shall utilize that setting.
21
            8)      Native files. Spreadsheets (e.g. MS Excel), and un-redacted presentations (e.g.
22
     Microsoft PowerPoint,) will be produced in native format to the extent that they are produced in
23
     this Litigation, audio, video, and multi-media files will be produced in native format. The
24
     Parties will meet and confer on the production of other file types, such as proprietary files, etc.
25
     Native files will be produced with a link in the NATIVEFILEPATH field, along with extracted
26
     text (where extracted text is available) and applicable metadata fields set forth in paragraph 4
27
     above. A Bates numbered TIFF placeholder indicating that the document was provided in native
28
     format must accompany every native file. Where redaction makes production of native-format
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 1
     files other than spreadsheets or presentations infeasible, the Parties will confer to determine a
 2
     reasonably usable form for the production, but spreadsheets shall presumptively be redacted in
 3
     native, and presentations presumptively redacted in image form, in these cases without the need
 4
     for further conferring.
 5
            9)      Production Format for Hard Copy Documents. Documents that exist in
 6
     hardcopy will be scanned to *.tiff image format and produced in accordance with the
 7
     specifications set forth herein. Hard copy documents that are not text-searchable shall be made
 8
     searchable by OCR prior to production. In scanning paper documents, distinct documents
 9
     should not be merged into a single record, and single documents should not be split into
10
     multiple records (i.e., paper documents should be logically unitized). In the case of an organized
11
     compilation of separate documents (for example, a binder containing several separate
12
     documents behind numbered tabs), the document behind each tab should be scanned separately,
13
     but the relationship among the documents in the compilation should be reflected in the proper
14
     coding of the beginning and ending document and attachment fields. The Parties will make their
15
     best efforts to unitize the documents correctly. If relevant documents are maintained in a file,
16
     folder, envelope, binder, notebook or similar container used to store documents, all contents
17
     therein shall be reviewed for production and privilege. Document pages which have affixed
18
     notes, such as Post-it notes, should be imaged with and without the note attached.
19
            10)     Confidentiality Designation. All images will be stamped with the appropriate
20
     confidentiality designations in accordance with the Stipulated Protective Order entered in this
21
     Litigation. Each document produced in native format will have its confidentiality designation
22
     identified in the filename of the native file and indicated on its corresponding TIFF placeholder.
23
            11)     Bates Numbering. Bates numbering should be a consistent length across the
24
     production, contain no special characters, and be numerically sequential within a given
25
     document. If a Bates number or set of Bates numbers is skipped, the skipped number or set of
26
     numbers should be noted with a placeholder. Attachments to documents will be assigned Bates
27
     numbers that directly follow the Bates numbers on the documents to which they were attached.
28

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 1
     In addition, wherever possible, each image will have its assigned Bates number electronically
 2
     “burned” onto the image.
 3
            12)     Databases and Other Structured Data. To the extent that responsive
 4
     information is stored in a database, or database management system, or proprietary system or
 5
     application which has is directed to data storage as one of its primary functions, the Producing
 6
     Party will identify the database and platform to the Requesting Party. The Producing Party shall
 7
     produce exports and reports about such responsive information stored in such database, where
 8
     such exports and reports shall be in a reasonably usable form, and information may be produced
 9
     in CSV format, tab-delimited text format, Microsoft Excel format, or Microsoft Access format.
10
     If there are future disputes over the production of information from a database, the Parties shall
11
     meet and confer in good faith in an attempt to reach any further agreements (if needed) on the
12
     data to be produced and the format and scope of the production. The Producing Party will
13
     provide reasonable amounts of information about the databases to facilitate that discussion.
14
            13)     Hyperlinks. Document(s) and/or folder(s) of documents that are hyperlinked
15
     inside a responsive document (including hyperlinked inside emails) within a Producing Party’s
16
     custody, possession, or control, do not need to be produced in the first instance as part of the
17
     same family group as the Document residing at the location to which that hyperlink points. If
18
     there are particular hyperlinks identified by the Requesting Party in produced documents, the
19
     Requesting Party may submit a list of hyperlinks to a particular Producing Party for potentially
20
     relevant documents by identifying the Bates number and URL or link text for each requested
21
     link to the Producing Party, and the Producing Party will engage in reasonable efforts to locate
22
     the hyperlinked document at that location and either identify it by Bates number or provide any
23
     responsive, non-produced, and non-privileged documents. The number of hyperlinks a
24
     Requesting Party may identify to a Producing Party shall not be excessive and shall be
25
     reasonable, proportional to the needs of the case, and not unduly burdensome.
26
            14)     Embedded Objects. The Parties agree non-substantive embedded objects,
27
     including, but not limited to, logos, icons, emoticons, and footers, may be culled from a
28
     document set (but not a document) and need not be produced as separate documents by a
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 1
     Producing Party (i.e., such embedded objects will be produced within the document itself, rather
 2
     than as separate documents). Embedded files, except for images (including but not limited to,
 3
     logos, icons, emoticons), are to be produced as family groups. Embedded files should be
 4
     assigned Bates numbers that directly follow the Bates numbers on the documents within which
 5
     they are embedded.
 6
            15)     Production of Family Groups and Relationships. If any member of a family
 7
     group is produced, all members of that group must also be produced or else logged as
 8
     privileged, and no such member shall be withheld from production as a duplicate.
 9
            16)     Dynamic Fields. Documents with dynamic fields for file names, dates, and
10
     times will be imaged to show the field code (e.g., “[FILENAME]”) where possible, rather than
11
     the values for such fields existing at the time the file is processed.
12
            17)     Time Zone. The time zone used to process a document, including its metadata,
13
     shall be disclosed in the TIMEZONE metadata field consistent with Appendix 1, and shall be
14
     standardized for each Defendant across productions.
15
            18)     Redactions.
16
            a)      A Producing Party may redact (i) information subject to the attorney client
17
     privilege or the work product protection (PRIV); (ii) information that cannot be disclosed
18
     pursuant to the Stored Communications Act (SCA); (iii) source code subject to separate
19
     agreement applicable to production of source code (CODE); (iv) personal identifying
20
     information (PII) including phone numbers, personal addresses, personal email addresses, the
21
     month and day of birth, driver’s license numbers, and other PII agreed to by the Parties (for
22
     example, the Parties shall complete their meet and confer on whether or not to redact users’ ages
23
     and years of birth). In any event, there shall be no redaction of illnesses, injuries, and medical
24
     diagnoses. To the extent a document or pleading contains PII, the Parties shall designate such
25
     documents at the appropriate Confidentiality level under the Protective Order and shall comply
26
     with Fed. R. Civ. P. 5.2 with regard to filings with the Court.
27
            b)      No redactions for relevance may be made within a produced document or ESI
28
     item. If, during the course of discovery, the Parties identify other kinds of information that any
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 1
     Party has a reasonable basis for redacting, the Parties will meet and confer on a case-by-case
 2
     basis regarding that information before such redactions are made. If the Parties cannot agree,
 3
     they may seek resolution from the Court.
 4
            c)      The Producing Party will indicate, on the face of the redaction, the asserted
 5
     reason(s) for the redaction (PII, SCA, CODE, and/or PRIV) and the REDACTION TYPE
 6
     metadata field shall indicate that the document contains redactions and the reason(s) for the
 7
     redaction.
 8
            d)      Notwithstanding the foregoing, this provision shall not be read to prohibit
 9
     redactions permitted under any applicable U.S. law or Protective Order.
10
            e)      Where a responsive document contains both redacted and non-redacted content,
11
     the Parties shall produce the non-redacted portions of the document and the OCR text
12
     corresponding to the non-redacted portions.
13
            f)      Native Redactions. Spreadsheet files requiring redaction, including without
14
     limitation Microsoft Excel files, shall be redacted and produced natively (unless the Parties
15
     agree to production in some other format). In addition, a Producing Party may natively redact
16
     other files that cannot be properly imaged for redaction.
17
            g)      All images of redacted files shall be processed to show all comments, revision
18
     marks, speaker notes, marks made in track changes, or other user-entered data which are visible
19
     in a normal view of the document in its native application, unless such material is redacted and
20
     marked as redacted in accordance with this section. Where possible, any occurrences of
21
     date/time auto‐field items, including in headers and footers, will be removed and replaced with
22
     the term AUTODATE to prevent the current date from being printed. Email header information
23
     (e.g., date and/or subject line) shall not be redacted unless it is independently privileged. The
24
     Parties shall honor reasonable requests for the production of particular redacted documents in
25
     other formats where the image is not reasonably usable.
26
            h)      Color. Redacted versions of documents that would have been produced in color
27
     in their un-redacted form shall be produced in color as detailed herein.
28

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 1
            19)     Exception Files. The Parties will use reasonable efforts to address processing
 2
     exceptions.
 3
            20)     Mobile and Handheld Device Documents and Data. If responsive and unique
 4
     data that can reasonably be extracted and produced in the formats described herein is identified
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     on a mobile or handheld device, that data shall be produced in accordance with the generic
 6
     provisions of this protocol. To the extent that responsive data identified on a mobile or handheld
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     device is not susceptible to normal production protocols, the Parties will meet and confer to
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     address the identification, production, and production format of any responsive documents and
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     data contained on any mobile or handheld device.
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